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                                   4                                U NITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   8   EPIC G AMES, INC.,                           Case No. 4:20-cv-05640-YGR

                                   9                  Plaintiff,

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                                              v.                                    RULE 52 ORDER AFTER TRIAL ON THE
                                                                                    MERITS
                                  11   A PPLE INC.,

                                  12                  Defendant.
Northern District of California
 United States District Court




                                  13   A PPLE INC.,
                                                      Counterclaimant,
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                                              v.
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                                  16   EPIC G AMES, INC.,
                                                      Counter-Defendant.
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        Plaintiff Epic Games, Inc. sued Apple, Inc. alleging violations of federal and state
antitrust laws and California’s unfair competition law based upon Apple’s operation of its App
Store. Broadly speaking, Epic Games claimed that Apple is an antitrust monopolist over (i)
Apple’s own system of distributing apps on Apple’s own devices in the App Store and (ii)
Apple’s own system of collecting payments and commissions of purchases made on Apple’s own
devices in the App Store. Said differently, plaintiff alleged an antitrust market of one, that is,
Apple’s “monopolistic” control over its own systems relative to the App Store. Apple obviously
disputed the allegations.

       Antitrust law protects competition and not competitors. Competition results in
innovation and consumer satisfaction and is essential to the effective operation of a free market
system. Antitrust jurisprudence also evaluates both market structure and behavior to determine
whether an actor is using its place in the market to artificially restrain competition.

        Central to antitrust cases is the appropriate determination of the “relevant market.” Epic
Games structured its lawsuit to argue that Apple does not compete with anyone; it is a monopoly
of one. Apple, by contrast, argues that the effective area of competition is the market for all
digital video games in which it and Epic Games compete heavily. In the digital video game
market, Apple argues that it does not enjoy monopoly power, and therefore does not violate
federal and state law.

       The Court disagrees with both parties’ definition of the relevant market.

        Ultimately, after evaluating the trial evidence, the Court finds that the relevant market
here is digital mobile gaming transactions, not gaming generally and not Apple’s own internal
operating systems related to the App Store. The mobile gaming market itself is a $100 billion
industry. The size of this market explains Epic Games’ motive in bringing this action. Having
penetrated all other video game markets, the mobile gaming market was Epic Games’ next target
and it views Apple as an impediment.

        Further, the evidence demonstrates that most App Store revenue is generated by mobile
gaming apps, not all apps. Thus, defining the market to focus on gaming apps is appropriate.
Generally speaking, on a revenue basis, gaming apps account for approximately 70% of all App
Store revenues. This 70% of revenue is generated by less than 10% of all App Store consumers.
These gaming-app consumers are primarily making in-app purchases which is the focus of Epic
Games’ claims. By contrast, over 80% of all consumer accounts generate virtually no revenue,
as 80% of all apps on the App Store are free.

        Having defined the relevant market as digital mobile gaming transactions, the Court next
evaluated Apple’s conduct in that market. Given the trial record, the Court cannot ultimately
conclude that Apple is a monopolist under either federal or state antitrust laws. While the Court
finds that Apple enjoys considerable market share of over 55% and extraordinarily high profit
margins, these factors alone do not show antitrust conduct. Success is not illegal. The final trial
record did not include evidence of other critical factors, such as barriers to entry and conduct
decreasing output or decreasing innovation in the relevant market. The Court does not find that
it is impossible; only that Epic Games failed in its burden to demonstrate Apple is an illegal
monopolist.

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         Nonetheless, the trial did show that Apple is engaging in anticompetitive conduct under
California’s competition laws. The Court concludes that Apple’s anti-steering provisions hide
critical information from consumers and illegally stifle consumer choice. When coupled with
Apple’s incipient antitrust violations, these anti-steering provisions are anticompetitive and a
nationwide remedy to eliminate those provisions is warranted.

       The Court provides its findings of facts and conclusions of law below.1

                                              PART I
                                      FINDINGS OF FACT
        To determine the relevant market, the Court must first understand the industry and the
markets in that industry. This is a heavily factual inquiry. Thus, in this Order, the Court
explains in detail, the facts underpinning each parties’ theory and other relevant facts uncovered
during the trial. These details include the background of the parties, their products, the industry,
and the markets in which they compete.2 To assist the reader, given the length of this Order, an
outline is included in an Appendix hereto.

I. THE PARTIES

       A. Overview

        Some basic background information may be helpful. Epic Games is a multi-billion dollar
video game company. It defines the relevant market by way of Apple’s own internal operating
system. Apple has maintained control of its own operating system for mobile devices, called
iOS, since its inception in 2007. Apple’s creation and cultivation of the iOS device (and its
ecosystem) has been described as a walled garden. Said differently, it is a closed platform
whereby Apple controls and supervises access to any software which accesses the iOS devices
(defined as iPhones and iPads; also referred to collectively as iOS devices). Apple justifies this
control primarily in the name of consumer privacy, security, as well as monetization of its
intellectual property. Evidence supports the argument that consumers value these attributes.



       1
          The Court notes several pending administrative motions to seal relating to the parties’
proposed findings of facts and conclusions of law, pending motions, and submitted and docketed
materials. See Dkt. Nos. 517, 650, 656, 696, 702, 707, 777, 778, 810. These motions are
GRANTED to the extent that they remain sealed and are not referenced in this Order. Otherwise,
to the extent the information is referenced and included in this Order, the motions are DENIED.
Previously sealed documents remain sealed unless otherwise noted in this Order.
       2
          In considering these issues, the Court conducted a sixteen-day bench trial, admitted
over 900 exhibits, and, to expedite the in-court proceedings, considered pre-trial submissions
including written testimony of the experts and designations of deposition transcripts. The Court
in this Order refers to the findings of facts (“FOF”) and conclusions of law (“COL”) for the
parties’ arguments as these documents effectively served as the parties’ post-trial briefs. See
Dkt. Nos. 777-4 (Epic Games’ filing), 778-4 (Apple’s filing).
                                                 2
Due in part to this business model, Apple has been enormously successful and its devices are
now ubiquitous.

        Both Apple and third-party developers like Epic Games have symbiotically benefited
from the ever-increasing innovation and growth in the iOS ecosystem. There is no dispute in the
record that developers like Epic Games have benefited from Apple’s development and
cultivation of the iOS ecosystem, including its devices and underlying software. Nor is there any
dispute that developers like Epic Games have enhanced the experience for iOS devices and their
consumers by offering a diverse assortment of applications beyond that which Apple can or has
provided.

         Until this lawsuit, Epic Games’ flagship video game product, Fortnite, could be played
on iOS devices. The product generated an immensely profitable revenue stream for Epic Games.
However, Epic Games was also required by contract to pay Apple a 30% commission on every
purchase made through the App Store, whether an initial download or an in-app purchase.
Consequently, Fortnite generated a profitable revenue stream for Apple as well. Epic Games
tried to use Fortnite as leverage to force Apple to reduce its commission fee and to open its
closed platform. When Apple refused, Epic Games breached its contract, which it concedes, and
filed this lawsuit. Apple countersued for breach of contract.

        Plaintiff focuses its challenge on Apple’s control over the distribution of apps to its users
and the requirement that developers of apps use Apple’s in-app purchases or in-app payments
(“IAP”) system3 if purchases are offered in the app. Under this IAP system and under its
agreements with app developers, Apple collects payments made to developers, remits 70% to the
developers, and keeps a 30% commission. This rate has largely remained unchanged since the
inception. The trial also contained evidence of Apple’s use of anti-steering provisions to limit
information flow to consumers on the payment structure related to in-app purchases.

        Once acceptable, Apple’s commission rate is now questioned by some consumers and
some developers, like Epic Games, as being overly burdensome and violative of competition
laws. Indeed, two related lawsuits were already pending before the Court well before the
commencement of this action. The first, In Re Apple iPhone Antitrust Litigation, 4:11-cv-6714-
YGR (Pepper), was filed in 2011 on behalf of a class of iOS device consumers alleging harm
from the commission rate. The second, filed in 2019 after Pepper returned from the Supreme
Court of the United States, Donald Cameron v. Apple Inc., 4:19-cv-3074-YGR (Cameron), on
behalf of a class of iOS app developers also alleging violations of antitrust and competitions
laws.

       The Court begins the analysis with Epic Games.

       3
           The Court notes that it uses the term IAP in this Order to refer exclusively to Apple’s
IAP systems, as described and discussed later herein. See supra Facts § II.C. The Court
clarifies, however, that certain witnesses use the term IAP to refer generically to any app
purchases or payments made in games and apps. The Court notes that the underlying transcripts
and cited materials in which IAP is being referenced clarifies which of the two is being
discussed.

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       B. Plaintiff Epic Games

        Epic Games is a video game developer founded in 1991 by Tim Sweeney.4 It is
headquartered in Cary, North Carolina, has more than 3,200 employees in offices around the
world, and was recently valued at $28.7 billion. Mr. Sweeney serves as the controlling
shareholder and chairman of the Board of Directors. 5 Other notable shareholders include: (1)
Tencent Holdings, Ltd., a Chinese video game company and one of the largest gaming
companies in the world, which owns about thirty-seven percent of Epic Games, with two board
seats; and (2) Sony Corporation, a major player in the console gaming market, which also owns
about 1 to 2 percent of Epic Games.6

        Epic Games first began publishing games for other developers when the company
       7
started. Around 1998, it moved away from publishing other companies’ products to developing
its own product.8 During the mid-2000’s, the company, which had been focused on personal
computers (“PC”) games up to that point, shifted to developing for game consoles.9

        In addition to game development, Epic Games offers software development tools and
distributes apps.10 Epic Games now touts a number of different lines of business, much of which
occurred during the pendency of this lawsuit and on the eve of trial, such as distribution of non-
game apps.

       The Court summarizes each of the three significant areas of its business: (1) gaming
software development (e.g., Unreal Engine, Epic Online Services); (2) game developer (e.g.,
Fortnite and other video games); and (3) gaming distributor (e.g., the Epic Games Store). The
Court thereafter summarizes the prior relationship between Epic Games and Apple.




       4
            Trial Tr. (Sweeney) 89:19, 112:18–25.
       5
            Id. 112:18–113:14, 165:17–166:1, 179:7–8.
       6
            Id. 178:24–179:6, 179:21–180:3.
       7
            Id. 172:6–8.
       8
            Id. 172:21–173:3.
       9
            DX-3710.005–.006.
       10
          Trial Tr. (Sweeney) 93:22–94:17 (“Epic is in a variety of businesses all tied to the
common theme of building and supporting real-time 3D content, both through consumer
products and to developers, and . . . other services that socially connect users together.”), 166:6–
12.

                                                 4
                 1. Gaming Software Developer: Unreal Engine and Epic Online Services
       As a gaming software developer, Epic Games licenses two notable products to other
developers: Unreal Engine and Epic Online Services.11

       The first, Unreal Engine, is a software suite that allows developers to create three-
dimensional and immersive digital content.12 It is not used by consumers and is not an app on
the App Store.13 Developers wishing to use Unreal Engine must be licensed by nonparty Epic
S.A.R.L. (“Epic International”), an Epic Games Swiss subsidiary.14 Epic International licenses
Unreal Engine because it sought to protect their intellectual property rights.15 Licensed
developers are governed by the End User License Agreement.16

        Epic Games profits from Unreal Engine by charging fees for paid content.17 Separately,
Epic International charges a royalty on products that use any version of the Unreal Engine
(typically 5% of gross revenue).18 In the past, developers were required to pay royalties after a
product exceeded $3,000 in revenue per quarter. After a change in policy in 2020, Epic
International is now owed royalties after a product earns $1,000,000 through the product’s life.19

        Epic International therefore profits in perpetuity from any success a developer enjoys
using the Unreal Engine.20 As Epic Games’ former chief financial officer stated, this model



       11
            Id. 94:5–7; Trial Tr. (Grant) 662:8–13.
       12
           Id. 116:17–22 (“The Unreal Engine is a development tool aimed at content creators
rather than consumers. It contains content creation tools, real-time 3D graphics, capabilities, and
real-time physics and simulation technology that is used by a wide variety of industries to make a
variety of 3D content.”).
       13
            Id. 162:19–163:14.
       14
            Id. 162:5–12; Trial Tr. (Grant) 724:11–16.
       15
            Trial Tr. (Grant) 754:13–19.
       16
            DX-4022; Trial Tr. (Grant) 667:3–11, 753:19–754:7.
       17
            DX-4022.006–.007 (§ 4).
       18
            DX-4022.007–.008 (§ 5).
       19
            Trial Tr. (Grant) 681:4–7, 754:20–755:4.
       20
           DX-4022.008 (“The royalty will be payable under this Agreement with respect to each
Product for as long as any Engine Code or Content (including as modified by you under the
License) incorporated in or used to make the Product are protected under copyright or other
intellectual property law.”); Ex. Depo. (Penwarden) 30:7–8.

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ensures that if developers succeed, Epic Games “can participate in that success.”21 For instance,
in 2019, Unreal Engine generated about $97 million in revenue for Epic International,22 which
enjoys a 100 percent gross margin on its “engine business.”23

       Although Unreal Engine itself is not available on the App Store, Epic Games develops
apps that work in conjunction with Unreal Engine, including Unreal Remote and Live Link Face,
and distributes on iOS. These apps “provide[] a means for people who work in the movie or TV
industry to capture performances and view them on Unreal Engine.”24 They do not include
competitive game play.25 Separate and apart from the App Store, Epic Games also provides
Unreal Marketplace, a store for pre-created two-dimensional and three-dimensional assets for
purchase by Unreal developers.26
       Second, in addition to Unreal Engine, Epic Games offers third-party developers a suite of
back-end online gaming services through Epic Online Services. These services include
matchmaking, Epic Games’ friends system, and voice system.27
                2. Game Developer: Fortnite
        With respect to Epic Games’ primary business of development and release of its own
video games including its flagship video game, Fortnite, Epic Games develops and owns through
its subsidiary, other apps, such as Houseparty, which incorporates some optional gaming
elements into its video chat application.28




       21
            Ex. Depo. (Babcock) 180:5–9.
       22
            DX-3795.009.
       23
            DX-3359.003.
       24
            Trial Tr. (Grant) 664:21–665:17.
       25
          Trial Tr. (Sweeney) 304:25–305:2 (noting there is no competitive game play
associated with Unreal Engine).
       26
            Trial Tr. (Ko) 799:18–21.
       27
           Trial Tr. (Sweeney) 120:7–14 (“Epic Online Services . . . provides many of the social
features that we built for Fortnite and makes them available to other companies, such as Epic’s
account system, Epic’s matchmaking system, to put players together into a shared game session.
It includes Epic’s friends system. And we’re soon to release the Epic Games voice system for
voice chat.”).
       28
           Id. 161:10–112 (“[W]e make Houseparty, which is a social video application, sort of
like a version of Zoom that’s for friends.”), 117:8–12, 305:14–21. The record does not contain
any information, financial or otherwise, with respect to these other games.
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                       a. Fortnite’s Game Modes
        Fortnite is Epic Games’ most popular game and app, with over 400 hundred million
registered players worldwide.29 Originally a cooperative shooter game consisting of player-
versus-environment (“PVE”) mechanics, Fortnite now has four main game modes: (i) Save the
World, (ii) Battle Royale, (iii) Creative, and (iv) Party Royale.30 Of these four game modes,
“nearly half of the players coming into [Fortnite] on a daily basis,” around 15 million users, “are
playing Creative and Party Royale Modes.”31

        Save the World launched in July 2017 as the original game mode. It is a cooperative
campaign consisting of PVE mechanics. Squads of up to four players team up to build forts and
fight non-playable, computer monsters.32 Save the World is not available on mobile platforms,
including the iOS platform, or on the Nintendo Switch.33

        Battle Royale is a player-versus-player (“PVP”) elimination and survival match involving
up to 100 players.34 It is the most popular Fortnite game play mode with storylines and game
play that evolve over time, as new chapters and seasons are released.35 A season typically lasts
around ten weeks and is a subset of a larger chapter.36 This mode also offers a “sit out” feature,
permitting players to observe Battle Royale matches instead of competing.37 Importantly, and as
discussed below, although the Battle Royale game play mode is available to download and play
free of charge,38 players can make in-app purchases for digital content, including digital avatars,
costumes, dance moves, and other cosmetic items.39




       29
           Trial Tr. (Sweeney) 99:5–6, 100:5–7. Epic Games also owns and/or develops other
games, including Rocket League, Fall Guys, Battle Breakers, Spyjinx, and the Infinity Blade
series. Trial Tr. (Sweeney) 89:22–90:5, 116:8–12; Trial Tr. (Grant) 664:13–14.
       30
            DX-5536; Trial Tr. (Sweeney) 99:5–10, 328:4–8; Trial Tr. (Weissinger) 1354:23–24.
       31
            Trial Tr. (Weissinger) 1296:5–8.
       32
            DX-5536.004.
       33
            Trial Tr. (Weissinger) 1354:18, 1354:21.
       34
            DX-5536.001–002.
       35
            Trial Tr. (Sweeney) 99:5–10, 105:21.
       36
            Trial Tr. (Weissinger) 1393:14–19.
       37
            Id. 1296:14–1297:5.
       38
            Trial Tr. (Sweeney) 108:15–16.
       39
            Id. 108:23–109:3.

                                                   7
       Creative mode allows players to create their own content in Fortnite.40 According to
Epic Games’ website: “Included free with Battle Royale, Fortnite Creative puts you in charge of
your own Island . . . . Creative is also a great place for just creating your own scenery. . . .”41
Content generated in Creative mode can be more broadly shared by other Fortnite players.42
With the aid of avatar Agent Peely, an anthropomorphic banana man,43 and Mr. Weissinger’s
testimony, the Court was walked through different gaming and experiences islands within the
Creative mode hub, including “Prison Breakout,” “Rockets vs. Cars,” “Cars Now With Snipers,”
and “Creative Mayhem Regional Qualifier.”44

       The final mode, Party Royale, is described as “an experimental and evolving space that
focuses on no sweat, all chill fun. Attractions include aerial obstacle courses, boat races, movies,
and even live concerts from top artists[.]”45

        In 2017, Fortnite debuted on a number of platforms—including Windows, Mac, Xbox
One, and PlayStation 4—with only the Save the World game mode. Later that year, Epic Games
released Battle Royale—a free-to-play game mode with features available for in-app purchase.
With Battle Royale’s success, Fortnite quickly “became more about Battle Royale” and, thus, a
primarily “free-to-play game.” The success of Fortnite has been profitable for both Epic Games
and its partners. For instance, the Epic Games-Microsoft partnership generates hundreds of
millions of dollars for both parties.46

                       b. Key Features of Fortnite
       Fortnite has many distinct features. First, most of its game play is multiplayer and
requires an Internet connection. Users can play Fortnite online with friends and family, with

       40
            Id. 328:4–8.
       41
            DX-5536.003.
       42
            DX-5539.
       43
           With respect to the appropriateness of Peely’s “dress,” the Court understood Apple
merely to be “dressing” Peely in a tuxedo for federal court, as jest to reflect the general
solemnity of a federal court proceeding. As Mr. Weissinger later remarked, and with which the
Court agrees, Peely is “just a banana man,” additional attire was not necessary but informative.
Trial Tr. (Weissinger) 1443:17.
       44
          Matthew Weissinger is Vice President of Marketing at Epic Games. Trial Tr.
(Weissinger) 1365:16–1366:1, 1367:25–1368:10, 1368:12–1371:20, 1373:22–1374:12, 1374:13–
1376:6 (testimony agreeing that Creative mode includes game play and game mechanics).
       45
           DX-5536.002; see also Trial Tr. (Allison) 1246:20–1247:7. The Court viewed a
portion of this mode whereby Peely participated in a game called “Skydive Glide Drop,” before
engaging in dance to celebrate a B rank finish. Trial Tr. (Weissinger) 1363:13–1364:12.
       46
            Trial Tr. (Wright) 590:5–9, 592:12–17.

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teams, or with other gamers of similar skill levels with whom they are matched.47 Second, in
order to play together online, users must have the same “version” of Fortnite software installed
on their device or platform.48 Third, Fortnite releases new content and updates, including major
changes to the map and game play, on a regular basis. These updates ensure that users can enjoy
new and surprising in-game experiences each time they open the app. Having a purely static
environment without these updates would materially degrade the player experience.49

        Fourth, Fortnite features cross-play, allowing players on different platforms to play with
one another.50 Since September 2018, cross-platform play for Fortnite has been available on
Sony’s PlayStation, Microsoft’s Xbox, the Nintendo Switch, Windows PCs, Mac computers,
certain Android devices, and (until recently) certain iOS mobile devices.51 In fact, Epic Games
pioneered cross-platform play for the gaming industry. It persuaded both Sony and Microsoft to
erase the artificial barriers between players on their console platforms, making Fortnite the first
game to achieve full cross-play functionality across those devices, as well as PCs and mobile
devices.52 Epic Games believed so strongly in cross-platform play that it threatened litigation
against Sony for using policies and practices to restrict the same.53

       Other cross-platform innovations featured on Fortnite include cross-progression and
cross-purchase or cross-wallet. Cross-progression allows users to access the same account and
maintain their progress, regardless of the platform on which they play. Thus, for users who play
Fortnite on multiple platforms, cross-progression is an important feature.54 Nevertheless, most
Fortnite users play on a single platform.55 Cross-purchases allows Fortnite users to buy V-




       47
            Trial Tr. (Sweeney) 107:12–18.
       48
            Id. 158:17–19.
       49
            Id. 105:21–106:14.
       50
          Id. 106:18–24, 196:8–22. Cross-platform scenarios also occur when games on one
platform access “content, subscriptions, or features” acquired on other platforms or on a
developer’s website. PX-2790.011 (§ 313(b)).
       51
            Trial Tr. (Sweeney) 107:2–10, 237:15–18.
       52
            Id. 106:23–107:10, 196:18–22, 198:22–199:6.
       53
            DX-3125.007; Trial Tr. (Sweeney) 107:2–10, 234:3–238:12, 252:22–255:16.
       54
           Trial Tr. (Sweeney) 108:3–11 (“Cross-progression refers to . . . a user who owns multi
devices to connect with Fortnite on . . . different platforms, and to have the same . . . state [of]
ownership of virtual items on all different platforms . . . .”).
       55
            PX-1054.

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Bucks, or virtual currency, on one platform and spend them on another platform. Cross-
purchases are not available on Sony or Nintendo platforms.56

       Fifth and finally, as evidenced above, Fortnite features gaming and non-gaming
experiences.57 For instance, Party Royale allows players to watch movies or TV shows, attend
concerts, and participate in global cultural events within the app itself.58 Fortnite’s capacity to
bring people together has been particularly important during the COVID-19 pandemic.59
Notable events include:

              Travis Scott’s in-game concert in April 2020, viewed by 12.3 million concurrent users,
               including two million iOS users;60
              Three of Christopher Nolan’s feature-length films—The Dark Knight, Inception, and
               The Prestige—virtually screened in June 2020;61
              Exclusive episodes of ESPN’s The Ocho, viewed by more than two million users, and
               the Discovery Channel’s Tiger Shark King, viewed by more than 900,000 users;62
              We the People, a series of discussions on racial equality and voter suppression in the
               United States, viewed by 1.5 million users;63 and
              DJ Kaskade hosted a virtual concert in March 2021.64
      Based on these in-game experiences, Epic Games considers Fortnite to compete not only
with gaming companies but also with other social media companies such as Facebook and
Netflix.65




          56
               Trial Tr. (Sweeney) 197:1–5, 198:1–3, 239:3–14.
          57
               Id. 98:6–8.
          58
               Id. 98:12–99:3.
          59
               Id. 107:14–18; Trial Tr. (Weissinger) 1295:8–16.
          60
               Trial Tr. (Weissinger) 1294:10–22.
          61
               Trial Tr. (Sweeney) 103:12–16; Trial Tr. (Weissinger) 1289:8–25.
          62
               Trial Tr. (Sweeney) 104:16–24; Trial Tr. (Weissinger) 1290:5–7, 1290:16–23.
          63
               Trial Tr. (Sweeney) 105:5–7; Trial Tr. (Weissinger) 1291:5–11.
          64
               Trial Tr. (Weissinger) 1293:25–1294:1.
          65
               Trial Tr. (Sweeney) 94:4–7, 98:16–99:3.

                                                    10
                       c. Fortnite’s Business Model: In-App Purchases and V-Bucks
        Fortnite uses the “freemium” game model, under which a game is largely free to
download and play but certain additional in-game features can be purchased.66 Epic Games
primarily generates revenue by selling V-Bucks, which can be used to obtain items in Fortnite.67
V-Bucks can be purchased in-app or directly from Epic Games’ website.68 Players can use V-
Bucks to purchase digital content within the app, including a “Battle Pass” (a feature that
provides access to challenges and otherwise locked content) or cosmetic upgrades.69 Unlike
other games employing the freemium model, in-app purchases do not buy game play advantages
in Battle Royale.70 Instead, players can make in-app purchases of different items that function as
forms of self-expression, including cosmetic enhancements or “skins” (i.e., in-game costumes),
dance moves known as “emotes,” and more.71 As of December 2020, players can also subscribe
to Fortnite Group, which provides users with the Battle Pass for each new Battle Royale season,
a monthly allotment of 1,000 V-Bucks and exclusive cosmetics.72

         Epic Games sells V-Bucks to consumers in various bundles and packages at increasing
prices: 1,000 V-Bucks for $9.99; 2,800 V-Bucks for $24.99 and so on—all the way to 13,500 V-
Bucks for $99.99. After Epic Games implemented its hotfix on iOS (discussed at length below),
Epic Games dropped V-Bucks pricing by 20% for purchases made through Epic Games’ direct
payment option on iOS and Google Play, as well as for purchases on every other platform
through which Fortnite was offered.73 Notably, there is “no cost to [Epic Games for] V-Buck
. . . V-Bucks themselves don’t have a marginal cost.”74




       66
            Id. 187:15–188:3, 226:18–19.
       67
            Id. 189:9–11.
       68
            Id. 188:13–21, 298:21–23.
       69
            Id. 108:17–109:3, 188:13–189:11; Trial Tr. (Weissinger) 1300:3–7.
       70
            Trial Tr. (Sweeney) 110:5–10.
       71
            Id. 108:23–109:3; Trial Tr. (Weissinger) 1299:6–8.
       72
            Trial Tr. (Weissinger) 1301:15–21.
       73
            DX-3774.009; Trial Tr. (Sweeney) 190:6–9, 14–16.
       74
            Trial Tr. (Sweeney) 190:14–16.

                                                 11
       Although Epic Games claims that it would not have a viable way of monetizing Fortnite
without being able to sell in-app content,75 the record shows it monetizes Fortnite in nine other
ways:76

        Two are internal to the game. First, since December 2020, users “can subscribe to
Fortnite Crew, a subscription” service offered by Epic Games.77 Second, users can pay an up-
front fee to gain access to one of Fortnite’s game modes, Save the World, that also has in-app
content for purchase.78

        The remaining seven are external. One, Epic Games “generates revenue . . . typically in
the form of redeemable codes sold through traditional retail and online stores.”79 Two, Epic
Games generates revenue through in-game advertising or cross-promotions.80 Three, it “has
received revenue for providing third-parties with promotional codes redeemable for Fortnite
content.”81 Four, “Epic has in the past entered into hardware bundle agreements with console
makers,” through which “the console makers offered for sale a bundle containing their game
consoles along with exclusive Fortnite cosmetics and V-Bucks . . . .”82 Five, “Epic has provided
other partners with redeemable codes for exclusive Fortnite cosmetics and V-Bucks, and Epic
was paid by the partner on a per redemption basis.”83 Next, it “has entered into licensing
agreements with brands through which it received the revenue from sales of in-game cosmetics
featuring the licensed content as well as a small portion of the brand’s sales generated from
Fortnite.”84 Finally, it “licenses Fortnite intellectual property to third parties to use in physical
merchandise, such as toys, apparel, accessories and home goods. In some circumstances, such
physical merchandise also may include a code that can be redeemed for Fortnite in-game
content.”85


       75
            Trial Tr. (Weissinger) 1303:18–1306:7.
       76
            DX-3691.008–.010.
       77
            Trial Tr. (Weissinger) 1357:17–25; DX-3691.009.
       78
            DX-3691.009.
       79
            Id.
       80
            DX-3691.010; see also Trial Tr. (Weissinger) 1306:19–1307:7, 1311:7–1312:1.
       81
            DX-3691.010.
       82
            Id.
       83
            Id.
       84
            Id.
       85
            Id.

                                                 12
      Based on the freemium model which relies upon in-app purchases, as well as these
alternative ways of monetization, Fortnite is quite lucrative and integral to Epic Games’ overall
business operations.86 Given that Fortnite utilizes cross-platform technology to capture a larger
audience and appears on several different platforms, Epic Games faces commission rates on its
in-app purchases. Generally, plaintiff must pay 30% across most platforms. Indeed, for
example, Epic Games has agreed to such a rate on all Fortnite transactions via the Microsoft
(Xbox) Store, the PlayStation Store, the Nintendo eShop, and Google Play.87 Epic Games has
also agreed to extra payments for certain platform holders above and beyond the standard 30%
commission rate. For example, for all Fortnite transactions via the PlayStation Store, Epic
Games agreed to make additional payments to Sony above this commission rate based on the
amount of time that PlayStation users play Fortnite cross-platform.88

                       d. Fortnite on the iOS Platform
         In 2018, Fortnite debuted on the iOS platform. Epic Games followed its prior business
model and distributed Fortnite using a “freemium” model, in which a user can download the
application for free but has the opportunity to purchase certain in-app content. Mr. Sweeney
“attribute[s] a lot of [Epic Games’] success” to this business model. This kind of business model
is facilitated by the App Store, including IAP.89

        Although Epic Games has had disputes and discussions with other platform owners as to
cross-play policies (including cross-platform, cross-progression, and cross-wallet), originally it
did not encounter any such difficulty with Apple. Prior to Fortnite’s launch on iOS devices,
Epic Games sought to leverage Apple’s significant interest in “the mobile version of [Fortnite
Battle Royale]” to obtain Apple’s support in operationalizing cross-play capabilities and to
secure marketing support from Apple. Apple cooperated: before Fortnite’s debut on the iPhone,
Apple operationalized cross-platform play. This included changing its guidelines to expressly
permit cross-platform functionalities that were similar to what Epic Games sought, and Apple
continued to permit such cross-functionality on Fortnite while the game remained on the App
Store.90 In addition to cross-platform play, Apple also facilitated cross-progression (game
progress synced across platforms), and cross-wallet functionality (allowing purchases from one
platform to be used on others).91 Epic Games has acknowledged that Apple’s permissive cross-

       86
            Trial Tr. (Sweeney) 289:21-290:25.
       87
         DX-3582.004–.005; DX-3464.012, .027, .031; Trial Tr. (Sweeney) 142:19–143:1,
161:13–15; Trial Tr. (Weissinger) 1349:14–23.
       88
         Ex. Depo. (Kreiner) 52:13–19; DX-4519.003–.004; Trial Tr. (Sweeney) 198:10–21,
238:1–238:5, 308:14–23.
       89
         Trial Tr. (Sweeney) 187:15–188:7; Trial Tr. (Schiller) 2791:11–18; Ex. Expert 8
(Schmalensee) ¶ 134.
       90
            DX-3448.001; Trial Tr. (Sweeney) 232:18–25; PX-2619.010–.012 (§§ 3.1.1, 3.1.3).
       91
            Trial Tr. (Sweeney) 108:2–13, 197:1–14, 245:16–246:4.

                                                 13
platform policies contributed to Fortnite’s success as a cross-platform game and benefited Epic
Games’ business.92

        Once Fortnite itself was introduced, revenues from in-app purchase on Epic Games apps
through the App Store roughly doubled. Indeed, Epic Games saw iOS and other mobile
platforms as key to increasing Fortnite’s player base, as plaintiff had already reached “a point of
basically full penetration on console,” making acquisition of mobile customers “hugely
important.”93 Before Fortnite was removed from the iOS platform, more than 115 million
registered players had accessed Fortnite on an iOS device.94 Of this amount, 64% of Fortnite for
iOS players—approximately 73 million in total—had only ever played Fortnite on iOS
devices.95

       That said, despite this staggering number of iOS Fortnite players, the vast majority of
Epic Games’ Fortnite revenue (93%) is generated on non-iOS platforms. Of the users who made
a purchase between March 2018 and July 2020, only 13.2% made a purchase on an iOS device—
meaning that Epic Games was able to transact with 86.8% of paying Fortnite users without
paying any commissions to Apple.96 Still, in only two short years, and with access to the iOS
platform and Apple’s support, Fortnite on iOS earned Epic Games more than $700 million
across over 100 million iOS user accounts.97

                  3. Game Publisher and Distributor: Epic Games Store
                         a. Characteristics of the Epic Games Store
        As noted above, Epic Games is involved in both game publishing and game distribution
through its online store, the Epic Games Store, which launched in December 2018.98 By way of
background, a publisher “typically funds most or all of the expenses associated with [an] entire
product, including development and marketing; whereas, a distributor typically only pays the
cost associated with direct distribution, such as in the digital . . . bandwidth and payment with
processing fees.”99 Where Epic Games serves as a publisher, its agreements provide that it first
recovers all of its costs and then splits remaining revenues 60/40 with the 40% share to the

       92
            Trial Tr. (Sweeney) 196:15–25.
       93
           DX-3233.003; Trial Tr. (Hitt) 2111:22–2112:15; Ex. Expert 6 (Hitt) ¶ 175 & Fig. 42;
Trial Tr. (Weissinger) 1346:3–17.
       94
            Ex. Expert 6 (Hitt) ¶¶ 62, 71, & Fig. 13.
       95
            Id.
       96
            Id. ¶ 69 & Fig. 14.
       97
            DX-4763.
       98
            Trial Tr. (Sweeney) 124:2–5; Trial Tr. (Allison) 1198:19–20, 1218:22–1219:10.
       99
            Trial Tr. (Sweeney) 96:24–97:4.

                                                 14
developer, or 50/50.100 In terms of distribution, the Epic Games Store serves as a platform to sell
gaming apps which operated on PC and Mac computers.101 The store carries hundreds of games,
including its own and many third-party titles.102

        Messrs. Sweeney and Steve Allison, Vice President and General Manager of the Epic
Games Store, testified that Epic Games always had an original intent to include non-gaming apps
within the Epic Games Store citing to the inclusion of Unreal Engine on the store page, and
conversations with several other non-gaming app companies including Twitch and Discord in
2018.103 The claim is suspect. First, the Epic Games Store only made significant moves during
the pendency of this litigation and on the eve of this bench trial by including non-game apps
including: the Spotify music app (December 2020), the Brave web browser, the KenShape
creation tool for artists, and Itch.io, a third-party store (April 22, 2021).104 Indeed, while Epic
Games urges in this lawsuit that Apple must allow third-party app stores in the App Store, the
Epic Games Store did not itself distribute any third-party app stores until a few days before trial
(approximately April 22, 2021).105 Second, neither Discord nor Twitch have submitted their own
apps for inclusion on the Epic Games Store.106 Finally, with respect to Unreal Engine, although
the Epic Games Store links to it, the Unreal Engine has its own website with its own domain
name and appears separate and apart from the Epic Games Store.107

        This conclusion is also supported by the design of the Epic Games Store’s website itself
which markets “games” specifically. The navigation tabs on the homepage—“games on sale,”
“free games,” “new and trending,” “new releases,” “top sellers,” “[t]op 20,” and “coming
soon”—lead to compilations consisting entirely of games. The “top news items” tab offers only
news about games. The search bar prompts the user to “search all games” (and not to “search all
apps”). The “help” tab describes Epic Games Store’s consumers as “players.” Finally, the Epic
Games Store’s “FAQ” describes the Epic Games Store as a “curated digital storefront for PC and

       100
             Trial Tr. (Sweeney) 306:6–307:11; see also Trial Tr. (Allison) 1263:3–15; DX-
3993.025.
       101
             Trial Tr. (Sweeney) 94:7–9, 123:10–13; Trial Tr. (Allison) 1198:19–20, 1199:17.
       102
             Trial Tr. 261:24–25 (Sweeney); Trial Tr. (Allison) 1210:20–23.
       103
             Trial Tr. (Sweeney) 123:15–124:5, 262:19–24; Trial Tr. (Allison) 1199:15–1200:1.
       104
           Trial Tr. (Sweeney) 124:22–125:8; Trial Tr. (Allison) 1199:13–14; see also Trial Tr.
(Sweeney) 117:19–25, 121:19–25, 123:10–13, 124:15–24, 262:19–263:11, 265:7–11; Trial Tr.
(Allison) 1243:3–11.
       105
             Trial Tr. (Sweeney) 263:22–265:4.
       106
            The Court further understands that both Twitch (an app primarily used for game
streaming) and Discord (an app primarily used for voice chat in video games) operate apps that
are, to use Mr. Allison’s words, “game adjacent.” Trial Tr. (Allison) 1119:24–25.
       107
             Id. 1239:8–13.

                                                 15
Mac” that is “designed with both players and creators in mind” and is “focused on providing
great games for gamers and a fair deal for game developers.”108

        Like other platforms, the Epic Games Store uses a commission model and markets an
88/12 split of all revenues to developers from the sale of their games. The evidence is also
undisputed that this 88/12 commission is a below-cost price and the store is expected to operate
at a loss for many years at this rate.109

       From Epic Games Store’s launch to December 2019, Epic Games collected its
commission through its own payment mechanism, which it required developers to use for all
game purchases and in-game purchases.110 Epic Games no longer requires any developer to use
its payment processing system, called Epic direct payment, for in-app purchases.111 Developers
who do not use Epic direct payment do not pay Epic Games anything for in-app purchases.112




       108
            Id. 1236:5–1238:10, 1238:11–19, 1238:21–1239:5, 1239:15–1240:7. The Court is
not persuaded that the Epic Games Store is anything but a game store. Indeed, the Court
emphasizes that its addition of non-gaming apps during the pendency of this litigation (Spotify)
and on the eve of trial (the remaining apps and software) do not demonstrate that Epic Games
Store is a general app store, especially for purposes of this litigation.

        First, at the time of the filing of the complaint in this action, the Epic Games Store was
undisputedly a game store, and the pleadings only confirm that Epic Games sought to open Epic
Games Store in its then current iteration on the iOS platform. See Compl. (Dkt. No. 1) ¶ 27
(“Epic also built and runs the Epic Games Store, a digital video game storefront through which
gamers can download various games, some developed by Epic, and many offered by third-party
game developers.” (emphasis supplied)), ¶ 81 (“Epic approached Apple to request that Apple
allow Epic to offer its Epic Games Store to Apple’s iOS users through the App Store and direct
installation.”), ¶ 90 (“The Epic Games Store offers personalized features such as friends list
management and game matchmaking services. Absent Apple’s anticompetitive conduct, Epic
would also create an app store for iOS.”).

       Second, the Court heard no specific evidence on these newly added apps, beyond brief
descriptions of these apps and software, including on Epic Games’ monetization and revenues
from such apps, or even user statistics with respect to such apps, including total and relative
downloads as compared to other products in the Epic Games Store.
       109
             Trial Tr. (Sweeney) 125:9–12, 126:1–3; Trial Tr. (Cragg) 2326:25–2327:5.
       110
             Trial Tr. (Allison) 1221:11–1222:16.
       111
           Trial Tr. (Sweeney) 125:23–25; Trial Tr. (Ko) 800:4–14; Trial Tr. (Allison) 1221:21–
1222:12; see also Trial Tr. (Sweeney) 126:1–8; 307:15–17.
       112
             Trial Tr. (Sweeney) 125:23–25.

                                                16
Because of this open policy, several app developers have elected to use their own payment and
purchase functionality for in-app purchases, such as Ubisoft and Wizards of the Coast.113

        Epic Games acknowledges that its commission is not merely a “payment processing” fee.
The 12 percent fee is principally for access to Epic Games’ customers, but also is intended to
cover all of Epic Games’ variable operating costs associated with selling incremental games to
customers. It covers various services to game developers, including “hosting, player support,
marketing of their games, and handling of refunds,” “a supporter/creator marketing program,”
and “social media for game launches, video promotions[,] . . . featuring at physical events, such
as E3[,] [a]nd sponsorships of the video games.” The commission is thus “tied into these broader
ecosystem benefits that [Epic Games] provide[s] to [its] developers,” and is intended to cover the
full “cost of operating the service,” “the actual distribution cost, the internet bandwidth cost,
[and] the . . . cost of maintaining it.”114

       Today, Epic Games Store has over 180 million registered accounts and more than 50
million monthly active users.115 It supports more than 100 third-party app developers and
publishes over 400 of their apps.116 Epic Games Store operates a single storefront across
multiple geographies.117

        Epic Games is a would-be and self-avowed competitor of Apple in the distribution of
apps.118 Absent the restrictions imposed by Apple, Epic Games would operate a mobile version
of the Epic Games Store on iOS that would compete with Apple’s App Store.119

                        b. Finances of the Epic Games Store
        As referenced, the Epic Games Store is not yet profitable due to Epic Games’ strategic
plan to grow the consumer base at the expense of near-term profits and revenue.

        By charging 12% commission, the Epic Games Store will not be profitable for at least
several years. Current estimates indicate negative overall earnings in the hundreds of millions of
dollars through at least 2027. The anticipated loss is driven by hundreds of millions of minimum
guarantees that Epic Games made to developers to entice them to distribute exclusively through

       113
             Trial Tr. (Allison) 1223:8–20.
       114
          Trial Tr. (Allison) 1271:21–24; Trial Tr. (Sweeney) 126:9–11; Ex. Depo. (Kreiner)
242:9–243:13, 243:19–22; Ex. Depo. (Rein) 110:4–25; see also Trial Tr. (Allison) 1224:4–
1225:7, 1232:5–13.
       115
             Trial Tr. (Allison) 1220:21–25.
       116
             Id. 1220:8–10, 18–20.
       117
             Trial Tr. (Sweeney) 129:8–13.
       118
             Trial Tr. (Sweeney) 95:16–20; see also Trial Tr. (Allison) 1233:8–17.
       119
             Trial Tr. (Sweeney) 97:24–98:4; see also Trial Tr. (Allison) 1233:8–17.

                                                17
Epic Games Store.120 In short, the Epic Games Store has front-loaded its marketing and user-
acquisition costs to gain market share.121 Whether this gambit will ultimately work remains to be
seen; Epic Games is currently outperforming its projected business plan by “about 15 percent,”
and its first-party and third-party businesses are up 113% and 100%, respectively.122 While Epic
Games now says it expects the Epic Games Store to become profitable by 2023, the store’s
projected revenue from prior years has proven overly optimistic.123

                4. Prior Relationship Between Apple and Epic Games
       The relationship between Apple and Epic Games dates back to at least 2010.

        In 2010, Epic Games agreed to and signed a Developer Product Licensing Agreement
(“DPLA”) with Apple. Epic International subsequently signed a Developer Agreement and
DPLA (for the account associated with Unreal Engine). At the time of the signing of these
contracts, Mr. Sweeney understood and agreed to key contractual terms including, that Epic
Games (i) was required to pay a commission on in-app purchases; (ii) was prohibited from
putting a store within the App Store; (iii) was prohibited from sideloading apps on to iOS
devices; and (iv) was required to use Apple’s commerce technology for any payments. Knowing
the terms, Epic Games chose to enter into those contracts. According to Mr. Sweeney, Epic
Games did not have a formal business dispute with Apple or raise major objections or have
existential-level concerns about the App Store’s contract terms at the time. Since 2010, there has
been no material change in the terms of Epic Games’ agreements with Apple, nor in Apple’s
business design.124




       120
          Trial Tr. (Sweeney) 126:12–127:6, 276:8–277:9; Trial Tr. (Allison) 1230:3–4,
1260:22–1262:8; Ex. Depo. (Kreiner) 244:2–5, 256:12–16; Trial Tr. (Cragg) 2327:3–5; DX-
3712.017; DX-4638; PX-2469.007; see also Trial Tr. (Allison) 1232:14–22.
       121
            Trial Tr. (Sweeney) 126:19–23; Trial Tr. (Allison) 1214:1–1215:6, 1230:5–10; see
also Trial Tr. (Allison) 1214:1–8 (explaining minimum guarantees), 1223:8–13 (noting that
some developers have chosen not to use Epic Games’ payment processor).
       122
             Trial Tr. (Allison) 1233:2–7.
       123
            Id. 1262:4–12 (“Q. And [this] also reflects that Epic expected to lose 330 to 440
million in unrecouped minimum guarantees is that right? A. We expect to invest 330 to 440
million in partnership deals, yes. . . . We don’t use the word ‘lose.’”); Trial Tr. (Sweeney) 266:1–
19, 273:9–16, 276:17–277:4; DX-3818.001; DX-3993.004; Trial Tr. (Allison) 1217:25–1218:5,
1232:18–22, 1262:13–20; DX-4361.020; PX-2463.002; PX-2469.006; DX-3467.005; DX-
4361.020; PX-2455.004.
       124
            Trial Tr. (Sweeney) 166:16–170:9; Trial Tr. (Grant) 723:23–725:21. “Sideloading” is
“the process of putting an application on the device that bypasses the store” or bypasses the
“official platform means” of installing an application. Id. 733:17–22.

                                                18
       Epic Games released three iOS games before Fortnite, and Apple featured each of them
at major events allowing Epic Games to make use of Apple’s brand.125 This began with Epic
Games’ first iOS game, Infinity Blade, in 2010, which it released for iOS because of the
“amazing 3D capabilities” on mobile platforms and the large number of iOS users.126

        These collaborations notwithstanding, Epic Games and Mr. Sweeney began voicing
discontent around the mid-2010s. In June 2015, Mr. Sweeney emailed Apple chief executive
office Tim Cook urging Apple to consider “separating iOS App Store curation from compliance
review and app distribution,” and noting that “it doesn’t seem tenable for Apple to be the sole
arbiter of expression and commerce over an app platform approaching a billion users.”127 A few
years later, in January 2018, Mr. Sweeney sought a meeting with Apple through Mark Rein, Epic
Games’ Vice President, “to talk about the potential for iOS and future Apple things to operate as
open platforms” and discuss how Epic Games has “a PC and Mac software store and would love
to eventually support it on iOS.” He added: “If the App Store we[re] merely the premier way for
consumers to install software, and not the sole way, then Apple could curate higher quality
software overall, without acting as a censor on free expression and commerce on the
platform . . . .”128

       Despite these disagreements, Epic Games proceeded to more closely intertwine itself
with the iOS platform. In early 2018, Epic Games and Apple arranged for the release of
Fortnite. By that time, Fortnite was “doing incredible” and was “basically a cultural
phenomenon.”129

                5. Project Liberty
        At the end of 2019 Tim Sweeney conceived of a plan called “Project Liberty”130 which
was a highly choreographed attack on Apple and Google, Inc. The record reveals two primary
reasons motivating the action. First and foremost, Epic Games seeks a systematic change which
would result in tremendous monetary gain and wealth. Second, Project Liberty is a mechanism
to challenge the policies and practices of Apple and Google which are an impediment to Mr.
Sweeney’s vision of the oncoming metaverse.


       125
             Trial Tr. (Fischer) 937:12–20; Ex. Depo. (Malik) 117:7–24.
       126
             DX-3710.006; Trial Tr. (Sweeney) 89:22–90:5, 90:24–91:3.
       127
             PX-2374.001.
       128
             PX-2421.001.
       129
             Trial Tr. (Fischer) 937:23–938:10; Trial Tr. (Weissinger) 1337:19–21.
       130
           DX-3774 (board presentation); DX-4419.001 (Mr. Sweeney requested to be “in the
loop on this topic 100%”); Trial Tr. (Sweeney) 88:6–7, 170:10–171:9, 280:7–10, 283:6–15
(approving the strategic decisions for Project Liberty); DX-4072 (developing a project “War
Room”); DX-4561 (outlining detailed timelines).

                                                19
        The Court understands that, based on the record, the concept of a metaverse is a digital
virtual world where individuals can create character avatars and play them through interactive
programed and created experiences. In Mr. Sweeney’s own words, a metaverse is “a realistic 3D
world in which participants have both social experiences, like sitting in a bar and talking, and
also game experiences . . . .”131 In short, a metaverse both mimics the real world by providing
virtual social possibilities, while simultaneously incorporating some gaming or simulation type
of experiences for players to enjoy. These experiences can be created by developers such as is
the case with the Battle Royale and Save the World modes in Fortnite. In other instances, these
experiences can be user-created, such as is the case with the Creative and Party Royale modes in
Fortnite, or general experiences in the video game Roblox.132 Epic Games’ and Mr. Sweeney’s
plans for Fortnite and its metaverse involved shifting the video game from primarily relying on
the former modes (i.e., developer designed, traditionally gaming, and competitive modes) to the
latter modes (i.e., social and creative modes), where users-becoming-creators would themselves
be rewarded and enriched. The Court generally finds Mr. Sweeney’s personal beliefs about the
future of the metaverse are sincerely held.

        To Mr. Sweeney and Epic Games, the metaverse is the future of both gaming and
entertainment, and Apple’s policies and practices are a hurdle which pose a problem. Indeed, for
Mr. Sweeney, “reaching the entire base of Apple is 1 billion iPhone consumers is a paramount
goal for our company, as Fortnite expands beyond being a game into this larger world of the
metaverse.”133 Both Mr. Sweeney and Epic Games’ employees and officers generally testified
that “iOS is a vital platform for a business” and that it is “the only way we can access a hundred
percent of [a platform’s] users or at least have the option of accessing a hundred percent of that
market.”134




       131
           Trial Tr. (Sweeney) 325:14–17. Mr. Sweeney acknowledged that the film Ready
Player One contains a recent portrayal of an imagined and futuristic, albeit dystopian, metaverse.
Id. 325:10. Mr. Sweeney also cited the book Snow Crash as an example of the depicted
metaverse, which he remarked “describes this emerging social entertainment medium that
transcends gaming.” Id. 325:24–326:1.
       132
            For instance, Mr. Sweeney described an experience in one of these latter modes in
Fortnite, involving utilizing player character avatars watching a Netflix show:

       All in the virtual 3D world. You can stand there and watch Netflix with your friends, and
       it’s different than watching it in front of the TV. You can talk to your friends and you
       can emote and throw tomatoes at the screen. And so it is a very different experience than
       either a game or Netflix.

Id. 326:6–11.
       133
             Id. 112:13–17.
       134
             Id. 112:3; Trial Tr. (Grant) 671:13–20.

                                                 20
        Project Liberty planning began in earnest in the first quarter of 2020.135 The plan was to
attack Apple’s (and Google’s) software distribution and payment apparatuses136 which Epic
Games described as “an attempt to provide developer choices for payment solutions and bring
that benefit to the customers in a platform where [that] choice is not available.”137 Said
differently, the “platform fees” posed “an existential issue” to both the company’s business plans
and Mr. Sweeney’s personal ambitions for Fortnite, its digital gaming and retail store, and the
evolving metaverse.138 Internally, Epic Games also hoped to revive and reinvigorate Fortnite by
pivoting its business whereby player-developers could create new content and plaintiff could
“shar[e] [a] majority of profit with [those] creators.”139

        Key to Project Liberty’s deployment, Epic Games engineered a “hotfix” to covertly
introduce code that would enable additional payment methods for the iOS and Android versions
of Fortnite.140 Hotfixes function by coding an app to check for new content that is available on
the developer’s server or by introducing new instructions on how to configure settings in the
app.141 In general, a developer can use hotfixes to activate content or features in an app that are
in the code but are not initially available to users. The content or feature is accessible only after
the app checks the developer’s server and is “notified” by the server to display the new content
or feature.142 Across all platforms where Fortnite is available, including iOS, Epic Games has
used hotfixes to enable hundreds of new features and content elements and to correct
configuration issues since Fortnite was first added to the App Store.143 By contrast, the Project
Liberty hotfix has no analogue as it clandestinely enabled substantive features in willful violation
of the contractual obligations and guidelines.

       By May 11, 2020, the key components of Epic Games’ strategy were in place: “We
submit a build to Google and Apple with the ability to hotfix on our payment method . . . . We

       135
           Trial Tr. (Sweeney) 152:24–153:4. Notably, Epic Games decided to target only Apple
and Google in its crusade even though it generally faced similar 30% rates on every platform
where it sold products, except a computer platform.
       136
             Trial Tr. (Sweeney) 152:9–53:4; DX-3774.002.
       137
             Trial Tr. (Ko) 804:12–17.
       138
             DX-3774.004.
       139
             DX-3774.002–.004.
       140
             Trial Tr. (Sweeney) 153:14–15, 154:25; Trial Tr. (Grant) 736:11–15.
       141
             Trial Tr. (Grant) 734:10–13.
       142
             Id. 734:22–735:9.
       143
           Id. 735:15–19 (“It would be like a weekly occasion. We would rotate different types
of game notes in and out. If there was a big event . . . taking place during the season, that would
be hotfixed on at the appropriate time so users could experience it.”).

                                                 21
flip the switch when we know we can get by without having to update the client for 3 weeks or
so. Our messaging is about passing on price savings to players.”144 In parallel, Epic Games
developed “Epic Mega Drop,” its simultaneous plan to lower the price of Fortnite items by an
average of 20 percent on certain platforms.145 “ Epic Mega Drop” would reduce pricing on
platforms other than Apple’s and Google’s, even though Epic Games was still paying 30%
commissions to the console makers.146 Epic Games also planned to assure its console partners
that the reduction in price for V-Bucks could be recouped through the sales of more expensive
bundles or items with “mythic” rarity.147

         Project Liberty included a public narrative and marketing plan. Epic Games recognized
that it was “not sympathetic”148 and that if Apple and Google blocked consumers from accessing
the app, “[s]entiment will trend negative towards Epic.”149 “[T]he critical dependency on going
live with our VBUCKS price reduction efforts is finding the most effective way to get Apple and
Google to reconsider without us looking like the baddies.”150

        To these ends, Epic Games wanted to “[g]et players, media, and industry on ‘Epic’s
side,’” by “[c]reat[ing] a narrative that we are benevolent,” and at the same time make Apple out
to be the “bad guys.”151 Epic Games retained a public relations firm and devised, in effect, a two-
phase communications plan.152 The first phase consisted of actions before the activation of the
plan such as creating an affiliated advocacy group, and a second phase that would galvanize
public sentiment through social media outreach and videos.153

       With regard to the first phase, Epic Games implemented its plan throughout the summer
of 2020 by creating the Coalition for App Fairness, and “charged [it] with generating continuous
media and campaign tactic pressure” on Apple and Google. Epic Games hired a consultant to

       144
             DX-4419.002; Trial Tr. (Grant) 767:15–18.
       145
             Trial Tr. (Sweeney) 156:3–16.
       146
             DX-4561.006; Trial Tr. (Weissinger) 1431:1–5.
       147
             Trial Tr. (Weissinger) 1436:9–19; DX-4652.003.
       148
             DX-4177.001; Trial Tr. (Weissinger) 1414:2–15.
       149
             DX-4018.054.
       150
             DX-4419.002.
       151
             DX- 4561.020; DX-3641.001.
       152
           DX-4561.020; DX-3641.001; DX-3681.012; DX-4185.001; DX-4561.037–.038; Trial
Tr. (Weissinger) 1413:9–12, 1417:19–1418:7. Epic Games paid it $300,000 in connection with
Project Liberty.
       153
             DX-4561.037–.038

                                                22
“help to establish a reason for [the Coalition] to exist (either organic or manufactured).” Epic
Games then concealed the Coalition’s existence until after the hotfix was triggered on August 13,
2020.154

       Epic Games assumed its breach would result in the removal of Fortnite from the iOS and
Android platforms. In fact, Mark Rein, Epic Games’ co-founder, predicted “there’s a better than
50% chance Apple and Google will immediately remove the games from their stores the minute
we do this” and Daniel Vogel, the Chief Operating Officer, predicted Google and Apple will
immediately pull the build for new players.” “They may also sue us to make an example,” he
added.155

        While Epic Games was willing to wage war against Apple and Google, it was not so
inclined to crusade against the console platform owners: namely, Nintendo (Switch), Microsoft
(Xbox), and Sony (PlayStation). Epic Games therefore planned to warn these console partners in
advance about an upcoming pricing change for V-Bucks and to reassure them that they were not
“next on [Epic Games’] list.” As explained in an email to Microsoft on August 5, 2020, Mr.
Sweeney alluded to Project Liberty which he boasted would “highlight the value proposition of
consoles and PCs, in contrast to mobile platforms.” Two days later he wrote, “you’ll enjoy the
upcoming fireworks show.”156

       Project Liberty required extensive planning and testing. Specialized engineers and an in-
house information security team attempted to hack the code to ensure that Apple could not
“reveal the intent” of the hotfix when it was submitted.157 Epic Games also used analytics to
determine the number of players that would receive the hotfix once triggered.158

       By the end of June 2020, Epic Games had no interest in the parallel litigation which was
pursuing similar ends. Nor did it intend to wait for the resolution of the ongoing Pepper and
Cameron cases. Epic Games merely “ignored” them and “went forward on [its] own.”159 In

       154
            DX-3774.003; DX-3297.002; Trial Tr. (Weissinger) 1418:17–1420:5–8. One of the
members of the Coalition for App Fairness is Eristica, a company that developed an app rejected
by App Review that “paid folks to participate in a dare challenge” and when it was rejected “one
of the dares was daring someone to jump off a bridge and video it” and other challenges “could
also risk some pretty serious harm.” Trial Tr. (Kosmynka) 1087:9–1088:18.
       155
            DX-4419.001–.002; see also Ex. Depo. (Shobin) 59:24–60:5 (Epic Games understood
that Project Liberty “jeopardize[d] Fortnite’s availability on the App Store”).
       156
          DX-4561.005, .024; DX-4652.001, .010; Trial Tr. (Weissinger) 1431:6–15; DX-
4579.001; DX-3478.001; Trial Tr. (Sweeney) 292:14–293:8, 294:2–10.
       157
             Trial Tr. (Grant) 765:11–766:2.
       158
           Apple Ex. Depo. (Shobin) 239:9–25; DX-3083; see also Trial Tr. (Schmid) 3241:20–
24 (explaining that Epic Games used TestFlight and App Analytics).
       159
             Trial Tr. (Sweeney) 155:13–25.

                                               23
other words, Epic Games decided it would rush to court with its own plan to protect its self-
avowed interests in the “metaverse” and had established a rough timeline, to which it generally
adhered: first communicating with Apple in June/July and then implementing the hotfix and
marketing blitz in August. 160

        Thus, on June 30, 2020, Epic Games renewed the DPLAs for its account, the Epic
International account, and a related entity (KA-RA S.a.r.l.) account by the payment of separate
consideration.161 With this backdrop, Epic Games sought a “side letter” or other special deal
from Apple that would provide plaintiff with unique, preferable terms.162 Mr. Sweeney sent an
email to Apple executives, including Mr. Cook, requesting the ability to offer iOS consumers
with: (i) competing payment processing options, “other than Apple payments, without Apple’s
fees, in Fortnite and other Epic Games software distributed through the iOS App Store”; and (ii)
a competing Epic Games Store app “available through the iOS App Store and through direct
installation that has equal access to underlying operating system features for software installation
and update as the iOS App Store itself has, including the ability to install and update software as
seamlessly as the iOS App Store experience.”163 Mr. Sweeney highlights that these two
offerings would allow consumers to pay less for digital products and allow developers to earn
more money. Although Mr. Sweeney wrote that he “hope[d] that Apple w[ould] also make these
options equally available to all iOS developers in order to make software sales and distribution
on the iOS platform as open and competitive as it is on personal computers,”164 Mr. Sweeney
admitted while testifying under oath that he “would have” accepted a deal “for [Epic Games] and
no other developers.”165 In his email, Mr. Sweeney did not offer to pay Apple any portion of the
30 percent it charges on either app distribution or for in-app purchases.

        On July 10, 2020, Apple Vice President and Associate General Counsel Douglas G.
Vetter responded to Mr. Sweeney’s email with a formal letter communicating, in essence: No.
As relevant here, Mr. Vetter wrote:

                   Apple has never allowed this. Not when we launched the App Store
                   in 2008. Not now. We understand this might be in Epic’s financial
                   interests, but Apple strongly believes these rules are vital to the
                   health of the Apple platform and carry enormous benefits for both
                   consumers and developers. The guiding principle of the App Store
                   is to provide a safe, secure and reliable experience for users and a
                   great opportunity for all developers to be successful but, to be clear,

       160
             DX-4561.005.
       161
             Trial Tr. (Sweeney) 283:16–284:1.
       162
             Id. 149:4–7, 285:7–22.
       163
             DX-4477.
       164
             Id.
       165
             Trial Tr. (Sweeney) 337:13–338.2.

                                                     24
                when it comes to striking the balance, Apple errs on the side of the
                consumer.

Mr. Vetter also reiterated that Epic Games’ request to establish a separate payment processor
would interfere with Apple’s own IAP system, which has been used in the App Store since its
inception.166
        On July 17, 2020, Mr. Sweeney responded to what he described as a “self-righteous and
self-serving screed,” writing that he hoped “Apple someday chooses to return to its roots
building open platforms in which consumers have freedom to install software from sources of
their choosing, and developers can reach consumers and do business directly without
intermediation.” He stated that Epic Games “is in a state of substantial disagreement with
Apple’s policy and practices,” and promised that it would “continue to pursue this, as [it] ha[s]
done in the past to address other injustices in [the] industry.” Epic Games did not reveal its plans
to enable an alternate payment system through a hotfix.167

        Next, in fulfilling Mr. Sweeney’s promise, Epic Games covertly introduced a “hotfix”
into the Fortnite version 13.40 update on August 3, 2020. Epic Games did not disclose that this
hotfix would enable a significant and substantive feature to Fortnite permitting a direct pay
option to Epic Games that would be activated when signaled by Epic Games’ servers. Until this
signal was sent out, this direct pay option would remain dormant. When activated, however, this
direct pay option would allow iOS Fortnite players to choose a direct pay option that would
circumvent Apple’s IAP system. Relying on the representations that intentionally omitted the
full extent and disclosure of this hotfix, Apple approved Fortnite version 13.40 to the App
Store.168

        The hotfix remained inactive until the early morning of August 13, 2020, when Epic
Games activated the undisclosed code in Fortnite, allowing Epic Games to collect in-app
purchases directly.169 Fortnite remained on the App Store until later that morning, when Apple
removed Fortnite from the App Store and it remains unavailable to this day. Epic Games timed
the hotfix to go live two weeks before the launch of Fortnite’s Season 14.

        Later that same day, the second phase came into full effect. Epic Games had prepared
several videos, communications, and other media to blitz Apple. Epic Games filed this action
and unleashed a pre-planned, and blistering, marketing campaign against Apple both on Twitter
and with the release of a parody video of the iconic Apple 1984 commercial. The video called
“1980 Fortnite” used the game-mode style of Fortnite and presented an in-brand explanation of

       166
             DX-4140.
       167
             DX-4480.001.
       168
          Trial Tr. (Grant) 736:1–15, 763:10–15; Trial Tr. (Sweeney) 170:16–171:9; DX-
4138.002; Trial Tr. (Kosmynka) 1089:3–9.
       169
           Trial Tr. (Sweeney) 153:21–25, 294:11–16, 128:14–15, 154:6–10, 170:12–15; Trial
Tr. (Grant) 736:6–15; Trial Tr. (Weissinger) 1426:20–1428:16.

                                                25
what Epic Games had done, namely a Fortnite character destroying an “Apple overlord.” On its
website, the Coalition proclaimed that: “For most purchases made within the App Store, Apple
takes 30% off the purchase price. No other transaction fee—in any industry—comes close.”170
The Coalition did not announce that Epic Games faced similar 30% rates from console platform
owners. Epic Games also announced a Fortnite tournament in support of its lawsuit with in-
game prizes and it released a limited time skin in Fortnite called the Tart Tycoon,171 among other
actions.172

       The following day, on August 14, 2020, Apple responded sternly. It informed Epic
Games that, based on its breaches of the App Store guidelines, and the DPLA, it would be
revoking all developer tools, which would preclude updates for its programs and software.
Apple gave Epic Games two weeks to cure its breaches and to comply with the App Store
guidelines and the agreements. Apple also identified general consequences for any failure to
comply, but specifically cited Unreal Engine as potentially being subject to its decision should
Epic Games fail to comply within the two-week period.173

         Thereafter, on August 17, 2020, Epic Games filed the request for a temporary restraining
order, requesting the reinstatement of Fortnite with its activated hotfix onto the App Store, and
enjoining Apple from revoking the developer tools belonging to the Epic Games and its
affiliates. The Court declined to reinstate Fortnite onto the App Store, but temporarily restrained
Apple from taking any action with respect to the plaintiff’s affiliates’ developer tools and
accounts.174

       On August 28, 2020, on the expiration of the two-week deadline, Apple terminated Epic
Games’ developer program account, referenced as Team ID ’84.175 Apple subsequently, and
repeatedly, offered to allow Epic Games to return Fortnite to the App Store, so long as Epic
Games agreed to comply with its contractual commitments. Epic Games has consistently
declined.176




       170
             Trial Tr. (Sweeney) 295:14–17; DX-4167.002.
       171
             Modeled presumably on Mr. Cook’s likeness.
       172
             DX-3724.001–.002; Trial Tr. (Sweeney) 295:2–17, 297:2–24.
       173
             DX-3460.
       174
         See generally Dkt. No. 48 (Order Granting in Part and Denying in Part Motion for
Temporary Restraining Order). Meanwhile, discovery in the parallel cases was contentious, yet
ongoing.
       175
             Trial Tr. (Sweeney) 171:10–172:2; Dkt. 428 ¶ 34.
       176
             Trial Tr. (Cook) 3918:18–3919:6.

                                                26
       On October 9, 2020, the Court issued an Order Granting in Part and Denying in Part the
motion for preliminary injunction.177 Given the issuance of the injunction, and that discovery
from the other two class action lawsuits could be leveraged in this action, the Court granted Epic
Games’ request to conduct a bench trial on an expedited basis. Apple objected requesting, at a
minimum, three additional months.

       C. Apple: Relevant History of the iOS and iOS Devices

                1. The Early Years
        In 2007, Apple developed the iPhone creating a new and innovative ecosystem to break
into the cellular device market with established competitors such as Samsung, Nokia, LG, Sony,
Blackberry, Motorola, Windows Mobile, and Palm. No one disputes that the iPhone was
revolutionary and fundamentally changed the cellular device market. Given the years that have
passed, one may forget how fundamentally different the iPhone was to the alternatives. After 30
months of development, Apple offered consumers a new design, with a multi-touch interface
powered by advanced hardware and software architecture. The device offered users the ability to
access email, browse the web, and perform certain software applications by simply tapping a
square-ish icon on the screen called an “app,” short for a software application. These apps
operate from a foundational layer of software called an operating system which, in the iPhone
ecosystem, is called the iOS.

        Initially, when the iPhone was first launched, Apple developed and preinstalled the
device with a few “native” apps. “Native” apps are those apps which are developed for a
particular mobile device as opposed to “web” apps which are Internet-based and allow
applications to be accessed and enabled on a mobile device by using a web browser on the
device. Initially, Apple prohibited downloads of native apps from any third party.

         Shortly after launch, Apple executives hotly debated whether to open development of
native apps to third-party developers. As history knows, those in favor succeeded. The gamble
literally paid off. Since 2007, the industry has continued to evolve and transform rapidly.

                2. Role of App Developers Generally and Epic Games
        The 2007 iPhone pales in comparison to today’s version. With 20-20 hindsight, we can
conclude that Apple’s gamble to save a languishing company paid off.178 The lens with which to
evaluate those early seminal years matters. Apple was not the monolith it is today. It is easy, but
not fair, to twist words today for self-serving reasons and forget the landscape in which they
were made.

         As innovators in the early days, Apple executives were navigating trying to determine
what would work and what would not. A few key principles guided decision-making, at least
initially. First and foremost, the iPhone was a cellphone. If the cellphone did not work or

       177
             See generally Dkt. No. 118.
       178
             Trial Tr. (Schiller) 2715:17–25.

                                                27
crashed, the product would not be successful regardless of all the bells and whistles. Second,
given the introduction of apps, securing the device from malicious software was paramount.

        Many developers responded to the iPhone launch by “jailbreaking phones and writing
native applications.” Jailbreaking occurs when a developer modifies Apple’s iOS to enable the
installation of unauthorized software, including applications from other interfaces. Jailbreaking
can create severe security risks regarding installation of malicious apps and data exposure.
Despite warnings regarding the risks, developers continued the practice which precipitated
renewed discussions within Apple to permit authorized native apps to be developed by third-
party developers.179

        As the discussions ensued, the core principles remained: reliability of the device as a
cellphone and device security. With these objectives in mind, on October 17, 2007, Apple
announced that it would allow third-party developers to create iOS apps by licensing them with
the interfaces and technology to do so. Apple then dedicated resources to create, and then
release on March 6, 2008, a software development kit or SDK as well as information for a series
of application programming interfaces or APIs to allow developers to create apps which would
work on Apple’s proprietary operating system. The APIs unlocked features such as location
awareness functionality, media applications, video playback, and numerous other tools to
enhance the developer’s ultimate product.

        The creation, constant update, and modernization of the SDKs and APIs was not
insignificant. To protect its system, Apple built tools, kits, and interfaces that would allow other
developers to build native apps. Epic Games did not introduce any evidence to rebut Apple’s
claim that in those initial years, the engineering work was novel, sophisticated, time-consuming
and expensive. These tools simplified and accelerated the development process of native apps.
Today, years later, as with many industries, it is not surprising that the more sophisticated, better
financed, and larger-scale developers, such as Epic Games, may find less value in today’s SDKs
and APIs. That does not necessarily apply across the board to all developers, nor does it
eliminate value in its entirety.

                3. Apple’s Contractual Agreements with Developers
        Apple distributes its basic developer tools for free but charges an annual fee for
membership in its developer program to distribute apps and which allows access to, for instance,
more advanced APIs (many of which are protected by patents, copyrights, and trademarks) and
beta software.180 Through the DPLA, Apple licenses, wholesale, its intellectual property.




       179
             Ex. Depo. (Forstall) 86:1–5; Ex. Expert 11 (Rubin) ¶ 76; Trial Tr. (Schiller) 2729:11–
2730:17.
       180
             Trial Tr. (Schiller) 2758:3–8, 2758:17–24.

                                                 28
        To join the “Developer Program,” one must execute the DPLA, pay a fee of $99.00 181
and provide some basic information such as a valid debit/credit card; a valid name, address and
telephone number; and sometimes, a government-issued photo identification. In the case of an
entity, Apple also requires the entity’s legal name, D-U-N-S number, as well as other
information.

        In the beginning, the App Store’s U.S. storefront offered 452 third-party apps (including
131 game apps) by 312 distinct developers. In fiscal year 2019, there were over 300,000 game
apps available on the App Store.182 With over 30 million registered iOS developers,183 it is not
particularly surprising, or necessarily nefarious, that Apple does not negotiate terms generally.
With few exceptions, Apple maintains the same relationships with developers whether big or
small. This decision, too, is controversial as the impact varies between small and large
developers.

                        a. Key Terms of the DPLA and App Guidelines
         Relevant here, the DPLA details programming requirements, which the Court outlines
first, and establishes payment terms, which the Court discusses second. While reduced here to
bullet points and footnotes, the DPLA is a portfolio licensing agreement with complex and
comprehensive provisions addressing not only intellectual property rights, but those relating to
marketing, agency, indemnity, and myriad other considerations. Moreover, the DPLA changed
over the last decade. Unless otherwise stated, the Court focuses on the 79-page version
(excluding schedules) governing Apple’s relationship with Epic Games in August 2020.184

       Thus, with respect to programing, developers are required to:

                Certify that they will comply with the terms of the agreement (Section 3.1)185;
                Use the software in a manner consistent with Apple’s legal rights (Section 3.2)186;


       181
          This fee also includes the ability to consult twice with the Apple technical services
team. Each additional incident requires paying a $99 “per incident” payment.
       182
             Ex. Expert 6 (Hitt) ¶ 169.
       183
             Trial Tr. (Schiller) 2759:9–17.
       184
         Id. 2759:22–2760:9, 2761:21–25; PX-2619; Trial Tr. (Malackowski) 3701:1–14,
3642:10–15.
       185
            Developers “certify to Apple and agree that,” among other things, they “will comply
with the terms of and fulfill [their] obligations under this Agreement, including obtaining any
required consents for [their] Authorized Developers’ use of the Apple Software and Services,
and [developers] agree to monitor and be fully responsible for all such use by [their] Authorized
Developers and their compliance with the terms of this Agreement.” PX-2619.015.
       186
          “Applications for iOS Products, AppleWatch, or Apple TV developed using the
Apple Software may be distributed only if selected by Apple (in its sole discretion) for
                                                 29
                  Create apps for Apple products which could only be distributed through the App
                   Store (Section 3.2)187;
                  Submit proposed apps for review to ensure they were properly documented and
                   did not contravene the program requirements (Section 3.3.2188 and 3.3.3189);
                  Configure apps to use IAP when the purchases are subject to the commission
                   (Section 3.2.(f)190); and
                  Agree not to “attempt to hide, misrepresent or obscure any features, content,
                   services or functionality” (Section 6.1)191.



distribution via the App Store, Custom App Distribution, for beta distribution through TestFlight,
or through Ad Hoc distribution as contemplated in this Agreement.” PX-2619.016.
       187
             Id.
       188
            “Except as set forth in the next paragraph, an Application may not download or install
executable code. Interpreted code may be downloaded to an Application but only so long as
such code: (a) does not change the primary purpose of the Application by providing features or
functionality that are inconsistent with the intended and advertised purpose of the Application as
submitted to the App Store, (b) does not create a store or storefront for other code or
applications, and (c) does not bypass signing, sandbox, or other security features of the OS.

         An Application that is a programming environment intended for use in learning how to
program may download and run executable code so long as the following requirements are met:
(i) no more than 80 percent of the Application’s viewing area or screen may be taken over with
executable code, except as otherwise permitted in the Documentation, (ii) the Application must
present a reasonably conspicuous indicator to the user within the Application to indicate that the
user is in a programming environment, (iii) the Application must not create a store or storefront
for other code or applications, and (iv) the source code provided by the Application must be
completely viewable and editable by the user (e.g., no pre-compiled libraries or frameworks may
be included with the code downloaded).” (Emphasis supplied.)
       189
            “Without Apple’s prior written approval or as permitted under Section 3.3.25 (In-App
Purchase API), an Application may not provide, unlock or enable additional features or
functionality through distribution mechanisms other than the App Store, Custom App
Distribution or TestFlight.”
       190
            “You will not, directly or indirectly, commit any act intended to interfere with . . .
Apple’s business practices including, but not limited to, taking actions that may hinder the
performance or intended use of the App Store, . . . . Further, You will not engage, or encourage
others to engage, in any unlawful, unfair, misleading, fraudulent, improper, or dishonest acts or
business practices relating to Your Covered Products (e.g., engaging in bait and-switch pricing,
consumer misrepresentation, deceptive business practices, or unfair competition against other
developers).”
       191
             “You may submit Your Application for consideration by Apple for distribution via
                                                  30
        In 2010, Apple also created the App Guidelines which are more fully discussed below.192
As a corollary to Section 3.3.3 of the DPLA, Section 3.1.1 of the App Guidelines was the
clearest articulation of the anti-steering provision with respect to in-app purchases. It reads:

                If you want to unlock features or functionality within your app, (by
                way of example: subscriptions, in-game currencies, game levels,
                access to premium content, or unlocking a full version), you must
                use in-app purchase. Apps may not use their own mechanisms to
                unlock content or functionality, such as license keys, augmented
                reality markers, QR codes, etc. Apps and their metadata may not
                include buttons, external links, or other calls to action that direct
                customers to purchasing mechanisms other than in-app purchase.193

Section 2.3.10 of the Guidelines reads: “. . . don’t include names, icons, or imagery of other
mobile platforms in your app or metadata, unless there is a specific, approved interactive
functionality” and Section 3.1.3 Other Purchase Methods states: “The following apps may use
purchase methods other than in-app purchase. Apps in this section cannot, either within the app
or through communications sent to points of contact obtained from account registration within




the App Store or Custom App Distribution once You decide that Your Application has been
adequately tested and is complete. By submitting Your Application, You represent and warrant
that Your Application complies with the Documentation and Program Requirements then in
effect as well as with any additional guidelines that Apple may post on the Program web portal
or in App Store Connect. You further agree that You will not attempt to hide, misrepresent or
obscure any features, content, services or functionality in Your submitted Applications from
Apple’s review or otherwise hinder Apple from being able to fully review such Applications. . . .
You agree to cooperate with Apple in this submission process and to answer questions and
provide information and materials reasonably requested by Apple regarding Your submitted
Application, including insurance information You may have relating to Your Application, the
operation of Your business, or Your obligations under this Agreement. . . . If You make any
changes to an Application (including to any functionality made available through use of the In-
App Purchase API) after submission to Apple, You must resubmit the Application to Apple.
Similarly all bug fixes, updates, upgrades, modifications, enhancements, supplements to,
revisions, new releases and new versions of Your Application must be submitted to Apple for
review in order for them to be considered for distribution via the App Store or Custom App
Distribution, except as otherwise permitted by Apple. (Emphasis supplied.)
       192
             All developers agree to abide by the App Guidelines, among others. PX-2619.070.
       193
             PX-2790 (emphasis supplied).
                                                 31
the app (like email or text) encourage users to use a purchasing method other than in-app
purchase.”194
        In terms of payment, Apple knew from the outset that developers would either distribute
their apps for “free” or by selling them. The DPLA contained Schedules 1 and 2 to address each
category, respectively.

        “Free” as used here specifically means an app for which a consumer does not pay to
download, and which does not sell any digital goods or subscriptions. Thus, free apps do not
generate any revenue for Apple. However, some developers monetize their free app with
advertising.195 In fiscal year 2019, 83% of apps with at least one download on the App Store
were free to consumers, including 76% of game apps of which there are over 300,000.196

       On the other hand, the “freemium model” (used by Fortnite) is one where the initial
download is “free”, but revenue comes from in-app purchases or payments for upgrades. Apps
which do charge for downloads or digital goods bought within an app fall under the purview of
Schedule 2.

       Section 3.4 of Schedule 2 provides the basic 30 percent rate and reads:197

                Apple shall be entitled to the following
                commissions in consideration for its services as
                Your agent and/or commissionaire under this
                Schedule 2:

             (a) For sales of Licensed Applications to End-Users
                 located in those countries listed in Exhibit B,
                 Section 1 of this Schedule 2 as updated from time
                 to time via the App Store Connect site, Apple
                 shall be entitled to a commission equal to thirty




       194
           Apple’s anti-steering provision as it relates to subscriptions is found in Section 3.11
of the DPLA. However, as shown herein, subscriptions are not part of the action. Other related
provisions in the Guidelines include 3.1.3(a) and 3.1.3(b).
       195
             Ex. Expert 6 (Hitt) ¶¶ 134, 206.
       196
             Trial Tr. (Hitt) 2094:13–23; Ex. Expert 6 (Hitt) ¶¶ 156, 169.
       197
          PX-2621. Section 3.4 is preceded by sections outlining the marketing and hosting
agreements between Apple and the developers, albeit Apple did not guarantee any quantifiable
services.

                                                 32
                percent (30%) of all prices payable by each End-
                User.198

Under the terms of the DPLA, “the Licensed Applications” cannot be activated until approved by
Apple. For all digital purchases, Apple charges a 30% commission and only recently instituted
some exceptions. Purchases which are not digitally confirmed, such as those related to physical
goods, such as take-out food or Amazon purchases, do not result in a commission to Apple.

        Apple does not dictate to developers how or what to price an app or how to monetize
their product. However, it did impose certain parameters, namely the prices of apps need to end
in $0.99 and must appear within predesignated bands. There is no evidence that this has
impacted Epic Games at all or that it has created any widespread problems. Rather, plaintiff
cites only to testimony of Matthew Fischer, Apple’s Vice President of App Review, that
developers have asked “from time to time” for more flexibility. With respect to international
pricing, Apple has a single “tier” but evidence was not admitted to show any problems with the
tiered system.199

        At best, the evidence on this issue is scant and not fully developed. Mr. Fischer testified
that developers have at times asked for “more flexibility to charge different prices for in-app
purchases,” and Apple has consistently declined.200 Whether this is a significant issue is
unknown. Certainly, Epic Games, the plaintiff here, never asked to change the pricing. The
Court suspects that it is because of the common marketing view that ending a price in $0.99
conveys a bargain price to the consumer. That said, Apple did little to justify the restriction.201
On balance, the Court finds nothing anticompetitive with these two requirements based on this
record.




       198
            PX-2621. Subsection 3.4(a) proscribes a 15% rate for subscriptions which
are not part of this case.
       199
             Ex. Depo. 9 (Fischer) 266:16–24. Thus, Schedule 2 to the DPLA states that Apple
markets third-party apps “at prices identified by [the developer] . . . from the pricing schedule
attached . . . as Exhibit C.” Any price changes must be “in accordance with the pricing
schedule.” The tiers generally require the same price across all countries; for example, a $ 0.99
tier requires the equivalent of $ 0.99 in local currency in India. PX-2621 § 3.1, Ex. C; PX-2202;
Ex. Depo 12 (Gray) 26:3–5, 195:15–196:14, 206:13–207:18, 208:6–9.
       200
             Ex. Depo. 9 (Fischer) 266:12–19.
       201
            Apple does not directly respond but argues that currency conversion is a benefit of
IAP. See Apple FOF ¶ 692. To the extent this true, Apple has not explained why it cannot
afford more flexibility in unique circumstances. Mr. Gray testified that Apple selected 99 cent
tiers based on its prior experience without apparently consulting developers. Ex. Depo. 12
(Gray) 195:24–196:14.

                                                33
                       b. Apple’s App Store as an App Transaction Platform
        Having made the decision to allow third-party developers to license the tools to make
“apps” for the iPhone, Apple also needed to develop a place or manner in which the developers
and the users could connect. Apple wrote a series of applications, combined them all, and called
it the App Store. Apple designed the App Store not only to allow third-party developers to reach
consumers with their apps, but to notify customers when updates were available: “tap the Update
button and [the] app will be replaced by the updated version . . . over the air, all automatically.”
The App Store functionality and access thereto is at the heart of the action.

        Apple’s late Chief Executive Order (“CEO”), Mr. Steve Jobs, recognized that the
“purpose in the App Store is to add value to the iPhone” and ultimately “sell more iPhones.”
Apple’s current Vice President of Developer Relations, Mr. Ron Okamoto, similarly
acknowledged that well-known developers make Apple’s platforms more attractive to users and
lead them to buy Apple devices. 202 Thus, the symbiotic relationship was created.

        Apple’s intellectual property as it relates to the iOS ecosystem generally are significant.
The record is undisputed that Apple holds approximately 1,237 U.S. patents with 559 patent
applications pending. With respect to the App Store itself, Apple holds an additional 165 U.S.
patents with 91 more U.S. patent applications pending. Other than these patents, Apple does not
identify specifically how the rest of its intellectual property portfolio impacts the technology at
issue in this case nor does it specifically justify its 30% commission based on the value of the
intellectual property. It only assumes it justifies the rate.203

        Over recent years, the evidence established that a significant portion of the App Store
revenue is built upon long-term relationships between developers and consumers independent of
Apple. Indeed, during a 2019-2020 presentation, Apple recognized this transition, noting that
the “top monetizing game are services that entertain customers for years.” Specifically, “[i]n any
given month, 41% of [Apple’s] monthly billings are generated from apps that were downloaded
more than 180 days prior,” as contrasted to 31% for apps downloaded between 30 and 180 days
prior and to 28% for apps downloaded less than 30 days prior. “As a result, a significant share of
our billings are generated not from apps that were just downloaded, but from apps that customers
re-engage with long after the first download.” Even Apple concedes that “this engagement is
almost completely driven by [App Store] developers, and the App Store does not participate in a
meaningful way.”204




       202
           PX-2060.018–.019; Ex. Depo. (Okamoto) 324:04–325:10; Ex. Expert 1 (Evans) ¶ 19;
Ex. Expert 8 (Schmalensee) ¶ 44.
       203
            See generally Ex. Expert 12 (Malackowski) (noting that the intellectual property has
value, but not providing any numerical value).
       204
             PX-608.028.

                                                 34
                        c. Apple’s Commissions Rates: 30 percent; 15 percent; recent changes
        Apple’s establishment of a 30% commission rate has remained static since the onset. Mr.
Philip Schiller, who was there at the beginning, testified that the App Store charged the same
percentage as other gaming stores, like Steam and Handango. Mr. Eddy Cue, another Apple
executive, who made the pricing decision with Mr. Jobs, recognized that “[t]here wasn’t really
any kind of App Store” when it first launched, so Apple looked at distribution of hard goods and
software instead. Because distributing hard versions of software cost 40% to 50%, lowering the
commission to 30% was considered a “huge decrease” intended to “get developer really excited
about participating in the platform.” Importantly, and undisputed, Apple chose the 30%
commission without regard to or analysis of the costs to run the App Store.205

        Prior to 2011, users could read content from subscriptions made outside iOS, but were
limited to a one-time subscription, not recurring subscriptions. In 2011, Apple expanded its
functionality to allow for the sales of recurring subscriptions when purchased in the app store but
required a 30 percent commission.206 Finally, in late 2020, Apple introduced the Small Business
Program. That program reduced Apple’s commission to 15% for developers making less than
one million dollars.207

        Apple’s implementation of the Small Business Program was spurred, in part, by the
COVID-19 pandemic. However, Mr. Cook also admitted that “lawsuits and all the rest of the
stuff” was “in the back of [his] head.” Mr. Schiller similarly testified that the Small Developer
Program began with a lot of “commentary” about “App Store’s commission level,” but was
pushed over the edge by the pandemic. He too expressly acknowledged that the current lawsuit
helped “get it done” along with “scrutiny and criticism . . . from around the world.”208

        Over time, and given Apple’s success, some developers have actively complained about
the 30% commission. The Court recognizes that developers have sued Apple on behalf of a class
arguing that the rate is too high. Unlike those developers, Epic Games challenges the levy of any
commission and did not offer a survey showing developers agreed with this position; only the
anecdotal evidence of a couple.209 It is logical that no developer would want to pay prices higher
than is competitive or necessary. However, it is also true that, with few exceptions, not every



       205
         Trial Tr. (Schiller) 2725:23–2726:9, 2740:8–15; Ex. Depo. 8 (Cue) 135:08–136:14,
141:13–142:09.
       206
             Trial Tr. (Schiller) 3183:9–3184:25.
       207
             Id. 2810:16–2811:5.
       208
             Trial Tr. (Cook) 3992:4–3993:1; Trial Tr. (Schiller) 2812:1–2813:10, 3070:13–25.
       209
            The Court also makes a distinction with respect to the testimony of Ms. Wright who
explicitly was not testifying on behalf of Microsoft. Had Microsoft wanted to weigh in; it could
have.

                                                    35
business is entitled to have access to what is effectively shelf space if they cannot afford to pay a
commission to the platform host.

        While Apple’s 30 percent commission began as a corollary to the 30 percent rate being
charged in the gaming industry, the evidence is substantial that the economic factors driving that
rate do not apply equally to Apple. Other gaming industry participants operate under a distinctly
different economic model, facing different levels of competitive pressure. See infra Facts
§ II.D.2–4. For example, unlike those in the computer gaming market, nothing other than legal
action seems to motivate Apple to reconsider pricing and reduce rates.210

                4. Apple’s Management of Apps – App Guidelines
       Initially, Apple envisioned the App Store as a highly curated selection of apps. With
only 500, then 25,000, apps in its initial collection, the vision was achievable.211 As the number
of apps skyrockets, Apple strains in its claim that the current version of the App Store promises
the same curated product. Though Apple has removed over 2 million outdated apps, and rejected
those not meeting the Guidelines, the App Store still another contains 2 million apps of which
over 300,000 are games.212

        Curation in the current era merely means that an app must comply with the App
Guidelines, first published in 2010. Some of the Guidelines are not reasonably controversial.213
For instance, Apple will not authorize certain apps such as porn, malicious apps, ‘unforeseen’
apps, apps that invaded one’s privacy, illegal apps, and even bandwidth hog[s].214 Epic Games
claims that Apple’s efforts in this regard are substandard, raising concerns regarding the
effectiveness and quality of the current review process. Unfortunately, Epic Games only
scratched the surface and did not provide particularly compelling evidence of its perspective.215

        Missing from the record is any normative measure of what standard guidelines should be.
Perfection is not practical nor the business norm. Internal documents show that Apple responded
to developers who were complaining of the time for reviewing of apps and updates. Apple

       210
            The Court is aware of the additional, and unchallenged, concerns relating to money
laundering, fraud, and other risks that Apple debated in terms of changing the commission. Trial
Tr. (Schiller) 2813:11–2814:7; PX-2390.200. While valid, at least with respect to money
laundering, the reference point was 15% which is half the static 30% commission rate.
       211
             PX-0880.020; Trial Tr. (Schiller) 2754:7–8; 2785:15–25.
       212
             Trial Tr. (Schiller) 2833:25–2834:2; 2846:11–2847:24.
       213
             PX-0056A; Trial Tr. (Schiller) 2833:25–2834:2.
       214
             PX-2619, § 3.3.20, 3.3.21, 3.3.26, 3.3.29.
       215
            For instance, Epic Games spent considerable time arguing that numerous apps were,
in fact, porn. Upon further review, while salacious, the proffer was devoid of merit and merely
emphasized the lack of evidence on this point.

                                                 36
promises in its Service Level Agreement to complete a review of an app quickly: 50 percent
within 24 hours and 90 percent within 48 hours. Apple claims that it is completing 96 percent of
the reviews within 24 hours.216 Anecdotal evidence from Mr. Benjamin Simon, President and
CEO of Down Dog, suggests that those statistics are skewed but there was no further exploration
on the topic.

        The App Guidelines address issues of safety, privacy, performance, and reliability. The
fact that the Guidelines are not static does not raise per se concerns because the issues are
similarly non-static.217 Evidence exists to show that the Guidelines are used in appropriate ways
for appropriate purposes. See infra Facts § V.A.2.a.ii. For instance, Apple proactively requires,
much to some developers’ chagrin, measures to protect data security,218 privacy, data collection
and storage.219 The data collection and disclosure requirements are not insignificant. They

       216
             Trial Tr. (Kosmynka) 1110:10–1111:2; Trial Tr. (Federighi) 3467:11–24, 3502:23–
3504:15.
       217
           PX-0056A.100 (“This is a living document, and . . . may result in new rules at any
time.”); PX-0056; PX-2790; Trial Tr. (Fischer) 947:6–14 (“We do change the guidelines.”); Trial
Tr. (Kosmynka) 984:14–16; Trial Tr. (Schiller) 2833:15–21 (“They are modified at least yearly,
sometimes more than once in a year.”).
       218
           Section 1.6 states that “[a]pps should implement appropriate security measures to
ensure proper handling of user information collected pursuant to the Apple [DPLA] and these
Guidelines (see Guideline 5.1 for more information) and prevent its unauthorized use, disclosure,
or access by third parties.” PX-2790.005.
       219
            5.1.1 Data Collection and Storage:
       (i) Privacy Policies: All apps must include a link to their privacy policy in the App Store
Connect metadata field and within the app in an easily accessible manner. The privacy policy
must clearly and explicitly:
             Identify what data, if any, the app/service collects, how it collects that data, and
                all uses of that data.
             Confirm that any third party with whom an app shares user data (in compliance
                with these Guidelines) — such as analytics tools, advertising networks and third-
                party SDKs, as well as any parent, subsidiary or other related entities that will
                have access to user data — will provide the same or equal protection of user data
                as stated in the appʼs privacy policy and required by these Guidelines.
             Explain its data retention/deletion policies and describe how a user can revoke
                consent and/or request deletion of the userʼs data.

        (ii) Permission Apps that collect user or usage data must secure user consent for the
collection, even if such data is considered to be anonymous at the time of or immediately
following collection. Paid functionality must not be dependent on or require a user to grant
access to this data. Apps must also provide the customer with an easily accessible and
understandable way to withdraw consent. Ensure your purpose strings clearly and completely
describe your use of the data. Apps that collect data for a legitimate interest without consent by
relying on the terms of the European Unionʼs General Data Protection Regulation (“GDPR”) or
                                                37
similar statute must comply with all terms of that law. Learn more about Requesting Permission.

       (iii) Data Minimization: Apps should only request access to data relevant to the core
functionality of the app and should only collect and use data that is required to accomplish the
relevant task. Where possible, use the out-of process picker or a share sheet rather than
requesting full access to protected resources like Photos or Contacts.

       (iv) Access: Apps must respect the userʼs permission settings and not attempt to
manipulate, trick, or force people to consent to unnecessary data access. For example, apps that
include the ability to post photos to a social network must not also require microphone access
before allowing the user to upload photos. Where possible, provide alternative solutions for users
who donʼt grant consent. For example, if a user declines to share Location, offer the ability to
manually enter an address.

        (v) Account Sign-In: If your app doesnʼt include significant account-based features, let
people use it without a log-in. Apps may not require users to enter personal information to
function, except when directly relevant to the core functionality of the app or required by law. If
your core app functionality is not related to a specific social network (e.g. Facebook, via another
mechanism. Pulling basic profile information, sharing to the social network, or inviting friends to
use the app are not considered core app functionality. The app must also include a mechanism to
revoke social network credentials and disable data access between the app and social network
from within the app. An app may not store credentials or tokens to social networks off of the
device and may only use such credentials or tokens to directly connect to the social network from
the app itself while the app is in use.

       (vi) Developers that use their apps to surreptitiously discover passwords or other private
data will be removed from the Developer Program.

        (vii) SafariViewController must be used to visibly present information to users; the
controller may not be hidden or obscured by other views or layers. Additionally, an app may not
use SafariViewController to track users without their knowledge and consent.

        (viii) Apps that compile personal information from any source that is not directly from
the user or without the userʼs explicit consent, even public databases, are not permitted on the
App Store.

       (ix) Apps that provide services in highly-regulated fields (such as banking and financial
services, healthcare, gambling, and air travel) or that require sensitive user information should be
submitted by a legal entity that provides the services, and not by an individual developer.

        5.1.2 Data Use and Sharing
        (i) Unless otherwise permitted by law, you may not use, transmit, or share someoneʼs
personal data without first obtaining their permission. You must provide access to information
about how and where the data will be used. Data collected from apps may only be shared with
third parties to improve the app or serve advertising (in compliance with the Apple Developer
                                                38
require user consent, minimization, and affirmative permissions. These specifications place the
customer’s concerns ahead of the developers and are on the forefront of protecting user data;
measures not all developers embrace, especially where they want to monetize that data. Epic
Games claims that these restrictions inhibit their ability to service customer needs. Both
perspectives contain a measure of truth. However, the latter is less persuasive because the
servicing is an option after the customer consents, while the alternative would mean that data is
collected and used without the customer knowing.

        Tangentially related is the App Guidelines’ approach to cloud-based game streaming
which is discussed below with respect to market definition. See infra Facts § II.D.3.d. The
evidence on this front post-dated the filing of this lawsuit. Thus: in September 2020, Apple
modified the Guidelines to allow for the inclusion of game streaming apps, but only if each
streamed app is made available as a separate app on the App Store.220 Nvidia, Microsoft, and
Google sought to launch their game streaming services as native iOS apps before Apple modified
its Guidelines, but all three were rejected by Apple.221 None of these services chose to
subsequently launch separate iOS apps—one per streamed game—as required by the new App
Guidelines.222 Craig Federighi, Apple’s Senior Vice President of Software Engineering, testified
that there are currently no streaming apps for game apps on the App Store.223 Apple allows
entertainment apps such as video and music apps to stream. The restriction only applies to
gaming.



Program License Agreement.). Apps that share user data without user consent or otherwise
complying with data privacy laws may be removed from sale and may result in your removal
from the Apple Developer Program.

       (ii) Data collected for one purpose may not be repurposed without further consent unless
otherwise explicitly permitted by law.

       (iii) Apps should not attempt to surreptitiously build a user profile based on collected data
and may not attempt, facilitate, or encourage others to identify anonymous users or reconstruct
user profiles based on data collected from Apple-provided APIs or any data that you say has
been collected in an “anonymized,” “aggregated,” or otherwise non-identifiable way.
       220
            PX-0056.180 (“Each streaming game must be submitted to the App Store as an
individual app so that it has an App Store product page, appears in charts and search, has user
rating and review, can be managed with ScreenTime and other parental control apps, appears on
the user’s device, etc.”).
       221
           Trial Tr. (Patel) 438:24–439:15; Trial Tr. (Wright) 534:18–535:8; PX-2048.100
(“Stadia by Google has been rejected by ERB”); PX-2109.100 (“NVIDIA GeForce NOW has
been rejected by ERB”).
       222
             Trial Tr. (Patel) 440:25–441:4; Trial Tr. (Wright) 650:15–651:6.
       223
             Trial Tr. (Federighi) 3490:4–6.

                                                39
      Epic Games raises legitimate concerns regarding some of the consequences of Apple’s
App Guidelines and its refusal to share control of data absent customer agreement.

        First, Apple does a poor job of mediating disputes between a developer and its customer.
Consumers do not understand that developers have effectively no control over payment issues
and or even access to consumers’ information. Consequently, it can be frustrating for both sides
when issues arise relating to the inability to issue and manage the legitimacy of requests for
refunds.224

        With respect to refunds, the DPLA gives Apple “sole discretion” to refund a full or
partial amount of user purchases. When developers want to refund a customer purchase, they
must contact Apple or tell the customer to contact Apple, which independently “evaluate[s] that
situation.”225 Thus, developers lack the ability to provide refunds and have worse customer
service as the result. For example, Match Group’s Operations Vice-President testified that Apple
prevents Match Group from implementing its preferred refund policy or tailoring refunds to
users’ history, which leads to poor experiences with its products and hurts its brand.226

        Moreover, because Apple lacks visibility into the transaction, it has created overly
simplistic rules to issue refunds which can also increase fraud.227 For example, apps have
suffered from return fraud, where the customer enjoys or resells content and then obtains a
refund by providing false information. Prior to 2020, Apple did not even provide developers
with information that a refund had been issued, and they had no ability to remove the refunded
feature to prevent its further use. Mr. Schiller explains that Apple has this requirement because
customers “want to reach out to us when they have a problem with the developer and want a
refund.”228 That explanation is plausible if the developer caused the issue that requires a refund.
However, if the refund arises from a general customer service issue, the developer is likely better




       224
             Trial Tr. (Simon) 369:23–373:3.
       225
             PX-2621.600; Ex. Depo. 12 (Gray) 126:6–127:5, 128:2–25.
       226
            Ex. Depo. (Ong) 34:10–36:23, 48:17–51:06, 162:03–22; Trial Tr. (Sweeney) 91:24–
92:7; Trial Tr. (Simon) 372:9–373:3; Ex. Depo. 12 (Gray) 128:8–25. Mr. Simon provides
another example: Down Dog has a generally lenient refund policy that provides frequent
exceptions, such as for health workers and users who liked a feature that was deprecated.
Apple’s approach is stricter and more uniform, which prevents Down Dog from implementing its
preferred policy. Trial Tr. (Simon) 370:2–373:17.
       227
           Apple employees have acknowledged that this “causes some customers to be treated
unfairly while also allowing for fraudulent claims to be refunded.” PX-2189.100.
       228
             Trial Tr. (Schiller) 2798:24–2799:11.

                                                40
suited to address the issue. Although Apple introduced new tools to address this issue in 2020, it
did so only after years of complaints.229

       Apple argues that its policies protect consumers against fraudulent attacks. The data is far
from clear. What is certain is Apple’s decision prohibits information from flowing directly to the
customer so that customers can make these choices themselves.

        Second, Epic Games argues that the lack of direct connection to consumers impacts a
developer’s ability to obtain key analytics, such as “real-time reporting about its customers’
spending behavior.” While Epic Games may profit from having “real-time reporting” about an
individual spending behavior, ample evidence shows that Epic Games already reaps immense
profits from impulse purchasing. Little societal value exists in allowing plaintiff to capitalize on
more customer data to exploit customer habits.

        Other examples, however, seem more legitimate such as Match Group’s desire to obtain
the information to run registered sex offender checks and age verification. Mr. Ong attributes
this fact to a “one-size-fits-all” approach that prevents it from building safety features “that are
relevant to [its] users.” In truth, the evidence is more mixed with a split among developers
regarding the amount and usefulness of certain information with respect to analytics. 230 As
noted, the issue is double-edged as it impacts user privacy.

                   5. App Store Operating Margins
       Plaintiff’s expert, Ned Barnes, through both reverse engineering and review of
documents from Tim Cook’s files, calculated operating margins to be over 75% for both fiscal
years 2018 and 2019.231 Mr. Barnes explained:

                   Operating margin measures the profitability of a business or
                   business segment by calculating the excess of revenue over costs. It
                   is defined as net revenue (or sales) minus both (i) costs of goods sold
                   (“COGS”) and (ii) operating expenses (“OPEX”) such as selling,
                   general and administrative expenses, and research and development
                   (“R&D”) expenses. Operating margin percentage is calculated by
                   dividing the nominal amount of operating margin dollars by the
                   nominal amount of net revenue.232



       229
          Ex. Depo. 12 (Gray) 146:8–147:20, 150:15–151:05; Trial Tr. (Schiller) 2799:17–
2800:11; PX-2062 (complaints in 2018).
       230
           Ex. Depo. (Ong) 169:24–173:19; Trial Tr. (Sweeney) 128:22–24; PX-2362.300; Ex.
Expert 8 (Schmalensee) ¶ 150; Ex. Expert 11 (Rubin) ¶ 127; DX-3922.106.
       231
             Ex. Expert 2 (Barnes) ¶¶ 2, 4, 5.
       232
             Id.

                                                     41
In addition, Mr. Barnes reviewed internal documents reflecting profit and loss (“P&L”)
statements specific to the App Store and presented to Apple executives. These documents
support Mr. Barnes’ independent conclusions.233 Other documents indicate that at least by fiscal
year 2013, the margin percentages exceeded 72%.234
        Apple counters that it does not maintain profit and loss statements for individual
divisions and that Mr. Barnes’ analysis is inaccurate. The Court disagrees with the latter. Mr.
Barnes made appropriate adjustments based on sound economic principles to reach his
conclusions. Apple’s protestations to the contrary, notwithstanding the evidence, shows that
Apple has calculated a fully burdened operating margin for the App Store as part of their normal
business operations. Apple’s financial planning and analysis team are tracking revenues, fixed
and variable operating costs, and allocation of IT, Research & Development, and corporate
overheads to an App Store P&L statement. The team’s calculation was largely consistent with
that of Mr. Barnes. Although there are multiple ways to account for shared costs in a business
unit, the consistency between Mr. Barnes’ analysis and Apple’s own internal documents suggest
that Mr. Barnes’ analysis is a reasonable assessment of the App Store’s operating margin.

        However, when Mr. Barnes extended the analysis to compare his findings to other online
stores, he chose poorly. Mr. Barnes analyzed the operating margins for the following online
stores for the years spanning 2013 to 2019, finding operating margin percentages ranging
approximately as follows: eBay (20-30 percent), Etsy (-3.2 to 12 percent), Alibaba (29-50
percent), MercardoLibre (-6.7 to 32 percent), and Rakuten (8-17 percent).235 All of these pale in
comparison to Apple, but none are driven by the same digital transactions as exist here.

        While Mr. Barnes’ choice is understandable,236 he did not compare Apple with the
Google Play app store, Sony PlayStation Store, Microsoft Store, Samsung Galaxy Store, and
Nintendo eShop.237 Mr. Barnes notes that these entities claim, like Apple, that they do not report
sufficiently separate financial results for their app store activities. It is not clear whether
sufficient public information exists to reverse engineer for these companies in the same way he
reverse-engineered for Apple.



       233
             Id.
       234
             Id. ¶ 9.
       235
             Id. ¶ 22.
       236
            Mr. Barnes used the following “criteria” to choose the comparators: “online
marketplace firms” that “(i) primarily generate online marketplace revenues from commissions
and fees earned from transactions involving third-party merchants rather than as a direct seller of
goods; (ii) publicly reported financial statements; (iii) at least five years of available financial
statements; (iv) marketplace activities sufficiently distinguishable in operating results; and (v)
profitable marketplace operations in at least one year of the last five years.” Id. ¶ 23.
       237
             Id. ¶ 24.

                                                 42
       Notwithstanding Mr. Barnes’ choice to compare the App Store’s operating margins to
those other online stores, under any normative measure, the record supports a finding that
Apple’s operating margins tied to the App Store are extraordinarily high. Apple did nothing to
suggest operating margins over 70% would not be viewed as such. As discussed below, the
record also shows that the bulk of the revenues generating those margins come from in-app
purchases in gaming apps.

                6. App Store Revenues From Mobile Gaming
        As highlighted at the outset of this Order, pivotal evidence in this case reveals that
gaming transactions are driving the App Store. Given the critical nature of this evidence, the
Court unseals the following evidence from 2017 and sufficient evidence from the following
years to make key findings. The specifics are referenced in the footnotes below and sealed to the
general public. Suffice it to say, the trends increase in an upwards trajectory.

        Games have played an integral part of the App Store since at least 2016. In 2016 for
instance, despite game apps only accounting for approximately 33% of all app downloads, game
apps nonetheless accounted for 81% of all app store billings that year.238 Further, based on
Apple’s internal records, 2017 gaming revenues overall accounted for 76% of Apple’s App Store
revenues. These commissions are substantially higher than average due to the prevalent and
lucrative business model employed by most game developers. Specifically, game apps are
disproportionately likely to use in-app purchases for monetization.239

        Importantly, spending on the consumer side is also primarily concentrated on a narrow
subset of consumers: namely, exorbitantly high spending gamers.240 In the third quarter of 2017,
high spenders, accounting for less than half a percent of all Apple accounts, spent a “vast
majority of their spend[] in games via IAP” and generated 53.7% of all App Store billings for the
quarter, paying in excess of $450 each. In that same quarter, medium spenders ($15-
$450/quarter) and low spenders (<$15/quarter), constituting 7.4% and 10.8% of all Apple
accounts, accounted for 41.5% and 4.9% of all App Store billing, respectively. The remaining




       238
             DX-4399.008.
       239
           Ex. Expert 6 (Hitt) ¶¶ 117, 120–124; DX-4178.006; PX-0059.007; DX-0608.012
(2019); Trial Tr. (Schmid) 3226:8. The actual numbers can be found in the sealed exhibits and
need not be repeated in this Order.
       240
           From what little evidence there is in the record, these consumers frankly appear to be
engaging in impulse purchasing and both parties’ profits from this sector are significant. This
specific conduct is outside the scope of this antitrust action, but the Court nonetheless notes it as
an area worthy of attention.

                                                 43
81.4% of all Apple accounts spent nothing and account for zero percent of the App Store billings
for the quarter.241 The trend has largely continued to the present.242

       This trend is also mirrored within the App Store’s games billings. Indeed, Apple has
recognized that “[g]ame spend is highly concentrated” among certain gaming consumers.
Similar to the above statistics, 6% of App Store gaming customers in 2017 accounted for 88% of
all App Store game billings and were gamers who spent in excess of $750 annually. Breaking
down this 6% population:

                High spenders, accounting for 1% of iOS gamers, generated 64% of game billings
                 in the App Store, spending on average $2,694 annually;
                Medium-high spenders, accounting for 3% of iOS gamers, generated 20% of
                 game billings in the App Store, spending on average $373 annually; and
                Medium spenders, accounting for 2% of iOS gamers, generated 4% of game
                 billings in the App Store, spending on average $104 annually.
        Indeed, in strategizing on the development of the App Store and Apple’s gaming
business, Apple noted that it “need[s] to primarily consider how [its] service[s] would impact
engagement and spend of this 6%.”243 Thus, in most economic ways, and in particular with
respect to the challenged conduct, the App Store is primarily a game store and secondarily an
“every other” app store.

II. REVIEW OF PARTIES’ PROPOSED PRODUCT MARKET AND FINDING

        The Court reviews the factual basis for each of the three proffered product markets. Epic
Games offers two aftermarkets, namely (i) an aftermarket for the distribution of iOS apps and (ii)
an aftermarket for payment processing for iOS apps. The foremarket for each hinges on the
existence of a market for operating systems for smartphones.244 Apple proposes a market for
digital games transactions. The Court outlines the evidence for each in turn.




       241
            See DX-4399.019–.020. Even within this general spend data, Apple’s presentation
suggests slides later that the high level of spend derives primarily from gaming apps. Indeed, a
few pages later, Apple notes the top grossing apps for 2016, and states: “Not only are these all
games, but they’re freemium games, meaning they’re free to download, and you spend money
using In-App Purchases to get more features or levels.” DX-4399.024.
       242
           See PX-2302.046–.047. Coincidentally, the percentage of consumers that pay
nothing almost mirrors the same percentage of free apps available in the App Store.
       243
           See PX-2176.176. The Court notes that the limited evidence in the record as to
Google Play show that it too is similarly built on gaming transactions and a narrow subset of
high spending gaming consumers and game developers. See DX-3913.004–.013.
       244
          A “foremarket” is “a market in which there is competition for a long-lasting product”
from which “demand for a second product” derives. An “aftermarket” is the “market for the
                                               44
       A. Epic Games: Facts Relevant to Foremarket for Apple’s Own iOS

       Before reviewing each of the proposed markets, the Court considers whether Apple’s
operating system should be viewed as a foremarket. The Court finds that it should not.

       As a threshold matter, Apple urges the Court to disregard Epic Games’ market definition
on pleading grounds. Said differently, Epic Games did not explicitly use the terms “foremarket”
and “aftermarket” in its complaint to outline its market theories. The Court agrees that Epic
Games could have been more clear. Ultimately though, Apple’s argument elevates form over
substance. Apple was on notice and litigated the matter.245 Courts prefer to rule on the merits of
claims rather than disregard on procedural grounds.

         In terms of substance, the Court agrees with Dr. Schmalensee that plaintiff’s
identification of a “foremarket” for Apple’s own operating system is “artificial.” The proposed
foremarket is entirely litigation driven, misconceived, and bears little relationship to the reality
of the marketplace.246 Quite simply, it is illogical to argue that there is a market for something
that is not licensed or sold to anyone.247 Competition exists for smartphones which are more
than just the operating system.248 Features such as battery life, durability, ease of use, cameras,
and performance factor into the market.249 Consumers should be able to choose between the type
of ecosystems and antitrust law should not artificially eliminate them.250 In essence, Epic Games
ignores these marketplace realities because, as it presumably knows, Apple does not have market



second product.” Ex. Expert 1 (Evans) ¶ 40. As an example, razors are the foremarket for
disposable razor blades which is the aftermarket. Id.
       245
           See Compl. ¶¶ 156–183. The Court also addressed this issue in its preliminary
injunction opinion, Epic Games, Inc. v. Apple Inc., 493 F. Supp. 3d 817, 835–38 (N.D. Cal.
2020).
       246
             Ex. Expert 8 (Schmalensee) ¶¶ 6, 61.
       247
             Trial Tr. (Schiller) 2723:18–2725:2.
       248
             Id. 2725:9–21.
       249
             DX-4089.010, .035, .037.
       250
           See, e.g., Trial Tr. (Cook) 3932:21–3933:6, 3937:12–20, 3987:18–25; Trial Tr.
(Federighi) 3363:17–20, 3392:12–20. Mr. Sweeney, an iPhone user himself, admitted that he
found Apple’s approach to privacy and customer data security superior to Google’s approach to
customer privacy and customer data. Trial Tr. (Sweeney) 302:22–303:4. Mr. Sweeney further
agreed that “if Apple were to compromise those fundamental differentiators,”—which the Court
notes are more than the operating system—Apple may lose a competitive advantage over
Android, depending on those changes. Id. 303:11–16; Trial Tr. (Athey) 1823:2–9 (agreeing that
“privacy and security are competitive differentiators for Apple”).

                                                    45
power in the smartphone market. Rather Apple only has 15 percent of global market share in
2020.251

       B. Epic Games: iOS App Distribution Aftermarket

        Given the Court’s rejection of the foremarket theory, the aftermarket theory fails as it is
tethered to the foremarket. Although the Court rejects plaintiff’s foremarket construct, it
nonetheless discusses additional factual problems with the aftermarket theory given plaintiff’s
focus on those issues. In effect, plaintiff really urges a single-brand analysis because Apple’s
exclusionary conduct impacts Epic Games’ ability to compete in that space, both with respect to
gaming and non-gaming apps.

        Plaintiff claims that an aftermarket exists for four reasons. Each reason is tied to the
known legal framework in which antitrust cases are litigated and which is discussed in the legal
section below. That said, the four reasons are: One, the foremarket and aftermarket are related
but two separate markets. Two, there are restraints in the aftermarket which are not in the
foremarket. Three, the source of Apple’s market power stems from its walled garden; not
because of separate contractual agreements with consumers. Four, competition in the initial
market does not discipline Apple’s market in the proposed aftermarket.252

       In terms of the trial record, the factual disputes reside in plaintiff’s fourth reason which
the Court addresses in this part of the Order. More specifically, the Court addresses Epic Games’
evidence of (1) switching costs and alleged lock-in and (2) substitution.253 The Court also
considers Epic Games’ argument as to whether the Court should consider all apps or only
gaming apps.

                1. Evidence of Switching Costs and Alleged “Lock-in”
      Beginning with the switching costs254 and alleged “lock-in,” the Court considers Epic
Games’ proffer based on Apple’s internal documents, expert testimony, and consumer
knowledge, as well as Apple’s rebuttal evidence.255




       251
             Ex. Expert 8 (Schmalensee) ¶ 64.
       252
             Epic Games COL ¶¶ 84–93.
       253
             Epic Games FOF ¶ 218; Trial Tr. (Evans) 1507:10–1510–11, 1512:3–22.
       254
            Switching costs are “obstacles of moving from one product to another product.” Trial
Tr. (Evans) 1494:23–24. In other words, it is the costs born by leaving one platform to go to a
different platform.
       255
             Apple FOF ¶ 399; see Trial Tr. (Schmalensee) 1930:3–14; Ex. Expert 6 (Hitt) ¶ 211.

                                                46
                        a. Apple Documents
        Starting with Apple documents, Epic Games cites emails showing that Apple executives
were aware of the impact of switching costs from iOS to Android. For instance, a 2013 email
from Eddy Cue to Tim Cook and Phil Schiller recommends using iTunes discounts (as opposed
to device discounts) because “[g]etting customers using our stores . . . is one of the best things
we can do to get people hooked to the ecosystem.” The email asks: “Who’s going to buy a
Samsung phone if they have apps movies, etc. already purchased? They now need to spend
hundreds more to get where they are today.”256

        Next, is an email chain from March 2016 illustrating the debate around iMessage.257 In
the email, a customer describes his experience between Google and Apple devices and provides
a laundry list to both Google and Apple of the pros and the cons of each device. In advising
Google of his decision to remain with Apple, he concluded with the note that “the #1 most
difficult [reason] to leave the Apple universe app is iMessage” which led him to use a
combination of Facebook, WeChat, WhatsApp and Slack. For him, “iMessage amounts to
serious lock-in.” In forwarding the email to Apple executives, they were internally advised “FYI
– we hear this a lot.” Phil Schiller then advised Tim Cook that “moving iMessage to Android
will hurt us more than help us . . . .”258 Later, in October 2016, Mr. Schiller circulated to other
Apple executives a Verge article entitled “iMessage is the glue that keeps me stuck to the




       256
             PX-0404.
       257
          iMessage is Apple’s text messaging service that shows a blue bubble for texts sent
from iOS devices (and allows for additional functionality) while displaying a green bubble for
non-iOS devices without the same functionality.
       258
             PX-0416.

                                                47
iPhone.”259 Despite hours on the stand, plaintiff never explored this topic with Mr. Schiller other
than to confirm receipt of the third-party emails.260

        On balance, the Court reads the emails to suggest that Apple sought to compete by
distinguishing their product, and in the process, making its platforms “stickier.” That, however,
is not necessarily nefarious. Every business seeks to decrease switching away from its products.
Epic Games’ executives, for instance, used the word “lock-in” to refer to price cuts that make it
easier for users to play Fortnite in a hard economy. Here, the features that create lock-in also
make Apple’s products more attractive. Whether the conduct is procompetitive depends on other
factors, including timing and whether the stickiness is at least partly tied to product attractiveness
which can then decrease if the products become less attractive (for instance, through higher game
prices).261 This evidence is not persuasive of switching costs on its own.

                        b. Dr. Susan Athey
        Next, Epic Games relies on expert testimony by Dr. Susan Athey who provides high-
level, and largely theoretical, testimony about various costs incurred during switching from iOS
to Android devices.262 Unfortunately, Dr. Athey makes no effort to determine from consumers
themselves whether they are motivated by loyalty and product satisfaction or because of
switching costs. She conducted no original surveys. Nor does she attempt to measure the
switching costs and analyze literature about their magnitude. Indeed, Dr. Athey does not cite any
evidence beyond a news article, a European journal, and a biography of Steve Jobs. Nor did she

       259
            Again, the statements themselves are hearsay and are considered for a limited purpose
of state of mind and not for whether iMessage actually creates lock-in for the customer base as
text messages can be shared between iOS devices and Android. See PX-0079 (third-party
Goldman Sachs Group, Inc. analysis); PX-2356; Trial Tr. (Schiller) 2981:6–2982:25.

        Epic Games also cites other documents, but the import of those documents is far less
clear. For instance, a 2019 email from Mr. Federighi discusses eliminating user-entered
passwords in favor of Sign in with Apple, which would make the platform more “sticky.” PX-
0842. However, the context of the email concerns protecting users from spam, and it
immediately notes factors that undermine that stickiness, such as “heavy” use of Chrome. Id.;
see also Trial Tr. (Schiller) 3169:7–22 (explaining desire to protect users from spam). Another
document shows Steve Jobs discussing tying different products together to “lock” customers into
the ecosystem. PX-0892. Again, that is indistinguishable from simply making the ecosystem
more attractive. See Trial Tr. (Schiller) 2864:7–15.
       260
             PX-0416; Trial Tr. (Schiller) 3173:11–16, 3174:4–16.
       261
            Trial Tr. (Weissinger) 1433:19–1434:16; see, e.g., Trial Tr. (Cook) 3870:16–21; Trial
Tr. (Schiller) 2864:16–19. Evidence shows that switching costs have decreased since the early
2010’s through increased cross-platform functionality and “middleware,” a term which does not
exist in economic literature and which Dr. Athey created. Trial Tr. (Athey) 1782:7–1783:1,
1805:5–1806:22, 1809:17–1810:11.
       262
             See generally Ex. Expert 4 (Athey); Ex. Expert 1 (Evans).

                                                 48
analyze additional evidence or perform original analysis when forming her opinion. As such, the
Court is left entirely in the dark about the magnitude of the switching costs and whether they
present a meaningful barrier to switching in practice. There is simply no independent data to
show that switching costs create meaningful lock-in.263




       263
         Trial Tr. (Athey) 1777:18–24, 1794:12–1795:3, 1813:22–1814:11, 1815:11–1816:2,
1870:10–15.

        Apple moves to strike Dr. Athey’s opinions under Federal Rule of Evidence 702(b). Dkt.
No. 721. Epic Games responds that Apple waived its objections by stipulating to the admission
of expert “written direct testimony” (Dkt. No. 510) and “unadmitted materials within the scope
of Rule 703” relied on by the experts (Dkt. No. 635). Epic Games further contends that Dr.
Athey disclosed her opinions in her report and that she may testify “solely or primarily on
experience” if she “explain[s] how that experience leads to the conclusions reached, why that
experience is a sufficient basis for the opinion, and how that experience is reliable applied to the
facts.” Fed. R. Evid. 702 advisory committee note to 2000 Amendments (“Adv. Committee
Note”).

         While the Court does not strike the opinion, the Court agrees with Apple that the
opinion’s basis is weak. Epic Games conflates the requirements of Rule 703, Rule 702, and
discovery. Rule 702(b) asks “whether the expert considered enough information to make the
proffered opinion reliable,” while Rule 703 asks whether the data considered itself is “of a type
that is reliable.” See 29 Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure
§ 6268 (2d ed.). Federal Rule of Civil Procedure 26(a)(2)(B)(ii) further requires that an expert
set forth “the facts or data considered by the [expert] in forming” the opinions in her report.

        Here, Dr. Athey does not explain how her experience provides a sufficient basis for her
sweeping conclusions. This is not a handwriting case where an expert opines that two writings
are the same based on experience. It is a complex antitrust case that requires consideration of
economic data. Unexplained academic and industry experience simply does not provide
sufficient basis to draw reliable conclusions. Moreover, to the extent that Epic Games asks the
Court to rely on Dr. Athey’s general research, such research should have been disclosed in the
report so that the Court and opposing party could evaluate it.

        Nevertheless, the Court recognizes that the procedural posture of this case was
unique. The Court ordered that no Daubert motions be made in advance of the bench trial given
the expedited schedule and the fact that the Court had to read and review the submission in any
event. Context was helpful. That said, many issues were litigated during the course of the bench
trial and Apple did stipulate to the admission of Dr. Athey’s testimony. Dr. Athey apparently
relied on additional sources in her expert report (which she did not cite in her written direct
testimony). The Court considers her opinions, but as discussed, given the lack of data, the Court
does not give those opinions much weight.

                                                49
        While the Court finds Dr. Athey well-intentioned, the lack of data upon which she bases
her opinion leaves the Court with little objective reason to accept her theory.264 Moreover, the
market is responding, i.e., both Google and Apple are creating easier paths to convert customers
from the other and deal with the switching costs.265 The Court can agree that it takes time to find
and reinstall apps or find substitute apps; to learn a new operating system; and to reconfigure app
settings. It is further apparent that one may need to repurchase phone accessories. That said, by
ignoring the issue of customer satisfaction, Epic Games has failed to convince. The Court
warned the parties in advance that actual data was an important consideration.

        Accordingly, the expert testimony from Dr. Athey is wholly lacking in an evidentiary
basis and does not show substantial switching costs enough to create user lock-in for iOS
devices.

                       c. Consumer Knowledge and Post Purchase Policy Changes
        From a broad perspective, Epic Games did not conduct any analysis of whether
consumers know that they are buying into a walled garden. Apple argues that its business is
successful precisely because of the reliability and security creating the walled garden on the iOS
devices and on which it competes (discussed below). Without a consumer survey, there is no
evidence that consumers are unaware of walled garden before purchasing the smartphone. Thus,
there is no “bait-and-switch.”

        Plaintiff strains on the policy-change argument. Here Epic Games argues that Apple has
changed its stated policy with respect to the commissions and thereby “lock-in” consumers and
developers. The assertion is based upon two comments. The first occurred in 2008 by Steve
Jobs when the App Store was launched by stating that the 30% commission was intended to “pay
for running the App Store” and that Apple would be “giving all the money to the developers.”
The second occurred in 2011 when Phil Schiller noted in an internal email that “once we are
making over $1B a year in profit from the App Store, is that enough to then think about a model
where we ratchet down from 70/30 to 75/25 or even 80/20 if we can maintain a $1B a year run
rate?”266 Plaintiff claims the 30% commission rate constitutes a change in policy as compared
against those two comments.

       Plaintiff’s argument is not grounded in legal principles. The two noted informal
statements do not create a policy, especially in light of a written contract, much less one which
shows the 30% is a change. However, the Court does agree that the comments confirm that the
30% is not tied to anything in particular and can be changed. Moreover, it shows that Apple
used other provisions to hide information on those commission rates from the consumers,

       264
           Last, Dr. Athey describes “mixing-and-matching” costs that users incur when trying
to use devices from different ecosystems together. Dr. Evans reiterates some of this analysis in
his testimony, but again, the data is weak. Ex. Expert 4 (Athey) ¶¶ 20–23; Ex. Expert 1
(Evans) ¶¶ 83–88; Trial Tr. (Evans) 1495:5–1497:3; Trial Tr. (Athey) 1755:6–1763:24.
       265
             DX-3084A.022; Trial Tr. (Cook) 3867:12–3870:1, 3886:19–3887:5; DX-5573.
       266
             PX-0880.021, .027; PX-0417.001.

                                                50
presumably to hide the profitability of the transactions, namely the use of anti-steering
provisions. Without information, consumers cannot have a full understanding of costs.267

                       d. Apple’s Rebuttal Evidence
       Apple introduces rebuttal evidence that low switching stems from satisfaction with Apple
devices and services.

        First, Apple emphasizes that consumers do switch from iOS to Android. Although the
timeline for switching smartphones is longer than a few years, as many as 26% of smartphone
users, including 7% of iPhone users, purchase a cellphone with a different operating system each
cycle. Industry surveys suggest that iOS users are not per se “closed off” to considering Android
when making decisions.268

        Second, Apple cites consumer surveys that the lack of switching is due to consumer
satisfaction with iOS. A Google survey shows that 64% of iOS users would not switch to
Android simply because they “prefer iOS,” which is the number one reason for not switching.
Another survey shows that users who do switch from Android to iOS do so because they liked
the speed and reliability provided by iPhones. Other surveys show high rates of satisfaction with
iOS devices.269 This evidence is significant not only because it was not litigation driven, but
because Epic Games does not provide its own consumers surveys to show that users fail to
switch even when they are dissatisfied with app price, quality, or availability. Thus, Apple’s
evidence strongly suggests that low switching between operating systems stems from overall
satisfaction with existing devices, rather any “lock-in.”

        Comparing and weighing the parties’ proffers, the Court finds that Epic Games failed to
prove that users are “locked-in” or would not switch to Android devices in response to a
significant change in game app prices, availability, or quality.270


       267
            Trial. Tr. (Evans) 1509:11–17; Ex. Expert 1 (Evans) ¶ 118.iv. The Court rejects the
notion that Apple must affirmatively give consumers an estimate of the “amount of money a
consumer spends on apps over the lifecycle of an iPhone,” especially given that consumers
appear to be in different categories of spending. See Epic Games FOF ¶ 221.a. That is different
from enforcing silence regarding commission costs.
       268
             DX-4310.012; Ex. Expert 6 (Hitt) ¶ 209; DX-3598.027.
       269
           DX-3598.027; DX-3441.006–.007. Of course, the Apple survey cuts both ways.
Consumers who switched from Android to iOS did so for hardware reasons, such “speed,”
“quality device construction,” and “battery”—not app quality, price, or availability. This
reinforces Dr. Evans’ point that apps are a secondary consideration when purchasing a
smartphone and would not lead to switching by themselves. See also DX-4312.043; DX-
4495.044.
       270
           As a corollary, without proof of customers lock-in, the notion that developers would
not switch to maintain that customer base is by definition also not proved.

                                               51
                2. Substitutes
        In terms of substitutes given the business realities of the market, the parties’ arguments
hinge on their own respective definitions of the market. Epic Games spends little time on this
issue with respect to its definition. For Epic Games, there is an aftermarket for iOS app
distribution for which there is no substitute as it occupies the entire field.271

        Given Apple’s proposed market of all digital game transactions, Apple argues that all the
other game transaction platforms are substitute platforms for the App Store. Those platforms
include ones accessed through all devices: mobile, tablets, consoles, and PCs. Epic Games
rebuts this claim. It makes two arguments. One, because developers create apps for more than
one platform, they do not view them as substitutes to reach the same consumers. Two, economic
and survey evidence show a lack of substitution. The Court begins with Epic Games’ arguments.

                        a. Single Homing and Fortnite Data
        No one disputes that when developers create an app for Android versus iOS, they use a
different SDK but much of the code can be ported across platforms. Using technical language,
users may “single home” at a single platform while developers “multi home” across platforms.
As the result, developers compete for single-homing users in a winner-take-all market and cannot
afford to forego particular platforms without losing those other customers. The Court agrees that
in the smartphone context, consumers typically “single home.”272

         In terms of user options on smartphones, gaming transactions on Android appear similar
if not identical to gaming transactions on iOS. Most popular mobile games are available on both
Android and iOS, with similar functionality. Developer support services are also similar.273
Further, a significant difference in game transaction price or availability does not exist between
iOS and Android. The evidence shows that very few consumers own both Android and iOS
devices, and that currently, very low switching rates exist, with only about 2% of iPhone users
switching to Android each year.274 These results are not particularly surprising if those devices
provide essentially the same experience.

       Whether that extends beyond the smartphone context is debatable. Thus, to establish this
extension, Epic Games relies on the “natural experiment” provided by Fortnite’s removal in the
wake of the Project Liberty.


       271
             Epic Games FOF ¶¶ 179–180.
       272
             Ex. Expert 1 (Evans) ¶¶ 48, 89.
       273
           Id. ¶¶ 74; Ex. Expert 6 (Hitt) ¶¶ 28; DX-4759.001; Trial Tr. (Simon) 390:5–19; Trial
Tr. (Grant) 669:22–24, 733:7–13; Trial Tr. (Fischer) 873:3–8.
       274
            Dr. Hitt testified that up to 26% of iOS users switch to Android at the end of each
upgrade cycle. Ex. Expert 6 (Hitt) ¶ 209. He agreed, however, that this creates no more than
three to four percent change in the installed base each year. Trial Tr. (Hitt) 2162:12–2163:15.

                                                 52
        The experts do not appear to disagree that the removal of Fortnite is a “degradation in
quality” of the App Store and iOS devices in general.275 Dr. Evans thus opines that Fortnite’s
removal provides an empirical study of user substitution in response to changes in quality in iOS
and analyzed the data for ten weeks after its removal. Given the loyal Fortnite following, Dr.
Evans evaluated iOS-only users. For this group, he found they only shifted 16.7% of game play
minutes to other platforms and 30.7% of spending to other platforms. Applying this substitution
rate to Epic Games’ profit margins, Dr. Evans concludes that similar developers would not find it
profitable to abandon the iOS platform because they could not make up the spending on other
platforms, even if Apple raised its commission.276

        First, Dr. Evans’ decision to limit his analysis to iOS-only Fortnite players is
questionable because it ignores other market evidence that iOS players engaged in substitution
before and after the hotfix. Dr. Evans cites evidence that 90.9% of iOS Fortnite players play
only on iOS. This is consistent with general statistics that 82.7% of Fortnite players play on a
single platform. That said, Dr. Hitt’s data shows that 35.9% of iOS Fortnite players multi-home.
This is consistent with evidence that between 32% and 52% of all Fortnite players multi-home.
Moreover, Dr. Hitt cites evidence that the iOS multi-homers account for 85% of Fortnite revenue
from iOS in the first half of 2020, which makes them particularly important.

       Dr. Evans’ focus, however, ignores this important group which reveals important insight:
players who access Fortnite on iOS still spend the overwhelming majority of their Fortnite time
and money on non-iOS platforms.277 By limiting his analysis to players who use iOS as the
primary Fortnite platform (i.e., the platform where they spend most of their playtime and
spending), the Court finds Dr. Evans likely underestimates overall substitution.278



       275
          Ex. Expert 1 (Evans) ¶ 127. As such, Dr. Evans opines that it supports use of a
“SSNIP” test commonly used to test monopoly power. Id. ¶ 133; Trial Tr. (Evans) 1528:12–
1530:1, 1533:1–1534:8. The Court discusses the SSNIP test and its applicability below.
       276
            See Ex. Expert 1(Evans) ¶¶ 124–134; PX-1080; Trial Tr. (Evans) 1521:2–1535:7. Dr.
Evans opines that this is an “upper bound” of substitution because most other mobile games,
unlike Fortnite, lack cross-wallet, cross-play, and other features that make it easy for Fortnite
players to switch devices. Dr. Evans further lowers the substitution estimate after accounting for
the “natural cross-progression” from iOS to “more serious” gaming on PCs and consoles.
However, as Dr. Hitt correctly notes, this constitutes substitution even if it is not directly
responsive to the quality decrease. Ex. Expert 1 (Evans) ¶ 129; Trial Tr. (Evans) 1527:10–14;
Ex. Expert 6 (Hitt) ¶ 252.
       277
            Specifically, Fortnite players with iOS accounts spend almost 90% of their play time
and 87% of their spending outside of iOS. Ex. Expert 6 (Hitt) ¶ 73. Another explanation for the
different conclusions rests on Dr. Evans’ use of sampling: Dr. Hitt testified that Dr. Evans’
confidence intervals are well in line with his own estimates. Trial Tr. (Hitt) 2145:10–22.
       278
          Ex. Expert 1 (Evans) ¶ 126; PX-1054; Ex. Expert 6 (Hitt) ¶¶ 68–75, 94, 249–50; DX-
4767. Of course, the existence of iOS-only players who do not substitute may suggest a subset
                                               53
        Second, and ironically, the Fortnite data does show substitution. Dr. Hitt, analyzing the
same data, found that 22% to 38% of strict iOS-only—users who never accessed Fortnite on a
non-iOS platform before—shifted their game time and spending to other platforms after the iOS
hotfix. Significantly, after accounting for iOS users who already played on other platforms (of
whom up to half increased their spending on other platforms), Dr. Hitt shows that Epic Games
retained 81% to 88% of its iOS player revenue after Project Liberty. Dr. Evans criticizes this
conclusion, arguing that it does not show substitution but rather shows that non-iOS spenders
continue to spend outside iOS. The experts agree that Epic Games retained up to half of its iOS-
only user revenue.279

        In conclusion, the Fortnite data is basically mixed. Up to a third of iOS Fortnite users
already play on other devices, which makes their ability to substitute a given. Another 20%
undertook at least some substitution after Fortnite removal, including by accessing devices on
which they previously played Fortnite. Although this was not enough to make up Epic Games’
losses, the Court finds the time period of substitution significant: Dr. Evans analyzed
substitution for only the ten weeks following Fortnite’s removal. The Court finds it likely that a
longer analysis would show greater substitution both because of the typical upgrade cycle for
expensive devices (longer than ten weeks) and because of the timing of this Court’s preliminary
injunction order (immediately after the ten-week period). In particular, users may have waited to
see whether this Court would reinstate Fortnite to the App Store before making a different
purchasing decision or waited for Season 15 for which we have no data. Moreover, because
Fortnite was removed simultaneously from Google Play and the iOS App Store, the experiment
does not account for substitution between iOS and Android.

      For all of these reasons, the Fortnite data does not reliably show lack of user substitution
among game transactions on different devices.

                      b. Dr. Rossi and Dr. Evans
       Last, Epic Games proffers a survey performed by Dr. Rossi and Dr. Evans’ use thereof.

        Beginning with the survey, Dr. Rossi asked iPhone and iPad users whether they would
change their spending if iOS in-app purchases were slightly more expensive. Specifically, Dr.
Rossi asked respondents to think about their in-app purchases from the App Store in the last
thirty days and imagine that the spending was five percent higher. 81% of the respondents
giving definite answers indicated that they would not have changed their purchases. The
remainder indicated opposite with only 1.3% switching to non-iOS phones or tablets. Dr. Rossi




of the market for whom iOS Fortnite play is key. Trial Tr. (Evans) 2371:1–14. However, Epic
Games did not define a market with respect to these users but for all iOS game transaction users.
       279
          Trial Tr. (Hitt) 2142:24–2145:5; Ex. Expert 6 (Hitt) ¶¶ 97, 251; DX-4824; Trial Tr.
(Evans) 2371:22–2376:6; Ex. Expert 16 (Evans) ¶¶ 26, 29–31.

                                                54
and Dr. Evans use this data to conclude that consumer demand for iOS app transactions is
relatively inelastic.280

        Dr. Rossi’s survey suffers from several methodological flaws, including the language and
timing of the survey. First, the formulation of the questions was confusing. The questions did
not convey that the price changes were intended to be both in future and permanent (or
nontransient). Instead, his approach was explicitly backward looking. He failed to use simple
phrases like “in the future” which had been considered. He claims his final, and untested
language, was intended to be more clear. 281 A comparison of the language demonstrates
otherwise. By failing to make the distinction with the future, Dr. Rossi also injected the notion
of customer satisfaction into the survey which likely impacted the result.282 His justification that
he conducted “structured pretests” is manufactured and not recognized in the industry.283

        Further, given that the survey was conducted on January 20, 2021 and asked about
spending in the “last 30 days,” Dr. Rossi failed to account for holiday spending which is likely to
be idiosyncratic. Holiday spending includes sales and price changes before, during, and after the
holidays, and Dr. Rossi admitted that the results may vary for “for some products.”

        Next, the survey concerned all app purchases, not just game transactions, and ignored
plaintiff’s key demographic. Dr. Evans expressly testified that in-app transactions are not part of
his proposed product markets. Yet those are the only purchases which Dr. Rossi tested.284 Dr.
Rossi also claims he did not want to include minors because he would have to obtain parental
approval, but that proved not to be a problem for Dr. Hanssens, Apple’s expert, who did survey
minors.285 Given the magnitude of the issues before the Court, Dr. Rossi choices did not

        280
              “Relatively inelastic” is not formally inelastic (which requires an elasticity less than -
1), but it is less elastic than comparable markets. Trial Tr. (Evans) 1650:8–1651:15; Ex. Expert 3
(Rossi) ¶¶ 4–14; PX-1089; Ex. Expert 1 (Evans) ¶¶ 136–138.
        281
           Compare versions in PX-1920; Trial Tr. (Rossi) 2512:15–2513:13, 2526:5–10,
2532:13–21, 2528:12–2529:2; Ex. Expert 7 (Lafontaine) ¶¶ 76–79; Trial Tr. (Evans) 1649:9–23.
Dr. Rossi conducted pre-testing and interviews on the initial survey design, which asked about
spending in a “similar 30-day period in the future.” It is not clear whether the pre-test adequately
asked about the transience issue for either past or future spending. See PX-1920.3; Trial Tr.
(Rossi) 2521:23–2544:11.
        282
              Trial Tr. (Hanssens) 3541:23–3543:3.
        283
            Trial Tr. (Rossi) 2523:8–2, 2525:23–2527:16, 2529:20–23; see also Trial Tr.
(Hanssens) 3539:10–13 (explaining that the terminology of “structured and “unstructured
pretests” is not standard).
        284
           Of course, these first two issues may cancel each other out: since games are
disproportionately likely to use in-app purchases, an increase in in-app purchases is effectively
an increase in iOS game (and subscription) prices.
        285
              Trial Tr. (Rossi) 2534:24–2536:19, 2545:9–22.

                                                  55
ultimately assist in determining how a key demographic would make substitution decisions in the
relevant market.

        Dr. Rossi’s trial testimony revealed that he was more interested in a result which would
assist his client’s case than in providing any objective ground to assist the Court in its decision
making. Given Dr. Rossi’s lack of credibility, the Court strains to adopt his findings. Although
the survey is far from perfect for the reasons stated above, the Court finds it weakly probative, at
most, that increases in in-app purchase content prices would not lead to significant substitution to
other devices.286

        Dr. Evans uses Dr. Rossi’s survey to conduct a “SSNIP” test to confirm that iOS app
distribution is a relevant aftermarket.287 The Department of Justice developed the test in 1982 to
analyze mergers and determine what is the smallest market in which a hypothetical monopolist
could impose a “Small but Significant and Non-transitory Increase in Price,” usually 5 percent
over the course of 12 months. Not only is this not a merger context, but as noted, the survey did
not test anywhere close to an appropriate period.288 Despite the Court’s misgiving of the
accuracy of any opinion stemming from this survey, it reviews Dr. Evans’ reliance thereon to
perform a SSNIP analysis.

       As an overview, Dr. Evans first calculates an “effective” commission rate of 27.7%, and
then determines that a 5% increase to consumers would correspond to a 30% increase in
developer commissions. Because even this large increase in commissions would be profitable
for Apple due to the lack of consumer switching, Dr. Evans concludes that iOS distribution is its
own market.289 Dr. Evans confirmed that consumer response to long-run price changes may be
substantially different than for short-run ones.290 This feature is important to Dr. Evans’
analysis. As discussed above, Dr. Rossi’s failure to survey properly and confirm respondents’
understanding of a non-transient price increases leaves the adequacy of the survey for a SSNIP
analysis in question.

       Economists lack consensus about how to design hypothetical monopoly tests properly to
account for indirect network effects. While Dr. Evans has proposed one approach, another
preeminent economist, Dr. Schmalensee, believes it is conceptually flawed. Even Dr. Evans
himself has previously written that “even if it is technically possible to extend the hypothetical



       286
          See id. 2509:16–2510:25. Apple also faults Dr. Rossi for the low levels of respondent
spending on in-app content. However, those rates appear to be in line with the App Store
median. See Ex. Expert 3 (Rossi) ¶ 49.
       287
             Ex. Expert 1 (Evans) ¶ 139.
       288
             Id. ¶¶ 35, 136, 254.
       289
             Id. ¶¶ 136–144; PX-1050; Ex. Expert 6 (Hitt) ¶ 179.
       290
             Trial Tr. (Evans) 1652:23–1653:02.

                                                  56
monopoly test to two-sided platforms, the challenges of implementing the SSNIP test empirically
in two-sided markets are likely to be overwhelming in practice.”291

        Despite this self-acknowledged difficulty, Dr. Evans uses the SSNIP test anyway. The
Court finds Dr. Evans’ SSNIP analysis fatally flawed by several standards, including his own.
Dr. Evans has acknowledged that a double-sided SSNIP test should include simultaneous testing
of both sides of the market using at least 14 inputs. He has not followed that methodology here.
Nor did Dr. Evans take into account indirect network effects in his SSNIP analysis.292

        Indeed, Dr. Evans conducts his foremarket and aftermarket SSNIP tests on the consumer
side and on the developer side separately. Then, he effectively dismisses indirect network effects
by claiming that SSNIP on both developers and consumers would be profitable, because neither
side would respond to the one-sided price increases he tested. As Professor Schmalensee
explained, this is implausible: a price increase would reduce consumer demand for apps, which
in turn would make app sales less profitable for developers, and developers may in turn react by
reallocating engineering or marketing resources even if they do not leave the platform entirely.
Notably, Dr. Evans does not perform any actual SSNIP calculations testing both sides of the
market simultaneously, as required by his own research.293

        Dr. Evans’ SSNIP analysis is further based on flawed survey data from Dr. Rossi, which
affects the validity of any conclusions derived therefrom. Dr. Rossi’s survey and the resulting
data suffer from several critical flaws.294 The Court will not rehash the entirety of these flaws
here. Suffice it to say, three errors are particularly notable:

        First, the survey focuses entirely on the price of in-app purchases—which, as noted
above, are not even within the alleged relevant market advanced by Dr. Evans— while ignoring
other transactions, like initial downloads and updates, that are in the alleged relevant market
advanced by Dr. Evans. As a result, Dr. Evans’s analysis is unreliable and provides no insight
into substitution in any alleged iOS app distribution market.295

       Second, the price increases discussed in the survey—when confined to just 30 days—also
were far from significant, ranging from less than $0.25 to $1.50. And the significance of the


       291
           Trial Tr. (Evans) 1668:5–1669:2, 1667:16–23; Trial Tr. (Cragg) 2302:7–16; Ex.
Expert 8 (Schmalensee) ¶¶ 63, 81–82.
       292
             Ex. Expert 8 (Schmalensee) ¶¶ 84, 88; Trial Tr. (Schmalensee) 1897:5–1899:8.
       293
         Ex. Expert 1 (Evans) ¶¶ 133, 138–139, 141, 262, 68; Trial Tr. (Schmalensee)
1898:10–14.
       294
           Trial Tr. (Schmalensee) 1897:20–23 (Dr. Evans relies on Professor Rossi’s survey,
which is “far from perfect”); Ex. Expert 7 (Lafontaine) ¶ 74.
       295
           Trial Tr. (Rossi) 2549:13–2550:1; Trial Tr. (Evans) 1646:16–1647:5; Ex. Expert 7
(Lafontaine) ¶ 75.

                                               57
price increases were dampened even further by the survey’s discussion of switching costs.296
This is despite the fact that the App Store is highly dependent on a narrow subset of high earning
gaming apps and an equally narrow subset of high and medium consumer spenders. In other
words, these consumers and developers were not adequately captured by Dr. Rossi’s survey,
which reflected only small increases in price.

        Finally, the survey was limited to the United States, not the global market that Dr. Evans
posits.297

       Given the flaws in both the underlying survey and Dr. Evans’ calculations thereon, the
Court finds this evidence wholly unpersuasive of substitution.

                       c. Mobile Devices (Tablets and the Switch)
       As outlined above, Apple’s product market is all digital gaming transactions. It therefore
focuses on platform substitutes for those transactions. Apple suggests two categories of
platforms: (1) mobile devices (tablets and the Switch) and (2) non-mobile devices.

        iPads are indisputably part of the Apple ecosystem. Evidence shows that 60% of iPhone
users also use an iPad (tablet), so they have access to both devices. Documents also show that
Apple seeks to decrease switching costs from iPhones and iPads to “lock customers into [its]
ecosystem.” Thus, tablet transactions are substitutes for those on smartphones because they are
part of the same ecosystem and users have access and easy switching ability between the
devices.298

        In evaluating Apple’s market definition, Dr. Evans excludes tablets on the sole ground
that they lack certain hardware features, like a cellular connection. This is not persuasive: as Dr.

       296
            Trial Tr. (Rossi) 2539:13–2540:16, 2543:12–2544:25. The Court further notes that
Dr. Rossi’s survey appears have been inappropriately based on an increase in the total cost of the
in-app purchases and subscriptions, instead of based on an increase in the amount of Apple’s
commission rate. The Department of Justice website, which Dr. Evans approvingly cites in his
report, notes that in cases involving an analogous transaction in oil pipelines, the appropriate
SSNIP analysis is based on the cost of transporting the oil (amount from the commission rate),
not on the cost of the oil at the terminal end point (total cost of the in-app-purchases). See Ex.
Expert 1 (Evans) ¶ 253, n. 113; see also U.S. Department of Justice and the Federal Trade
Commission, “Horizontal Merger Guidelines,” August 19, 2010, at § 4.1.2,
https://www.justice.gov/atr/horizontal-merger-guidelines-08192010.
       297
             Trial Tr. (Evans) 1653:3–16.
       298
            Ex. Expert 1 (Evans) ¶¶ 43–44, 75; Ex. Expert 6 (Hitt) ¶ 189; Trial Tr. (Federighi)
3357:15–18; Trial Tr. (Fischer) 874:24–875:11; PX-0416; DX-3174.003; PX-0892. Moreover,
Epic Games’ arguments to the contrary contradict its own theory that users and developers select
“ecosystems” rather than devices. As Dr. Evans explains, “Apple and Google have created
highly differentiated ecosystems around their respective operating systems,” and developers and
consumers select devices based on the ecosystem.

                                                58
Hitt notes, tablets possess most of the unique hardware features Dr. Evans assigns to
smartphones. Epic Games has not demonstrated that the slight remaining hardware differences
are sufficient to prevent substitution for smartphone and tablet game transactions. Accordingly,
tablet game transactions are substitutes for smartphone game transactions and part of the same
market.299

                        d. Non-Mobile Devices (Consoles and PCs)
        Consumers frequently own multiple devices and could in theory substitute across them
for game transactions. Surveys conducted by Apple show that gamers are especially likely to use
several devices, with 56% playing on both mobile and non-mobile platforms.300

        However, there are two issues with this data. First, it inappropriately uses statistics about
gamers as a whole to draw conclusions about iOS gamers.301 Apple has not shown that gamers
as a whole are representative of iOS gamers. It may well be that 55-60% of U.S. gamers play on
more than one device, but that iOS gamers switch considerably less often. This outcome is
plausible: Apple’s evidence shows that large portions of the population—including young
children, older adults, and most teenage girls—play predominantly on mobile. Multi-platform
play, on the other hand, is driven by different segments. Thus, Apple’s own evidence shows that
mobile gamers are not necessarily like other gamers.302

       Recognizing this issue, Apple offers evidence by Dr. Hanssens, who conducted two
surveys on iOS App Store users and Fortnite players, respectively. The first survey shows that
99% of App Store consumers use or could use at least one other non-iOS device. The second
survey shows that 99% of iOS Fortnite players use or could use non-iOS devices. Moreover,
94% of iOS Fortnite players played games on non-iOS devices in the last 12 months.303

       While Dr. Hanssen is considerably more credible and independent that Dr. Rossi, Dr.
Hanssen’s survey is also severely flawed and ultimately unreliable.304 First, he reports that 30-
43% of respondents “regularly” use a Microsoft Windows phone even though Microsoft had 0%
market share in smartphones in 2018 and no longer sells phones. This data point alone calls into

       299
             Ex. Expert 6 (Hitt) ¶¶ 230–233; Ex. Expert 1 (Evans) ¶ 43 n.3.
       300
             Ex. Expert 6 (Hitt) ¶¶ 57, 61; DX-3174; Trial Tr. (Wright) 550:3–10, 631:19–22.
       301
           As explained below, Apple also uses statistics about Fortnite to draw conclusions
about the gaming industry. That suffers from a similar problem: no evidence in the record
shows that Fortnite is representative of other games.
       302
             DX-4170.008, .024.
       303
             DX-4663.001; DX-4754.001; Ex. Expert 6 (Hitt) ¶ 58.
       304
           Notably, Dr. Hanssens was the only expert to explain that his work was not directed
by attorneys; nor was he aware of how his work fit into Apple’s strategy thus, demonstrating
independence. For this reason, the Court finds Dr. Hanssens quite credible.

                                                 59
question the reliability of the survey overall.305 Second, Dr. Hanssen’s surveys do not address
substitution because he only measures access. Dr. Hanssen acknowledges this: the surveys “did
not address substitution at all” because doing so would require questions about willingness and
ability to switch, as well as actual behavior in different circumstances. Thus, the ultimate value
of Dr. Hanssens’s survey is limited.

      With respect to actual substitution, Apple relies solely on three “natural experiments”
examined by Dr. Hitt.306

        First, Dr. Hitt considers users who downloaded a console or PC game “companion” app,
such as the Xbox companion app as a proxy for those who own or play games on a console or a
PC. Dr. Hitt finds that users who download the console or PC companion app increase their iOS
game spending at a slightly lower rate—19% as opposed to 24% growth in iOS game spending
as compared to a control group who did not have the companion app. Because V-Bucks are the
same on both platforms, Dr. Hitt concludes that the use of both devices shows substitution. That
said, the group that downloaded the companion app spent more on iOS games than the group that
did not. This is consistent with complementary gaming if spending increases.307 Both
conclusions are logical.

        Second, Dr. Hitt considers the natural experiment provided by the entry of Fortnite on the
Nintendo Switch. Dr. Hitt finds that when Fortnite launched on Switch, iOS Fortnite spending
and playtime decreased. Dr. Hitt acknowledges that Fortnite spending across all platforms
decreased during that time by 33%. Thus, to control for the general decrease, he compares iOS
spending for users who played and did not play Fortnite on Switch. Dr. Hitt then concludes that
iOS Fortnite players who played on Switch played and spent relatively less time on iOS. Again,
the evidence is consistent with substitution but does not establish it. 308

        Next, Dr. Hitt’s data also shows that players who used both iOS and Switch increased
their overall spending and playtime in Fortnite. The absolute numbers for iOS Fortnite revenue
actually increased after the introduction of Switch. Dr. Cragg converts this data to plausibly
opine that this shows complementary playing—users who acquired a second device became



       305
            To Dr. Hanssens’ credit, he readily acknowledges these issues and eventually
removed the respondents who reported Windows phone use. However, this amounts to 30-43%
of an already small survey pool rendering the exercise unreliable. Trial Tr. (Hanssens) 3580:15–
3581:14; 3568:12–17, 3570:3–14, 3574:2–8, 3576:11–3578:17, 3551:18–3552:18; DX-
4312.178; Ex. Report 6 (Hitt) ¶ 71.
       306
           Trial Tr. (Hanssens) 3551:22–3554:6, 3557:11–13; Ex. Expert 6 (Hitt) ¶¶ 82–99; see
also Ex. Expert 13 (Cragg) ¶¶ 43–48.
       307
             Ex. Expert 6 (Hitt) ¶¶ 69–72, 82–87; DX-4792; Ex. Expert 13 (Cragg) ¶ 56.
       308
             Ex. Expert 6 (Hitt) ¶¶ 73–86; DX-4822; DX-4823; Trial Tr. (Schmalensee) 1935:22–
1936:4.

                                                60
more engaged in the game—rather than substitution. Using this lens, the evidence is as
consistent with complementary playing as with substitution.309

       Third, Dr. Hitt analyzes Fortnite data following its removal from iOS. As described
above for Dr. Evans, this evidence is mixed at best: while some iOS-only Fortnite players
switched, that number was not significant enough to recoup losses and represented only 16% of
playtime minutes and at most half of Epic Games’ revenue from these users. Thus, the Court
does not consider it persuasive either way. 310

       Accordingly, Dr. Hitt’s and Dr. Cragg’s analyses show evidence of both substitution and
complementary playing without a definitive answer either way.311 Ultimately, the Court
proceeds without resolving the issue on this record.

                3. Gaming v. Non-Gaming and Apple’s App Store
        As explained above, Epic Games argues that its aftermarket should be defined to include
all apps not just gaming apps as the distribution on the App Store is not limited.

        The evidence demonstrates that the App Store, in its current form, generates virtually all
its revenue upon a business model now rooted in the gaming market: both on game developers
and gaming consumers. This is proved by both financial considerations and other notable
distinctions between gaming and non-gaming apps. The Court notes eight other significant
differences which exist between game apps and non-game apps as the Court considers the
relevant product market.

        First, in recent years, game app revenues constitute between 60-75 percent of all app
transactions for Apple’s App Store. Indeed, game app transactions are responsible for a
significant majority of the revenue generated in the App Store.312

        Second, there is industry and public recognition of a distinct market for digital game app
transactions as opposed to non-gaming apps. Indeed, many general app stores on mobile and
tablet devices, including the App Store, Google Play app store, and the Amazon App Store,

       309
         Ex. Expert 13 (Cragg) ¶¶ 50–64; PX-1023; PX-1022; Trial Tr. (Schmalensee)
1935:22–1936:16; Trial Tr. (Cragg) 2280:15–23.
       310
             Dr. Hitt also relies on evidence from Spotify and Netflix subscription option removals
from iOS apps. As this evidence concerns subscriptions, not games, the Court does not consider
it for the reasons stated above.
       311
             Ex. Expert 6 (Hitt) ¶¶ 94–105.
       312
           The precise numbers are found in sealed documents. See Ex. Expert 6 (Hitt) ¶ 117
(62.9% in 2018); Trial Tr. (Hitt) 2126:16–19 (same); DX-4178.006 (76% in 2017); PX-0059.007
(68% in 2019). As previously discussed, supra n.243, the Google Play app store appears to be
similarly built and reliant upon revenues generated from gaming apps and transactions. See also
DX-3913.004–.013.

                                                61
distinguish between game transactions and non-game transaction by categorizing game apps into
a separate tab of apps entirely. This distinction reflects the recognition by the platforms that
consumers distinguish between these types of apps, and that both consumers and platform
owners would benefit from having games apps separately gathered in one place.313

        Both Apple’s App Store and internal business structure support and reflect this division.
On the App Store, editors consider a different set of factors when curating games for spotlight
marketing (i.e. the “Today” page) than they do when curating other non-gaming apps.
Moreover, Apple internally tracks the categories differently, as Apple routinely tracked “Games”
billings separately from other parts of the App Store business. Further, there are two heads of
business development for the division spearheading the App Store: one division head specifically
for games and another division head for all non-gaming categories.314

        Third, game app transactions are a distinct product because they exhibit peculiar
characteristics and uses. Game apps and their transactions are not substitutes for non-game apps,
which include a diversity of categories and purposes. Indeed, Dr. Evans conceded and
confirmed in a lengthy exchange that game transactions are not substitutes for non-game
transactions on the App Store. Epic Games’ other expert witness, Dr. Cragg, contradicted Dr.
Evans on this point by asserting the opposite—that non-game transactions are substitutes for
game transactions.315 The Court finds Dr. Evans more credible on this point.316

        Fourth, game developers often use specialized technology to create their game apps. For
example, specialized middleware tools like the Unity engine and Epic Games’ Unreal Engine are
primarily used by game developers. Using these specialized tools and graphics engines, game
developers tend to “really push the limits of what graphics processing can do” to the extent that
they are “in a different category” from other developers as a result.317

      Fifth, game apps have distinct consumers and producers: gamers and game developers.
Gamers are recognized as a discrete, albeit diverse, subset of app consumers. Moreover, game

       313
           Trial Tr. (Schmid) 3205:4–11; Ex. Expert 6 (Hitt) ¶ 126, Fig. 35; Ex. Expert 7
(Lafontaine) ¶ 26; DX-5552.
       314
            Trial Tr. (Fischer) 933:12–20; Trial Tr. (Schmid) 3205:4–11, 3226:8–12; Ex. Expert
6 (Hitt) ¶ 127; Ex. Expert 7 (Lafontaine) ¶ 26; DX-4178.006; DX-4399.008.
       315
         Ex. Expert 6 (Hitt) ¶ 117, Fig. 30; Ex. Expert 7 (Lafontaine) ¶ 26; Trial Tr. (Evans)
1641:7–1642:24; Trial Tr. (Cragg) 2301:19–2302:1.
       316
            Apple demonstrated on cross examination that Mr. Cragg was willing to stretch the
truth in support of desired outcome for his client. By contrast, Dr. Evans was willing to concede
points contrary to the position of his client. The Court finds this difference significant in
weighing the credibility of each.
       317
           Trial Tr. (Schmid) 3226:23–3227:13; Ex. Expert 6 (Hitt) ¶ 265. The Court notes,
however, that, at least with respect to Unreal Engine, there is also evidence that it has some
application beyond the game creation. See supra Facts § I.B.1.

                                                62
developers, including Epic Games, tend to specialize in the development of game apps and
related gaming software. For instance, among the set of developers who had sold at least one
game or item of in-app content in 2019, 88% of their App Store revenue was derived from game
apps. Indeed, as Michael Schmid, Head of Game Business Development at Apple, remarked:

                So game developers are quite separate from app developers in many
                circumstances. There are exceptions like big organizations like
                Microsoft that, you know, have Microsoft Office as well as, you
                know, Minecraft and other – other games.

                But generally speaking, game developers are focused on just
                developing games, and app developers are often focused on a single
                app or a suite of apps.318

       Sixth, game app transactions differ in pricing structure, including in monetization models
and effective prices, from non-gaming app transactions. In general, games monetize in different
ways than do non-gaming apps. For example, game apps make nearly all of their revenue from
in-app purchases (non-subscriptions). This differs from other major categories of apps, where
music, fitness, and other apps make virtually all of their revenue from subscriptions. Indeed,
there were no game apps among the top subscription apps for fiscal year 2019.319

        Moreover, the pricing and effective commission paid on each transaction differs
significantly between game apps and non-game apps. Specifically, there is considerable
variation in the average transaction price between app genres, including game apps and other
apps. For example, the average transaction price for game apps is $9.65, while the averages for
other app genres range between $7.11 for photo and video apps and $14.10 for health and fitness
apps. Similar variation between game apps and non-game apps is found in the average download
price for apps and the effective commission paid on each transaction.320

        Seventh, game apps are distributed by specialized vendors. The availability of game apps
versus non-game apps in the wider market different significantly. Indeed, game apps have
multiple avenues for distribution through various transaction platforms and devices, which
differs in both kind and degree from those available to non-gaming apps. Some of these devices
and platforms available to gaming apps are specifically designed for such games—and not non-
gaming apps. For example, game consoles (PlayStation, Xbox, Switch) are designed with
gaming as their primary purpose with other limited related entertainment functionality (e.g., film,
music, and television streaming). Similarly, the game transaction platforms available on these
       318
         Trial Tr. (Schmid) 3226:13–22, 3350:5–3352:3; Ex. Expert 6 (Hitt) ¶ 125, Fig. 34;
DX-3248.019–.020.
       319
           Trial Tr. (Lafontaine) 2045:3–9; Trial Tr. (Hitt) 2188:18–2189:8; Trial Tr. (Schmid)
3227:14–24 (“[M]any app developers now are really focused on subscription revenue and
growing a subscription business, whereas game developers not as much.”), 3230:1–20; Ex.
Expert 6 (Hitt) ¶¶ 121–23, Figs. 30–32; PX-0608.016.
       320
             Ex. Expert 6 (Hitt) ¶¶ 123, 124, Figs. 32–33.

                                                 63
devices focus almost exclusively on game transactions, including the PlayStation Store, Xbox
Game Store, and Nintendo eShop.321

        Eighth and finally, platforms providing game app transactions are subject to unique and
emerging competitive pressures. The rise of hybrid console platforms along with cross-platform
games and cross-platform gaming services (e.g., cloud-based streaming services) reflect the
ongoing dynamic nature of the wider gaming market. For instance, Nvidia’s GeForce Now game
streaming platform (available via web browsers or the GeForce Now client) only became
available in February 2020 and has a library of 850 games (including Fortnite, though planned to
be released in October 2021 on GeForce’s iOS game streaming service), with 2,500 games to be
added. Microsoft similarly is in development of its own cloud gaming service, internally named
xCloud, that will be added to its Game Pass Ultimate Subscription.322 With these numerous
alternative distribution options, developers are having to determine in the initial planning which
platforms to utilize in creating game apps. This compares to non-game app developers who
generally distribute on more limited devices and platforms. As an example: Mr. Schmid credibly
remarked on the state of the market for developers:

                On the game side it’s very common. Some of our biggest game
                developers will have games on many different platforms.
                Sometimes those games are cross-platformed. Sometimes they are
                specific to mobile or even exclusive to a console in certain cases.

                On the app side, same thing except it’s more typical that an app, for
                instance, like Yelp would be -- the entity itself, the company, and
                the app would only be, you know, one app as opposed to a game
                developer that would have many games.323

        Accordingly, in light of the foregoing, the Court finds that there is a substantial
distinction between the transactions for gaming apps and non-gaming apps.




       321
          Ex. Expert 6 (Hitt) ¶ 117; Ex. Expert 7 (Lafontaine) ¶ 34; Ex. Expert 8
(Schmalensee) ¶ 104; Trial Tr. (Wright) 555:13–556:5, 583:8–18; Trial Tr. (Grant) 697:14–20.
       322
            Ex. Expert 8 (Schmalensee) ¶¶ 104, 107; Trial Tr. (Wright) 565:20–566:1; Trial Tr.
(Patel) 422:12–15, 427:4–17, 429:11–14, 461:13–462:5, 477:7–15, 526:15–18; Trial Tr.
(Sweeney) 176:22–177:12. See also infra Facts § II.D.3.d. Indeed, the Court notes that the only
third-party app stores that Epic Games identified during the course of the bench trial as having
sought to be offered through the App Store are “gaming app stores,” and not “any other kind of
store.” See Trial Tr. (Evans) 1552:22–1553:8. This suggests that there are indeed competitive
pressures and consumer demands for games apps that are incentivizing and encouraging game
developers to reach consumers through multiple platforms.
       323
             Trial Tr. (Schmid) 3207:10–18.

                                                 64
       C. Epic Games: Facts Relevant to iOS In-App Payment Processing Aftermarket

        Epic Games’ assertion that the iOS in-app payment processing aftermarket is a relevant
antitrust market relies on the assumption that Apple maintains a “lawful monopoly in the iOS
app distribution market.”324 Because Epic Games cannot show such a market even exists, the
argument fails at the outset.

        Nevertheless, the Court addresses the argument because another fundamental problem
exists. As discussed below, one must define an antitrust market in terms of the relevant product.
If there is no product, such as with the mobile operating systems discussed above, there can be
no market based thereon. Plaintiff’s proposal begs the question of whether IAP is a product.

       Apple’s IAP or “in-app purchasing” system is a collection of software programs working
together to perform several functions at once in the specific context of a transaction on a digital
device. Apple uses the system to manage transactions, payments, and commissions within the
App Store, but it also uses the system in other “stores” on iOS devices, such as “the iTunes Store
on iOS, Apple Music, iCloud or Cloud services” and “physical retail stores”.325 The system is
not something that is bought or sold.

        IAP is not integrated into the App Store itself, even though it is integrated into an iOS
       326
device. By “integrated,” the Court only means that the application has been engineered
specifically to work seamlessly on the device. Neither side focused on the engineering to find
otherwise.

        More specifically, Apple’s IAP, as used here, is a secured system which tracks and
verifies digital purchases, then determines and collects the appropriate commission on those
transactions. In this regard, the system records all digital sales by identifying the customer and
their payment methods, tracking and accumulating transactions; and conducts fraud-related
checks. IAP simultaneously provides information to consumers so that they can view their
purchase history, share subscriptions with family members and across devices, manage spending
by implementing parental controls, and challenge and restore purchases.

        Apple also intends the system to provide the customer with a single interface which can
be used, and trusted, with respect to all purchases regardless of the developer. Importantly, the
system has become more sophisticated over time, but the record does not detail the various




       324
             Ex. Expert 1 (Evans) ¶ 220.
       325
             Ex. Depo. 12 (Gray) 65:17–22, 66:23–67:2, 110:2–7, 110:9–15; PX-0523; PX-0526.
       326
             See, e.g., PX-0526.

                                                65
versions.327 Notably the IAP system requires developers to independently verify delivery of in-
app purchasing content; it cannot verify that kind of delivery itself.328

        With respect to the commission and the transfer of money between a developer and both
Apple and the consumer, Apple engages third-party payment processors.329 Given the volume of
transactions at issue, Apple pays those processors somewhere in the range of one to two
percent.330

        The Court agrees that simple payment processing can occur outside of IAP and plaintiff
points to examples of this happening in 2009. 331 However, those examples only concern simple
payment processing, not all the functionality outlined in the preceding paragraph, including the
functionality to ensure Apple received its commission. Nor do the examples show that Apple
was waiving its commission for those developers. Rather, in December 2008, the product was
new, so, by definition, in flux.

        Epic Games ignores this other functionality to argue that Apple merely “matches”
developers to consumers; a “matching” service.332 This statement is partially true, but Apple has
never argued that it levies a commission merely because it matches the developers with the
customers. Apple argues that it uses this model to monetize its intellectual property against the
entire suite of functions as well as to pay for the 80% of all apps which are free and generate no
direct revenue stream from the developers other than the annual $99.00 developer fee.

       Creating a seamless system to manage all its e-commerce was not an insignificant feat.
Further, expanding it to address the scale of the growth required a substantial investment, not to

       327
         PX-0526; Ex. Depo. (Forstall) 252:06–252:13, 252:16–254:10; Trial Tr. (Schiller)
2796:4–2799:11.
       328
             Ex. Depo. 12 (Gray) 112:18–114:10.
       329
            Trial Tr. (Schiller) 2796:4–2799:11; Ex. Expert 8 (Schmalensee) ¶¶ 136, 161–62;
Trial Tr. (Evans) 1565:3–6; 1664:16–18 (Q: “. . . I’m asking you if in your relevant market,
Apple is a competing payment processor? A. Largely no.”).
       330
             Ex. Depo. 12 (Gray) 78:10–79:8.
       331
           See Ex. Depo. (Forstall) 230:05–231:02; PX-0888; PX-1701.002; PX-1813; PX-
1818.001; PX-1703.001–.002; PX-1709.001. Mr. Forstall testified that he generally remembered
that developers were trying to collect payment directly through apps prior to 2009, but Epic
Games introduced only stray emails to show this took place. Regardless, Epic Games does not
claim that Apple had market power in 2009, so this theory of purported price increase has little
relevance. Ex. Depo. (Forstall) 230:05, 230:16–230:18, 230:20–230:22; Trial Tr. (Evans)
1670:24–1671:2; e.g., PX-1709. Moreover, it merely shows that the nascent business was in
flux.
       332
          As noted above, this aftermarket relies on the distribution market where the “match”
is made. Payment is necessarily rendered thereafter. See Trial Tr. (Evans) 1596:8–1597:1.

                                                66
mention the constant upgrading of the cellphones to allow for more sophisticated apps.333 Under
current e-commerce models, even plaintiff’s expert conceded that similar functionalities for other
digital companies were not separate products.334 Under all models, Apple would be entitled to a
commission or licensing fee, even if IAP was optional.335 Payment processors have the ability to
provide only one piece of the functionality. There is no evidence that they can provide the
balance. Thus, the Court finds Epic Games has not shown that IAP is a separate and distinct
product.336

       D. Apple: Digital Video Game Market

        Apple proposes that the wider global digital video gaming market is the relevant product
market. Epic Games opposes this product market. The Court summarizes the evidence with
respect to global digital video gaming. Given how the cases was litigated, much of the evidence
relates to plaintiff specifically.

                1. Defining a Video Game
        The Court begins with a definition of “video game.” Unfortunately, no one agrees and
neither side introduced evidence of any commonly accepted industry definition. The evidence
included one witness, Mr. Weissinger, who acknowledged that, even with his deep background
in the gaming industry, he was not familiar with any industry standard definition of a video
game.337 Mr. Sweeney, for instance, defined a game as follows:

                I think game involves some sort of win or loss or a score
                progression, on whether it is an individual or social group of
                competitors. With a game you’re trying to build up to some outcome
                that you achieve, as opposed to an open-ended experience like
                building a Fortnite Creative island or writing a Microsoft Word




       333
           Trial Tr. (Malackowski) 3619:2–14; Trial Tr. (Fischer) 933:20–934:16 (describing
Apple’s investment in the 2017 redesign); Trial Tr. (Schiller) 2877:2–20.
       334
           Trial Tr. (Evans) 1654:17–1655:22, 1657:8–22, 1659:25–1660:16 (agreeing that
similar functionalities at Uber, Lyft, Grubhub, Wish, StubHub, DoorDash, Instcart, Postmates,
Amazon Shopping, Wal-Mart, and eBay are not separate products).
       335
             Ex. Expert 8 (Schmalensee) ¶ 157.
       336
          Epic Games also relies on Section II.F. of its Findings of Fact which relates to iOS
App Store Profitability. In evaluating IAP, the Court has focused on functionality.
       337
           Trial Tr. (Weissinger) 1297:25–1298:2 (“Q. In your view, is there an industry
standard definition of what could be called a game? A. I don’t think so, no.”).

                                                 67
                document. There is no score keeping mechanic and you are never
                done or you never win.338

Mr. Trystan Kosmynka, Apple’s current Head of App Review, admittedly “not an expert in
gaming,”339 noted that “games are incredibly dynamic,” that “[g]ames have a beginning, [and] an
end,” and that “[t]here’s challenges in place.”340

        At a bare minimum, video games appear to require some level of interactivity or
involvement between the player and the medium. In other words, a game requires that a player
be able to input some level of a command or choice which is then reflected in the game itself.341
This gaming definition contrasts to other forms of entertainment, which are often passive forms
enjoyed by consumers (e.g., films, television, music). Video games are also generally
graphically rendered or animated, as opposed to being recorded live or via motion capture as in
films and television.342

        Beyond this minimum, the video gaming market appears highly eclectic and diverse.
Indeed, neither Mr. Sweeney’s nor Mr. Kosmynka’s descriptions, which focus on linear
narratives and competitive modes, captures the diversity of gaming that appears to exist in the
gaming industry today. Mr. Allison acknowledges that while some games are competitive, and
are appropriately labeled as such on the Epic Games Store’s website, other games are not
necessarily competitive.343 Given the genre of simulation games like The Sims or SimCity, or
open-ended sandbox games like Minecraft, the Court cannot conclude that any linear narrative is


       338
             Trial Tr. (Sweeney) 328:13–19.
       339
             Id. 1190:10.
       340
             Trial Tr. (Kosmynka) 1015:23–25.
       341
           For instance, the Court is generally aware that one of the first commercially
successful games, Pong, consisted of minimal input from the player of moving a paddle up or
down. Of course, modern console, computer, and mobile gaming now permit dynamic inputs
beyond just one input. For instance, modern controllers for gaming consoles now include at least
two analog sticks, a directional pad (d-pad), and several buttons found on both the front face and
side edges of each controller. See generally PX-2776 (Nintendo Switch); PX-2777 (Sony
PlayStation 5); PX-2778 (Microsoft Xbox Series X).
       342
          Though, the Court understands that some games, such as older Mortal Kombat
games, have utilized motion capture technology in rendering graphics and animations in the
game.
       343
            Trial Tr. (Allison) 1241:16–1242:18. Although not in the record, the Court generally
understands that: (1) The Oregon Trail is a game that simulates crossing the United States of
America via the historic Oregon Trail in the nineteenth (19th) century; and (2) that The Sims is a
life simulation game that simulates general modern life (i.e., socializing, employment, romance,
family, skills, etc.) through player characters known as sims.

                                                68
required to qualify as a video game.344 Thus, the Court concludes that video games include a
diverse and eclectic genre of games, that are tied together at minimum through varying degrees
of interactivity and involvement from a game player.345

        Some of Epic Games’ fact witnesses suggested in their testimony that Fortnite was much
more than a video game: it is a metaverse. The Court previously discussed Mr. Sweeney’s
sincere beliefs as to Fortnite and the metaverse. A metaverse is a virtual world in which a user
can experience many different things—consume content, transact, interact with friends and
family, as well as play.346 According to Mr. Sweeney, game play need not be a part of a user’s
metaverse experience, which is more to mimic the reality of life than to present game play.347

        As discussed, to Messrs. Sweeney and Weissinger “Fortnite is a phenomena that
transcends gaming.”348 Because of the inclusion of these social and creative experiences, Mr.
Weissinger testified that he would not consider the Party Royale and Creative modes as
qualifying as a game.349

       Plaintiff’s characterization of Fortnite notwithstanding, the Court need not reach a
conclusive definition of a video game or game because by all accounts, Fortnite itself is both
externally and internally considered a video game.350 Epic Games markets Fortnite to the public
       344
           Of course, many games are also narrative driven as recognized by Mr. Kosmynka.
Microsoft’s internal review of The Last of Us Part II, a Sony PlayStation exclusive video game,
confirms that at least some games are focused more on the narrative of the game as opposed to
the game play itself. See PX-2476.002.
       345
            Indeed, the genre of gaming seems to include a diversity of genres and styles, with no
strict consensus on what a game must include in order to be defined as a game.
       346
              Trial Tr. (Sweeney) 99:17–22; Trial Tr. (Weissinger) 1295:10–11 (describing a
metaverse as a “social place where people can experience events together and hang out
together”); Trial Tr. (Kosmynka) 1127:18–23 (“So my own understanding of the Metaverse is
a . . . virtual world where you go with your particular character and are with players that you
know, players you may not know, and you navigate around that Metaverse, which could include
additional worlds in various experiences.”).
       347
             Trial Tr. (Sweeney) 99:23–25.
       348
             Id. 98:6–8; Trial Tr. (Weissinger) 1295:8–21.
       349
           Trial Tr. (Weissinger) 1439:8–11 (“There are experiences beyond that, and there are
some experiences that are separate and excluded from that as well. So there are some that I don’t
think I would qualify it as a game.”).
       350
           Trial Tr. (Sweeney) 93:22–94:17, 111:13–17, 116:6–12, 324:14–23; Trial Tr.
(Wright) 647:24–25; DX-5552; Trial Tr. (Allison) 1246:7–1247:18; Trial Tr. (Weissinger)
1354:1–1376:15 (explaining the various game modes within Fortnite, all of which are and/or
contain games).

                                                69
as a video game,351 and further promotes events within Fortnite at video game related events.352
Although Fortnite contains creative and social content beyond that of its competitive shooting
game modes, there is no evidence or opinion in the record that a video game like Fortnite is
considered by its parts (i.e., the modes within the game) instead of in its totality. By both Mr.
Sweeney and Mr. Weissinger’s own descriptions, the metaverse, as an actual product, is very
new and remains in its infancy.353 At this time, the general market does not appear to recognize
the metaverse and its corresponding game modes in Fortnite as anything separate and apart from
the video game market.354 The Court need not further define the outer boundaries of the
definition of video games for purposes of this dispute.355




       351
           See, e.g., DX-5536.001; Trial Tr. (Allison) 1245:9–1247:18 (discussing DX-
5536.001); DX-5541 (YouTube video demonstrating game play mechanics of Fortnite); Trial Tr.
(Schmid) 3205:1–3 (“Q. And do you know, for example, what category of app Epic chose for
Fortnite? A. They chose games.”).
       352
           See Trial Tr. (Weissinger) 1336:11–15 (describing then upcoming collaborated events
at the “Video Game Awards”).
       353
            See Trial Tr. (Weissinger) 1295:9–10; Trial Tr. (Sweeney) 99:14–15; Trial Tr.
(Schiller) 2834:24–2835:5.
       354
            There was also much discussion about a similar metaverse game, Roblox, which
contains creative experiences that are similar to those offered in the creative and party modes in
Fortnite, and whether it too qualified as a video game. The discussion was not initially helped
by Mr. Kosmynka, whose self-acknowledged unfamiliarity with the video game market and lack
of knowledge on Roblox’s game classification caused him to use imprecise terminology in his
testimony. See Trial Tr. (Kosmynka) 1015:18–1016:7, 1190:9–1191:6. Indeed, Mr. Schmid
noted that while Roblox may have renamed the internal games offered within Roblox as
“experiences,” it is “not saying that Roblox has decided they are no longer a game.” Trial Tr.
(Schmid) 3295:15–17.
       355
            The Court leaves the thornier further questions of what is properly included and
excluded in the definition of a video game to the academics and commentators. For instance,
one example that arose beyond the issue of Roblox was the recent genre of films and shows on
Netflix that allow users to make a choice akin to a “choose your own adventure,” including in
Black Mirror: Bandersnatch, and Unbreakable Kimmy Schmidt: Kimmy vs the Reverend. See
Trial Tr. (Wright) 576:24–577:2. The Court need not determine whether this interactivity is
sufficient to convert these forms of media into a video game. Suffice it to say, these examples as
well as the ongoing efforts in the metaverse, appear to be an ongoing trend of converging
entertainment mediums where the lines between each medium are beginning to mesh and
overlap.

                                                70
                2. General Video Game Market
       The wider video game market appears dynamic, innovative, and competitive. This wider
market includes at least four distinct submarkets for digital game app distribution:

       1. online mobile app transaction platforms (i.e., the App Store, the Google Play app
          store, and the Samsung Galaxy Store);
       2. online gaming stores found on desktop and personal computers (“PCs”), including
          online transaction platforms focused on game distribution (e.g., Valve Steam), and
          developers’ own stores that directly distribute their games (e.g., Epic Games Store);
       3. digital stores on consoles (i.e., Sony PlayStation, Microsoft Xbox, and Nintendo
          Switch); and,
       4. more recently, streaming game services (e.g., Nvidia GeForce Now, Microsoft Xbox
          Cloud Gaming, Google Stadia).356
       The gaming market today is the result of actions taken by competitors in the last two
decades. The first successful online platform focused on game distribution was Steam, which
launched in 2003. Steam By pioneering digital distribution on the PC, Steam enjoyed “a real
boom in both Steam’s business and just PC gaming and digital gaming in general.” Steam “is a
dominant player in the space and was in 2018 with 70 to 85 percent market share depending on
how you define the space.”357

       Steam’s success resulted in the rise of other PC-focused digital distribution platforms. In
addition, the console platform owners created their own digital marketplaces: Microsoft launched
Xbox Live Marketplace in 2005 (now Xbox Games Store on Xbox Series X and S), Sony
launched the PlayStation Store in 2006, and Nintendo launched the Wii Shop Channel that same
year (now the Nintendo eShop on the Switch). Most of these platforms, including Steam,
charged a 30% commission.358




       356
            Trial Tr. (Sweeney) 95:23–96:1, 135:21–24, 138:23–25, 177:23–178:14; Trial Tr.
(Wright) 637:18–24, 642:19–643:5 (stating that mobile is part of the gaming industry); DX-
5532.011 (Microsoft 10-K); Trial Tr. (Schiller) 2748:7–13, 2867:9–20; Trial Tr. (Schmid)
3240:1–7 (“We [Apple] compete with Google Play and the other many Android marketplaces.
We compete with the consoles, so Switch, PlayStation, Xbox. We certainly compete with PC
and the – the PC stores like Epic Games Store or Steam. And now more and more we’re
competing with the cloud gaming and – and the many companies that are getting involved in
cloud gaming.”).
       357
             Trial Tr. (Allison) 1201:23–1204:24, 1248:12–22; Trial Tr. (Sweeney) 173:13–74:25.
       358
           Ex. Expert 8 (Schmalensee) ¶ 41, Ex. 1; PX-2476.006 (discussing competing gaming
stores); Trial Tr. (Wright) 546:7–15; see also Trial Tr. (Sweeney) 191:910.

                                               71
        Since the App Store launched in 2008, the marketplace participants for game app
distribution increased.359 For example, Google announced the Android Market in 2008 (which
later became Google Play in 2012), Nokia and Samsung launched their Ovi Store and Galaxy
Apps Store in 2009, and Nintendo launched its eShop for its 3DS device in 2011.360

        Today, “[t]here are many ways to monetize [an] app on the App Store,” and Apple, like
other industry participants, facilitates a variety of business models for developers. At least with
respect to the App Store, there are at least five business models developers can use to make
money on their apps: the free, freemium, subscription, paid, and paymium models. The record
shows that under the “paid model,” (also called the “download and install” model), for instance,
a developer may charge a price for the user to download the app. As discussed, a developer may
instead choose the “freemium model,” allowing users to download an app for free but permitting
in-app purchases. Alternatively a developer can offer subscriptions to users (for sale in the app,
through a different platform, or online), can sell users digital currencies that can be used in the
app (for sale in the app, through a different platform, or online), can sell advertisements in the
app, or can charge for in-app promotions and events.361

                3. Four Submarkets
        The Court summarizes the evidence with respect to each of the four distinct submarkets
as it impacts the market definition:

                       a. Mobile Gaming
       With respect to mobile gaming, the two dominant players are Apple (App Store) and
Google (Google Play app store), with several other Android OS players including the Samsung
(Samsung Galaxy Store). Importantly, both third-party and internal market reports recognize
mobile gaming as a distinct market within the wider video gaming market.362 Indeed, mobile
gaming is “a vast part of the overall gaming industry,” so market participants, such as Microsoft,
look “at mobile as a segment of the game industry as a whole,” and “[i]n any industry analysis,
mobile would have to be part of the consideration.”363 Subsumed in mobile gaming are related




       359
           Trial Tr. (Schiller) 2748:1–13; see also id. 2772:13–17; PX-0888 (describing
competitor commerce models on Xbox, Nintendo, and PlayStation).
       360
             Ex. Expert 8 (Schmalensee) ¶ 41, Ex. 1.
       361
          PX-2790.009; Trial Tr. (Fischer) 925:24–926:1; DX-4614; Trial Tr. (Schiller)
2768:1–8, 2773:23–2774:5, 2779:12–21, 2791:11–18, 2858:11–22, 3094:11–22, 3100:9–22.
       362
            See generally DX-3248 (identifying mobile gaming as one segment in the video game
industry); PX-2477/DX-5523 (same).
       363
             Trial Tr. (Wright) 638:9–11, 639:1–2, 643:1–2.

                                                72
Android and iOS tablets offered by Apple, Google, Amazon, and Samsung.364 Notably, whereas
Apple iOS devices are closed platform or walled garden devices, Google Android devices are
open platform devices.

        Apple has always viewed Google Play as a significant competitor, including with respect
to games transactions. There is further evidence of platform competition with the Samsung
Galaxy store, as well.365 Apple also understood that other Android marketplace platforms were
competitive forces. For example, when Amazon launched its Android app marketplace, Mr.
Schiller wrote internally: “[T]he ‘threat level’ is not ‘medium’, it is ‘very high.’” Later, at the
Fourth Annual App Store Global Management Team Summit, Apple spent considerable time
discussing competition from Google, Samsung, and Amazon.366

        Several other platform distributors own and maintain apps that offer some functionality
and limited game streaming in connection with their original platforms. Steam also offers a
variety of iOS applications through the App Store that allow Steam customers to manage their
account and even stream games from their Steam library to their iOS device. PlayStation and
Xbox have similar apps in the App Store that allow customers of those consoles to stream games
from their consoles in order to play on their iOS device.367

        Although relatively newer than both PC gaming and console gaming, mobile gaming
constitutes a significant portion of the video gaming market. Indeed, as of 2017, it was
forecasted that mobile gaming would generate more than half of all game revenue globally, and
that the market would top more than $100 billion by 2021.368 Similarly, Microsoft’s internal
report reflects that mobile gaming accounted for “more than half of the industry revenue in
CY2019.”369

        Notably, the overwhelming majority of gaming revenue in mobile gaming derives from
free-to-play games, or freemium model games.370 As contrasted to other platforms, women
gamers of all ages (e.g., millennials, gen-x, and boomers) and gen-x male gamers are


       364
            Trial Tr. (Grant) 697:10–13; see also DX-3248.004 (defining mobile gaming as
tablets and smartphones); PX-2477/DX-5523.002 (defining mobile as “[g]ames executing locally
on a phone/tablet form factor (e.g., Clash of Clans); primarily iOS and Android”).
       365
             Trial Tr. (Schmid) 3239:23–3240:2; Ex. Expert 6 (Hitt) ¶ 142.
       366
             Trial Tr. (Schiller) 2866:1–20; DX-4447.001; DX-3734.041–.053.
       367
             Trial Tr. (Athey) 1843:7–19, 1844:10–14, 1851:1–23.
       368
             DX-3248.008.
       369
             PX-2477/DX-5523.008.
       370
          PX-2477/DX-5523.053; Trial Tr. (Schiller) 2791:11–18; Ex. Expert 8
(Schmalensee) ¶ 134; DX-3734.030.

                                                73
predominately more likely to play and game on mobile devices, with an overwhelming focus and
interest on casual games.371

         The mobile gaming market is slightly more nuanced domestically in the United States
than it is globally. At least as of 2017, console gaming accounted for 43% of gaming revenue,
whereas smartphone and tablets together accounted for approximately 40% of gaming revenue,
with the remaining 17% of gaming revenue in browser and PC gaming.372 Console gaming still
accounted for a larger share in the United States and Western European countries, whereas
mobile gaming generally made up a larger share of gaming revenue in the remaining parts of the
world, but especially in Asia and in developing countries, where mobile gaming was already by
2017 the majority in gaming revenue.373

        In general, the rate charged by platform owners such as Apple and Google, and those
third-party app stores on Android such as Samsung, remain at 30%, notwithstanding both Apple
and Google’s recent moves to lower this rate for developers earning less than one million dollars
annually to 15%. The Court notes however that some third-party mobile device marketplaces
have decreased their rate after negotiations between it and developers.374

                       b. PC Gaming
       PC gaming is characterized by an open market which includes several digital gaming
marketplaces, such as Valve Corporation’s Steam Store and more recently Epic Games’ Epic
Games Store, and several direct distribution platforms operated by larger game developers. As
noted above, Steam retains a significant market share in the PC gaming area.

        In the United States, as of 2017 PC gaming only accounted for approximately 15% of all
gaming revenue. Globally, PC gaming does not account for a majority of gaming revenue in any
country, though it has a significant market around or at least one-third (1/3) share in several
Eastern European countries and in both China and South Korea.375 Of the demographics, “male
boomer” aged gamed in the United States are more often playing games on the PC, with an
interest in casual games.376


       371
            See generally DX-4217. The Court notes that it uses the same terminology employed
in the cited third-party report to describe the age ranges of certain groups.
       372
             DX-3248.028.
       373
             See generally DX-3248.
       374
            See Trial Tr. (Schiller) 2810:16–2811:5, 2815:17–23; DX-4168; DX-4096.001; Trial
Tr. (Hitt) 2088:10–14; Trial Tr. (Cook) 3860:4–10; Ex. Expert 8 (Schmalensee) ¶ 41, Ex. 1.
       375
             See generally DX-3248.
       376
             See generally DX-4217; supra n.371 (using report terminology to describe age
ranges).

                                               74
        Similar to mobile gaming, PC gaming generated a majority of its gaming revenue from
free-to-play or freemium games. Though, unlike mobile gaming, there is a sizable portion of PC
gaming’s revenue that is derived from pay-to-play games (i.e., games purchased up-front).377

         A platform’s commission rate in the PC gaming area, historically 30%, now varies
among the competing platforms. Steam’s 30% cut, adopted since its inception in the early
2000s, was reduced in 2018 shortly before the launch of the Epic Games Store. Steam currently
uses a tiered commission rate, whereby larger game sales and revenues decrease the commission
rate, as low as to 20% for the highest tier of sales and revenues.378 Meanwhile the Epic Games
Store charges a 12% commission for app distribution, as well as a 12% commission for in-app
purchases when the app developer chooses to use Epic Games’ direct payment for in-app
purchases.379 Given that the 12% commission rate results in an operating loss, the move could
be viewed as merely a litigation tactic. However, on the eve of trial, Microsoft recently
announced, that it will be reducing its commission from 30% to 12% in the Windows Store.380
In terms of digital game sales on PCs and Macs, the Epic Games Store is “[a] clear and strong
number two” behind Steam.381 See supra Facts § I.B.3. With respect to its expansion to non-
gaming apps, the move was likely litigation related. Id. In addition, many other developers
launched major digital distribution platforms for their own and others’ titles: Ubisoft launched
Ubisoft Connect in 2012 and Bethesda launched Bethesda.net in 2016.382




       377
            See DX-5523.053 (23.3 billion attributed to free-to-play games versus 7.4 billion
attributed to pay-to-play).
       378
             Trial Tr. (Allison) 1209:13–1210:1.
       379
             Trial Tr. (Sweeney) 126:1–7.
       380
          Trial Tr. (Wright) 553:17–554:6; Trial Tr. (Allison) 1221:4–7, 1275:20–1276:5
(“Microsoft has switched to an 88/12 share on the Windows 10 Store.”).
       381
            See Trial Tr. (Sweeney) 123:15–124:5, 262:19–263:11, 263:22–265:4, 265:7–11;
Trial Tr. (Allison) 1199:15–1200:1, 1243:3–11. Among those mentioned was Itchio.io. With
respect to this app, Apple’s counsel alluded to certain sexually explicit video games (i.e.,
“Sisterly Lust”) offered by Itch.io. Given that the corresponding materials (e.g., storefront game
pages) were not submitted to the Court, the Court cannot conclude one way or another whether
this particular game, or other games offered on Itch.io, are as problematic as so alluded or
suggested by Apple’s counsel. Nonetheless, the Court finds that Apple’s questioning and Mr.
Allison’s answers thereto illustrate some problems that may occur when permitting “stores
within stores”: namely, disparate guidelines and policies, and the difficulty of reviewing
materials hosted by third parties. See Trial Tr. (Allison) 1257:5–1258:8, 1258:21–1259:22,
1280:20–1281:22.
       382
             See Ex. Expert 8 (Schmalensee) ¶ 41, Ex. 1.

                                                   75
                       c. Console Gaming
       There are three recognized market participants in the console gaming arena: Microsoft
Corporation Xbox Series X and S (formerly Microsoft Xbox One), Sony Corporation PlayStation
5 (formerly PlayStation 4), and Nintendo Co. Ltd. Switch.383 The evidence reflects that the
market is split between two similar products (i.e., the Xbox and the PlayStation) fiercely
competing on both power, graphics, processing, and speed, and one product (i.e., the Switch) that
has innovated to compete on mobility.384

        These three devices are generally considered “single purpose” or “special purpose”
devices—as compared to mobile and PC devices, which are more general-purpose devices. In
other words, these gaming consoles are generally made for the narrower purposes of gaming or
entertainment (e.g., video or music streaming).385 These platforms “are designed to give you a
gaming experience. [For example, p]eople buy an Xbox because they want to play games.” In
contrast, mobile and computer devices are general-purpose devices because there is a “wide,
wide variety” of “different ideas and applications that can come through it.” As a special
purpose device, for instance, Microsoft’s Xbox console is designed and marketed “to optimize
the game experience,” and it cannot perform many of the functions that mobile devices can, such
as requesting a rideshare, taking a photo, or obtaining driving directions.386

        Both the Xbox Series X and S and the PlayStation 5 were released in 2020, with their
prior models (the Xbox One and PlayStation 4) released in the 2010s. With respect to these two
devices, both have substantially similar hardware that renders cutting edge graphics similar to
those on certain PCs and desktops, and can render and run more realistic simulations than would
be possible on mobile or other devices.387 Indeed, the PlayStation and Xbox have the same
reliance on additional peripherals and equipment: namely, a television or screen, speakers, and a




       383
           See DX-5523.002 (defining console gaming as “[g]ames and services [offered] on
home consoles (e.g. Xbox and PlayStation) and handheld/hybrid consoles (e.g. Nintendo
Switch)”).
       384
           See generally PX-2776 (Nintendo Switch); PX-2777 (Sony PlayStation 5); PX-2778
(Microsoft Xbox Series X).
       385
            See Trial Tr. (Sweeney) 138:23–25; Ex. Expert 1 (Evans) ¶¶ 50, 53–54; Trial Tr.
(Evans) 1459:5–1461:20; see also Ex. Expert 6 (Hitt) ¶ 117; Ex. Expert 7 (Lafontaine) ¶ 34;
Trial Tr. (Wright) 556:4–5, 583:8–13; Trial Tr. (Grant) 697:19–20.
       386
             See Trial Tr. (Wight) 535:20–536:12, 555:24–556:5, 557:10–15.
       387
             See Trial Tr. (Sweeney) 139:17–23, 145:18–20, 145:24–25.

                                               76
controller.388 Both devices further require a constant connection to a power outlet, as well as, for
some games, access to the Internet via WiFi or ethernet cable.389

        Games developed for the Xbox and PlayStation leverage the competitive advantages
inherent in these systems. For example, with respect to Xbox console games, “developers have
taken a design choice to build an experience that they want to have rendered . . . with all the
compute power, graphic fidelity, that this box provides.” This contrasts to mobile games, which
are generally designed for a “more casual” gaming experience and the “vast majority are free to
play and then have in-app purchase mechanisms as part of them.” In some instances, console
game titles that are rewritten to run on iOS devices can be “different games” in that “[t]hey feel
different,” “operate different[ly],” and could be “leveraging the marketing brand of that,” while
being a “different version of the game that is written to run on [mobile devices].”390

        The remaining player in the console gaming market, the Nintendo Switch uniquely
competes on a separate ground: mobility.391 Nintendo introduced the Switch, a quasi-mobile
device, in 2017, and the eShop became the Switch’s online store.392 Unlike the PlayStation and
the Xbox, the distinguishing feature of the Switch is that it can be played in either a conventional
console manner (i.e., with a separate screen and controller) or a mobile handheld fashion (i.e., in
a modified tablet form, whereby the separating controllers attach to the sides of the tablet).393
Because of this mobility, there is substantial overlap in the design, form, and function with
       388
            See id. 138:18–21 (“A console is a fixed function device as [it is] typically plugged
into a television and controlled using a game controller or a joystick.”); Trial Tr. (Wright)
537:10–13.
       389
             See Trial Tr. (Wright) 536:13–537:13.
       390
             See id. 539:22–25, 636:11–17.
       391
            The Court notes a glaring lack of evidence on the Nintendo Switch, and its previously
related but distinct products, in the record. Indeed, the Court is aware that both Sony and
Nintendo, at one point, sold separate handheld gaming devices (e.g., Nintendo Gameboy,
Nintendo DS, Sony PlayStation Vita). No evidence or explanation was provided on what
occurred with these products or the handheld device market, though, the Court surmises that the
rise of the mobile gaming market likely subsumed the handheld gaming market and perhaps led
to Nintendo’s decision to switch to mobility as a competitive edge for the Switch. Regardless,
the Court notes the lack of evidence on this point, as well, as the Nintendo Switch generally,
where evidence is limited to third-party testimony and certain Nintendo documents. Indeed,
neither party called a Nintendo affiliated witness in this action to inquire on issues of
competition in the general or console gaming market. Instead, the Court is left with a limited
record on these matters.
       392
             See Trial Tr. (Grant) 696:8–11; Ex. Expert 6 (Hitt) ¶ 190 & Fig. 1.
       393
           See generally PX-2776 (Nintendo Switch). Although not reflected in the record, the
Court notes that one version of the Switch, the Switch Lite, can only be played in a mobile and
handheld manner.

                                                 77
mobile devices with respect to gaming.394 Moreover, Mr. Sweeney twice stated in a matter of
minutes that the performance of Fortnite on the Switch and smartphones are, in fact, “similar.”395
The only identified difference between the Switch and certain mobile devices is that, like the
PlayStation and Xbox, a Switch must also rely on a WiFi connection.396 However, not all
tablets, including some iPads, have or permit cellular connection, and must similarly rely on
WiFi.397

        Based on the business models and choices undertaken by the players in the console
gaming market, both Microsoft and Sony are in more direct competition with each other, while
the Nintendo Switch remains more distantly in the competitive orbit of these two devices.
Microsoft considers Sony’s PlayStation a “direct competitor” to the Xbox because of the
similarities in the hardware of these devices. In contrast, Microsoft considers the Switch as
competition to the Xbox but “to a much lesser extent.”398 In relation to other devices, Ms. Lori
Wright, Microsoft’s Vice President of Xbox Business Development, noted that Microsoft does
not consider cellular or tablet devices such as the iPhone or iPad as competitors to the Xbox.399

        Moreover, on the limited record before the Court, Microsoft and Sony appear to have a
different business model whereby digital downloads, including games, in-app purchases, and
       394
            See Trial Tr. (Grant) 696:6–11 (describing similarities in screen size, portability, and
other features between smartphones and the Switch); Ex. Expert 6 (Hitt) ¶¶ 87–91.
       395
            See Trial Tr. (Sweeney) 139:17–18 (“The performance of Fortnite and Nintendo
Switch is similar to many smartphones.”); id. 140:8–9 (“The performance of Fortnite on
smartphones and Switch is similar.”).
       396
             See Trial Tr. (Evans) 1459:5–1461:20; Trial Tr. (Sweeney) 140:9–11.
       397
            The Court notes that Epic Games’ proposed product market includes both iPhone and
iPad devices, without regard to whether these iPad devices are limited to those relying on cellular
connections or not. Indeed, notwithstanding the distinction raised by some Epic Games
witnesses, Epic Games states in its final proposed findings of facts and conclusions of law that
“[t]here are no differences between iOS and iPadOS that are relevant to the facts herein.” Epic
Games FOF ¶ 25 n.1.
       398
            Trial Tr. (Wright) 537:14–21 (emphasis supplied). Indeed, Ms. Wright only
identified the Switch as a competitor after having been asked the substantively same question for
a second time, wherein she identified the Switch as competition but qualified her answer by
noting that the Switch competes “much less” than the PlayStation against the Xbox. Id. This
appears to be in keeping with internal Microsoft documents reviewing its competitors, where
numerous PlayStation games are identified over two-thirds of the page, in contrast to Switch
games, which are limited primarily to just Nintendo published games and are relegated to the
remaining third of the page along with games launched on PC. See PX-2476.006.
       399
           Trial Tr. (Wright) 537:22–538:2. There is no evidence one way or the other in the
record to confirm whether Sony would have a different view than Microsoft on this question of
competition.

                                                 78
downloadable content, and physical game purchases effectively subsidize the initial cost of the
gaming device. There is some evidence that console manufacturers, especially Microsoft and
Sony, sell hardware at a loss and recoup those losses through the subsequent sale of software.400
This is in contrast to the limited documents and testimony that are in the record which reflect that
Nintendo makes a profit on the sale of hardware, i.e., the Switch.401

       Despite these differences, there are similarities amongst the players in the console
gaming market. Like iOS devices, the Switch, PlayStation, and Xbox have also adopted “closed
platforms” or “walled gardens” as Nintendo, Sony, and Microsoft do not allow users to install
software on their consoles outside of the platform’s official store.402 Moreover, unlike mobile
gaming devices, console gaming platforms use similar controllers consisting of analog sticks, d-
pads, and buttons located on the face and edges of the controller.403

        The standard commission rate across these console platforms is, like both the App Store
and Google Play app store, 30%.404 Although Epic Games witnesses and other third-party
witnesses testified that console makers regularly engage in negotiations with developers and
secure terms that factor into the overall value that the app developer receives.405

       Compared to mobile gaming and PC gaming, the gaming revenue generated by console
games in 2019 derived overwhelmingly from pay-to-play or buy-to-play games, as opposed to



       400
           See Trial Tr. (Wright) 551:24–13; Trial Tr. (Weissinger) 1350:18–1351:7; Trial Tr.
(Evans) 1476:2–8. Apple contests this assertion where Epic Games did not seek admission of
any documents supporting that testimony, and no such documents are otherwise in the record.
See Trial Tr. (Evans) 1736:3–20. The Court however finds Ms. Wright credible in her
statements, especially wherein they are not particularly flattering revelations for her employer,
Microsoft (i.e., that Microsoft does not make a profit on the sale of the Xbox hardware).
       401
             DX-5322; see also Trial Tr. (Evans) 1736:21–24.
       402
            See Trial Tr. (Sweeney) 180:17–184:9; Trial Tr. (Wright) 554:10–16. The Court
notes that Mr. Sweeney testified that he understood that Nintendo permitted “Switch games to be
sold by at least one third-party retailer digitally.” See Trial Tr. (Sweeney) 239:18–240:3. Mr.
Sweeney did not identify this third-party retailer, nor is there any further evidence in the record
reflecting any arrangement between Nintendo and a third-party with respect to a third-party
digital store.
       403
             Trial Tr. (Grant) 695:4–9; see also PX-2274.001.
       404
         See Ex. Expert 6 (Hitt) ¶¶ 161–162, 256; Ex. Expert 8 (Schmalensee) ¶ 41, Ex. 1;
DX-3955.003; see also DX-3582.004–.005; DX-3464.012, .027, .031; Trial Tr. (Sweeney)
142:19–143:1, 161:13–15; Trial Tr. (Weissinger) 1349:14–23.
       405
          Trial Tr. (Sweeney) 310:1–17; Trial Tr. (Schmalensee) 1958:1–3; Trial Tr. (Wright)
586:11–21.

                                                79
free-to-play or freemium games.406 Demographics show that millennial male gamers are most
often playing on a gaming console, with an interest in playing action games.407

                        d. Cloud-Based Game Streaming
        A newer and ongoing innovation in the gaming industry includes cloud-based game
streaming platforms. The companies involved in cloud-based game streaming include: Google
Stadia, Nvidia’s GeForce Now, Microsoft Xbox Cloud Gaming, and Amazon’s Luna. Cloud-
based game streaming services provide the experience of playing a game on a device that is
being streamed from a remote data or server center. Unlike the other video game submarkets,
cloud-based game streaming is not tied to a single device, and is instead a multi-platform service.
Indeed, Microsoft has recognized in its 10-K that its Xbox Live services face competition from
Amazon, Apple, Facebook, Google, Tencent, and these new “game streaming services.”408

        In light of the unique and innovative nature of cloud-based game streaming, certain issues
arise that do not otherwise arise as compared to other gaming submarkets. Game streaming
operates similarly to audio and television/film streaming, but further requires the transmission of
user input in the game to a remote data center which then processes and renders the user’s inputs
and choices in the game back to a user’s device through an audio and visual stream. The service
at minimum requires some wireless or cellular connection to maintain connectivity to these
remote data centers. Given this technological framework, the most significant of these issues is
the issue of latency. As Mr. Aashish Patel, the Director of Product Management for Nvidia’s
GeForce Now, describes it, latency “[a]t a high level, [i]s from when you trigger an action to
when you see the effect of an action.”409 In other words, latency is the time it takes between
when an action is input into a controller or device and when the change is reflected in game.
Methods reducing latency ensure there is no lag or delay in displaying the changes on screen or
in game. Higher latency can impact game play, especially in certain competitive games.410




       406
             See DX-5523.002, .053.
       407
             See generally DX-4217.
       408
            Trial Tr. (Sweeney) 135:21–136:5, 177:18–178:14, 256:16–25; Trial Tr. (Cook)
3866:14–22; Trial Tr. (Hitt) 2119:20–2120:14; Trial Tr. (Patel) 422:1, 442:5–12, 471:10–472:21;
Ex. Expert 6 (Hitt) ¶ 144; Ex. Expert 6 (Schmalensee) ¶ 120; Trial Tr. (Wright) 647:5–13. The
Court notes that Mr. Patel’s allegiances became quite apparent when he reluctantly, and
hesitantly, equivocated in answering basic questions on cross examination with respect to cross-
platform playing of games. Trial Tr. (Patel) 463:18–464:16. The Court accepts his testimony
with some discounting based on his bias for controversial issues.
       409
             Trial Tr. (Patel) 433:13–17.
       410
              Id. 422:2–7, 434:18–23 (“Depending on the user and the game, the user may feel
uncomfortable with the latency, doing an action and seeing the action performed later, it could
result in if they are in a racing game, turning too late, for example.”), 435:5–11 (“Depending on
                                                80
       The Court summarizes the game streaming services from the record:
        Google Stadia is a game streaming service launched in November 2019 and is available
on iOS through web streaming. Stadia offers a subscription model that provides access to a
library of games.411

        Nvidia GeForce Now launched in February 2020 and is also accessible through iOS as
well as through the GeForce Now client. Nvidia GeForce Now allows users to stream games
previously acquired or purchased from digital game distribution platforms (such as Steam or
Epic Games Store). The GeForce service played on iOS as a web-based service has received
mostly positive reviews and has performed excellently even on older devices, notably for which
Apple receives no commission or payment. By the third quarter 2020, GeForce had 5 million
users with a goal of doubling that within a year. GeForce also has doubled its price for new
users. Mr. Patel also raised the issue of the need for an Internet connection and capacity issues
for streaming, but those issues arise regardless of whether GForce is offered as a native app or a
web app. With expanding bandwidth over the past five years, the overall streaming experience is
now vastly better.412

        Microsoft Xbox Cloud Gaming with Xbox Game Pass Ultimate (formerly known as
Project xCloud) is another subscription-based streaming service that allows users to stream
games to their Android devices. Xbox Cloud Gaming became available for selected Android
devices and was recently launched on iOS, after some support from Apple engineers, in beta
version. Press reviews say that the Xbox Cloud Gaming experience is very strong on PC and
iOS. Ms. Wright states that it is a “great sign” for the prospects of Xbox Cloud Gaming that the
beta is expanding. Epic Games does not support Xbox Cloud Gaming because it views
“Microsoft’s efforts with xCloud to be competitive with Epic Games’ own PC offerings.413 The
Court understands that Epic Games therefore views certain multiplatform game streaming
services as a threat to its currently single platform game store.
        The Court notes that with respect to the iOS platform, both Nvidia and Microsoft
maintain web apps instead of native apps. This is due to Apple’s guidelines and rules prohibiting
stores within applications and requiring the submission of each individual game to the App

the game, yes, there can be competitive disadvantages for a user with higher latency.”); Trial Tr.
(Sweeney) 135:18–136:9; Trial Tr. (Grant) 712:17–714:10.
       411
            Trial Tr. (Sweeney) 256:16–25; Trial Tr. (Fischer) 901:19–21, 902:8–11; Ex. Expert
6 (Hitt) ¶ 144.
       412
          Trial Tr. (Sweeney) 137:12–16; Trial Tr. (Patel) 422:12–15, 425:4–11, 456:15–24,
458:6–18, 459:18–460:5, 460:8–461:3, 464:11–465:1, 466:18–24, 469:18–23, 470:4–15,
471:25–472:21, 473:24–474:13, 475:5–15, 476:12–19 (acknowledging that “Nvidia and GeForce
Now are not in the middle of that transaction” and receive no commission and instead all of that
revenue goes to the developer).
       413
           Trial Tr. (Wright) 565:20–567:19, 609:22–11:7, 611:21–621:1, 613:11–12; Ex.
Expert 8 (Schmalensee) ¶ 120; Ex. Depo. (Kreiner) 106:19–107:6.

                                                81
Store. Both companies would prefer to provide their services as native apps instead of web apps
due to the ease of both optimizing the experience for game streaming users on devices and
reducing latency. Neither company, however, provided evidence or testimony on the relative
differences in latency between webs apps and native apps, even as to the iOS platform’s Safari
web browser. The Court cannot otherwise discern based on the limited record whether being
limited to web apps has otherwise affected these services—especially considering the foregoing
evidence showing positive reception among consumers and the industry to both services on the
iOS platform.414
               4. Competition Among Platforms and Findings of Relevant Product Market
        Given the multitude and diversity of platforms available to consumers, it is not surprising
that there is, at a base and general level, some competition amongst them in the overall video
game market. As Mr. Sweeney remarked publicly in 2012:

               [W]e have a lot of platforms coming together. There are the tablet
               platforms, there are the smartphone platforms, and computers, you
               know, PC and Macintosh, and then there are consoles, Xbox 360,
               PlayStation, Wii, and some new handheld dedicated gaming
               devices, and God knows what else.

               This is too many platforms. And we’re seeing now, iPad sales have
               surpassed the sales of desktop PCs. That’s a real revelation to me.
               This is a product that wasn’t invented until a few years ago, and it’s
               basically supplanting the personal computer industry as we know it.

               Over time, these platforms will be winnowed down into a much
               smaller set of competing platforms. You know, there might be one
               or two or maybe three winners worldwide across everything—
               computers, game platforms, smartphones.




       414
            Trial Tr. (Patel) 427:9–428:6, 429:11–430:2, 433:13–434:17, 438:11–14; 530:24–
531:22; Trial Tr. (Wright) 577:3–579:10. Mr. Patel only characterized the additional latency as a
result of using web apps as “a bit higher” than native apps, but otherwise provided no relative or
quantitative comparison. Trial Tr. (Patel) 434:16–17. Indeed, Mr. Patel’s later testimony hedged
as to the actual latency problems with web apps, and he further did not identify any specific
latency issues with the iOS platform’s Safari web browser. Id. 530:1–16 (responding that with
web apps, “you could argue that in some instances, it’s worse than native application decoding,”
and web apps “could” increase latency (emphasis supplied)). Mr. Patel later conceded that
regardless of whatever app model they used (e.g., web app or native app), “[t]he majority of the
process is the same.” Id. 532:2–9.

                                                82
                So we should expect a lot of consolidation here, and winners and
                losers according to who picks the right directions and executes
                successfully on them.415

According to Apple, it faces intense pressure as it competes for developers and users across these
platforms.

         In a general sense, consumers have a choice of devices and transaction platforms through
which to acquire, modify, and play games. Apple’s mode of competing resorts to its historic
model: user-friendly, reliable, safe, private, and secure. Mr. Sweeney does not dispute that
“what is on a particular store is part of the competitive landscape among different stores in which
customers make decisions between stores based on the quality, selection, and other policies of
stores.” Similarly, developers also have a choice among the distribution channels, including
various transaction platforms, through which to distribute their apps to consumers. In some
measure, Apple must likewise make its platform attractive to developers.416 Given that Apple
built and modeled the App Store in part on its gaming competitors (e.g., Nintendo, Sony, and
Microsoft), harnessing these competitors’ in-app purchasing systems from the gaming context,417
it is not surprising that Apple now faces competition amongst these very same players.418

         Of course, the Court must determine where the actual competition lies between these
platforms based on the current state of play in the overall market. This is a close question where
the general video game market appears to be evolving and dynamic. While there is some
competition amongst the players in the general video game market, the Court cannot say that this
overall competition is sufficient for purposes of defining a relevant product market—at least not
at this time.

       What makes this determination difficult is that the market appears to be somewhat in
flux. With the recent success of truly cross-platform games like Microsoft’s Minecraft and Epic
Games’ own Fortnite,419 these disparate platforms, each with their own unique and competitive
advantages, are truly competing for consumers who wish to consume these increasingly popular

       415
             DX-3768 at 26:1–23; Trial Tr. (Sweeney) 243:10–244:9.
       416
           Trial Tr. (Schiller) 2748:6–24; id. 2867:9–20 (describing the App Store’s competition
with Steam); Ex. Expert 8 (Schmalensee) ¶¶ 122–126; Trial Tr. (Sweeney) 261:19–23; Trial Tr.
(Hitt) 2130:5–7; see also Trial Tr. (Schmid) 3240:1–7; DX-4399.046–.054 (Apple has also
benchmarked the App Store against Android Market, Google Play, and other competitors in a
2017 presentation, where it listed Google Play in the “Competition” section, along with
Facebook Messenger games, publishers, platform marketplaces, and social platforms).
       417
             See generally PX-0888.
       418
             DX-4178.008.
       419
           The record demonstrates that the App Store is one of several competing platforms,
such as the PlayStation and Xbox, with respect to cross-platform play for Fortnite. Trial Tr.
(Sweeney) 236:19–237:2; DX-3125.005.

                                                83
cross-platform games and any transactions made therein. Indeed, video games can and are able
to be ported across multiple devices.420 However, not all games are like Minecraft or Fortnite;
the market still reflects that video games are, for the most part, cabined to certain platforms that
take advantage of certain features of that platform, such as graphics and processing, or
mobility.421 The record reflects that the industry players are only slowly and recently reacting to
compete against the wider gaming platforms.

        With cross-platform games like Fortnite available on multiple devices, these platforms
are truly competing against one another for these in-app transactions. For instance, an internal
Epic Games email from September 2018 notes that “purchase behavior may have changed with
the addition of mobile, especially Apple and more recently Android, where users are just logging
onto their mobile app to purchase.” In other words, “most players are still playing on PC/Epic
platform[s] as they did before, but purchasing on other platforms like mobile because it may be
easier and more convenient [i.e.] when the store updates.”422 This is despite the fact that iOS
Fortnite players consisted of only approximately 10% of daily active users, and Fortnite players
generally prefer playing on alternative platforms.423

        In response to this exact scenario, where gamers play on one platform but spend on
another, some other platform owners have enacted substantive policies regarding cross-wallet
and cross-play restrictions. Sony, for instance, enacts a cross-play policy that compensates Sony
where players spend on other platforms but primarily game on Sony’s PlayStation platform.424
Meanwhile, Sony and Switch have enacted policies that limit the cross-wallet functionality
across platforms.425 Also unlike certain consoles, Apple does not require price parity; that is,
developers are free to price their in-app content on apps downloaded from the App Store higher
than the same content sold through other platforms.426

        While these policies and cross-platform games might evidence some convergence of
competition amongst them at some point in the future, the relevant product market does not
appear to be so wide as to include all platforms at this time. This is especially so given the
distinct submarkets discussed above: namely, mobile gaming, computer gaming, and console
gaming.


       420
             See generally Trial Tr. (Grant) 671:2–673:20.
       421
             See generally supra Facts §§ II.B.1–2, II.D.3.
       422
             DX-3867.
       423
             See Trial Tr. (Weissinger) 1346:18–1347:1; DX-3233.009.
       424
             DX-3094.006.
       425
          See Trial Tr. (Sweeney) 197:1–18, 238:9–239:17; Trial Tr. (Schmid) 3208:8–16; Ex.
Depo. (Kreiner) 83:12–16.
       426
             See Trial Tr. (Schiller) 2819:18–2820:2; DX-3582.003.

                                                 84
        The question remains however on where (i) the Nintendo Switch, which is distinctly both
a hybrid console and mobile gaming device, and (ii) game streaming services, a multiplatform
game service also available on iOS platforms, fall in the general market and the above
submarkets. Facially, the inclusion of the Switch and game streaming services in a relevant
product market defined as mobile gaming transactions has logical appeal. The Switch is
essentially a game specific tablet with detachable controllers on its sides. Its inclusion would
make logical sense where tablets are also included in the relevant product market. Witnesses
also confirmed that games (including Fortnite) for both the Switch and mobile devices operate
substantially the same on both devices. Moreover, what evidence exists in the record shows that
the Switch generally competes significantly differently as compared to the other two console
players—the PlayStation and Xbox.
        The inclusion of game streaming services has similar logical considerations. Because
such services are multiplatform, they can reach the same audience of consumers on the iOS
platform as the App Store can by virtue of their design. Specifically, whether by native app or
web app, game streaming services are just as available to consumers on the iOS platform as the
games are on the App Store. These services essentially compete with the wider market given the
lack of a need for any corresponding device. Indeed, due to the multiplatform nature of such
services, even players in other submarkets, including Epic Games, have come to view such
services as a competitor in their established market spaces.
        Despite the foregoing, neither the Switch nor game streaming services are appropriately
part of the mobile gaming market—at least not at this time. First, as previously noted, the record
is limited as to both Nintendo and the Switch. Nonetheless, the Court notes that there is in
evidence one real world example that shows that the Switch’s mobility competes against iOS
devices for gaming: the introduction of Fortnite on the Switch. As the experts’ analyses show,
the introduction of the Switch shows both substitution and complementary play without a
definitive answer. See supra Facts § II.B.2.
         Second, both products are too new for a determination of whether they should or should
not be included in the relevant product market. The Switch and especially game streaming
services are relatively new products in the market. Indeed, Nvidia’s GeForce Now service only
launched months before the filing of this action, and Microsoft’s service remained in beta testing
at the time of the bench trial. It is unclear at this time whether consumes will or do consider
these products reasonably interchangeable and substitute in sufficient numbers between the
competing products already in the mobile gaming market.
         In sum, in light of the lack of evidence in the record, and the recent introduction of the
Switch and game streaming services to the market, the Court declines to include either device or
service in the relevant product market for mobile gaming transactions. While the record does not
reflect that these products are appropriately included in the relevant product market at this time,
the Court does find that these products evidence, at a minimum, market entrants into this mobile
gaming space. Whether these entrants will occupy the same space as Apple and Google remain,
however, to be seen by both consumers and developers.
       Thus, the Court concludes that the competition lies within the smaller recognized mobile
gaming transactions submarket, however, this submarket does not include the Switch or game
streaming services.


                                                85
       E. Apple’s Market Share

       For the reasons set forth above, the Court concludes that the competition lies within the
smaller recognized mobile gaming transactions submarket, however, this submarket does not
include the Switch or game streaming services. The Court next calculates Apple’s market share.

        The only evidence of market share in the proposed market concerning video gaming
comes primarily from Apple’s expert witness, Dr. Hitt.427 As discussed, Apple’s proposed
definition of the market includes all video game platforms, which the Court rejects as the
relevant market. Consistent with Apple’s proposal, but inconsistent with the Court’s finding that
mobile gaming is the relevant product market, Dr. Hitt’s analysis relies upon the assumption that
the App Store has many competitors, including other game transaction platforms, for mobile, PC,
and console, as well as game streaming services, and limits the scope to the United States.428

        Since data on the number of game transactions is not readily available, Dr. Hitt’s analysis
uses the dollar value of game transactions facilitated as a proxy for the most appropriate measure
for estimating market share. To reach his opinion he analyzes: (i) the total revenue for digital
game transactions on the App Store in the United States; and (ii) the total revenue for digital
game transactions across all digital game transaction platforms in the United States.429 Again,
Dr. Hitt’s analysis does not narrow in on the mobile gaming market and Apple’s market position
therein. Based on his analysis and his review of the relevant evidence, Dr. Hitt finds and
concludes that Apple’s video game market share based on total revenue from digital game
transactions is 37.5%.430 Based on his calculations, Dr. Hitt concludes: (i) that this video game
market share is inconsistent with Apple’s ability to exercise market power; and (ii) that this lack
of concentration in the video game market suggests Apple does not possess monopoly power in
the relevant product market.431 While Dr. Hitt’s report and analysis aids the Court, it is
overbroad for purposes of the Court’s finding that the market is limited to mobile gaming.

        Despite the limitations of Dr. Hitt’s analysis, a similar calculation based on evidence in
the record reveals a much more significant mobile gaming market share. Apple’s internal
business records432 show a consistent belief that Apple’s market share of the global video gaming
market increased over time beginning in 2015 with 18%; 2016 with either 21.8% or 23%; 2017



       427
             Ex. Expert 6 (Hitt) ¶ 117.
       428
             See supra Facts § II.D.; Trial Tr. (Schiller) 2867:1–20; Trial Tr. (Cook) 3865:23–
3867:5.
       429
             See Ex. Expert 6 (Hitt) ¶¶ 137–138.
       430
             Id. ¶¶ 8, 117, 123–128.
       431
             Id. ¶¶ 138, 140–141.
       432
             The Court relies on Apple’s business records as admissions.

                                                   86
with either 24% or 27%; 2018 with 23.8%; 2019 with 23.9% or 25%; and 2020 forecasted at a
range between 24.7% and 31%.433

       The Court has the most evidence for the year 2017. Using Apple’s internal documents
the Court is able to calculate Apple’s market share at 57.1% in the global mobile gaming
industry. The Court reaches that value by taking Apple’s own internal records for 2017 which
show Apple’s internal calculation that it controls 24%434 of the global video gaming market and
dividing the number by 42%435 which reflects Apple’s belief of the portion of the mobile gaming
market relative to the global video gaming market (24% divided by 42% equals 57.1%).

       Using this same methodology, the Court can calculate Apple’s market share in the mobile
industry before 2017, as 52.9% in 2015 and 54.5% in 2016. This computation is consistent with
a view that the market share was less than 57.1% in 2017.436

        Similarly, for 2020, Apple estimates that its own global market share in the wider video
gaming industry is 28.2%, and cites on its internal business record to an external Newzoo report
that states that mobile gaming (including mobile and tablets) accounted for 49% of global




       433
           Compare four internal forecasting documents, namely, DX-4178.008 (2017 Review),
PX-0602.027 (2018 Review), PX-0608.014 (2019 Review), and PX-2302.022 (forecasting 2021
and 2020).
       434
             See PX-2302.022 (reporting 24% market share). The Court notes a discrepancy
between two sets of presentations calculating market share from 2015 to 2020 in the wider video
gaming industry. The Court notes that the figures found in the most recent Apple presentation,
along with figures found in the 2019 review (PX-0608), appear to match and correspond with
third-party data found elsewhere in the record. See DX-3248. For that reason, the Court
concludes that these figures in the most recent presentation are the more correct and updated
versions. The market share rates found in the other (generally older) presentations appear to use
estimates instead of the actual total revenue in the video game industry for certain years resulting
in a lower total annual amount, which appears to inflate Apple’s market share in these other
presentations. Compare DX-4178.007 (2017 presentation, stating 109 billion in total game
revenue in the entire industry in 2017) with DX-3248.008 (2018 market report, stating 121.7
billion in total game revenue in the entire industry in 2017).
       435
            Compare DX-4178.007 with DX-3248.008. The comparison shows a discrepancy in
the portion of the mobile gaming market for the year 2017: namely Apple reports it as 42% in its
presentation and third-party Newzoo reports it as 46% in its 2018 Global Games Market Report.
The delta between these two figures is a few percentage points: using the third-party Newzoo
figure in the Court’s methodology, Apple’s global market share is computed at 52.1% for 2017.
       436
           Relying on the same documents, for 2015, the Court takes Apple’s 18% market share
divided by 34% of the mobile share of the global market. For 2016, the Court takes Apple’s
21.8% market share divided by 40% of the mobile share of the global market.

                                                87
gaming revenue in 2020.437 Using these figures and the same methodology as above, Apple
would have 57.6% market share in the global mobile gaming industry in 2020.438

         The Court understands that the market share would likely be less if the Switch were
included in the relevant product market.439 However, the record is bare of evidence and, in any
event, the new market entry would not have had such a compelling entrance as to discount the
market share to under 30%.440 Nonetheless, even assuming the market were limited to both
mobile gaming and console gaming (including the Switch, PlayStation, and Xbox), Apple would
still have, at a minimum, market power.441 For the years in the record, the Court’s methodology
based upon the records shows that Apple would have a market share of such a defined global




       437
            The Court notes that the 2020 Newzoo report is not in evidence, however, it is found
as a “Reference” citation at the bottom of Apple’s presentation. See PX-2302.022. These third-
party references are often noted in presentations but only a few source documents are in
evidence. The Court relies upon the reference because Newzoo is a credible third-party report
that others in the industry rely upon.
       438
           The same level of precision does not exist for 2018 and 2019 given the trial record.
While the Court has evidence of Apple’s market share in the wider gaming market and for
certain years for the mobile gaming market, there is no discrete information or evidence for
which it could calculate or find Apple’s market share within mobile gaming for the years 2018
and 2019.
       439
            For instance, the Court lacks any revenue specific information regarding the Switch
with which to include in any market share determination. As to game streaming services, given
the only recent introduction of such products to market, the Court would expect any inclusion of
such services to have a minimal impact, if any, on the overall market share calculations in this
section.
       440
           See Trial Tr. (Bornstein) 4091:4–4092:3. Given the Court did not adopt the parties’
market definitions, Epic Games’ counsel would not commit to whether tablets would be included
in that hypothetical market. Assuming a mobile and handheld device market as the relevant
market, there are numerous tablet platforms and at least one mobile gaming console platform
(Nintendo Switch) that would have to be included in such a market.
       441
            The Court also assumes for purposes of this analysis that the video game revenue
cited in the corresponding Newzoo report is all attributable to digital game transactions. The
Court notes that this overinclusion of non-digital game transactions and of the PlayStation and
Xbox would depress Apple’s market share if the Court were to only include digital game
transactions attributed to the Switch. Nonetheless, the purpose of this analysis is to demonstrate
that Apple retains market power above 30% even with the overinclusion of these additional
platforms and non-digital transactions.

                                                88
video gaming market (e.g. mobile and console) of 32.9% 2017, and of 31.1% in 2016.442 For the
most recent year 2020, based on estimated and projected revenue and on the cited 2020 Newzoo
report, Apple’s market share would be 36.6% of such a defined video gaming market.

III. PROPOSED GEOGRAPHIC MARKET AND FINDING

       The parties offer differing perspectives on the geographic market. Epic Games argues for
a global market, excluding China, and Apple asserts a domestic market.

       With respect to its theory, Epic Games argues for a global market because smartphones,
and thereby, the smartphones’ operating system, are sold globally. Moreover, smartphones
generally work regardless of the location with the exception of China where the operating
systems are, in fact, different because they are installed by original equipment manufacturers in
China.443 Apple does not challenge the geographic market for smartphones, although for the
reasons set forth above, it heavily contests the notion that a separate market exists for operating
systems.

        By contrast, Apple focuses on app gaming transactions arguing that the geographic
market is domestic. Apple highlights that consumers access the App Store with country-specific
digital storefronts which means that consumers enter into transactions through a digital storefront
based on their home country. Generally, Apple customers do not have access to foreign
storefronts, and cannot readily switch between storefronts outside of their home country. The
same is true for customers in foreign countries.444 The Court understands that many console and
other game transaction platforms similarly organize their stores with geographic overlays.445
Providers have created impediments to switching geographic registration, such as prohibiting it
as part of the terms of service, requiring country specific credit cards, and installing software
which may make the app inoperable.446


       442
          The Court notes that the Switch was released in March 2017, and thus, the inclusion
would only affect the years 2017 and later. The Court discloses that Apple’s market share for
2015 would be 27%.
       443
          Ex. Expert 1 (Evans) ¶¶ 70–71; Trial Tr. (Cook) 3970:10–16; see also Trial Tr.
(Cook) 3942:18–19, 22 (agreeing that “in China, the iCloud service is operated by a Chinese
company”).
       444
            Trial Tr. (Schiller) 2754:20–2755:9 (“It’s how we’ve been told we need to structure
the stores.”).
       445
           Id. 2754:14–2755:15; Ex. Expert 7 (Lafontaine) ¶ 9; Trial Tr. (Lafontaine) 2066:24–
2067:6; see also Trial Tr. (Evans) 1565:12–14.
       446
             Ex. Expert 7 (Lafontaine) ¶ 91; DX-4931.001; DX-4920.001 (noting for Microsoft
that “[i]f you change your country or region in Microsoft Store, the stuff you got in one region
might not work in another. This includes: Xbox Live Gold, Xbox Game Pass, Apps, games,
music purchases, and movie and TV purchases and rentals”).

                                                 89
        Geographic constraints are less pronounced for developers. Foreign and domestic
developers can publish on both foreign and domestic platforms. However, they can only access
the consumer on the consumer’s own domestic storefront.447 Apple principally relies on Dr.
Lafonatine to argue that the “competitive conditions each platform faces varies from country to
country. The set of apps available across the world is not uniform. So one accessing the App
Store’s U.S. storefront would not have an identical selection of game apps to a consumer
accessing a foreign storefront. Moreover, different countries feature different slates of
competing platforms, with differing relative market shares. All of the above factors affect
demand and substitution, creating different market conditions in each country.” 448 However, the
factual basis for her opinion is weak. 449

         The Court finds Apple’s factual basis for its assertion to be weak. At least for purposes
of this case, Apple’s restrictions appear to be imposed by Apple, rather than by market forces.
Importantly, the Court finds more persuasive that Apple actually treats app distribution as a
global enterprise. Its rules and guidelines apply globally to all storefronts, the business
development team engages with developers globally, the DPLA applies globally, and the
complexity and justification for the complexity of the IAP system is due in large part because of
the global nature of the business.450 The parties agree that China is different.451

       Thus, the Court finds the relevant geographic market to be global.

IV. MARKET POWER IN RELEVANT MARKET

       In addition to Apple’s market share in the relevant market of mobile gaming, the Court
examines other evidence of Apple’s market power in the mobile game transactions market and
considers pricing, nature of restrictions, operating margins, and barriers to entry.

       A. Pricing

       The experts agree that the ability to set and maintain supracompetitive prices is evidence
of market power. Dr. Schmalensee emphasizes, however, that two-sided platforms often have
skewed pricing so supracompetitive prices on one side may not be indicative. He also opines


       447
             Apple FOF ¶¶ 444–446 (citations omitted); see Ex. Expert 7 (Lafontaine) ¶ 91.
       448
             Apple FOF ¶¶ 447–450; Ex. Expert 7 (Lafontaine) ¶¶ 90–91, 93.
       449
            Further, Dr. Lafontaine acknowledged that, when reaching her geographic market
limited to United States consumers, she did not consider developers’ ability to directly distribute
apps to consumers. Indeed, she did not know whether direct distribution is limited by national
boundaries. Trial Tr. (Lafontaine) 2067:7–2068:3.
       450
          Ex. Expert 1 (Evans) ¶¶ 145, 266; Trial Tr. (Kosmynka) 985:21–986:24; Trial Tr.
(Schmid) 3221:21–3222:2; Trial Tr. (Grant) 723:25–724:4.
       451
             Ex. Expert 1 (Evans) ¶¶ 71, 108.

                                                90
that only price changes over time are relevant to determining market power.452 The parties thus
dispute whether Apple’s commission is (i) supracompetitive and (ii) has increased or decreased
over time.

        As an initial matter, as detailed above, the 30% commission was not set by competition
or the costs of running the App Store, but as a corollary to other gaming commission rates. Next,
the evidence showed four pricing considerations after the initial rate. First, in 2009, Apple
introduced IAP using the same 30% commission. Second, in 2011, Apple enabled recurring
subscriptions purchases on the iPhone. Third, in 2016, Apple introduced paid search ads on the
App Store. Finally, in late 2020, Apple introduced the Small Business Program. That program
reduced Apple’s commission to 15% for developers making less than one million dollars. See
supra Facts § I.C.3.c.

        Both parties cite these pricing changes as evidence that Apple has or lacks market power.
Epic Games cites the introduction of IAP, recurring subscription payments, and search ads as
evidence of price increases. This evidence is not persuasive because both IAP and recurring
subscriptions correspond to new features, not price increases on existing features. With respect
to search ads, one would reasonably expect that a fundamental purpose of an app store is to
provide search capability or “discoverability.” Thus, by offering developers the option to pay for
search ads, one could argue that this is not a new feature and therefore more probative of a price
increase. On the other hand, developers do not have to use search ads which suggests this is
could be viewed as a new feature. The record was undeveloped on this point.

         Apple, on the other hand, cites the reduction on second year subscriptions and the Small
Business Program as evidence of price decreases. The subscription reduction is highly
probative; the evidence shows that Apple’s decision coincided with several large developers
ending in-app subscriptions through iOS apps (and therefore exercising power to leave Apple’s
platform). However, as described above, subscription apps face different market conditions than
games, and there is no evidence of game developers leaving for other platforms to force a price
decrease.453 Further, the Court has explained above why the evidence on Apple’s motivations
regarding the Small Business Program is mixed. Regardless of whether altruism or regulatory
pressure caused Apple to lower its commission, competition does not appear to have played a
role.454

        Given the lack of clear evidence about price increases or decreases due to competition,
Dr. Hitt focuses on Apple’s average commission, which he argued decreased over time from the
growing presence of free apps on which Apple receives no commission. He argues this decrease

       452
             Ex. Expert 8 (Schmalensee) ¶¶ 108–109.
       453
             See Ex. Expert 6 (Hitt) ¶¶ 102, 105.
       454
            The Court does note that after Apple introduced the Small Business Program, Google
quickly followed suit on Android. However, Mr. Cook was not aware of any other store that did
so. This reinforces that Apple and Google compete with one another. Trial Tr. (Cook) 3860:4–
10.

                                                    91
is inconsistent with market power.455 However, the evidence is less probative because of the
unique nature of Apple’s business as both the device maker and app store operator.456 Namely,
Apple has repeatedly acknowledged that free apps make its platform more attractive, which helps
it sell more devices.457 As such, under a two-sided transaction platform analysis, the cost to
users from purchasing devices to access free apps likely offsets the reduced price offered to
developers of those apps.458 Given Epic Games’ theory that no commission should be levied,
where the tipping point is in terms of that offset has not been explored.

        Thus, ultimately, the pricing evidence does not show either market power or its absence.
Apple’s initial rate of 30%, although set by historic gamble, has apparently allowed it to reap
supracompetitive operating margins. See infra Facts § IV.C. The choice to not raise that price
further is consistent with market power if that price already reflects monopoly levels.459 Only
rarely has Apple reduced its commission in response to competitive pressure, such as with the
second-year subscriptions. However, because subscription apps are a separate market from game
apps, that does not show lack of market power in the mobile game transaction market.460

       B. Nature of Restrictions

       Epic Games also cites the nature of the restrictions as evidence of Apple’s market power.
Apple uses both technical and contractual means to restrict app distribution. Technically, Apple
prevents unauthorized apps from downloading on the iPhone. It does so by granting certificates



       455
             Ex. Expert 6 (Hitt) ¶¶ 169–176, 184.
       456
           Notably, the price of game in-app commissions has only grown over time. This again
suggests that game developers may be subsidizing the rest of the App Store. Id. ¶¶ 174–175.
       457
             See, e.g., Trial Tr. (Cook) 3988:14–3989:5; PX-2060.005.
       458
             Ex. Depo. (Okamoto) 324:04–325:10; PX-2060.018–.019; Trial Tr. (Cook) 3990:18–
3991:8.
       459
           As noted previously, Apple executives initially questioned whether they can maintain
a 30% commission in response to competition. PX-0417. Apple still does not track costs or
pricing on different platforms to determine its rate. Trial Tr. (Fischer) 904:18–905:6; Ex. Depo.
8 (Cue) 141:13–142:09.
       460
             Apple makes two additional arguments for lack of market power. First, it claims that
it has not restricted output. Apple FOF ¶¶ 467–468. Again, in light of the unique business
model, game output here makes Apple’s platform more attractive and increases rather than
decreases its profits. Second, it claims that the 30% commission is consistent with other online
platforms. Apple FOF ¶¶ 469–478. This argument is discussed above and below in relation to
anticompetitive conduct. In short, the use of a 30% commission by other platforms is not
dispositive because those platforms have a different business model than Apple and frequently
negotiate their headline rates, so their effective rates are below 30%.

                                                92
to developers; no certificate means the code will not run.461 Contractually, Apple imposes the
DPLA, which prohibits developers from distributing apps outside the App Store.462

        These contractual terms are standardized and nonnegotiable—a contract of adhesion.
Only a few developers have succeeded in modifying these terms by threatening to go to other
platforms. Specifically, Spotify and Netflix have removed in-app purchasing functionality from
iOS apps. On the other hand, both Down Dog and Match Group have testified that they have
been unable to entice users to other platforms with lower prices. Match Group has employed
marketing campaigns and promotions for web purchases, but the app sales have continued to
“dominate.” Down Dog has had better success at offering cheaper subscriptions on the web, but
Apple’s anti-steering provision has prevented it from directing users to the cheaper price. Thus,
while 90% of Down Dog’s Android users make purchases on the web, only 50% of its iOS users
do so, even though about half of its total revenues still come from iOS users.

        Accordingly, evidence shows Apple’s anti-steering restrictions artificially increase
Apple’s market power by preventing developers from communicating about lower prices on
other platforms.463

       C. Operating Margins

        The experts agree that “persistently high economic profit is suggestive of market power.”
Dr. Schmalensee opines that operating margins and accounting profit are less probative because
they fail to take into account intellectual property and similar investments that lower operating
costs. Dr. Barnes criticizes this opinion as an accounting matter, and Dr. Evans opines that in
this specific case, accounting profits are an appropriate measure of market power. From this
issue, we see a classic battle of the experts.464 See supra Facts §§ II.C.5, II.B.

       Here, in light of all of the evidence, the circumstances of Apple’s P&L statements, and
Apple’s low apparent investment in App Store-specific intellectual property, the Court finds that
operating margins are probative of market power. As described above, the App Store operating




       461
             Trial Tr. (Kosmynka) 986:9–22; Trial Tr. (Federighi) 3373:17–25, 3388:11–3389:12.
       462
            PX-2619 §§ 3.2(g), 7.6. Recall that developers may license and use Apple’s tools for
free to create iOS apps under the Developer Agreement, but actually distributing them requires
signing the DPLA. Trial Tr. (Schiller) 2757:1–2760:9.
       463
           Trial Tr. (Schiller) 2760:16–21; Trial Tr. (Simon) 354:83–55:1, 359:3–364:13, 401:5-
20; Ex. Expert 6 (Hitt) ¶¶ 102, 105; Ex. Depo. (Ong) 24:17–26:5, 28:9–29:22.
       464
         Trial Tr. (Schmalensee) 1899:19–21, 1984:2–12; Trial Tr. (Evans) 1545:3–14,
1723:20–1724:19; Trial Tr. (Barnes) 2456:6–2458:11.

                                               93
margins are “extraordinarily high.” Thus, even without comparison to other stores, the operating
margins strongly show market power.465

       Further, Apple cannot hide behind its lack of clarity on the value of its intellectual
property. Not all functionality benefits all developers. Further, as discussed, Apple has actually
never correlated the value of its intellectual property to the commission it charges. Apple is
responsible for the lack of transparency and whole-cloth arguments untethered to its rates do not
ultimately persuade.

       D. Barriers to Entry

        With respect to barriers to entry, the evidence is mixed. On the one hand, Dr. Athey
plausibly opines that entry into the platform business is difficult due to the need to attract both
users and developers. Said differently, developers do not develop for new platforms unless they
have a healthy user base, but users only go to platforms that already have a developed ecosystem.
Thus, indirect network effects often dominate and create a “winner-take-all” system that allows
only a few large platforms to survive.466 See also supra Facts § II.B.1.

        On the other hand, the mobile game market is changing, including with the introduction
of cross-platform policies, cross-platform services (e.g. cloud-based game streaming), and new
hybrid platforms such as the Nintendo Switch. First, the introduction of cross-platform
middleware like cross-wallet and cross-play has plausibly decreased barriers to new entrants.
The rise of game streaming may allow for competition among platforms on iOS in the near
future, even if Apple maintains its app distribution restrictions. The role of game streaming and
whether it will constrain market power remains to be seen.467 See supra Facts § II.D. In light of
these uncertainties, the Court finds that barriers to entry are currently relatively high but are
plausibly decreasing and may be lower in the future.468

V. FACTS REGARDING ALLEGED ANTICOMPETITIVE EFFECT

        Epic Games contends that Apple’s restrictions on iOS app distribution and in-app
payment processing create anticompetitive effects. As explained above, the App Store is a two-
sided transaction market, which may make competitive effects difficult to evaluate. In two-sided

       465
           See Trial Tr. (Evans) 1545:3–14 (explaining that in a competitive market, high profits
decline because companies would reduce prices and invest in quality to stave off competition).
       466
             Ex. Expert 4 (Athey) ¶¶ 16–19, 35–46.
       467
          Trial Tr. (Athey) 1787:14–18; Trial Tr. (Patel) 424:8–9 (number of games currently
on GeForce is small), 449:8–450:2 (strict limitations on usage), 481:16–484:24 (same), 483:25–
484:4 (game streaming not profitable).
       468
            Of course, game streaming typically requires an up-front subscription fee, which
makes it unlikely to replicate the “freemium” model that gains users by an initial free download.
Trial Tr. (Patel) 483:13–485:14; Trial Tr. (Sweeney) 187:24–188:3 (attributing “a lot of [Epic
Games’] success” to the freemium model).

                                                94
transaction markets, an anticompetitive price or restriction on one side may well reflect a
competitive equilibrium on the other side.469 Thus, the experts agree that competitive effects can
only be determined after carefully considering both sides of the transaction (developers and
users), including any indirect network effects.470

       With this in mind, the Court reviews evidence of the competitive effect of Apple’s
challenged conduct.

       A. Anticompetitive Effects: App Distribution Restrictions

                1. Effects
       With respect to Apple’s app distribution restrictions, Epic Games focuses on the
following alleged anticompetitive effects: (a) foreclosed competition; (b) increased consumer
app prices; (c) decreased output; (d) decreased innovation; and (e) effect on other markets
through the restrictions on app stores. Apple, in turn, argues that the restrictions provide a safe
and secure place to conduct game transactions and compensate Apple for its procompetitive
investments in iOS. The Court first addresses Epic Games’ evidence and then Apple’s
procompetitive justifications in the next section.

                        a. Foreclosure of Competition
       With respect to the issue of foreclosing competition, the contention is not in dispute.
Quite simply, Epic Games wanted to open a competing app store and could not. The evidence is
mixed as to the demand to do so. Epic Games relies on the experience of Microsoft and Nvidia,
which tried to offer native iOS game streaming apps (xCloud and GeForce NOW) but were
blocked by Apple’s restrictions.471 Both companies, however, ultimately succeeded in making




       469
            For instance, Dr. Schmalensee offers the example of OpenTable that suspends a
user’s account after a certain number of no-shows. Although this may seem like an arbitrary
exercise of power to the user—particularly if there are few other reservation apps in that
market—the restriction helps keep the platform attractive for restaurants and thus serves a
procompetitive end by increasing participation. Ex. Expert 8 (Schmalensee) ¶ 30.
       470
             Ex. Expert 1 (Evans) ¶ 216; Ex. Expert 8 (Schmalensee) ¶ 127.
       471
            As explained elsewhere, GeForce allows streaming of games users purchased through
other platforms, such as Steam. xCloud is limited to Microsoft games. Thus, they are each a
type of game store, though idiosyncratic in not needing to access device hardware (which is what
allows them to work through the web). Indeed, four of the five stores blocked by Apple’s
challenged rule concern game streaming. Trial Tr. (Patel) 425:1–11, 432:17–433:12; Ex. Expert
1 (Evans) ¶ 166.

                                                 95
their apps available through the web. Although neither party was fully satisfied with the results,
their experiences do not show complete foreclosure of competition.472

        Instead, Epic Games relies on comparative evidence with other markets. On devices
without app distribution restrictions, many app and game stores exist. For instance, Windows
and Mac computers host game publishers like Steam, Electronic Arts, and Activision Blizzard
who directly distribute through their own stores. Apple executives have acknowledged that the
Mac App Store matters primarily for Apple software and smaller developers, while developers
with market power are not on the Mac store “because they don’t have to be.”473 According to
Dr. Evans, there are at least ten third-party stores on Mac and Windows, and most top apps are
distributed directly from the developer website. Indeed, several large game developers, like
Google and Facebook, have tried to distribute games on iOS in recent years.474

        The evidence also shows that smaller developers might choose direct distribution while
remaining in the App Store. For instance, the CEO of Down Dog, the fitness app, testified that
he would support users installing directly from a website.475 Notably, however, these developers
did not testify that they would leave the App Store altogether. That is because, as Apple shows,
the App Store provides many benefits to developers, including developer tools, promotional
support, and a ready audience, that enables small developers to compete with large ones. For
instance, 72% of small developers lack a marketing budget, and Apple provides significant free
advertising and “spotlighting” to help users discover new apps as part of its DPLA.476

       While plaintiff did not survey developers, taken together, this evidence suggests that
Apple’s restrictions foreclose competition for large game developers who have well-known
games. These developers would likely, and have the resources to, open their own stores to
forego Apple’s “fees, rules, and review.”477 Smaller developers, on the other hand, would likely




       472
           Trial Tr. (Wright) 568:13–571:8, 579:1–10; Trial Tr. (Patel) 429:11–25. Apple has
also blocked Big Fish, a “game store within an app,” and web stores. PX-0115; PX-0111.
       473
             PX-2386.
       474
            Ex. Expert 1 (Evans) ¶¶ 163–168; Trial Tr. (Allison) 1200:14–1201:14. Dr. Evans
also provides comparison to the over 60 Android app stores in China and numerous third-party
stores on early smartphones. However, Epic Games has not shown that those markets are
sufficiently comparable to the market here. Ex. Expert 1 (Evans) ¶ 165.
       475
             Ex. Depo. (Ong) 33:18–34:07; Trial Tr. (Simon) 392:9–17.
       476
         Ex. Expert 8 (Schmalensee) ¶ 51; Trial Tr. (Fischer) 931:23–933:20, 935:15–936:23;
DX-3800.038; Trial Tr. (Schiller) 2737:9–24.
       477
             PX-2386.

                                                96
stay on the App Store (or a comparable store) for product discovery reasons. Indeed, that is
exactly what happened earlier on PCs, which bolsters the likely evaluation and outcome.478

                       b. Increased Consumer App Prices
        Next, Epic Games argues that Apple’s app distribution restraints increase prices for
consumers. Epic Games’ argument is plausible. As Dr. Evans testified, “[w]e know from
economics, both theory but also practical experience, in situations where there are barriers to
competition and they’re removed that what typically happens [is] . . . that prices tend to fall [and]
quality tends to improve.”479

       In the context of gaming, Dr. Evans’s observation has vivid illustration in the PC market.
The incumbent Steam store charged a 30% commission for decades before Epic Games’ store
entered with a 12% commission. Immediately before that time, Steam lowered its commission to
20%, and its average commission rate declined to 10.7%. Microsoft followed suit shortly after,
with other stores offering pay-what-you-want. This competition has affected platform margins,
which are considerably smaller on PCs than on other devices—5% compared to 45%.480

       Dr. Evans opines that the same would happen if Apple allowed third-party app stores on
iOS. He posits that numerous third-party app stores would enter iOS in the absence of restraints
and that these stores would compete for developers. The competition would exert pressure on
Apple, which would have to lower prices or improve services. To calculate the resulting prices,
Dr. Evans relies on several sources. First, he cites Mr. Schiller’s 2011 statement that a 20% or
25% commission is “competitive.”481 Second, he uses Mr. Barnes comparisons of online
marketplaces to calculate Apple’s commission if its operating margins were only as high as the
highest in a competitive market (Alibaba with 45.8% margins). Under that calculation, and
assuming that developers would pass on half of the commission, Apple would only charge 15.6%
while still being very profitable.482

       Apple vigorously disputes this evidence. First, it points out that the 30% commission is
standard for other stores, including on competitive platforms.483 For instance, Apple charges

       478
             See Trial Tr. (Allison) 1206:1–1209:8; Trial Tr. (Evans) 1510:24–1511:7.
       479
             Trial Tr. (Evans) 1551:15–1552:2.
       480
         Trial Tr. (Allison) 1209:13–1210:1, 1275:18–1276:5; Ex. Expert 1 Evans ¶¶ 170–
173; DX-5523.011.
       481
             See PX-0417.
       482
             Ex. Expert 1 (Evans) ¶¶ 180–184; Ex. Expert 2 (Barnes) ¶ 3.
       483
            Apple also argues that it charged 30% from the very beginning when it was not a
monopolist. However, there is evidence that Apple did not consider the rate to be sustainable at
that time and questioned whether “enough challenge from another platform or web based
solutions” will cause it to adjust. PX-0417. Moreover, Apple recognized that the App Store was
“brand-new,” with no true comparisons in the market, and set the rate set without considering
                                                 97
30% on Macs, which Dr. Evans agrees is competitive. However, Apple’s argument is suspect.
One, Apple relies on “headline” rates that Dr. Evans and Dr. Schmalensee agree are frequently
negotiated down. For example, the Amazon App Store has a headline rate of 30%, but its
effective commission is only 18.1%. Both Ms. Wright and Mr. Sweeney testified that consoles
frequently negotiate special deals for large developers. Sealed evidence in this case confirms the
same. Two, just because it is the competitive rate for games in the console market, does not
mean that the rate translates to the mobile games market. As described above, the App Store has
very different operating margins than consoles, so even if the commission is the same, the
economics and the nature of the products are very different. Thus, ultimately, these comparisons
are not useful because the other stores do not operate in the same market.484

        Neither party grapples with the overarching issue of Apple’s choice of model and how it
subsidizes certain developers. Rather, each side manipulates the “zero” commission rates on free
or freemium apps to their advantage. Apple relies on analysis by Dr. Hitt who argues that the
average commission rate in FY2019 was 8.1% for game apps and 4.7% for all apps while Dr.
Evans and Dr. Cragg ignore the category all together. Ultimately, neither analysis is helpful.485
Developers and Apple have learned that the freemium model is significantly more lucrative than
the alternatives given the ability for impulse purchases. For those, the commission rate remains
at 30% notwithstanding the choice of other developers.

        Last, Apple argues that the 30% rate is commensurate with the value developers get from
the App Store. This claim is unjustified. One, as noted in the prior section, developers could
decide to stay on the App Store to benefit from the services that Apple provides. Absent
competition, however, it is impossible to say that Apple’s 30% commission reflects the fair
market value of its services. Indeed, at least a few developers testified that they considered
Apple’s rate to be too high for the services provided.486 Two, Apple has provided no evidence
that the rate it charges bears any quantifiable relation to the services provided. To the contrary,
Apple started with a proposition, that proposition revealed itself to be incredibly profitable and
there appears to be no market forces to test the proposition or motivate a change.


costs. Ex. Depo. 8 (Cue) 135:8–136:14, 137:23–138:14. Thus, the initial rate was at least partly
protected by the iPhone’s “newness” and may not reflect a competitive rate.
       484
          Ex. Expert 6 (Hitt) ¶¶ 166–167; Trial Tr. (Evans) 1686:6–12, 2439:1–2441:23; Trial
Tr. (Schmalensee) 1958:1–5; Trial Tr. (Wright) 586:11–21; Trial Tr. (Sweeney) 310:1–17; PX-
2392.003. Google, of course, operates in the same market.
       485
            Ex. Expert 6 (Hitt) ¶ 180; Ex. Expert 13 (Cragg) ¶ 98; Ex. Expert 16 (Evans) ¶ 50;
Trial Tr. (Hitt) 2198:24–2200:6. Similarly unhelpful is Dr. Cragg’s analysis of average dollar
amounts of Apple’s commission. Ex. Expert 13 (Cragg) ¶¶ 99–101. These numbers are
coextensive with developers charging higher prices; absent some evidence that Apple caused
them to do that, the analysis simply reflects broader growth in the industry. Ex. Expert 6
(Hitt) ¶ 174; Trial Tr. (Hitt) 2110:9–2111:21.
       486
          Trial Tr. (Simon) 377:3–10; Trial Tr. (Fisher) 911:4–11 (Apple received developer
complaints that the rate is too high).

                                                98
         Accordingly, the Court finds that Apple’s restrictions on iOS game distribution have
increased prices for developers. In light of Apple’s high profit margins on the App Store, a
third-party store could likely provide game distribution at a lower commission and thereby either
drive down prices or increase developer profits. The Court must reserve on whether Apple’s
restrictions have increased prices for consumers as the evidence is mixed.487 Here, Epic Games’
role as a consumer is not in the traditional sense but only in the sense of a consumer of
transactions with traditional consumers. This issue was not the focus of this trial.

                        c. Decreased Output
        The parties dispute impact on output. Apple argues that the amount of iOS game output
has increased over time. On this, the Court agrees. The evidence shows that iOS game
transactions exploded by 1,200% since 2008,488 with double that growth in developer game
revenue. However, that does not mean that Apple’s conduct is procompetitive. As Dr. Evans
explained, “high-technology industries [often] grow extraordinarily rapidly” even where “a
dominant firm emerges very quickly,” so “tremendous growth” in these markets is
“commonplace.” Using growth as a competitiveness metric would “be essentially a free pass for
high-tech companies.”489

        Unfortunately, what is needed is a comparison of output in a “but-for” world without the
challenged restrictions. Such comparison is not in the record. Dr. Hitt provides some evidence
that iOS game revenue grew faster than the game market as a whole and, importantly, that game
revenue on iOS grew faster than on Android.490 Growth rates, however, are difficult to compare
because of different initial starting points. Moreover, even assuming that iOS gaming revenue
grew faster than the market, it is difficult to attribute that growth to the App Store (as opposed to,
for instance, superior iPhone hardware or user experience). Thus, the high output may have been
even higher without Apple’s restrictions.491



       487
          See, e.g., Trial Tr. (Simon) 355:17–356:17; Trial Tr. (Sweeney) 97:7–14; Ex. Depo.
(Ong) 74:8–12; see also Ex. Depo. 12 (Gray) 176:23–178:2; PX-0533.010 (even within the
Apple ecosystem, app prices are higher on platforms where Apple charges 30% rather than
15%).
       488
           The growth in iOS game transactions corresponds to both strong growth in the
gaming industry and strong growth in iPhone and iPad sales. Ex. Expert (Hitt) ¶¶ 183–189.
These factors could cause mobile game transactions to grow even if Apple’s restrictions are
anticompetitive.
       489
             Trial Tr. (Evans) 2366:22–2367:8; Ex. Expert (Hitt) ¶ 183.
       490
          Game revenue grew by 2,600% between 2010 and 2018 on iOS but only 367%
between 2013 and 2018 on Android. Ex. Expert 6 (Hitt) ¶¶ 183–184.
       491
          Ex. Expert (Hitt) ¶¶ 183–185; Ex. Expert 7 (Lafontaine) ¶ 100; Trial Tr. (Hitt)
2083:8–18; Trial Tr. (Evans) 1721:11–18; Ex. Expert 16 (Evans) ¶ 75.

                                                 99
        Dr. Evans, on the other hand, opines that a high commission reduces output because it
leads to higher prices that cause consumers to purchase less, which reduces the number of viable
games. Some evidence supports that view. For instance, Apple has recognized that some
developers have taken the position that they do not have the margin to support the 30%
commission, which is “prohibitive [of] many things.” The magnitude of the effect, however, is
unclear.492 Thus, there is no evidence that a substantial number of developers actually forego
making games because of Apple’s commission.493

       Thus, the analysis is insufficient to determine that Apple’s restrictions had either a
negative or a positive impact on game transaction volume.

                        d. Decreased Innovation
        Next, Epic Games argues that Apple’s app distribution restrictions harm innovation. Epic
Games makes two arguments. First, it argues that Apple’s 30% commission imposes a burden
on developers, who either reduce their game investment or forego making games altogether as a
result. Part of this argument is related to output and fails for the same reason: Epic Games has
not shown that any developer actually stopped making games because of Apple’s commission,
albeit they may reduce investment.494 This, however, is a natural corollary of having to pay app
store commissions and does not present a separate argument for anticompetitive effects,
particularly since third-party stores would likely continue charging commissions.

        Second, Epic Games argues that Apple’s restrictions have reduced innovation in game
distribution itself. The parties agree that the App Store provides features besides distribution,
including search and discoverability to help users discover games, in-app payment processing,
developer tools, and security.495 Competition could improve each of these features: a third-party




       492
          Epic Games cites testimony that Apple is aware of “some developers” who said that
they would not launch native iOS apps because of Apple’s 30% commission. Ex. Depo. 8 (Cue)
150:5–12.
       493
             Ex. Expert 1 (Evans) ¶ 275; Trial Tr. (Schiller) 3111:7–14; PX-0438.
       494
             Trial Tr. (Sweeney) 92:8–13.
       495
            As explained in this Order, in-app payment processing is an integrated part of the
App Store. That does not, however, mean that it would not benefit from competition. Third-
party app stores could provide substantial innovation in payment processing by incorporating
more developer-friendly tools (such as, for example, easy refunds). Thus, all of the
anticompetitive effects listed in the next section for in-app payment processing apply to Apple’s
restrictions on distribution.

                                                100
app store could provide better “matchmaking” between users and developers, could have simpler
in-app payments, and could impose a higher standard for app review to create more security.496

        Notably, Apple conducted developer surveys in 2010 and 2017. Comparing the two
indicates that Apple is not moving quickly to address developer concerns or dedicating sufficient
resources to their issues. Innovators do not rest on laurels. While more developers may be
“satisfied” or “very satisfied” than not, a significant portion are not. 497 For example, a top
reason for dissatisfaction with the App Store is lack of functions which other platforms have,
such as personalized recommendations. 498 An email summarizing 2018 write-in answers
suggests that developers perceive the App Store as lacking features common to other platforms.
For instance:

                “Apple store needs to have ‘smart search’ ability. Having to require customers to
                 spell names exactly correct in this age is ridiculous for a multi-billion dollar
                 company.”
                “[T]he search algorithm is terrible. It is a rating based algorithm rather than a
                 name search. I can search for my apps and type their EXACT name and they still
                 won’t come up. I may even need to scroll down 100s of pages before my app
                 shows up.”
                “Discoverability is still a significant challenge on the App Store (even after last
                 year’s update). Our organic downloads for games on Steam are much higher
                 than our games on the App Store, even though the App Store has more active
                 users. This doesn’t make sense.”
                 “The App Store desperately needs A/B testing. On Google Play, I’ve been able
                 to optimize my store listing and because of that, I’ve been able to see
                 unbelievable growth. If Apple added A/B testing for App Store listings,
                 everyone would see a lift in downloads and ultimately more revenue for
                 developers as well as Apple.”


       496
            See Trial Tr. (Evans) 1560:12–25 (search and discovery is the “core element of what
any store does”); Trial Tr. (Schmalensee) 1954:3–9 (App Store provides “matchmaking”). But
see Trial Tr. (Evans) 1502:15–1503:18 (excluding in-app payment processing).
       497
            The Court acknowledges that the survey data includes five categories (Very Satisfied,
Somewhat Satisfied, Neutral, Somewhat Dissatisfied and Very Dissatisfied) and that if
combining the two “satisfied” categories, more developer fall within that zone than the two
“dissatisfied” categories. That said, by adding in those who are “Neutral,” Apple rating is more
in the range of 60-40. See generally DX-3922.
       498
            Ex. Expert 1 (Evans) ¶¶ 191–192, 196; DX-3922.066, .072, .074; DX-3877.019; see
also DX-3800 (2015 survey). Apple responds by pointing to search ads, which it enabled in
2016 in response to these complaints. Trial Tr. (Cook) 3889:16–3890:2; PX-2284.006. That
said, developers must pay for these search ads and competitors may use them to artificially drive
traffic, which decreases overall app discoverability. See Ex. Depo. (Ong) 59:14–60:14. Thus,
the search ads are, at best, a mixed blessing for poor overall matchmaking.

                                                101
Indeed, Apple’s own former Head of App Review, Philip Shoemaker, has described the App
Store as “antiquated,” with “no radical innovation, only evolution” for the last ten years.499

       In addition, developers complain that app review guidelines lack clarity and are
inconsistently applied.500 Part of this issue stems from the sheer number of apps submitted with
only 500 human reviewers. Apple has been slow either to adopt automated tools that could
improve speed and accuracy or to hire more reviewers.501 As discussed further below, Apple’s
in-app payment processing tool also lacks features.

        Apple’s slow innovation stems in part from its low investment in the App Store. As Mr.
Barnes described, “[o]nly a small amount of direct and allocated R&D . . . [flows] . . . to the
Apple App Store.” Apple argues that Epic Games fails to account for R&D that affects multiple
lines of the business, which counts as joint costs. Even Dr. Schmalensee admitted that the
estimates, which were put together specifically for Apple’s CEO, show very little R&D allocated
to the App Store. Thus, even if the Court accepts that some App Store revenue goes to features
that indirectly benefit developers, like hardware, the evidence remains that “core” matchmaking
features of the store see little investment.502

        Ultimately, the point is not that the Apple provides bad services. It does not: most
developers are satisfied with the App Store, particularly with its developer tools.503 Rather, the
point is that a third-party app store could put pressure on Apple to innovate by providing features
that Apple has neglected. Because this competition is currently precluded, Apple’s restrictions
reduce innovation in “core” game distribution services.




       499
             PX-0098.001; see Ex. Depo. (Shoemaker) 31:03–05, 64:13–64:20.
       500
          E.g., Ex. Depo. (Ong) 62:15–64:16; Ex. Depo. (Shoemaker) 126:20–23; Trial Tr.
(Simon) 384:7–385:8.
       501
           Trial Tr. (Kosmynka) 1083:12–15, 996:7–12; PX-0137.001 (Google had automated
review before Apple). But see DX–3642 (describing App Store redesign in response to
developer complaints). See also Ex. Expert 11 (Rubin) ¶ 57.
       502
          Ex. Expert 1 (Evans) ¶¶ 187–189; Ex. Expert 2 (Barnes) ¶¶ 19–22; Trial Tr.
(Schmalensee) 1902:2–4, 1981:16–1982:5; PX-2385.024.
       503
            E.g., DX-3922.063. Apple also cites surveys showing very high user satisfaction
with the iPhone. DX-4275.205; DX-4089.056. The surveys, however, concern the device as a
whole and, if anything, reinforce the lesser role played by third-party apps. Thus, the most
important features driving purchasing decisions all relate to hardware—battery life, performance,
durability, and ease of use—which also form the top reasons for considering other devices. DX-
4089.010, .035, .037. By contrast, only 28% of users consider third-party apps an important
“other” aspect of their iPhone purchase decision. DX-4089.012.

                                               102
                       e. Other Effects
        Epic Games raises two other potential anticompetitive effects. First, Epic Games argues
that Apple self-preferences its own apps. 504 Using partial testimony from Mr. Shoemaker,
plaintiff claims that Apple used the app review process “as a weapon against competitors” and
placed “barriers” between competitor apps, while using the data obtained through app review to
create its own apps. For example, Apple Arcade has been allowed on the store, despite being a
store within a store. Google Voice, on the other hand, was rejected on “pretextual grounds”
because of Apple’s concern that the iPhone will “disappear . . . in guise of a Google phone.”505

       Upon review, the proffer is weak. Mr. Shoemaker clearly believes that Apple misuses its
app review process. Aside from his limited deposition excerpts, however, there is little objective
evidence of self-preferencing. For instance, Apple Arcade apparently complies with App Store
requirements that each game be individually downloaded.506 There is thus at least a factual
dispute about whether it accords with the guidelines. As to Google Voice and Rhapsody, even
Mr. Shoemaker acknowledges that they were “the first of their kind” and that “Apple just didn’t
know how to respond” during app review.507

        Second, Epic Games argues Apple’s restrictions reduce “middleware” that could decrease
switching costs and increase competition. Dr. Athey testifies broadly to this effect, opining that
new platforms face a “chicken-and-egg” problem where they have to attract users through apps
but have to attract developers through users. Middleware could help reduce these costs by
allowing for app porting from one platform to another.508 As noted above, Dr. Athey’s analysis
is plausible but wholly lacking in supporting evidence. She does not show that even her
preferred examples of middleware, such as the multi-platform store Steam, have meaningfully




       504
           Epic Games argues that Apple self-preferences its apps in search, but provides little
evidence in support. In one email, an Apple employee states that Mr. Fischer, “feels extremely
strongly about not featuring our competitors on the App Store,” but Mr. Fischer says she was
misinformed. PX-0058.001; Trial Tr. (Fischer) 954:12–955:12. Another email describes
“boosting” certain apps over Dropbox, but Mr. Fischer immediately reversed the decision. PX-
0052. As to search, Mr. Schiller testified that Apple does not use search ads for its own
products, and Epic Games has not shown otherwise. Trial Tr. (Schiller) 2819:13–14.
       505
           Ex. Depo. (Shoemaker) 75:14–77:02, 78:13–78:24, 84:16–85:08, 88:02–88:08; PX-
0099.006. Epic Games also cites evidence of developers’ complaints that Apple’s “apps are
permitted to do things they are not.” PX-0858.002; Trial Tr. (Kosmynka) 1028:11–1030:4. The
proffered evidence has no context so it cannot be evaluated.
       506
             Trial Tr. (Athey) 1854:6–16.
       507
             PX-0099.005.
       508
             Ex. Expert 4 (Athey) ¶¶ 42–47, 53–56.

                                               103
increased new entrants, particularly since each platform still requires its own APIs.509 Thus, the
evidence does not support anticompetitive effects in this area.

                2. Business Justifications
        Apple asserts two business justifications for its app distribution restrictions.510 First, it
argues that prohibitions on third-party app stores helps ensure a safe and secure ecosystem. This
benefits both users, who enjoy stronger security and privacy, and developers, who benefit from a
larger audience drawn by these features. It also benefits Apple, which uses privacy and security
as a competitive differentiator for its devices and operating system.511

        Second, Apple claims that the distribution restrictions are part of its intellectual property
licensing arrangement for which it is entitled to be paid. As the owner of the devices and
operating system, Apple could choose not to license its IP and remain the exclusive developer of
iOS apps. Instead, Apple has actively licensed, developed, and improved its IP for others, but
only on the condition of iOS remaining a “walled garden.” Thus, Apple argues that its
contractual restrictions are necessary to protect its IP investments and prevent free riding.512

       Epic Games responds that each of these justifications is pretextual. Apple’s commission
is wholly disconnected from—and not motivated by—its intellectual property investments. Epic
Games also contends that an exclusive app store is not necessary to maintain security, which can
be achieved through less restrictive means, such as notarization.513

       The Court examines the evidence for each.




       509
          See id. ¶ 67; Ex. Expert 6 (Hitt) ¶¶ 261–262 (while Steam decreases costs to offer
games across platforms, it does nothing for costs to develop them).
       510
            In its Findings of Fact, Apple focuses heavily on the procompetitive nature of app
stores in general. Thus, Apple argues that before it introduced the App Store, distribution was
limited to the web, and that the App Store launched a new wave of innovation that benefited
consumers and developers alike. Apple FOF ¶¶ 545–548. Since Epic Games does not challenge
Apple’s right to maintain the App Store but only its restrictions on other distribution—which
may provide similar or equivalent benefits—these procompetitive effects are not directly tied to
the challenged conduct.
       511
           Apple FOF ¶¶ 581–595; Trial Tr. (Schiller) 2734.21–2735:2, 2830:25–2831:3; Ex.
Expert 11 (Rubin) ¶¶ 23, 56–59; Trial Tr. (Sweeney) 93:8–11; Trial Tr. (Evans) 1689:16–
1690:8; Ex. Expert 8 (Schmalensee) ¶¶ 52–54.
       512
             Apple FOF ¶¶ 596–602; Ex. Expert 12 (Malackowski) ¶¶ 15–19, 26, 42, 51, 54.
       513
         Epic Games FOF ¶¶ 564–700; see also Trial. Tr. (Malackowski) 3662:13–17,
3666:16–3668:10–18, 3669:22–3670:7, 3692:18–3700:10; Trial Tr. (Schiller) 2738:15–24.

                                                104
                       a. Security, Privacy, and Reliability
        Beginning with the security justification, the Court notes at the outset that the parties
adopt different definitions of security. Epic Games takes a narrow view of security as preventing
an app from performing unauthorized actions or stealing user data. Thus, Epic Games’ security
expert, Dr. Mickens, defines a “security property” as one that “make[s] an app easier to subvert”
or allows it to “improperly interact with other apps” or “expose sensitive user data to potential
theft or corruption.” 514

         Apple, on the other hand, takes a broader view of security that includes user privacy,
reliability, and “trustworthiness.” Its security expert, Dr. Rubin, opines that security concerns
arise when an app targeted to children asks for a home address; when a simple Tic-Tac-Toe
game requests microphone and camera access; when an app developer falsely represents their
application; or when an app is so unreliable that its constant crashing endangers offline safety.
Dr. Rubin also includes “objectionable content,” such as pornography and pirated apps, in his
definition.515 Because these apps perform no expressly unauthorized actions—and may be
affirmatively authorized by the user—they raise different concerns than traditional malware.

        The Court finds it useful to disaggregate these forms of security, as well as the two types
of challenged restrictions (sideloading and “store-within-a-store”).

                             i.   “Narrow” Security: Malware
        Under a narrow conception of security, Apple protects from malware on iOS in at least
four ways. First, Apple uses malware scanning programs to detect whether a piece of software
corresponds to known malware. Second, it requires developers to register with a certificate and
sign their code with that certificate so that malware can be traced back to a developer and code
from unknown entities can be excluded. Third, it uses “sandboxing” to prevent an app from
doing anything that the user has not authorized.516 Fourth, it includes “reliability checks” on the
App Store, which include automated app scanning, as well as human review. Together, these
techniques create “layered” security that creates multiple barriers to malware.517

      All but the last of these malware protections are performed by the operating system or
middleware independent of app distribution. Dr. Mickens thus opines that restrictions on app

       514
             Ex. Expert 5 (Mickens) ¶ 49.
       515
            Ex. Expert 11 (Rubin) ¶¶ 18–21. Mr. Federighi testified that security means
“protecting users’ data and protecting their control over the device, making sure that what
happens on their device is what the user intended and isn’t being manipulated by a bad actor.”
Trial Tr. (Federighi) 3358:5–8. This definition encompasses Dr. Rubin’s examples.
       516
           “Sandboxing” may encompass other techniques, such as memory isolation and
address space layout randomization. Trial Tr. (Federighi) 3376:4–3378:14; Ex. Expert 5
(Mickens) ¶¶ 24–37.
       517
             Trial Tr. (Federighi) 3372:10–3375:25, 3383:16–3384:14.

                                                105
distribution are not necessary because the operating system implements all of the key security
features. App review, by contrast, provides only secondary checks on sandbox compliance,
exploit resistance, and malware exclusion, as well as “non-security” factors like privacy and
legal compliance.518

         Importantly, however, Dr. Mickens focuses only on preventing unauthorized app
functions. He opines that his preferred techniques work by removing “decision-making” power
from applications and vesting them in the operating system. The OS then resolves the decision
by prompting users for consent. Thus, even though the OS is formally making decisions, the
user ultimately determines access.519 The evidence shows, however, that this may not be enough
to protect security because users often grant permissions by mistake. Mr. Federighi credibly
testified that malware may use “social engineering” techniques to trick the user into granting
access and evade operating system defenses. For example, malware may represent itself as a
dating app to ask for photo access—which it can then encrypt and hold for ransom against the
user. Epic Games did not explain how, if at all, the operating system can protect against this
type of behavior.520

       Moreover, system-level protections do not fully prevent downloading malware in the first
place. As Dr. Rubin plausibly opines, “[i]t is unwise to first trust users to download malicious
apps, and then try to subsequently detect malicious apps and deny giving malicious apps the
permissions they might request.”521 The evidence shows that social engineering attacks act as a
dominant vector of malware distribution. A 2020 Nokia report indicates that “[i]n the
smartphone sector, the main venue for distributing malware is represented by Trojanized
applications,” which trick users into downloading by posing as a popular app. For example, a
malicious app may represent itself as free Microsoft Word to obtain downloads. A 2020
PurpleSec report confirms that “98% of cyberattacks rely on social engineering.”522

        For these types of attacks, human app review plays a meaningful role. During app
review, a human reviewer confirms that an app corresponds to its marketing description. This
prevents the “trojan” attacks described above, where malware tricks users into download by
posing as another popular app. The human reviewer also checks that the app’s entitlements are
reasonable for the task it purports to accomplish. Thus, a Tic-Tac-Toe game may be rejected if it
asks for camera access or health data. Last, although not directly related, app review checks for



       518
             Ex. Expert 5 (Mickens) ¶¶ 6–9, 66–70; Trial Tr. (Mickens) 2559:5–12, 2571:24–
2572:5.
       519
             Ex. Expert 5 (Mickens) ¶¶ 23, 72.
       520
             Trial Tr. (Federighi) 3371:3–3372:1, 3379:10–3380:13; Ex. Expert 11 (Rubin) ¶ 27.
       521
             Ex. Expert 11 (Rubin) ¶ 30 (emphasis in original).
       522
          DX-4975.008; DX-4956.006; Ex. Expert 11 (Rubin) ¶ 96; Trial Tr. (Federighi)
3370:2–12; Trial Tr. (Rubin) 2763:1–9.

                                                 106
offline safety issues. Although these tasks are straightforward, they require human review and
cannot be implemented by a computer or operating system.523

         The Court agrees with Epic Games that this process is imperfect. Apple has limited
ability to prevent “Jekyll and Hyde” apps that change their behavior after review, and allows
some malware to slip through.524 However, the overall error rate appears to be relatively small,
with Apple’s former head of app review testifying that it was around 15% in 2015. Mr.
Federighi confirmed that the error rate is generally small.525

        Removing app distribution restrictions could reduce this effectiveness. First, app stores
often differ in the quality of app review. On Android, which allows some third-party app stores,
the main Google Play app store is secure, but a variety of third-party stores allow blacklisted
apps to operate.526 A Nokia report attributes higher malware rates on Android to Trojan apps on
third-party app stores. This creates a problem because, as Dr. Rubin opined, “security is only as
strong as the weakest link.”527 Decentralized distribution thus increases the risk of infection by
giving malware more opportunities to break through. Namely, if even one app store permits




       523
           Trial Tr. (Federighi) 3384:22–3388:7; Trial Tr. (Kosmynka) 1087:9–21, 1090:22–
1094:1; Ex. Expert (Rubin) ¶¶ 31, 36–37. Human review may also provide some benefit against
novel and well-hidden malware attacks. Dr. Rubin explains that automated tools investigate
based on past threats to flag content, which makes them less able to detect novel attacks. Mr.
Kosmynka acknowledged that his team has found new types of threats not picked up by
automated tools. He also testified that his team finds well-hidden features not picked up by
automated tools, including bait and switch. Trial Tr. (Kosmynka) 1108:1–1109:11, 1095:23–
1103:8; Ex. Expert (Rubin) ¶ 40.
       524
           These issues appear to have preceded Apple’s use of dynamic analyzers, which may
partly address the problem. See PX-0465; Trial Tr. (Kosmynka) 996:7–19, 1098:17–25.
       525
           PX-0465; PX-0335.006; Ex. Depo. (Shoemaker) 133:20–134:9; Trial Tr. (Federighi)
3486:15–23. Both parties also cite statistics about the overall rejection rate of app review. That
says nothing about the error rate. Apps may be approved or rejected for proper and improper
reasons. Trial evidence did not focus on this later issue.
       526
           The parties debate whether Android is less secure than iOS. Although some industry
publications show greater malware on Android, Dr. Mickens testified that they are in the same
“rough equivalence class.” The Court need not resolve this dispute because Android differs in
other ways, such as lack of app certification and weaker sandboxing, that could affect malware
rates independent of app distribution. E.g., DX-4975.008; DX-4956.004; DX-4959; see Trial Tr.
(Mickens) 2558:16–2260:8, 2630:12–2631:11; Trial Tr. (Rubin) 3774:3–2777:16.
       527
           Ex. Expert 11 (Rubin) ¶ 87. Of course, third-party app stores could also have
increased security than Apple. For example, a Disney app store would plausibly screen apps
more rigorously than Apple. Trial Tr. (Mickens) 2697:12–21.

                                               107
malware to operate (either accidentally or as a “rogue” app store), a social engineering attack has
a chance to work.528

        Second, with respect to sideloading, app review is likely impossible and thus could not
prevent social engineering attacks. Apple currently prevents direct distribution from the web
using technical measures. If those measures were lifted, users could download—and thus could
be tricked into downloading—directly from the open web. Although Epic Games presents some
alternative methods that could be used to prevent malicious direct distribution (which are
discussed below), there is little dispute that completely unrestricted sideloading would increase
malware infections.529

        Thus, the Court finds that centralized distribution through the App Store increases
security in the “narrow” sense, primarily by thwarting social engineering attacks.

                             ii.   “Broad” Security: Privacy, Quality, Trustworthiness
        With respect to a “broader” definition of security, there is less dispute that app
distribution restrictions help ensure privacy, quality, and trustworthiness. This again, stems
primarily from human app review.

        Privacy: Dr. Mickens agrees that computers “lack a generic way to detect which
instances of user-submitted touchscreen data contain private information.” While the OS can
detect app access to computer-generated private data (camera roll), it lacks the capacity to
distinguish private from nonprivate user entries. Dr. Mickens agrees that human app review can
aid in this process, but opines that Apple does a poor job in practice. His only evidence for this
is a Wall Street Journal that reports user tracking on popular iOS apps; he did not analyze any
internal Apple data for this opinion.530

       Apple, by contrast, proffers some evidence that the App Store imposes heightened
privacy requirements. For instance, Apple requires developers to publish “privacy labels” that
disclose data collection as a condition of being listed on the App Store. It also adopts the stricter
privacy policies required by the European Union worldwide, including user opt-out. Not all
developers like these requirements; presumably because it impacts their own bottom line. Thus,
privacy concerns may be more at risk with loosened app distribution restrictions. Under the

       528
           DX-4401.005; DX-4975.008; Ex. Expert 11 (Rubin) ¶¶ 47–49, 87–89. The parties
also debate whether centralization of app review increases or decreases its effectiveness. Dr.
Mickens opines that having many stores perform app review puts more “eyeballs” on the
problem and decreases the burden on any one store. Dr. Rubin opines that it fragments learning
and makes each store less knowledge. The Court finds both effects plausible, but lacks evidence
on their comparative magnitude. Trial Tr. (Mickens) 2702:7–21; Ex. Expert 11 (Rubin) ¶ 93.
       529
           Trial Tr. (Federighi) 3388:24–3389:12, 3416:6–16; Trial. Tr. (Cook) 3884:22–
3885:11; Ex. Expert 11 (Rubin) ¶ 54; see also Trial Tr. (Mickens) 2709:23–2710:2 (describing
this model as “absolute mayhem”).
       530
             Ex. Expert 5 (Mickens) ¶¶ 71–75; Trial Tr. (Mickens) 2631:16–21.

                                                108
current model, large developers who rely on advertising for monetization must comply or leave
the App Store to avoid these requirements.531 Accordingly, privacy, more than other issues,
likely benefits from some app distribution restrictions.532

       Quality: A variety of content may be safe but objectionable, including pornography,
gambling, and inappropriate marketing to children. Mr. Kosmynka testified that human app
review is necessary to detect such content because computers cannot do it alone. Importantly,
offensiveness is highly context dependent, which makes it difficult to automate. For example,
nudity may be appropriate in a medical app but inappropriate in other contexts.533

         Epic Games responds that Apple’s app review still allows objectionable apps. For
example, it points that school shooting games have appeared on the App Store.534 However, this
data is largely anecdotal and fails to provide a comparison to the “but-for” world where app
review did not take place. Thus, app distribution restrictions likely reduce offensive content
available on Apple’s devices.

        Trustworthiness: App review also protects against scams and other fraud, such as
pirated or copycat apps. Dr. Mickens did not consider this aspect in his security analysis and
admitted that his opinion about the value of human app review may change if these issues are




       531
            As explained above, the evidence suggests that decentralized distribution benefits
primarily large developers, who do not need to rely on a centralized app store to be discovered.
While these developers are unlikely to sell outright malware, they are quite likely to monetize
user data, which makes privacy a particularly sensitive issue.
       532
            DX-5335.015; Trial Tr. (Cook) 3847:15–3848:21; Trial Tr. (Federighi) 3408:2–
3410:4, 3422:17–2423:15; Trial Tr. (Schiller) 3166:6–15; Ex. Expert 11 (Rubin) ¶ 84. Apple
also cites “app tracking transparency” as a feature that protects user privacy. The record is not
clear, however, whether this feature is implemented by the App Store or by the OS. To the
extent that it is implemented by the OS, app review may play a more limited role in ensuring that
apps do not incentivize relinquishing privacy. Trial Tr. (Schiller) 3166:22–3167:7; Trial Tr.
(Federighi) 3407:73–408:1, 3410:5–9.
       533
          PX-0131; PX-1938; PX-1939; Trial Tr. (Kosmynka) 1085:19–1087:8, 1108:20–
1109:11; Trial Tr. (Schiller) 3154:7-24; see also Trial Tr. (Mickens) 3673:16–23 (agreeing that
system-level protections do not protect against inappropriate content).
       534
           The alleged “BDSM” apps proved hollow and demonstrates the problem with highly
provocative and sexual photos as an enticement to download apps geared towards dating that
ultimately does not contain pornographic material. This merely reinforces the subjective and
context-dependent nature of “objectionable” content. See PX-0131; PX-1938; PX-1939. Trial
Tr. (Kosmynka) 1085:19–1087:8, 1108:20–1109:11; Trial Tr. (Schiller) 3154:7–24.

                                               109
included. He also agreed that system-level protections do not protect users against this type of
content, which confirms that human review is necessary.535

        As with objectionable content, Epic Games responds by showing that scams still slip
through app review.536 For the same reasons, this anecdotal evidence does not show that scams
and other fraud would not be higher without app review. Thus, the Court finds that app
distribution restrictions increase security in the “broad” sense by allowing Apple to filter fraud,
objectionable content, and piracy during app review while imposing heightened requirements for
privacy.

                            iii.   Impact on Market
        These protections have an impact on users, developers, and Apple. First, app review
provides Apple with a competitive differentiator. When Apple first launched the App Store, it
sought to “strike a really good path” between the dependability of a closed device and the ability
to run third-party apps of a PC. As Mr. Jobs explained:

                It is a dangerous world out there. There are mobile viruses of all
                sorts that people have to put up with and so we’ve tried to strike a
                really good path here. On one side you’ve got a closed device like
                the iPod, which always works. You pick it up, it always works
                because you don’t have to worry about third party apps mucking it
                up. And on the other side you’ve got a Windows PC where people
                spend a lot of time every day just getting it back up to where it’s
                usable and we want to take the best of both. We want to take the
                reliability and the dependability of that iPod and we want to take the
                ability to run third party apps from the PC world but without the
                malicious applications.537

        Since then, security and privacy have remained a competitive differentiator for Apple.
Mr. Cook testified that privacy is “a very key factor, one of the top factors who people choose
Apple.” The documents bear this out: internal surveys show that security and privacy was an
important aspect of an iPhone purchasing decision for 50% to 62% of users in most countries—
and over 70% in India and Brazil—and an important part of an iPad purchasing decision for 76%
to 89% of users. Indeed, Mr. Sweeney himself owns an iPhone in part because of its better
security and privacy than Android.538


       535
          Trial Tr. (Kosmynka)1088:18–1090:16; Trial Tr. (Mickens) 2673:2–7, 2673:24–
2675:17, 2679:21–2680:1, 2685:8–18.0
       536
             See, e.g., PX-0060; PX-0371.
       537
             PX-0880.025.
       538
         Trial Tr. (Cook) 3848:22–3849:7; Trial Tr. (Sweeney) 302:19–303:4; DX-4089.012;
DX-3465.024.

                                                 110
       Second, there is evidence that Apple’s restrictions benefit users. As noted above, many
users value their iOS devices for their privacy and security. As the result of having a trusted app
environment, users make greater use of their devices, including by storing sensitive data and
downloading new apps. The witnesses are unanimous that user security and privacy are valid
procompetitive justifications.539

        Third, the evidence on developers is mixed. On the one hand, developers experience
delays and mistaken rejections that would not occur with sideloading or distribution through
stores without app review. On the other hand, developers benefit from the safe environment
created by the App Store. Based on a trusted environment, users download apps freely and
without care, which benefits small and new developers whose apps might not be downloaded if
users felt concern about safety. This is consistent with the indirect network effects identified by
Dr. Schmalensee: the small burden on developers maintains a healthy ecosystem that ultimately
benefits both sides. Thus, the evidence shows that developers both benefit and suffer from app
distribution restrictions.540

                            iv.    Alternatives
       Epic Games argues that the security and privacy benefits described above can be
achieved without app distribution restrictions. As explained, most of the benefits derive from
app review, which screens for social engineering attacks, filters fraud and offensive content, and
impose heightened privacy requirements. Epic Games argues that the same benefits can be
achieved in other ways. It focuses on two alternative models.

        First, under an “enterprise program” model, Apple could focus on certifying app stores
instead of apps. The Enterprise Program is an existing model for distributing apps on iOS where
companies apply to distribute apps within its organization. Apple reviews the company and, if
conditions are met, gives it a certificate that allows it to sign apps for distribution. Although the
program has occasionally been abused, it shows that Apple could shift its review from apps to
app stores, while continuing to impose standards for privacy and security.541


       539
          See Trial Tr. (Evans) 1689:22–24 (“[p]rotecting iPhone users from security threats is
a procompetitive benefit”), 2415:10–13 (same for protecting users from offensive content); Trial
Tr. (Sweeney) 193:3–9 (recognizing importance of privacy and security); Trial Tr. (Federighi)
3421:19–3422:7 (describing importance of security to ecosystem).
       540
          Trial Tr. (Simon) 384:7–385:8; Trial Tr. (Grant) 727:22–730:4; Ex. Depo. (Ong)
62:15–65:25; Trial Tr. (Federighi) 3421:16–3422:7; Ex. Expert 8 (Schmalensee) ¶ 52.
       541
            Ex. Expert 5 (Mickens) ¶¶ 56–58; Trial Tr. (Mickens) 2585:24–2586:19, 2667:12–
2670:1; Trial Tr. (Federighi) 3412:23–3415:17; Trial Tr. (Schiller) 3145:22–3146:8. For
example, Apple could demand that third-party app stores require “privacy labels” and fraud
prevention as a condition of certification. Indeed, Apple already implements this model for
social media apps, which can (and do) host objectionable content but which implement their own
content moderation. Trial Tr. (Evans) 2418:14–2419:1; Trial Tr. (Federighi) 3469:9–25 (noting
that Parler was removed from the App Store based on inadequate content moderation).

                                                  111
        Second, under a “notarization” model, Apple could continue to review apps without
limiting distribution. The notarization model is currently used on macOS. There, Apple scans
apps using automatic tools and “notarizes” them as safe before they can be distributed without a
warning. Apps can still be distributed through the Mac store (with complete app review) or with
a warning if not notarized, but notarization provides a “third path” between full app review and
unrestricted distribution. In theory, notarization review could be expanded to include some of
the checks Apple currently performs in the App Store, such as human review.542

        The notarization model is particularly compelling because Apple contemplated a similar
model when developing iOS. iOS is based on macOS and share the same kernel. Documents
show that Apple initially considered using app signing for security while allowing developers to
distribute freely on iOS. As one document explains, “[app] [s]igning does not imply a specific
distribution method, and it’s left as a policy decision as to whether signed applications are posted
to the online store, or we allow developers to distribute on their own.” This shows that Apple
could continue performing app review even if distribution restrictions were loosened.543

         Apple responds to Epic Games’ proposed alternatives in several ways. First, it disputes
that the Enterprise Program provides a comparable model because it is used primarily for
employers, who rarely want to hack their own employees. That is factually true, but provides
little insight as to why a modified model could not work. Apple points to unspecified evidence
that the Enterprise Program has been used to distribute malware. As with Epic Games’ evidence
of fraud on the App Store, this does not show that the program is unsecure as a general matter.544

       Second, it claims that Mac faces a different threat model and has more malware than iOS.
Mr. Federighi testified that users download apps more casually on mobile devices than on
computers and frequently use them to store more valuable data. The Mac model was also
adopted at a time when users expected to freely download from the Internet, which limited
Apple’s ability to impose greater restrictions given customer expectations. In any case, Mr.




       542
           Ex. Expert 5 (Mickens) ¶¶ 85–87; Trial Tr. (Federighi) 3380:19–3381:11, 3463:9–
3467:16; see DX-5492.103–.104.
       543
           PX-2756; Trial Tr. (Federighi) 3358:9–21; Trial Tr. (Mickens) 2593:13–2594:15; Ex.
Expert 5 (Mickens) ¶¶ 13, 46, 89–96; PX-0877.100–.300; PX-0875.002. Under the notarization
model, Apple also retains the ability to revoke notarization and turn off developer accounts
associated with malware. Depending on the scope of the option, this could address Mr.
Federighi’s concern that decentralized distribution creates a “whack-a-mole” problem. Trial Tr.
(Rubin) 3794:14–3795:8; Trial Tr. (Federighi) 3392:4–20, 3451:14–2452:6.
       544
            For instance, it is difficult to imagine that Microsoft would be a source of malware for
iOS users. See Trial Tr. (Mickens) 2668:16–2671:15 (explaining that the Enterprise Program is
just a “point in the design space”); Trial Tr. (Schiller) 3146:13–25.

                                                112
Federighi testified that Mac has a “malware problem” compared to iOS. Even with notarization,
110 instances of malware broke through on the Mac in 2020.545

        While Mr. Federighi’s Mac malware opinions may appear plausible, they appear to have
emerged for the first time at trial which suggests he is stretching the truth for the sake of the
argument. During deposition, he testified that he did not have any data on the relative rates of
malware on notarized Mac apps compared to iOS apps. At trial, he acknowledged that Apple
only has malware data collection tools for Mac, not for iOS, which raises the question of how he
knows the relative rates. Prior to this lawsuit, Apple has consistently represented Mac as secure
and safe from malware.546 Thus, the Court affords Mr. Federighi’s testimony on this topic little
weight.

       In any case, even if notarization is less secure on Mac, that only shows the limits of
malware scanning. If Apple implemented a more fulsome review, similar to the type done on the
App Store, there is no reason why the results would be different. Apple’s only response is that
app review may not scale given developers’ expectation over timing. Given that app review is
already required for all apps in the App Store, the scale itself does not appear to be a problem.
The question is the amount of resources Apple allocates to the issue and supply of human
reviewers. See supra Facts § I.C.4.

        Ultimately, the Court finds persuasive that app review can be relatively independent of
app distribution. As Mr. Federighi confirmed at trial, once an app has been reviewed, Apple can
send it back to the developer to be distributed directly or in another store. Thus, even though
unrestricted app distribution likely decreases security, alternative models are readily achievable
to attain the same ends even if not currently employed.547

                        b. Intellectual Property
        Turning to the intellectual property justification, the Court agrees with the general
proposition that Apple is entitled to be paid for its intellectual property. The inquiry though does
not end with the bald conclusion. Apple provides evidence that it invests enormous sums into
developing new tools and features for iOS. Apple’s R&D spending in FY 2020 was $18.8
billion.548 This spending runs the gamut from hardware features like an Accelerometer



       545
           Trial Tr. (Federighi) 3362:2–3365:3, 3389:14–3390:8, 3393:4–25, 3394:1–19,
3401:3–24. Mr. Federighi also expressed confusion about how an enterprise model would work,
including how a trustworthy store would be determined. Trial Tr. (Federighi) 3416:17–3417:7.
These problems appear comparable determining app trustworthiness, which Apple has managed
with adequate success, as described above.
       546
             Id. 3432:19–3434:4, 3394:4–22; see, e.g., PX-0741.100, .500.
       547
             Trial Tr. (Federighi) 3510:5–15.
       548
           This number, which is taken from Apple’s SEC filings, covers Apple’s entire
business. Internal financial documents suggest that only a small portion of this spending goes to
                                                   113
developed in 2007, to a gyroscope in 2010, stereo speakers in 2016, to LiDAR in 2020, all of
which expand the device functions to software features that improve processing speed to
combinations of the two, such as FaceTime. It also includes thousands of developer tools,
SDKs, and APIs (150,000 today), many of which are directed specifically at game developers.
For example, Metal is a tool that allows developers to create powerful computer graphics.
Additionally, Apple has invested in longer battery file, and over the last decade, core processing
units (CPU) have increased one hundredfold and relative graphic performance, one thousandfold.
Mr. Schiller testified that each of these features enables game developers to create new and
innovative games.549

        Epic Games does not venture to argue that Apple is not entitled to be paid for its
intellectual property, but rather claims that these investments have nothing to do with the App
Store specifically. Apple disagrees. As with other issues in this trial, the answer is somewhere
in between the two extremes but the evidence was not presented in a way to make a decision
with precision. That said, the record is devoid of evidence that Apple set its 30% commission
rate as a calculation related to the value of its intellectual property rights. Nor is there any
evidence that Apple could not create a tiered licensing scheme which would better correlate the
value of its intellectual property to the various levels of use by developers.550 More specifically,
the evidentiary record is silent as to whether the $99 fee paid by developers whose entire app is
“free,” like banks or other commercial entities, is correlated to the intellectual property as
compared to the gaming developers who are paying 30% on each IAP transaction and who
appear to be subsidizing most of the other app developers.

      Thus, the Court finds that with respect to the 30% commission rate specifically, Apple’s
arguments are pretextual, but not to the exclusion of some measure of compensation.

       B. Anticompetitive Effects: In-App Payment Restrictions

                1. Effects
        Turning to the evidence regarding in-app payment restrictions, Epic Games focuses on
the effects on price and quality. Although in-app payment processing is an integrated part of the
App Store, the Court reviews its effects because third-party app stores could compete on in-app
payment processing—and thus rectify some of the effects—if app distribution restrictions were
loosened. The Court also considers procompetitive justifications unique to payment restrictions



services like the iTunes store. Compare DX-4581.026 (total R&D) with PX-2385.024 (R&D
breakdown).
       549
          DX-4581.026; Ex. Expert 12 (Malackowski) ¶¶ 22, 29–33; Trial Tr. (Schiller)
2878:2–2902:10. Other examples included a retina display in 2010, Taptic Engine in 2014, and
Neural Engine in 2017. None of these developments are allocated to the App Store but all
support games and other applications. Trial Tr. (Schiller) 2878:6–2885:6, 2893:3–2895:15.
       550
             See Trial Tr. (Malackowski) 3662:13–17.

                                                114
as those relative to app distribution restrictions apply here as well. Lastly, the Court considers
the anti-steering provision, which presents a separate subissue.551

       Starting with Epic Games’ two arguments, the Court notes that it has already discussed
them, which shows both pro- and anti- competitive benefits.552 See supra Facts § V.A.
Moreover, the analysis included the tradeoffs within privacy considerations. Id.

        Apple’s experts opine on other benefits, in addition to fraud prevention. With respect to
the user side, Dr. Schmalensee opines that “IAP supports the ability of users to redownload apps
and in-app purchase on new devices, share subscriptions and in-app features with family
members, view their entire purchase history, and manage subscriptions from one place on their
phone,” all of which benefits users. While true, these benefits are also a reflection of the
ecosystem. Dr. Athey counters that multi-platform payment processors would benefit users more
by enabling the same migration, control, and sharing across platforms.553 On the gaming side,
much of this is being done through cross-wallet and cross-platform play.

        On the developer side, Apple argues IAP helps streamline in-app payment functions. By
providing a consistent and trusted user experience, IAP encourages users to spend freely, which
benefits developers through indirect network effects and has resulted in millions of dollars of
revenue. Again, as noted above, the ability to profit from impulse purchasing can be viewed as
both a sword and a shield in this context. For those developers who rely more heavily on Apple,
the benefit is greater than those like Epic Games who would prefer for the revenue stream to be
direct.

        Beyond this significant feature, it is unclear what else IAP provides to developers. Apple
agrees that it is not a payment processor; Apple delegates actual payment processing to third-
parties, such as Visa. Mr. Fischer testified that IAP provides features as part of the “commerce
engine,” but all of those features relate to users or Apple. Indeed, Dr. Evans shows that IAP does




       551
            As with the app distribution restrictions, the Court uses “app” interchangeably with
“game” and does not distinguish game and non-game developers here. There is no evidence that
gamers experience the effects differently, and they are more likely to be affected by the
restrictions because of iOS games’ disproportionate use of IAP. See supra Facts §§ II.B.3, V.A.
       552
          Ex. Depo. (Ong) 169:24–173:06; see also Trial Tr. (Sweeney) 128:22–24; PX-
2362.300; Ex. Expert 8 (Schmalensee) ¶ 150; Ex. Expert 11 (Rubin) ¶ 127.
       553
            Ex. Expert 8 (Schmalensee) ¶ 150; Trial Tr. (Schmalensee) 1894:11–1895:12; Trial
Tr. (Schiller) 3187:1–6; Ex. Expert 4 (Athey) ¶¶ 76–78; cf. PX-2235.004 (email noting difficulty
of multi-platform in-app payments). Epic Games also argues that innovative features are
precluded, such as carrier billing, but the evidence on this point is scant. See PX-2302.013; Trial
Tr. (Evans) 1608:20–1609:12.

                                                115
nothing technically aside from returning payment information.554 Thus, there is no evidence that
IAP provides developers with any unique features.555

       Apple cites three additional procompetitive business justifications for its payment
processing restrictions. As with app distribution, Apple cites (i) security, including privacy and
fraud prevention, (ii) collection of its commission, and (iii) compensation for its intellectual
property. The Court addresses each justification only to the extent not already discussed above.

                2. Business Justifications
                       a. Security
        Dr. Rubin opines that by maintaining all transaction data in one place, i.e., centralization,
Apple is better able to detect new patterns in fraudulent transactions using algorithms. Dr. Rubin
also claims that Apple benefits from its visibility into the entire transaction, which allows it to
verify certain transactions.556

        As explained above, the Court agrees that decentralization may decrease security in some
instances. The other arguments cut both ways. For instance, with respect to scale and fraud
mining, Dr. Rubin suggests that having more “data points” will always lead to better fraud
detection. Apple admits, however, that IAP is not the largest in-app payment service because it
processes at most 3% of in-app purchases.557 Thus, to the extent that scale allows Apple to better
detect fraud, other companies could do it better because they process more transactions.



       554
            In its proposed findings of fact, Apple claims that IAP helps developers with currency
conversion and tax collection, but its record citations do not support that claim. See Apple FOF
¶ 692 (citing Ex. Expert 8 (Schmalensee) ¶¶ 153–154, which does not discuss these features).
       555
           Ex. Depo. (Forstall) 252:21–254:4; Trial Tr. (Schiller) 2798:14–19; Ex. Expert 8
(Schmalensee) ¶¶ 152, 154; Ex. Expert 1 (Evans) ¶ 229. Apple raises three additional arguments
for IAP. First, it claims that the introduction of IAP “unlocked” the freemium model of
monetization. Ex. Expert 8 (Schmalensee) ¶ 134. The parties dispute whether developers used
this model on iOS before IAP. Either way, Apple does not claim that freemium requires IAP at
present time (as opposed to some other in-app payment processor), so this does not present a
current procompetitive benefit. Second, Dr. Schmalensee opines that IAP is “essentially free” to
developers, who would need to build their own systems or obtain third-party services for
payment processing otherwise. Id. ¶ 152. In light of Apple’s 30% commission, the Court is not
persuaded that developers could not obtain these features more cheaply from other companies.
Last, Apple claims that IAP helps prevent fraud and ensure privacy. This feature is addressed in
the next section as a procompetitive justification.

       556
             Ex. Expert 11 (Rubin) ¶¶ 126–128.
       557
             Apple FOF ¶ 669; Ex. Expert 8 (Schmalensee) ¶ 170.

                                                 116
Similarly, with respect to data breaches, although a breach of a payment handler could expose
some user data, a breach of Apple itself could expose all Apple users who use IAP.

        One of Apple’s strongest arguments for IAP security was that it can verify digital good
transactions. Unlike for physical goods, Apple uses IAP after confirming that the developer has
actually delivered a digital good to the user and is entitled to the corresponding payment. The
evidence shows, however, that Apple itself does not perform the confirmation. Apple’s Head of
Pricing, Mr. Grey, testified that Apple simply asks the developer to confirm that delivery
occurred and then issues a receipt. Apple has not shown how the process is any different than
other payment processors, and any potential for fraud prevention is not put into practice.558

                       b. Commission Collection
        Next, Apple claims that IAP provides the most efficient method for collecting its
commission. Dr. Schmalensee opines that without IAP, Apple would have to rely on sellers to
remit its 30% commission, with little recourse other than a lawsuit if the money was withheld.
Due to the sheer volume of transactions on the App Store, this process could quickly become
unwieldy.559

       Epic Games does not directly dispute these claims. Instead, Epic Games challenges
Apple’s entitlement to a 30% commission in the first place.560 Evidence exists to support both
views as discussed above. See supra Facts §§ I.C.3., II.C., IV.A. The fact of commission is
separate from the actual amount of the collection, which the Court addresses next.

        A corollary point to this topic concerns Apple’s restrictions on developers’ ability to
provide consumers with information about their transactions. Guideline Section 3.1.1 states that
apps “may not include buttons, external links, or other calls to action that direct customers to
purchasing mechanism other than in-app purchase.”561 This guideline does not prohibit steering
toward purchasing mechanisms outside the App Store or its apps, such as on social media, as
long as it does not target iOS users but other provisions imply as much.562

       The competitive effects and justifications for the anti-steering provision are coextensive
with those described for Apple’s commission previously. See supra Facts § V.A.


       558
         Ex. Expert 11 (Rubin) ¶ 128; Trial Tr. (Fischer) 958:12–959:2; Ex. Depo. 12 (Gray)
112:18–114:10.
       559
             Ex. Expert 8 (Schmalensee) ¶¶ 138–139, 145–146.
       560
            Trial Tr. (Schiller) 2826:6–7; Ex. Depo. (Ong) 58:20–59:13, 152:4–152:23; see also
Trial Tr. (Weissinger) 1314:11–22.
       561
             PX-2790.010.
       562
          See PX-0257; PX-2790.011; Trial Tr. (Lafontaine) 2055:12–2056:20; Trial Tr.
(Schmalensee) 1911:1–12.

                                               117
                         c. Value of the Intellectual Property
         As described above, Apple has not adequately justified its 30% rate. Merely contending
that its commission pays for the developer’s use of the App Store platform, license to Apple’s
intellectual property, and access to Apple’s user base only justifies a commission, not the rate
itself. Nor is the rate issue addressed when Apple claims that it would be entitled to its
commission even for games distributed outside the App Store because it provides the device and
OS that brings users and developers together.563

        As noted, no one credibly disputes that Apple and third-party developers act
symbiotically. Apple gives developers an audience and developers make Apple’s platform more
attractive. Thus, Apple earns revenue each time a developer earns revenue creating a feedback
loop. However, as revenues show, the ultimate effect appears to vary within developer groups
depending on how a developer chooses to monetize its app.

        Further, there is substantial evidence that Epic Games, and perhaps other larger
developers, bring their own audience to iOS. Fortnite was already popular when it arrived on
iOS and Apple sought exclusive Fortnite content to attract new users. See supra Facts §§
I.B.2.d, I.B.4. That said, Epic Games wanted Apple’s user base, to which it did not have access,
as it had already saturated its other options. Also, Match Group found that the majority of new
users from the App Store organically searched for its apps (e.g., by typing in “Tinder”), while
Apple contributed only 6% of discovery. For these developers, Apple’s role in generating in-app
purchases was “nothing” but it continued to receive a 30% commission on in-app purchases.564

         C. Combined Effects

        Because Apple has created an ecosystem with interlocking rules and regulations, it is
difficult to evaluate any specific restriction in isolation or in a vacuum. Thus, looking at the
combination of the challenged restrictions and Apple’s justifications, and lack thereof, the Court
finds that common threads run through Apple’s practices which unreasonably restrains
competition and harm consumers, namely the lack of information and transparency about
policies which effect consumers’ ability to find cheaper prices, increased customer service, and
options regarding their purchases. Apple employs these policies so that it can extract
supracompetitive commissions from this highly lucrative gaming industry. While the evidence
remains thin as to other developers, the conclusion can likely be extended.

       More specifically, by employing anti-steering provisions, consumers do not know what
developers may be offering on their websites, including lower prices. Apple argues that
consumers can provide emails to developers. However, there is no indication that consumers
know that the developer does not already have the email or what the benefits are if the email was
provided. For instance, Apple does not disclose that it serves as the sole source of
communication for topics like refunds and other product-related issues and that direct

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               Apple FOF ¶ 572; Trial Tr. (Cook) 3863:6–3864:8.
         564
               Ex. Depo. (Ong) 58:20–61:07, 152:04–23; see also DX-3922; supra Facts §§ I.C.3.b.,
V.A.1.

                                                 118
registration through the web would also mean direct communication. Consumers do not know
that if they subscribe to their favorite newspaper on the web, all the proceeds go to the
newspaper, rather than the reduced amount by subscribing on the iOS device.

        While some consumers may want the benefits Apple offers (e.g., one-stop shopping,
centralization of and easy access to all purchases, increased security due to centralized billing),
Apple actively denies them the choice. These restrictions are also distinctly different from the
brick-and-mortar situations. Apple created an innovative platform but it did not disclose its rules
to the average consumer. Apple has used this lack of knowledge to exploit its position. Thus,
loosening the restrictions will increase competition as it will force Apple to compete on the
benefits of its centralized model or it will have to change its monetization model in a way that is
actually tied to the value of its intellectual property.

                                                PART II
          APPLICATION OF FACTS TO THE LAW AND CONCLUSIONS THEREON


I. RELEVANT PRODUCT AND GEOGRAPHIC MARKET

       A. Legal Framework

        “A threshold step in any antitrust case is to accurately define the relevant market, which
refers to ‘the area of effective competition.’” FTC v. Qualcomm Inc., 969 F.3d 974, 992 (9th
Cir. 2020) (“Qualcomm”) (quoting Ohio v. Am. Express Co. (“Amex”), 138 S. Ct. 2274, 2285
(2018)); see also Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1202 (9th Cir.
1997) (“Image Tech Services II”) (“The relevant market is the field in which meaningful
competition is said to exist.”) (citation omitted). Monopoly power under the first element can be
defined as “the power to control prices or exclude competition” and may be inferred from the
defendant’s predominant market share in the relevant market. United States v. Grinnell Corp.,
384 U.S. 563, 571 (1966). In addition, “courts usually cannot properly apply the rule of reason
without an accurate definition of the relevant market.” Amex, 138 S. Ct. at 2285. Without a
relevant market definition, “there is no way to measure the defendant’s ability to lessen or
destroy competition.” Id. (simplified).

        “The relevant market must include both a geographic market and a product market.”
Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1120 (9th Cir. 2018) (citation omitted). The latter
“must encompass the product at issue as well as all economic substitutes for the product.”
Newcal Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1045 (9th Cir. 2008); see also id. (“The
consumers do not define the boundaries of the market; the products or producers do [and] the
market must encompass the product at issue as well as all economic substitutes for the
product.”); P. Areeda & H. Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and
Their Application § 530a (4th and 5th eds., 2021 Supp.) (“To define a market is to identify those
producers providing customers of a defendant firm (or firms) with alternative sources for the
defendant’s product or service.”). “Economic substitutes have a ‘reasonable interchangeability of
use’ or sufficient ‘cross-elasticity of demand’ with the relevant product.” Hicks, 897 F.3d at
1120 (quoting Newcal, 513 F.3d at 1045); see also United States v. E.I. DuPont de Nemours &

                                               119
Co., 351 U.S. 377, 404 (1956). “Including economic substitutes ensures that the relevant product
market encompasses ‘the group or groups of sellers or producers who have actual or potential
ability to deprive each other of significant levels of business.’” Hicks, 897 F.3d at 1120 (quoting
Thurman Indust., Inc. v. Pay ‘N Pak Stores, Inc., 875 F.2d 1369, 1374 (9th Cir. 1989)); see also
DuPont, 351 U.S. at 393 (“Illegal power must be appraised in terms of the competitive market
for the product.”).565

        A plaintiff cannot ignore economic reality and “arbitrarily choose the product market
relevant to its claims”; rather, the plaintiff must “justify any proposed market by defining it with
reference to the rule of reasonable interchangeability and cross-elasticity of demand.”
Buccaneer Energy (USA) v. Gunnison Energy Corp., 846 F.3d 1297, 1313 (10th Cir. 2017)
(internal quotation marks and citation omitted). The proper market definition “can be
determined only after a factual inquiry into the commercial realities faced by consumers.” High
Tech. Careers v. San Jose Mercury News, 996 F.2d 987, 990 (9th Cir. 1993) (internal quotation
marks and citation omitted).

        It is the plaintiff’s burden to establish the relevant product and geographic markets. See
Thurman Indus., 875 F.2d at 1373; Fount-Wip, Inc. v. Reddi-Wip, Inc., 568 F.2d 1296, 1302 (9th
Cir. 1978) (noting that plaintiffs bear the “burden of proof” to establish a relevant market). To
meet that burden, a plaintiff must produce specific evidence supporting the proposed market
definition that is “relevant to the particular legal issue being litigated.” Areeda & Herbert
Hovenkamp § 533c; see also Moore v. James H. Matthews & Co., 550 F.2d 1207, 1218–19 (9th
Cir. 1977) (plaintiff failed to establish “the relevant product market” where it failed to introduce
adequate evidence regarding “the products involved as to price, use, quality, and
characteristics”); United States v. H & R Block, Inc., 833 F. Supp. 2d 36, 64 (D.D.C. 2011)
(“Courts correctly search for a relevant market—that is a market relevant to the particular legal
issue being litigated.”) (simplified)).

       B. Analysis

               1. Relevant Product Market
        Epic Games constructs a framework to argue that there are three separate product markets
at issue. In the foremarket, Epic Games identifies the product market as one for “Smartphone
Operating Systems.” Epic Games contends in turn that there are two derivative and relevant
aftermarkets that flow from this initial foremarket, including the “iOS App Distribution” market
and “iOS In-App Payment Solutions.” Epic Games logic flows as follows: the iOS in-app



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            “Interchangeability implies that one product is roughly equivalent to another for the
use to which it is put: while there may be some degree of preference for the one over the other,
either would work effectively.” Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430,
437 (3d Cir. 1997) (internal quotation marks and citation omitted). For example, “[a] person
needing transportation to work could buy a Ford or Chevrolet automobile, or could elect to ride a
horse or bicycle, assuming those options were feasible.” Id. (internal quotation marks and
citation omitted).

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payment solutions market is an aftermarket of the iOS app distribution market which is further
an aftermarket of the smartphone operating systems foremarket.

        Apple, on the other hand, contends that there is only one relevant product: digital game
transactions. This includes any and all digital gaming transactions made on any gaming
platform. The Court has discussed the factual profiles of each of the proffer, see supra Facts
§ II, and turns to the determination here.

        The parties agree that the Court must determine which products or services are in “the
area of effective competition” to define the product market. Amex, 138 S. Ct. at 2285; Thurman
Indus., 875 F.2d at 1374 (“For antitrust purposes, defining the product market involves
identification of the field of competition: the group or groups of sellers or producers who have
actual or potential ability to deprive each other of significant levels of business.” (citation
omitted)). The relevant product market “must encompass the product at issue as well as all
economic substitutes for the product.” Newcal, 513 F.3d at 1045. “Economic substitutes have a
‘reasonable interchangeability of use’ or sufficient ‘cross-elasticity of demand’ with the relevant
product.” Hicks, 897 F.3d at 1120 (quoting Brown Shoe v. United States, 370 U.S. 294, 325
(1962)); DuPont, 351 U.S. at 404.

       The Court begins with Apple’s product market definition as it more closely aligns with
the Court’s conclusion. Then the Court discusses the reasons why Epic Games has not properly
defined the relevant product market.

                       a. Apple’s Product Market Theory
        As a threshold issue, the Court considers whether the App Store provides two-sided
transaction services or as Epic Games argues “distribution services.”566 The Supreme Court has
seemingly resolved the question: two-sided transaction platforms sell transactions. In two-sided
markets, a seller “offers different products or services to two different groups who both depend
on the platform to intermediate between them.” Amex, 138 S. Ct. at 2280. Here, try as it might,
Epic Games cannot avoid the obvious. Plaintiff only sells to iOS users through the App Store on
Apple’s platform. No other channel exists for the transaction to characterize the market as one
involving “distribution services.”

        Plaintiff’s reliance on Dr. Evans’ testimony to the contrary does not persuade. First, Dr.
Evans’ testimony was internally inconsistent. He agrees that the App Store is a “two-sided
transaction platform” and includes the features characteristic of two-sided transaction platforms.
Although he testified that Apple also provides services to facilitate those transactions, those
services are coextensive with “transactions” under his definition. 567 Thus, there is no
substantive difference between “transactions” and “services” to facilitate those transactions. The

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          Trial Tr. (Evans) 1454:11–16, 1457:10–1458:25, 1707:7–17; Trial Tr. (Schmalensee)
1955:3–23.
       567
          See, e.g., Trial Tr. (Evans) 1612:7–9, 1634:2–1635:25; Trial Tr. (Schmalensee)
1882:24–1883:2; Trial Tr. (Lafontaine) 2031:25–2032:3, 2037:15–16; Ex. Expert 8
(Schmalensee) ¶ 55.

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semantic difference does not warrant departure from Supreme Court precedent.568 Second,
distribution services may improperly imply that only developers consume Apple’s products. The
evidence is to the contrary. By contrast, all of the experts agree that both users and developers
consume App Store transactions.

       Accordingly, the Court finds that the relevant App Store product is transactions, not
services, but that providing transactions may include facilitating services (matchmaking,
developer support, etc.).569

                              i.   Apps or Digital Game Transactions?
        Next, the Court considers whether to narrow the scope of the transactions in terms of
defining the product market. “In limited settings . . . the relevant product market may be
narrowed beyond the boundaries of physical interchangeability and cross-price elasticity to
account for identifiable submarkets or product clusters.” Thurman Indus., 875 F.2d at 1374. A
submarket is “a small part of the general market of substitutable products” and “is economically
distinct from the general product market.” Newcal, 513 F.3d at 1045. Although there are
“several ‘practical indicia’ of an economically distinct submarket,” including “industry or public
recognition of the submarket as a separate economic entity, the product’s peculiar characteristics
and uses, unique production facilities, distinct customers, distinct prices, sensitivity to price
changes, and specialized vendors,” id. (quoting Brown Shoe, 370 U.S. at 325), they are “practical
aids for identifying the areas of actual or potential competition” and “their presence or absence
does not decide automatically the submarket issue.” Thurman Indus., 875 F.2d at 1375 (citations
omitted). The Court considers these factors in its evaluation.

         Having considered and reviewed the evidence, the Court concludes based on its earlier
findings of facts that the appropriate submarket to consider is digital game transactions as
compared to general non-gaming apps. See supra Facts § II.B.3. Indeed, the Court concluded
that there were nine indicia indicating a submarket for gaming apps as opposed to non-gaming
apps: (i) the App Store’s business model is fundamentally built upon lucrative gaming
transactions; (ii) gaming apps constitute a significant majority of the App Store’s revenues;
(iii) both the gaming, mobile, and software industry as well as the general public recognize a
distinction between gaming apps and non-gaming apps; (iv) gaming apps and their transactions
exhibit peculiar characteristics and users; (v) game app developers often employ specialized
technology inherent and unique to that industry in the development of their product; (vi) game
apps further have distinct producers—game developers—that generally specialize in the
production of only gaming apps; (vii) game apps are subject to distinct pricing structures as
compared to other categories of apps; (viii) games and gaming transactions are sold by
specialized vendors; and (ix) game apps are subject to unique and emerging competitive
pressures, that differs in both kind and degree from the competition in the market for non-gaming

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          See Trial Tr. (Evans) 1612:7–9, 1634:2–1635:25; accord Trial Tr. (Schmalensee)
1954:3–9 (equating transactions with “matchmaking” services), 1940:23–25 (agreeing that Dr.
Evans analyzed the App Store as a two-sided platform).
       569
             See, e.g., Ex. Expert 8 (Schmalensee) ¶¶ 55–56; Trial Tr. (Evans) 1707:2–17.

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apps. The Court does not reiterate here the detail except to note the following significant
points:570

        The evidence was undisputed that over 80% of apps in the App Store are free. For those
apps, the user pays nothing either inside the app or at the initial download. The developer also
pays nothing aside from an up-front $99 developer fee. Apple thus does not collect commissions
on those transactions. Moreover, many of those apps are subject to special treatment, such as the
“reader” rule, that allows them to bypass Apple’s restrictions and commissions altogether. These
differences create economic distinctions between the two categories. Finally, there is insufficient
evidence that most apps are impacted by Apple’s alleged anticompetitive conduct.571




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            Dr. Lafontaine suggests that combining game and non-game transactions would
require a “clustering” analysis to show that they are subject to the same competitive pressures.
Ex. Expert 7 (Lafontaine) ¶¶ 33–35. The Court does not address the issue here because clustering
is not necessary to determine that game transactions are the proper focus.
       571
             Ex. Expert 6 (Hitt) ¶¶ 118, 121; DX-4178.006; PX-0059.007. Besides games, the
other category of apps disproportionately affected by Apple’s conduct are subscription services.
DX-4178.006; DX-4526.021. There are good reasons not to include those apps in the current
litigation. First, Epic Games did not sell subscription services when Fortnite was on the iOS
platform; their representation in the case is limited to third parties. Only one of those third
parties testified at trial, so the Court lacks a full picture of the true opinions of these companies.
Games and subscription apps in general are distinct, with little overlap among the popular
examples. Compare PX-0608.015 with id. at .016.

        Second, many subscription services are subject to special rules, such as the “reader rule”
that permits users to access app content purchased outside iOS on their Apple devices. Indeed,
several large subscription providers (e.g., Spotify and Netflix) have stopped offering
subscriptions through the App Store. Although games are subject to a similar “multiplatform
rule,” the rule has only been in place since 2018 and the record is mixed whether game
developers may be more or less able to similarly steer consumers to web transactions. Ex.
Expert 6 (Hitt) ¶¶ 101–105; Trial Tr. (Schiller) 2808:6–2809:3; Trial Tr. (Sweeney) 110:12–
111:1.

        Third, and finally, subscription providers may present different security challenges than
game stores. Mr. Kosmynka testified that games are different than passive content because they
add to or require the functionality of the smartphone. Mr. Schiller confirmed that Apple allows
“stores within a store” that contain purely passive content, such as books and music. Thus,
Apple’s procompetitive justifications may be significantly different for game and non-game
stores and apps. Trial Tr. (Kosmynka) 1073:7–1074:18; Trial Tr. (Schiller) 3115:11–3117:7;
Trial Tr. (Federighi) 3429:12–3430:8.

       Accordingly, the Court declines to consider subscriptions in this lawsuit because they are
a separate submarket for which there is insufficient evidence.

                                                 123
        By contrast, game apps are disproportionately likely to use in-app purchases for
monetization. Over 98% of Apple’s in-app purchase revenue came from games in 2018 to 2019.
Moreover, game transactions overall accounted for 76% of Apple’s App Store revenues in 2017,
62.9% in 2018, and 68% in 2020. Game commissions are also substantially higher than average.
Thus, in most economic ways, and in particular with respect to the challenged conduct, the App
Store is primarily a game store and secondarily an “every other” app store.572

        Game transactions are also widely recognized as belonging to a separate market. The
App Store, Google Play, and Amazon Appstore all include separate “tabs” for apps and games
which reflects that consumers view them differently. Apple analyzes them separately with
different heads of business for games and non-game apps. The developers for game apps also
tend to be distinct, specializing in games with little revenue from non-game apps.573

       Finally, the App Store is also built upon specialized consumers—those iOS consumers
who play video games on iOS devices. As summarized above, it is iOS consumers who make
frequent in-app purchases within gaming apps who account for the large majority of Apple’s
revenues in the App Store. See supra Facts § 1.C.6.574 In other words, there is a specialized
subset of iOS gaming consumers who are generating and accounting for a significantly
disproportionate number of App Store billings and revenue.

         Accordingly, between digital game transactions and all app transactions, the relevant
product is game transactions. Contrary to Epic Games’ suggestion, that is not because plaintiff
sells games. Rather, it is because game transactions are disproportionately affected by Apple’s
challenged conduct, overwhelmingly subsidize other apps, and are recognized as a distinct
submarket. Obviously, Epic Games and Apple compete in that market space. That Epic Games
is in the market was the impetus for the analysis, not the reason for the conclusion.


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          Ex. Expert 6 (Hitt) ¶¶ 117, 120–24; DX-4178.006; PX-0059.007; Trial Tr. (Schmid)
3226:7–12.
       573
            Ex. Expert 6 (Hitt) ¶¶ 125–27; DX-5552; Trial Tr. (Schmid) 3205:4–11, 3226:1–22,
3349:24–3352:3. As the Court noted, the limited record also shows that the Google Play app
store similarly is constructed upon the same game transactions as the App Store. See DX-
3913.007. Apple also argues that games are subject to unique competitive pressures, with
specialized vendors and emerging dynamic competition. Ex. Expert 8 (Schmalensee) ¶ 104. The
Court addresses this evidence below.
       574
             That said, the evidence for a single distinct “gamer” demographic is inconclusive.
For instance, Michael Schmid, testified that “gamers” as he defined them are a “very large
percentage of users” including “all the people you speak with,” suggesting a generally diverse
gaming consumer base. Trial Tr. (Schmid) 3350:5–3352:3; see also id. 3351:15–17 (“The
Court: Well, are you saying that all app users are also gamers? The Witness: Certainly not.”).
But even without distinct customer demographics, the fact that only certain set of iOS consumers
(i.e., those users who play games on iOS), as well as the separate set of developers and industry
recognition as a distinct submarket make extrapolation from games to the whole market
inappropriate.

                                              124
                            ii.   All Gaming Transactions or Mobile Gaming Transactions?
        The last metric the Court considers is whether to limit the product market to all gaming
transactions or only mobile gaming transactions. Apple argues for the former; Epic Games
argues (as an alternative) for the latter. The Court is again guided by the “practical indicia”
framework articulated in Newcal and Brown Shoe. The Court considers these factors in its
evaluation.

        Having considered and reviewed the evidence, the Court concludes based on its earlier
findings of facts that the appropriate submarket to consider is the mobile gaming transactions
market. See supra Facts § II.D. This relevant product market would include mobile game
transactions on both mobile phone and tablet devices, which have the competitive advantage of
mobility or portability as compared to other platforms and devices. Id. Indeed, as the Court
summarized and found there, mobile gaming exhibits several of the practical indicia discussed in
Newcal and Brown Shoe including industry and public recognition of the submarket as a separate
economic entity, peculiar characteristics and uses, distinct customers and producers, and
specialized vendors. The Court again does not repeat the entirety of the findings previously
made, but discusses the more significant and relevant findings here:

        Substantial evidence was presented showing that mobile gaming is a distinct submarket.
As an initial matter, Apple’s own documents recognize mobile gaming as a submarket. One
industry report describes mobile gaming as a “$100 billion industry by itself” that accounts for
59% of global gaming revenue. While PC and console gaming has grown more slowly, mobile
gaming has experienced double-digit growth driven by “the free-to-play model” with in-app
purchases. “Remarkably,” this rapid growth “has not significantly cannibalized revenues from
the PC or console gaming markets,” which suggests that consumers are not necessarily
substituting among them.575 Another industry report describes distinct user bases for mobile
gaming: young children, teenage girls, and older adults are disproportionally likely to be mobile
gamers only. Multiplatform gaming, by contrast, is driven by teenage boys and young adults
under 25.576

        Even without Apple documents, the experts largely agree that mobile and non-mobile
platforms provide different types of games. Dr. Hitt—whom Apple commissioned to show that
game transactions are substitutable—ended up showing the opposite. In his original written
direct testimony (which Apple withdrew after cross-examination), Dr. Hitt showed that only 12%
and 16% of the most popular App Store games are available on consoles. Both Dr. Hitt’s and
Dr. Cragg’s trial testimony remain in the record, and each shows that console games are largely
separate from mobile games. Moreover, while Dr. Hitt originally opined that mobile games are
available on PCs, his work could not be entirely reproduced during trial, as some of the games he

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          Although this might be due to the fact that mobile gaming first cannibalized the
handheld and portable gaming market, which it may have supplanted and now surpassed. See
supra n.391.
       576
          DX-3248.005, .008; DX-4170.008; see also id. at .024 (showing “segments” of
gamers with multiple segments “primarily on mobile”).

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listed as available on both platforms (PC and mobile platforms) could not be found. The fact that
Apple tried and failed to show cross-availability of mobile games with PC indicates that they are
distinct.577

        This conclusion is bolstered in part by evidence from Dr. Cragg. Dr. Cragg finds that the
most popular games on mobile are only available on mobile, with a few games also available on
PCs. The types of games are also different, with many more casual games on mobile and core
games on PC and console platforms. For those games that are available on multiple platforms,
such as Fortnite, Dr. Cragg finds that the playing and spending on different platforms is
complementary, rather than substitution-focused, because playing on another device increases
the playtime and spending on the previous devices.578

        Industry participants also support the conclusion. Microsoft documents show that mobile
gaming generates more than half of the industry revenue and profits, compared to only a quarter
for consoles and PCs each. Moreover, Ms. Wright testified that Microsoft does not view game
transactions for cross-platform games on iOS devices as competition to transactions on its Xbox
console. Although Ms. Wright also testified that mobile is “a segment of the game industry as a
whole,” that is consistent with it being a separate submarket. By contrast, Steam is the largest
game store on PCs. Mr. Cook’s lack of familiarity with it presents strong evidence that the iOS
App Store does not compete with PC game stores.579

        Finally, as the Court concluded in the findings of facts, the Court would not at this time
find that the Switch or game streaming services are part of the mobile game transactions market.
This is in part due to the underdeveloped record on these products, and in part on the relative
recent introduction of these products to the market. While the record supports a finding that
these are new entrants into the same market space as Apple and Google, whether these products
ultimately are substitutable and reasonably interchangeable by consumers remain to be seen.

       Accordingly, for the same reasons that game transactions, rather than app transactions in
general, are the proper focus in this case, the Court finds that mobile gaming, including mobile
devices and tablets,580 is a separate market from gaming in general. Thus, the relevant product
market is mobile gaming transactions.




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           Ex. Expert 6 (Hitt) ¶ 31 & Fig. 3; Trial Tr. (Hitt) 2200:13–2201:18, 2207:6–2216:11;
Ex. Expert 13 (Cragg) ¶¶ 34–39, 43–52.
       578
             Ex. Expert 13 Cragg ¶¶ 25–33, 79–81, Figs. 10–12; Trial Tr. (Schmid) 3207:8–18.
       579
          DX-5523.008–.009; Trial Tr. (Wright) 547:4–9, 549:14–21, 638:6–19; Trial Tr.
(Cook) 3993:2–6.
       580
          As discussed in the findings of facts, see supra Facts §§ II.D–E., this would include
both iOS and Android tablets and mobile phone devices.

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                       b. Epic Games’ Approach: Foremarket/Aftermarket Market Definition
        The Court reaffirms here the fundamental factual flaws with Epic Games’ market
structure. See supra Facts §§ II.A–C. Without a product, there is no market for the non-product,
and the requisite analysis cannot occur. Thus, where there is no product or market for
smartphone operating systems, there are no derivative markets. The payment solutions
aftermarket also fails for the independent reason that IAP is not a product for which there is a
market. Further, Epic Games’ aftermarket approach to market definition is inconsistent with its
recognition that the App Store constitutes a two-sided transaction platform which it fails to
properly analyze. Id.; Amex, 138 S. Ct. at 2287. Nonetheless, the Court addresses the additional
problems with Epic Games’ attempt to define the market with the confines of a single brand.

        Determining whether a single-brand market is proper requires “a factual inquiry into the
‘commercial realities’ faced by consumers.” Eastman Kodak Co. v. Image Tech. Servs., 504
U.S. 451, 482 (1992) (“Eastman Kodak”) (quoting, Grinnell Corp., 384 U.S. at 572). “Single-
brand markets are, at a minimum, extremely rare” and courts have rejected such market
definitions “[e]ven where brand loyalty is intense.” Apple, Inc. v. Psystar Corp., 586 F. Supp. 2d
1190, 1198 (N.D. Cal. 2008) (internal quotation marks and citation omitted). But see id.
(“Antitrust markets consisting of just a single brand, however, are not per se prohibited . . . . In
theory, it may be possible that, in rare and unforeseen circumstances, a relevant market may
consist of only one brand of a product.”). Indeed, “[a] single brand is never a relevant market
when the underlying product is fungible.” Areeda & Hovenkamp § 563d. “It is an
understatement to say that single-brand markets are disfavored. From nearly the inception of
modern antitrust law, the Supreme Court has expressed skepticism of single-brand markets[.]”
In re Am. Express Anti-Steering Rules Antitrust Litig., 361 F. Supp. 3d 324, 343 (E.D.N.Y.
2019); Herbert J. Hovenkamp, Markets in IP & Antitrust, 100 Geo. L.J. 2133, 2137 (2012)
(“[A]ntitrust law has found that a single firm’s brand constitutes a relevant market in only a few
situations.”).

         Despite the foregoing, “in some instances one brand of a product can constitute a separate
market.” See Eastman Kodak, 504 U.S. at 482; see also Newcal, 513 F.3d at 1048 (“[T]he law
permits an antitrust claimant to restrict the relevant market to a single brand of the product at
issue . . . .”). Antitrust law has continued to develop since Eastman Kodak. Beginning there, the
Supreme Court considered whether summary judgment was appropriate for Kodak on a Sections
1 and 2 claims where the plaintiffs had argued that Kodak possessed monopoly power in the
aftermarket of sales of parts and repair services, despite not having such power in the foremarket
of equipment sales. 504. U.S. at 466–471. In affirming the Ninth Circuit’s reversal of summary
judgment, the Supreme Court identified two factors that supported the aftermarket framework:
the existence of significant (i) “information” costs and (ii) “switching costs.” Id. at 473.

        As to the first, information costs, the Supreme Court noted that “[f]or the service-market
price to affect equipment demand, consumers must inform themselves of the total cost of the
‘package’—[in Eastman Kodak] equipment, service, and parts—at the time of purchase; that is,
consumers must engage in accurate lifecycle pricing.” Id. “Much of this information is
difficult—some of it impossible—to acquire at the time of purchasing,” and that “even if
consumers were capable of acquiring and processing the complex body of information, they may
choose not to do so [as a]cquiring [such] information is expensive.” Id. at 473, 474. Indeed,

                                                127
“[i]f the costs of service are small relative to the equipment price, or if consumers are more
concerned about equipment capabilities than service costs, they may not find it cost efficient to
compile the information.” Id. at 474–75.

        As to the second factor, switching costs, the Supreme Court stated that “[i]f the cost of
switching is high, consumers who already have purchased the equipment, and are thus ‘locked
in,’ will tolerate some level of service-price increases before changing equipment brands.” Id. at
476. “Under this scenario, a seller profitably could maintain supracompetitive prices in the
aftermarket if the switching costs were high relative to the increase in service prices, and the
number of locked-in customers were high relative to the number of new purchasers.” Id. The
Supreme Court further noted that this strategy was “likely to prove profitable” especially where a
“seller could simply charge new customers below-marginal cost on the equipment and recoup the
charges in service,”581 or offer specific packages including “lifetime warranties or long-term
service agreements that are not available to locked-in customers.” Id. at 476–477.

        In sum, given the presence of these two factors, the Supreme Court found a question of
fact “foil[ed] the simple assumption that the equipment and service markets act as pure
complements to one another.” Id. at 477.

        Since 1992, five circuit courts and numerous district courts refused to find a Kodak-type
single-brand aftermarket where customers had knowledge of the alleged restrictive policies and
were not subject to a post-purchase policy change. Big tech may ultimately convince the
Supreme Court to change the calculus, but for now the state of antitrust law has that distinct
parameter. The Court recounts the history.

         Four years after Eastman Kodak, the Fifth Circuit in United Farmers Ass’n, Inc. v.
Farmers Insurance Exchange, 89 F.3d 233, 238 (5th Cir. 1996) rejected a claim that insurance
agents were “locked-in” to a particular insurance company because the agents “would clearly
have become aware of [the alleged anticompetitive] policy long before they faced significant
switching costs.” A year later the Sixth Circuit similarly found that an “antitrust plaintiff cannot
succeed on a Kodak-type [single- brand-aftermarket] theory when the defendant has not changed
its policy after locking-in some of its customers, and the defendant has been otherwise
forthcoming about its pricing structure and service policies.” PSI Repair Servs., Inc. v.
Honeywell, Inc., 104 F.3d 811, 820 (6th Cir. 1997) (emphasis supplied). Rounding off the
decade, the First Circuit found that “the easy availability of information” and “purely prospective
nature” of an allegedly anticompetitive policy “helps to take [a] case out of Kodak’s precedential




       581
            The Court notes that this identified problematic business model in Eastman Kodak, of
selling the initial equipment near marginal cost and recouping profits in later service, appears to
mirror more closely the gaming console’s business models for their console platforms (selling
hardware near or at a loss and recouping through the sale of games and transactions) as opposed
to Apple’s business model for its iOS platform (profit on both the hardware and transactions).
See supra Facts §§ II.D.3.c.

                                                128
orbit.” SMS Sys. Maint. Servs., Inc. v. Digital Equip. Corp., 188 F.3d 11, 19 (1st Cir. 1999)
(citation omitted).

         Fast-forward to 2008, the Ninth Circuit in Newcal outlined four factors that could
indicate whether an alleged market is a properly defined single-brand aftermarket under Eastman
Kodak at the motion to dismiss stage. See Newcal, 513 F.3d at 1049–50. The first indicator of an
aftermarket is that the market is “wholly derivative from and dependent on the primary market.”
Id. at 1049. The second indicator is that the “illegal restraints of trade and illegal monopolization
relate only to the aftermarket, not to the initial market.” Id. at 1050. The third indicator is that
the defendant’s market power “flows from its relationship with its consumers” and the defendant
did “not achieve market power in the aftermarket through contractual provisions that it obtains in
the initial market.” Id. The fourth indicator is that “[c]ompetition in the initial market . . . does
not necessarily suffice to discipline anticompetitive practices in the aftermarket.” Id.

        While not explicitly repeated elsewhere, other circuits have aligned with the contours of
Newcal and the foregoing cases regarding consumer knowledge and/or post-purchase policy
changes. In 2014, the Federal Circuit weighed in concluding that “it is only the customers who
learned about the [allegedly anticompetitive policy] after purchasing their equipment that are
relevant to the ‘locked-in’ analysis.” DSM Desotech, Inc. v. 3D Sys. Corp., 749 F.3d 1332, 1346
(Fed. Cir. 2014). Two years later the Third Circuit held that no Kodak-type aftermarket existed
“when customers were put on clear notice that purchasing [defendant’s product] precluded use of
[third-party] maintenance.” Avaya Inc., RP v. Telecom Labs, Inc., 838 F.3d 354, 405 (3d Cir.
2016).

        The breadth of antitrust law on the issue has counseled that currently “to establish a
single-brand aftermarket under Kodak and Newcal, the restriction in the aftermarket must not
have been sufficiently disclosed to consumers in advance to enable them to bind themselves to
the restriction knowingly and voluntarily.” Datel Holdings Ltd. v. Microsoft Corp., 712 F. Supp.
2d 974, 987 (N.D. Cal. 2010).582 Indeed, “[m]arket imperfections” may “prevent consumers
from discovering” that purchasing a product in the initial market could restrict their freedom to
shop in the aftermarket. Newcal, 513 F.3d at 1048; see also Red Lion Med. Safety, Inc. v.
Ohmeda, Inc., 63 F. Supp. 2d 1218, 1231 (E.D. Cal. 1999) (“Information costs may be high, and
a manufacturer may thus have considerable market power in the aftermarket, even in the absence
of a change in policy.”); Ward v. Apple Inc., Case No. 12-cv-05404-YGR, 2017 WL 1075049, at
*7 (N.D. Cal. Mar. 22, 2017) (agreeing with Red Lion, 63 F. Supp. 2d at 1231–32, that a policy
change is not necessary to find a valid single-brand market under Newcal). In other words, a
plaintiff must show evidence “to rebut the economic presumption that [defendant’s] consumers




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           See also Teradata Corp. v. SAP SE, No. 18-CV-03670, 2018 WL 6528009, at *16
(N.D. Cal. Dec. 12, 2018) (single-brand markets are possible only in situations in which
customers face “restrictions that were undisclosed at the time of the purchase of the product from
the primary market”).

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make a knowing choice to restrict their aftermarket options when they decide in the initial
(competitive) market to” purchase in the foremarket. Newcal, 513 F.3d at 1050.

       With these principles in mind, the Court analyzes the evidence presented.

         As noted, Epic Games created a construct that largely satisfies the Newcal test. By
definition, distribution of iOS apps and iOS payment processing derive from Apple’s operating
system (first factor). Next, Epic Games only identified restraints that related to the distribution
and payment processing, so again, by design, they do not relate to the “market for Apple’s
operating system” (second factor). Similarly, given that (i) consumers do not contractually agree
to obtain apps only through the App Store when they purchase an iPhone; (ii) developers are
contractually restricted in the aftermarket; and (iii) in light of the technical restrictions on iOS
devices, Apple’s market power flows from its relationship with its consumers and Apple did not
achieve market power in the aftermarket through contractual provisions that it obtains in the
initial market (third indicator). Thus, three of the four indicators are fulfilled.583

        It is within the last indicator that problems arise for Epic Games given antitrust
jurisprudence. Issues of lock-in or switching costs, and notice or consumer knowledge, fall
under the analysis of evaluating whether competition in the initial market suffices to discipline
anticompetitive practices in the aftermarkets.

        First, the evidence shows no material change in the conditions for accessing the App
Store for either side of the platform. In the Sixth Circuit, the absence of a change in policy
following the consumers’ initial purchase in the alleged foremarket, which locked consumers
into the alleged aftermarket (i.e., the concept of lock-in), was fatal. See PSI Repair Servs., Inc.,
104 F.3d at 820. For consumers, iOS has always been a closed system, and the App Store has
been a “walled garden” with respect to native apps from its inception; even prior to any time in
which Apple was alleged to have become a monopolist. Indeed, it is undisputed by the parties
that a key distinguishing feature of the iOS platform is its closed platform model, as compared to
the open Android platform maintained by its main competitor Google. At the very least,
previous consumers of iOS devices would have been familiar with the iOS platform and the App
Store model when they repurchased a device prior to 2011.

         Epic Games’ reliance on a 2007 statement from Steve Jobs when he announced the 70-30
split that Apple did not intend to make a profit, much less an unpublicized, internal 2011
comment by Phil Schiller regarding a reduction of the 70-30 after a billion dollars in profit, do
not change the analysis. As discussed above, these statements do not create a policy shift
sufficient to show lock-in. At best, these statements reflect Apple’s initial expectation that the



       583
           Epic Games did not define the foremarket as the market for sale of mobile cellular
phones or mobile devices. That said, even Dr. Evans acknowledges, consumers do not buy
smartphone operating systems separately from smartphones. Trial Tr. (Evans) 1621:19–23; Ex.
Expert 7 (Lafontaine) ¶¶ 61–63. There is no price charged to consumers for either the iOS or the
Android operating systems. See supra Facts § II.A.; Trial Tr. (Lafontaine) 2022:11–2023:4; Ex.
Expert 1 (Evans) ¶ 139.

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App Store was not projected to be profitable for Apple.584 Apple’s miscalculation, while hugely
profitable, does not evidence consumers lock-in with iOS devices. While Apple’s calculated risk
returned incredible profits, the reality is that Apple has maintained the same general rules with
both consumers and developers since the inception of the iOS devices. Epic Games’ arguments
that Apple has otherwise repeatedly increased prices does not persuade, where Apple’s rate has
always been 30%.585

        Second, Epic Games failed to prove lock-in, even absent a policy shift. Given the weak
showing, plaintiff either found itself with an unachievable task or insufficient time to address the
issue. In short, there is no evidence in the record demonstrating that consumers are unaware that
the App Store is the sole means of digital distribution on the iOS platform. Specifically, there is
no evidence in the form of consumer survey data demonstrating the extent of consumers
knowledge when purchasing of an iOS device, much less that they are unaware they are
purchasing into a closed ecosystem that is tightly controlled by Apple.

        Instead of addressing the issue head-on, Epic Games pivots to argue that the market
imperfections prevent consumers from discovering the true costs of downloading apps. In other
words, even those consumers who know the facts about Apple’s practices in the iOS app
distribution market typically do not or cannot effectively take those facts into account when
choosing a smartphone and operating system because the cost of distributing apps is low
compared to the overall cost of a smartphone and because it is difficult to calculate and compare
the lifecycle costs of smartphones between smartphone operating systems.586

        These arguments are not supported by the record. Epic Games fails to quantify the actual
cost to consumers on downloading and purchasing apps and in-app purchases. Indeed, if
anything, the record reflects that cross-platform functionality and apps have only proliferated
since the early 2010s, where middleware like streaming services and cross-platform games have
only made switching platforms and devices easier and more convenient. That is, the market is
responding and evolving.



       584
            Moreover, this 2007 statement is better categorized as a statement concerning price—
not about any restriction on iOS app distribution or payment processing that Epic Games mainly
challenges. In other words, this statement taken in the best possible light for Epic Games is a
misrepresentation as to price—not as to any of the then and still present restrictions on
distribution or payment processing.
       585
            Indeed, Epic Games’ citation to Apple’s 2009 action requiring IAP to process
payment for in-app digital content does not persuade where no Epic Games expert witness opines
that Apple had monopoly power prior to 2010 or 2011. Even considering this action, along with
Apple’s 2011 and 2016 rules regarding antisteering, subscriptions, and search ads, do not
demonstrate any increase in the rate for consumers or developers. Indeed, most of these actions
enabled increased functionality for consumers and developers, permitting new business models,
and relied on increasing innovation on both the iOS device and the App Store.
       586
             Trial Tr. (Evans) 1508:15–1509:25.

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         Epic Games’ sole focus on iOS devices simply ignores the market reality that is available
to consumers. The Court’s definition of the product as “digital mobile game transactions” takes
into account that the App Store competes against other platforms for both consumers and
developers. Indeed, as discussed in the findings of facts, several recent entrants into the mobile
gaming submarket, from Nintendo, Microsoft, and Nvidia, show that this submarket is presently
evolving and is dynamic. Moreover, the continued rise and popularity of cross-platform games
like Fortnite and Minecraft offered on a variety of platforms, even beyond mobile gaming
devices, are making switching between platforms seamless because a consumer can carry over
rewards and progress between the diverse platforms. As a result, neither consumers nor
developers are “locked-in” to the App Store for digital mobile game transactions—they can and
do pursue game transactions on a variety of other mobile platforms and increasingly other game
platforms.587 Although the state of the wider gaming market is not at a level where the entirety
of these gaming platforms can truly be characterized as competing for purposes of antitrust law
(e.g., substitutes), the continued rise of cross-platform games, technologies, and innovative ways
in which to reach consumers only demonstrate that these differing platforms are converging and
ever intertwining.588

        In sum, with seasoned antitrust counsel at the helm, Epic Games created a market
definition which theoretically made a strong showing within the Newcal and Eastman Kodak
framework. For the reasons explained above, the market definition was fundamentally flawed,
and in any event, does not satisfy all four of the Newcal factors. With respect to the Court’s
ultimate finding that the relevant market is mobile gaming transactions, the Court further finds

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            On some metrics, Apple is in fact more open than some competitors in the wider
digital gaming market. For instance, the record reflects that certain competitors institute
restrictions on cross-platform play and cross-platform wallet. Moreover, some platform owners
require revenue sharing when game players disproportionately spend on a platform other than
their own. Further still, some agreements require that certain goods be charged the same as the
cheapest available on other platforms.
       588
            The Court has further never been satisfied by Epic Games’ explanation as how its
aftermarket theory as to Apple would not also apply to other platform holders with similar
walled garden models in the wider gaming market, including Nintendo, Microsoft, and Sony.
See Epic Games, Inc. v. Apple Inc., 493 F. Supp. 3d 817, 838–39 (N.D. Cal. 2020). The same
three Newcal factors that readily apply to Apple’s iOS devices would also facially apply to
Nintendo’s, Microsoft’s, and Sony’s consoles and their digital stores. Epic Games’ distinction as
to general purpose devices (e.g., iOS devices) versus special purpose devices (e.g., game
consoles) has no basis in current antitrust law. Presumably, the factors would be applied in the
same fashion.

        Instead, and as discussed above, consumers if anything appear to purchase a game
console in the same manner they purchase an iOS device: understanding that they must purchase
into an ecosystem and are limited in the later transactions for apps and games. Despite the
foregoing, Epic Games does not claim that every game console manufacturer has unlawfully
created and maintained a monopoly, and in fact, appears content to offer Fortnite and other Epic
Games on those platforms without complaint. Trial Tr. (Schmalensee) 1904:15–1905:4.

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that, at a minimum, the fourth Newcal factor would similarly not be adequately satisfied on the
record before the Court.

               2. Geographic Market
        “The criteria to be used in determining the appropriate geographic market are essentially
similar to those used to determine the relevant product market.” Brown Shoe, 370 U.S. at 336
(citations omitted). “A geographic market is an area of effective competition where buyers can
turn for alternate sources of supply.” Morgan, Strand, Wheeler & Biggs v. Radiology, Ltd., 924
F.2d 1484, 1490 (9th Cir. 1991) (simplified).

        “The relevant geographic market for goods sold nationwide is often the entire United
States[.]” Heerwagen v. Clear Channel Commc’ns, 435 F.3d 219, 228 (2d Cir. 2006). As
compared to others, in antitrust cases, courts regularly recognize global markets. See, e.g., United
States v. Microsoft Corp., 253 F.3d 34, 52 (D.C. Cir. 2001) (upholding relevant geographic
market encompassing “the licensing of all Intel-compatible PC operating systems worldwide”);
United States v. Eastman Kodak Co., 63 F.3d 95, 108 (2d Cir. 1995) (upholding worldwide
geographic market for film). The United States antitrust laws’ concern with anticompetitive
conduct, includes harm that such American businesses suffer relating to their transactions with
foreign consumers. See 15 U.S.C. § 6a (Sherman Act generally applies to conduct affecting
“export trade”). Importantly here, the question focuses on the area of effective competition, not
the reach of United States antitrust laws which is addressed elsewhere.

        Having found the relevant product market to be that of mobile gaming transactions, the
Court finds the area of effective competition in the geographic market to be global, with the
exception of China. As discussed in the findings of facts, see supra Facts § III, Apple’s
engagement in that market does not change based on national borders. Developers globally
access the platform based on the same set of rules and agreements. Even here, Epic Games’
related entity was bound by the exact same set of rules and agreements. Given the current
record, the Court discerns no meaningful difference for digital mobile gaming transactions
domestically than globally.

II. SECTIONS 1 AND 2 OF THE SHERMAN ACT (COUNTS 1, 3, 4, 5)

       A. General Framework

        As Qualcomm instructs, “[t]he similarity of the burden-shifting tests under §§ 1 and 2
means that courts often review claims under each section simultaneously.” Qualcomm, 969 F.3d
at 991. Indeed, “[i]f, in reviewing an alleged Sherman Act violation, a court finds that the
conduct in question is not anticompetitive under § 1, the court need not separately analyze the
conduct under § 2.” Id. (citing Williams v. I.B. Fischer Nevada, 999 F.2d 445, 448 (9th Cir.
1993)). That result is logical as “proving an antitrust violation under § 2 of the Sherman Act is
more exacting than proving a § 1 violation . . . .” Id. at 992 (citing Microsoft Corp., 253 F.3d at
79).

       Among the differences in the analysis is the type of evidence used to prove a monopoly.
“[A]lthough the tests are largely similar, a plaintiff may not use indirect evidence to prove
unlawful monopoly maintenance via anticompetitive conduct under § 2.” Id. (citing Broadcom

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Corp. v. Qualcomm Inc., 501 F.3d 297, 307–08 (3d Cir. 2007) (distinguishing between proving
the existence of monopoly power through indirect evidence and proving anticompetitive conduct
itself, the second element of a Section 2 claim)).

       Here, in light of Qualcomm, the Court reviews Sections 1 and 2 Sherman Act claims
together. Underpinning both Sections 1 and 2 claims is the level of market power, and possibly
monopoly power, that Apple exercises in the determined product and geographic market. The
Court therefore initially assesses Apple’s market and monopoly power in the relevant product
and geographic market before addressing Epic Games’ claims under Sections 1 and 2 of the
Sherman Act.

       B. Assessing Apple’s Market Power in the Relevant Product and Geographic
          Market

               1. Legal Framework
       Market power and monopoly power are related but distinct concepts. As the Supreme
Court has stated: “market power is the ability to raise prices above those that would be charged
in a competitive market.” NCAA v. Bd. of Regents of the Univ. of Oklahoma, 468 U.S. 85, 109
n.38 (1984).589 Monopoly power is “the power to control prices or exclude competition.”
Grinnell Corp., 384 U.S. at 571.

        The difference between the two is a matter of degree. “Monopoly power under § 2
requires, of course, something greater than market power under § 1.” Eastman Kodak, 504 U.S.
at 481; see also Image Tech. Servs. II, 125 F.3d at 1206 (same). Courts have described the
distinction as “substantial” market power or an “extreme degree” of market power. See, e.g.,
Bacchus Indus., Inc. v. Arvin Indus., Inc., 939 F.2d 887, 894 (10th Cir. 1991) (defining
monopoly power as “substantial” market power); Deauville Corp. v. Federated Dep’t Stores,
Inc., 756 F.2d 1183, 1192 n.6 (5th Cir. 1985) (defining monopoly power as an “extreme degree
of market power”); Safeway Inc. v. Abbott Lab’ys, 761 F. Supp. 2d 874, 886 n.2 (N.D. Cal. 2011)
(defining monopoly power as a substantial degree of market power).590 Courts have also
required that the monopoly power be beyond fleeting or ephemeral which the Court understands
to be durable and sustaining. See United States v. Syufy Enters., 903 F.2d 659, 665–66 (9th Cir.
1990) (“In evaluating monopoly power, it is not market share that counts, but the ability to

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            See also Jefferson Par. Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 27 n.46 (1984) (“As an
economic matter, market power exists whenever prices can be raised above levels that would be
charged in a competitive market.”), abrogated on other grounds by Illinois Tool Works Inc. v.
Indep. Ink, Inc., 547 U.S. 28, 31 (2006); cf. Dennis W. Carlton & Jeffrey M. Perloff, Modern
Industrial Organization 642 (4th ed. 2005) (noting that a firm has market power “if it is
profitably able to charge a price above that which would prevail under competition”); William
M. Landes & Richard A. Posner, Market Power in Antitrust Cases, 94 Harv. L. Rev. 937, 939
(1981) (“A simple economic meaning of the term ‘market power’ is the ability to set price above
marginal cost.”).
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         See also Areeda & Hovenkamp § 801 (stating that “the Sherman Act § 2 notion of
monopoly power . . . is conventionally understood to mean ‘substantial’ market power”).

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maintain market share.” (emphasis in original)); Colo. Interstate Gas Co. v. Nat. Gas Pipeline
Co. of Am., 885 F.2d 683, 695–96 (10th Cir. 1989) (finding a firm lacked monopoly power
because its “ability to charge monopoly prices will necessarily be temporary”).591

        “[M]arket share is just the starting point for assessing market power.” Hunt-Wesson
Foods, Inc. v. Ragu Foods, Inc., 627 F.2d 919, 925 (9th Cir. 1980). It “should not be equated
with monopoly power” but instead is “evidence from which the existence of monopoly power
may be inferred . . . .” Hunt-Wesson, 627 F.2d at 924. Indeed, as the Ninth Circuit has cautioned,
“[b]lind reliance upon market share, divorced from commercial reality, could give a misleading
picture of a firm’s actual ability to control prices or exclude competition.” Id. In other words,
“market share, while being perhaps the most important factor, does not alone determine the
presence or absence of monopoly power.” Pac. Coast Agr. Export Ass’n v. Sunkist Growers,
Inc., 526 F.2d 1196, 1204 (9th Cir. 1975) (affirming jury finding where defendant controlled
anywhere from 45-70% of the market and competitors were fragmented with less than 12 to 18%
of the market).

        The threshold of market share for finding a prima facie case of monopoly power is
generally no less than 65% market share. See Image Tech. Servs. II, 125 F.3d at 1206 (“Courts
generally require a 65% market share to establish a prima facie case of market power.”); Hunt-
Wesson, 627 F.2d at 924–25 (“market shares on the order of 60 percent to 70 percent have
supported findings of monopoly power”).592 A more conservative threshold would require a
market share of 70% or higher for monopoly power. See Kolon Indus. Inc. v. E.I. DuPont de
Nemours & Co., 748 F.3d 160, 174 (4th Cir. 2014) (“Although there is no fixed percentage
market share that conclusively resolves whether monopoly power exists, the Supreme Court has
never found a party with less than 75% market share to have monopoly power. And we have
observed that when monopolization has been found the defendant controlled seventy to one
hundred percent of the relevant market.” (citations omitted)); Syufy Enters. v. Am. Multicinema,
Inc., 793 F.2d 990, 995 (9th Cir. 1986) (“[A]s far as we know, neither the Supreme Court nor
any other court has ever decided whether a market share as low as 60-69% is sufficient, standing
alone, to sustain such a finding.”). Relatedly, “numerous cases hold that a market share of less
than 50 percent is presumptively insufficient to establish” the requisite level of market power
under a Section 2 claim. Rebel Oil Co., Inc. v. Atl. Richfield Co., 51 F.3d 1421, 1438 (9th Cir.
1995).593


       591
           See also Areeda & Hovenkamp § 801d; Oahu Gas Serv., Inc. v. Pac. Res., Inc., 838
F.2d 360, 366 (9th Cir. 1988) (“A firm with a high market share may be able to exert market
power in the short run, but [s]ubstantial market power can persist only if there are significant and
continuing barriers to entry.” (internal quotation marks omitted) (emphasis supplied).
       592
          See also Grinnell Corp., 384 U.S. at 571 (noting that the Supreme Court previously
found “over two-thirds of the entire domestic field of cigarettes, and over 80% of the field of
comparable cigarettes’ constituted ‘a substantial monopoly’” before finding monopoly power
where defendant had an 87% market share).
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           See also Twin City Sportservice, Inc. v. Charles O. Finley & Co., 512 F.2d 1264,
1274 (9th Cir. 1975) (“We do, however, wish to remind the trial court when considering this case
                                                135
        By contrast, Section 1 claims can be satisfied with less market power. For instance, the
Ninth Circuit affirmed a finding of a Section 1 violation where the market share was as low as
24% but has also found market share above 30% insufficient. See, e.g., Twin City Sportservice,
Inc. v. Charles O. Finley & Co., 512 F.2d 1264 (9th Cir. 1982). But see also Jefferson Parish,
466 U.S. at 26 & n.43 (30 percent market share insufficient); Pilch v. French Hosp., No. CV 98-
9470 CAS(CWX), 2000 WL 33223382, at *7 (C.D. Cal. Apr. 28, 2000) (33.2 percent market
share insufficient).

         Here, the Court considers other market factors in the form of direct and indirect evidence.
First, direct evidence is evidence “of the injurious exercise of market power” such as “evidence
of restricted output and supracompetitive prices.” Rebel Oil Co., 51 F.3d at 1434. This kind of
evidence is “direct proof of the injury to competition which a competitor with market power may
inflict, and thus, [direct proof] of the actual exercise of market power.” Id. (citing FTC v.
Indiana Fed’n of Dentists, 476 U.S. 447, 460–61 (1986)).

        The second and “more common type of proof is circumstantial evidence pertaining to the
structure of the market.” Id. To demonstrate market power indirectly, a plaintiff must:
“(1) define the relevant market, (2) show that the defendant owns a dominant share of that
market, and (3) show that there are significant barriers to entry and show that existing
competitors lack the capacity to increase their output in the short run.” Id.594

        Because “[a] mere showing of substantial or even dominant market share alone cannot
establish market power sufficient to carry out a predatory scheme,” a plaintiff “must show that
new rivals are barred from entering the market and show that existing competitors lack the
capacity to expand their output to challenge the predator’s high price.” Rebel Oil Co., 51 F.3d at
1438–39, n.10 (“telltale factors” include “market share, entry barriers and the capacity of
existing competitors to expand output”). Entry barriers are market characteristics “that prevent
new rivals from timely responding to an increase in price above the competitive level.” FTC v.
Qualcomm Inc., 411 F. Supp. 3d 658, 684 (N.D. Cal. 2019) (quotation marks omitted), rev’d on
other grounds, 969 F.3d 974 (9th Cir. 2020). They include “additional long-run costs that were
not incurred by incumbent firms but must be incurred by new entrants,” or “factors in the market


on remand of Judge Learned Hand’s famous dictum that while 90% of the market ‘is enough to
constitute a monopoly; it is doubtful whether sixty or sixty-four per cent would be enough; and
certainly thirty-three per cent is not.’ It also should be recalled that on several occasions courts
have considered a 50% share of the market as inadequate to establish a proscribed monopoly.”
(quoting United States v. Aluminum Co. of Am., 148 F.2d 416, 424 (2d Cir. 1945)).
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            See also Microsoft Corp., 253 F.3d at 51 (“Because such direct proof is only rarely
available, courts more typically examine market structure in search of circumstantial evidence of
monopoly power. Under this structural approach, monopoly power may be inferred from a firm’s
possession of a dominant share of a relevant market that is protected by entry barriers.” (citations
omitted)); Oahu Gas, 838 F.2d at 367 (“A high market share, though it may ordinarily raise an
inference of monopoly power . . . will not do so in a market with low entry barriers or other
evidence of a defendant's inability to control prices or exclude competitors.” (internal citation
omitted)).

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that deter entry while permitting incumbent firms to earn monopoly returns.” L.A. Land Co. v.
Brunswick Corp., 6 F.3d 1422, 1427–28 (9th Cir. 1993) (quotation marks omitted).

                2. Analysis
        As a starting point, the Court has found Apple’s market share in mobile gaming
transactions appears to fluctuate anywhere from approximately 52% to 57% over the course of
the three years in evidence. See supra Facts § II.E. While the prior figures suggest that Apple’s
share in mobile gaming is increasing, the more recent year reflects some stability in the market
between Apple and its main competitor, Google. That Apple has more than a majority in a
mostly duopolistic, and otherwise highly concentrated, market indicates that Apple has
considerable market power.

        Apple’s market share is below the general ranges of where courts found monopoly power
under Section 2. Nonetheless, the Court considers additional direct and indirect evidence to
determine whether that market share should be sufficient under Section 2 or, under any event,
sufficient under Section 1.

        In considering direct evidence of monopoly power, Epic Games has failed to demonstrate
that there is a necessary restriction in the output of the relevant product—here, mobile game
transactions. The record contains substantial evidence that output has increased in mobile
gaming transactions. See supra Facts §§ IV–V. Even though the Court has concerns about the
30% rate and its appearance of being artificially higher (i.e., supracompetitive) than it would be
in a more competitive market, there has not been the corollary impact on output. This could be
because of the technological nature of the dispute. Id.; see also supra Facts § V.A.1.c.
Nonetheless, given the manner in which this case was litigated, Epic Games failed to produce
evidence that this rate has had any impact on the output of mobile gaming transactions.

        “[S]upracompetitive pricing, on its own, is not direct evidence of monopoly power.”
Safeway Inc.,761 F. Supp. 2d at 887 (N.D. Cal. 2011) (citing Forsyth v. Humana, Inc., 114 F.3d
1467, 1476 (9th Cir. 1997) (“The plaintiffs submitted evidence that [defendant] routinely
charged higher prices than other [competitors] while reaping high profits. With no accompanying
showing of restricted output, however, the plaintiffs have failed to present direct evidence of
market power [under Section 2].”), overruled on other grounds by Lacey v. Maricopa
County¸693 F.3d 896 (9th Cir. 2012); see also Harrison Aire, Inc. v. Aerostar Int’l, Inc., 423
F.3d 374, 381 (3d Cir. 2005); Geneva Pharmas. Tech. Corp. v. Barr Lab’ys Inc., 386 F.3d 485,
500 (2d Cir. 2004); Blue Cross & Blue Shield United of Wisconsin v. Marshfield Clinic, 65 F.3d
1406, 1412 (7th Cir. 1995). Indeed, “[t]o prove monopoly power directly, supracompetitive
pricing must be accompanied by restricted output.” Safeway Inc., 761 F. Supp. 2d at 887 (citing
Rebel Oil Co., 51 F.3d at 1434). In other words, “[b]oth are required to prove monopoly power
directly.” Id.595 Given the Court has found the record, at best, incomplete, the lack of evidence

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             Indeed, as the Safeway court notes and explains in a footnote:

                Plaintiffs nevertheless continue to argue that evidence of restricted
                output is not required because raising prices necessarily depresses
                sales. This is incorrect. Take for example a market in which demand
                                                137
of decreased output for mobile gaming transactions and mobile game apps is fatal in
demonstrating monopoly power using direct evidence.

        With respect to indirect evidence, a more mixed result emerges. A share between 52 and
57 percent is not high enough to sustain a prima facia case of a monopoly, but is enough to
permit the Court to evaluate the state and durability of the market. This evaluation includes
whether (i) new rivals are barred from entering the market (i.e., the degree of entry barriers) and
(ii) whether existing competitors lack the capacity to expand their output to challenge the
predator’s high price. In general, entry barriers are “additional long-run costs that were not
incurred by incumbent firms but must be incurred by new entrants” or “factors in the market that
deter entry while permitting incumbent firms to earn monopoly returns.” L.A. Land Co., 6 F.3d
at 1427–28. Such barriers include “(1) “legal license requirements, (2) control of an essential or
superior resource, (3) entrenched buyer preferences for established brands; (4) capital market
evaluations imposing higher capital costs on new entrants; and, in some situations, (5) economies
of scale.” Rebel Oil Co., 51 F.3d at 1439 (citing L.A. Land Co., 6 F.3d at 1428 n.4).

       Here, the evidence is both undeveloped and mixed. Given that mobile gaming was not a
proposed product market for either party, neither party has adequately presented evidence of
these barriers or competitors’ ability to challenge monopolistic actions. The Court nonetheless
considers the limited evidence in record.

         On the one hand, only a small number of platforms, and their attendant licenses on which
to distribute mobile games, exist—namely iOS and Android. Moreover, economies of scale in
the form of network effects favor these established digital gaming stores and platforms over new
entrants. Finally, new entrants may face information barriers to entry, as users may not know
that cheaper game distribution may be available on alternative platforms.596 Although these
factors do not create “lock-in,” they are evidence of some entry barriers for new companies
providing mobile game transactions.

       On the other hand, there are significant changes in both the wider gaming market and the
mobile gaming market—both appear to be in flux. Indeed, the evidence reflects that the wider
gaming market is both dynamic and evolving. Mobile gaming transactions do not appear to be
immune to this dynamism. The introduction of the hybrid platform the Nintendo Switch in 2017
provides some evidence that the barriers of entry are not so high as to deter competitors in




               outstrips supply. In such a hypothetical market, a firm could raise
               prices—up to a certain point—without necessarily causing a
               commensurate reduction in sales.

Safeway Inc., 761 F. Supp. 2d at 887 n.3.
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            See Ex. Expert 4 (Athey) ¶¶ 36–37, 45–46; Ex. Expert 1 (Evans) ¶ 118. Although,
the Court notes that some platform owners require price parity among other platforms, such that
prices are universal amongst each platform. See supra Facts §§ II.D.3–4.

                                               138
related markets from entering the mobile gaming transactions market.597 Moreover, Microsoft
and Nvidia’s efforts into mobile game streaming are further evidence that these entry barriers are
not so substantial to prevent new market entrants.598 Indeed, these competitors are moving into
the same lucrative mobile gaming submarket without facing substantial market barriers to entry.
In short, these competitors appear to be leveraging either existing intellectual property in the
form of hardware and gaming content as well as existing established networks, including its own
consumer and developer bases, to break into this market space. Given this recent movement by
competitors, it is hard to characterize the entry barriers as oppressive or high on this record.

        The evidence is further mixed on whether existing competitors, here Google, could
increase output in the short run in order to erode Apple’s market share. See Pacific Coast, 526
F.2d at 1204 (affirming jury’s finding of monopoly power where defendant had a market share of
45 to 70% in the relevant years, and the remaining competitors “were relatively small, with no
single competitor controlling over 18% [or] 12%” of the market). Beyond similar market share
in this market, neither party explored mobile gaming and the record is inconclusive on Google’s
actual capabilities in disciplining and competing with Apple in this sphere.

        In sum, given the totality of the record, and its underdeveloped state, while the Court can
conclude that Apple exercises market power in the mobile gaming market, the Court cannot
conclude that Apple’s market power reaches the status of monopoly power in the mobile gaming
market. That said, the evidence does suggest that Apple is near the precipice of substantial
market power, or monopoly power, with its considerable market share. Apple is only saved by
the fact that its share is not higher, that competitors from related submarkets are making inroads
into the mobile gaming submarket, and, perhaps, because plaintiff did not focus on this topic.

       C. Section 1 of the Sherman Act: Apple’s Unlawful Restraint of the iOS App
          Distribution Market (Count 3) and Unlawful Restraint on the iOS In-App
          Payment Solutions Market (Count 5)

        Epic Games brings two counts under Section 1 of the Sherman Act for unlawful restraint
of trade in the iOS app distribution aftermarket (Count 3) and in the iOS in-app payment
solutions aftermarket (Count 5). The legal framework is the same for both.



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            Although not in the record, the Court is further aware that Valve, a major player in
the computer gaming market as the owner of the Steam platform, has also announced its own
mobile and portable gaming platform. The Court does not rely on this fact in reaching its
conclusions herein, but only mentions it to further support the Court’s ultimate conclusion: that
entries into the mobile gaming submarket appear to be possible and achievable from competitors
in related gaming submarkets.
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           Of course, game streaming is still relatively new and currently does not replicate
freemium games, the primary driver of App Store revenue, because, with the exception of
Nvidia’s free access tier, such services generally require an up-front subscription payment. See
supra Facts § II.D.3.d.

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               1. Legal Framework
        Section 1 of the Sherman Act prohibits “[e]very contract, combination in the form of trust
or otherwise, or conspiracy, in restraint of trade or commerce among the several States, or with
foreign nations.” 15 U.S.C. § 1. Section 1 is understood “to outlaw only unreasonable
restraints.” Amex, 138 S. Ct. at 2283 (internal quotation marks and emphasis omitted); State Oil
Co. v. Khan, 522 U.S. 3, 10 (1997); Standard Oil Co. of N.J. v. United States, 221 U.S. 1, 59–60
(1911). “To establish liability under § 1, a plaintiff must prove (1) the existence of an
agreement, and (2) that the agreement was in unreasonable restraint of trade.” Aerotec Int’l, Inc.
v. Honeywell Int’l, Inc., 836 F.3d 1171, 1178 (9th Cir. 2016).

        Despite the broad language of the statute, antitrust law has developed to find that “[t]he
essence of a Section 1 claim is concerted action.” E.W. French & Sons v. Gen. Portland, 885
F.2d 1392, 1397 (9th Cir. 1989). “[E]xpress ‘agreements’” are “direct evidence of ‘concerted
activity.’” Paladin Assocs., Inc. v. Montana Power Co., 328 F.3d 1145, 1153 (9th Cir. 2003);
see also Sun Microsystems Inc. v. Hynix Semiconductor Inc., 608 F. Supp. 2d 1166, 1192 (N.D.
Cal. 2009) (“One way of proving concerted action is by express agreement.”). A plaintiff “need
not prove intent to control prices or destroy competition to demonstrate the element of an
agreement among two or more entities.” Paladin Assocs., 328 F.3d at 1153–54 (internal
quotation marks and alterations omitted). “Unilateral conduct by a single firm, even if it appears
to restrain trade unreasonably, is not unlawful under Section 1 of the Sherman Act.” The
Jeanery, Inc. v. James Jeans, Inc., 849 F.2d 1148, 1152 (9th Cir. 1988) (internal quotation marks
omitted); see also Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 761 (1984)
(“Independent action is not proscribed.”). Thus, in evaluating the first element, the Sherman Act
distinguishes between concerted conduct and unilateral conduct and “treat[s] concerted behavior
more strictly than unilateral behavior.” Copperweld Corp. v. Indep. Tube Corp., 467 U.S. 752,
768 (1984).

        With respect to the second element, some restraints are per se unreasonable. Where they
are not, they are “judged under the ‘rule of reason.’” Amex, 138 S. Ct. at 2284. “The rule of
reason requires courts to conduct a fact-specific assessment of ‘market power and market
structure to assess the restraint’s actual effect’ on competition.” Id. (quoting Copperweld Corp.,
467 U.S. at 768) (alterations omitted). “Under this rule, the factfinder weighs all of the
circumstances of a case in deciding whether a restrictive practice should be prohibited as
imposing an unreasonable restraint on competition.” Leegin Creative Leather Prods., Inc. v.
PSKS, Inc., 551 U.S. 877, 885–86 (2007) (internal quotation marks and citation omitted).
“Appropriate factors to consider include specific information about the relevant business and the
restraint’s history, nature, and effect.” Id. (internal quotation marks and citation omitted).
“Whether the businesses involved have market power is a further, significant consideration.” Id.
(citation omitted). “In its design and function the rule distinguishes between restraints with
anticompetitive effect that are harmful to the consumer and restraints stimulating competition
that are in the consumer’s best interest.” Id.

       As the Supreme Court recently explained:

               To determine whether a restraint violates the rule of reason, . . . a
               three-step, burden shifting framework applies.          Under this

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               framework, the plaintiff has the initial burden to prove that the
               challenged restraint has a substantial anticompetitive effect that
               harms consumers in the relevant market. If the plaintiff carries its
               burden, then the burden shifts to the defendant to show a
               procompetitive rationale for the restraint. If the defendant makes
               this showing, then the burden shifts back to the plaintiff to
               demonstrate that the procompetitive efficiencies could be
               reasonably achieved through less anticompetitive means.

Amex, 138 S. Ct. at 2284 (citations omitted); see also Qualcomm, 969 F.3d at 989. The three
steps “do not represent a rote checklist” and are not “an inflexible substitute for careful analysis.”
NCAA v. Alston (“NCAA”), 141 S. Ct. 2141, 2160 (2021). Rather, their purpose is “to furnish ‘an
enquiry meet for the case, looking to the circumstances, details, and logic of a restraint.’” Id.
(quoting Cal. Dental Ass’n v. FTC, 526 U.S. 756, 781 (1999)).

               2. Count 3: iOS App Distribution Market Analysis
                       a. Existence of an Agreement
        Count 3 alleges that Apple “require[s] iOS developers distribute their apps through the
App Store.” Compl. ¶ 210. Starting with the first element, Epic Games relies on the DPLA to
demonstrate an agreement.599 As noted, express agreements provide “direct evidence” of
concerted activity. Paladin Assocs., 328 F.3d at 1153. Apple argues, however, that the DPLA
does not qualify because Apple unilaterally imposes it on developers. See Costco Wholesale
Corp. v. Maleng, 522 F.3d 874, 898 (9th Cir. 2008) (no “meeting of the minds” from unilateral
rules).600

        As explained above, the Sherman Act distinguishes between unilateral and concerted
activity. Jeanery, 849 F.3d at 152. “Concerted activity subject to § 1 is judged more sternly than
unilateral activity under § 2” because it “deprives the marketplace of the independent centers of
decisionmaking that competition assumes and demands.” Copperweld Corp., 467 U.S. at 768–

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           In its Section 2 rule of reason analysis, Apple argues that technical design of iOS
cannot form the basis of antitrust liability. Apple COL ¶ 249. In response, Epic Games appears
to disclaim any challenge to Apple’s code signing restrictions. Epic Games COL ¶ 143. The
Court here considers only the DPLA restrictions on distribution.
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             In Costco, a retailer challenged Washington state’s regulations of alcohol sales under
antitrust laws. 522 F.3d at 883. Washington had required distributors to sell alcohol at a
uniform price and to post those prices publicly, among other restrictions. Id. To evaluate the
conduct, the Ninth Circuit distinguished “unilateral” restraints—which were not prohibited by
the Sherman Act—from “hybrid” restraints, which involve concerted action and implicate
Section 1. Id. at 886–87. The court found that that the price restrictions were unilateral state
conduct, but that the requirement to post and adhere to the prices was “hybrid” because private
parties still retained discretion. Id. at 894, 899. It then found that the posting requirement
violates Section 1. Id. at 895. Costco shows that even government command can create
“concerted activity” under Section 1. Apple’s conduct here is far less unilateral.

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69. It thus “warrant[s] scrutiny even in the absence of incipient monopoly.” Id. Unilateral
conduct, by contrast, may simply represent “robust competition.” Id. at 767–68; see Qualcomm,
969 F.3d at 1005 (“hypercompetitive behavior” is not illegal under antitrust laws). Thus, even
unreasonable unilateral restraints are not subject to antitrust scrutiny unless “they pose a danger
of monopolization.” Copperweld Corp., 467 U.S. at 768.

        Given this distinction, a business may set conditions for dealing unilaterally and refuse to
deal with anyone who does not meet those conditions. See Monsanto, 465 U.S. at 761.
However, where the conduct extends beyond announcing a policy and refusing to deal with non-
compliant partners to coercing an agreement, the conduct falls under Section 1. See id. at 765;
see also Dimidowich v. Bell & Howell, 803 F.2d 1473, 1478 (9th Cir. 1986) (recognizing an
exception to the “unilateral refusal to deal” rule where a party “imposes restraints on dealers or
customers by coercive conduct and they involuntarily adhered to those restraints”).

        For example, in Jeanery, a jeans manufacturer had set suggested prices for retailers and
made clear that those who set prices below the suggested price would be terminated or receive
less favorable treatment. 849 F.2d at 1150. A distributor undercut those prices and was
promptly terminated. Id. at 1151. The Ninth Circuit found no Section 1 violation based on
insufficient evidence of an agreement. Id. at 1155. Specifically, the Ninth Circuit found no
evidence that the manufacturer “coerced” the distributors into adherence or that the distributors
“communicated acquiescence to such an agreement.” Id. at 1158–60 (reasoning that
manufacturer did not nothing more than inform distributors of its policy). Conversely, such
evidence was found in Monsanto, in which case an agricultural manufacturer threatened to
withhold herbicide at a time of short supply and even complained to a distributor’s parent
company to force compliance, which the distributor expressly communicated in return. 465 U.S.
at 764–65 & nn.9–10.

        Here, the DPLA is a unilateral contract which the parties agree that a developer must
accept its provisions (including the challenged restrictions) to distribute games on iOS.601 Thus,
under antitrust jurisprudence, element one would not be satisfied. See Toscano v. Prof. Golfers
Ass’n, 258 F.3d 978 (9th Cir. 2001) (because the sponsors “did not help create anticompetitive
rules” but only “agreed to purchase products” under “conditions set by the other party,” they
were not liable for concerted conduct under Section 1). Id.

        That said, the Court addresses here the potential conflicts with the goals of antitrust law
given this narrow view. The jurisprudence assumes that unilateral conduct may simply be the
result of robust competition. That may not always be the case. Ending the analysis on that basis
alone does not allow for those assumptions to be tested, especially where, as here, the Court is
faced with a highly concentrated market.

        Nor is the jurisprudence particularly consistent with tying claims which are allowed
under Section 1. For example, a tying claim involves a seller exploiting “its control over the
tying product to force the buyer into the purchase of a tied product.” Jefferson Parish, 466 U.S.
at 12. The buyer plays no role beyond purchasing the goods under conditions set by the seller.

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             PX-2619; PX-2621.

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Similarly, an exclusive dealing claim involves “agreement between a vendor and a buyer that
prevents the buyer from purchasing a given good from any other vendor.” Aerotec, 836 F.3d at
1180. Again, the buyer passively accepts conditions set by the vendor. More recently, Amex
involved an anti-steering provision as a vertical restraint imposed by American Express on
merchants. 138 S. Ct. at 2277. The merchants accepted the provision as a condition of dealing
with American Express without further involvement. Id.602

       Thus, while the Court does not find the DPLA provides sufficient evidence of an
agreement, it nonetheless continues the analysis to inform the issues relating to anticompetitive
and incipient antitrust conduct, especially given the anti-steering provision therein.

                       b. Reasonableness of the Restraint
        For the reasons stated, the Court turns to the second element using the rule of reason test.
Amex, 138 S. Ct. at 2284; see also Copperweld Corp., 467 U.S. at 768 (explaining that vertical
agreements “hold the promise of increasing a firm’s efficiency and enabling it to compete more
effectively” and so “are judged under a rule of reason”). As the Court described in Amex:

               The rule of reason requires courts to conduct a fact-specific
               assessment of “market power and market structure . . . to assess the
               [restraint]’s actual effect” on competition. Copperweld Corp. v.
               Independence Tube Corp., 467 U.S. 752, 768, 104 S. Ct. 2731, 81
               L.Ed.2d 628 (1984). The goal is to “distinguis[h] between restraints
               with anticompetitive effect that are harmful to the consumer and
               restraints stimulating competition that are in the consumer’s best
               interest.” Leegin Creative Leather Products, Inc. v. PSKS, Inc., 551
               U.S. 877, 886, 127 S. Ct. 2705, 168 L.Ed.2d 623 (2007).


Amex, 138 S. Ct. at 2284. Recognizing that the rule of reason is not a “rote checklist,” NCAA,
141 S. Ct. at 2160, the Court examines the app distribution restrictions and considers their
anticompetitive effects, procompetitive rationales, and less restrictive alternatives. Amex, 138 S.
Ct. at 2284.

                             i.   Anticompetitive Effects
        “To demonstrate anticompetitive effects on the two-sided [mobile gaming] market as a
whole,” plaintiff must prove that Apple’s app distribution provisions increased the cost of mobile
gaming transactions “above a competitive level, reduced the number of [mobile gaming]
transactions, or otherwise stifled competition in the [mobile gaming] market.” See Amex, 138 S.
Ct. at 2287. Evidence of this nature is considered direct evidence. Id. at 2284 (simplified).

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            See Image Tech. Servs., Inc. v. Eastman Kodak Co., 903 F.2d 612, 619 (9th Cir.
1990) (“Image Tech Services I”) (rejecting the argument that party “acted unilaterally in tying
parts to service” because otherwise, Monsanto “without discussing the courts’ tying decisions,
meant to overturn” tying arrangements); Eastman Kodak, 504 U.S. at 463 n.8 (conditioning sales
is not a “unilateral refusal to deal”).

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Indirect evidence is also admissible and would involve “proof of market power plus some
evidence that the challenged restraint harms competition.” Amex, 138 S. Ct. at 2284.

         Here, the Court recognizes significant challenges in assessing the anticompetitive effects
of the app distribution restrictions. The market in mobile game transactions has grown
dramatically over recent years due to growth in gaming generally, smartphone ownership, and
digital transactions as a whole. Apple’s commission rate has remained static throughout even
though Google, Apple’s main competitor (and who also charges a 30% commission rate), does
not have the same app distribution restrictions. These facts suggest prices are artificially high
given Apple’s growing market power and growing demand. Evaluating competitive effects
under these circumstances would require isolating the effects of a particular restriction. This is
particularly difficult in light of the expansive market growth caused by innovation in the field. It
is for these reasons that “novel business practices—especially in technology markets—should
not be ‘conclusively presumed to be unreasonable and therefore illegal without elaborate inquiry
as to the precise harm they have caused or the business excuse for their use.’” Qualcomm, 969
F.3d at 990–91 (emphasis in original) (quoting Microsoft Corp., 253 F.3d at 91).

         Having carefully considering the evidence, the Court finds that Apple’s app distribution
restrictions do have some anticompetitive effects. The evidence here shows that, unlike the
increased merchant fees in Amex, Apple’s maintenance of its commission rate stems from market
power, not competition in changing markets. As explained above, Apple set its 30% commission
rate almost by accident when it first launched the App Store without considering operational
costs, benefit to users, or value to developers, that is, both sides of the platform.603 That
commission has enabled Apple to collect extraordinary profits as Mr. Barnes credibly shows that
the operating margins have exceeded 75% for years. Yet the 30% commission rate has barely
budged in over a decade despite developer complaints and regulatory pressure. High
commission rates certainly impact developers, and some evidence exists that it impacts
consumers when those costs are passed on.604

        With respect to indirect evidence, the Court discusses these effects in Facts § V.A.1., but
summarizes them here. Apple holds considerable market share, 55 percent. Its restrictions harm
competition by precluding developers, especially larger ones, from opening competing game
stores on iOS and compete for other developers and users on price. Given this but-for-world,
increased competition could result in a reduction of Apple’s commissions charged to developers,


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            Thus, the facts here differ from Amex. There, American Express raised fees only
after a “careful study” of “how much additional value its cardholders offer merchants.” 138 S.
Ct. at 2288. It used higher merchant fees “to offer its cardholders a more robust rewards
program,” which created loyalty and “encourage[d] the level of spending that makes Amex
valuable to merchants.” Id. No study or evaluation exists here.
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            For this reason, the spectacular growth of free apps on the App Store is not
dispositive. While Apple may have decided, over time, to use freemium games to subsidize the
rest of the App Store, there is no evidence that the commission is calibrated to the costs or value
of providing free games, as the merchant fees in Amex were calibrated to providing rewards.

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who could then pass on savings to users.605 Competing game stores could compete on features,
including “search and discoverability,” in-app payment processing, and security. This could
improve the innovation in and perhaps quality of “matchmaking” to increase output.606 Further,
competing game stores could provide specialized stores tailored to particular groups and
otherwise innovate to meet user and developer needs.

       Accordingly, Epic Games has put proffered both direct and indirect evidence of
anticompetitive effects under Section 1.

                            ii.   Procompetitive Justifications
        In response, Apple offers three procompetitive justifications: security, intrabrand
competition, and protecting intellectual property investment. A procompetitive rationale is a
“nonpretextual claim that [defendant’s] conduct is indeed a form of competition on the merits
because it involves, for example, greater efficiency or enhanced consumer appeal.” Qualcomm,
969 F.3d at 991. It is not enough that “conduct ‘has the effect of reducing consumers’ choices or
increasing prices to consumers.’” Id. at 990 (quoting Brantley v. NBC Universal, Inc., 675 F.3d
1192, 1202 (9th Cir. 2012)). That is because these effects may arise for procompetitive reasons,
such as increased interbrand competition. See Leegin, 551 U.S. at 891–93. In a two-sided
transaction market, a court must consider procompetitive effects on both sides of the market.
Amex, 138 S. Ct. at 2287.

        Here, the Court finds Apple’s security justification to be a valid and nonpretextual
business reason for restricting app distribution. As previously discussed, see supra Facts
§ V.A.2., centralized app distribution enables Apple to conduct app review, which includes both
technical and human components. Human review in particular helps protect security by
preventing social engineering attacks, the main vector of malware distribution. Human review
also helps protect against fraud, privacy intrusion, and objectionable content beyond levels
achievable by purely technical measures. By providing these protections, Apple provides a safe
and trusted user experience on iOS, which encourages both users and developers to transact
freely and is mutually beneficial. As a result, Apple’s conduct “enhance[s] consumer appeal.”
See Qualcomm, 969 F.3d at 991.

        As a corollary of the security justification, the app distribution restrictions promote
interbrand competition. The Supreme Court has recognized that limiting intrabrand competition
can promote interbrand competition. Leegin, 551 U.S. at 890. For example, restricting price
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            The record is bare as to who would ultimately benefit from a reduction in
commissions. With the limited examples in the record, some developers, like Down Dog, pass
on the entirety of the reduction in the commission to consumers, whereas Epic Games split the
30% commission by retaining 12% and remitting 18% to consumers. Thus, it is unclear the
extent or degree to which developers would pass on any savings to consumers.
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            Under Amex, services for each of the two sides of the platform are both “inputs” to
the single product, which is transactions. 138 S. Ct. at 2286 n.8. Although Apple does not
directly restrict game transaction output, it limits the supply of these inputs on iOS, which
reduces quality and may reduce output.

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competition among retailers who sell a particular product can help the manufacturer of that
product compete against other manufacturers. Id. at 890–91. It is this interbrand competition
that “the antitrust laws are designed primarily to protect.” Id. at 895. Here, centralized app
distribution and the “walled garden” approach differentiates Apple from Google. That
distinction ultimately increases consumer choice by allowing users who value open distribution
to purchase Android devices, while those who value security and the protection of a “walled
garden” to purchase iOS devices. This, too, is a legitimate procompetitive justification.

         Epic Games does not persuasively rebut the security justification nor shows it to be
pretextual. Instead, it focuses on the lack of app distribution restrictions (besides code signing)
on Mac computers. See supra Facts §§ V.A.1.a, V.A.2.a.iv. However, Apple submits some
evidence that Mac computers have more malware than iOS and, in any case, provides a
compelling explanation for app review’s increased effectiveness against certain types of attacks.
Epic Games also questions the effectiveness of app review in practice. See supra Facts § V.A.
That hardly provides a reason against app review. Epic Games’ security expert agrees that
“mayhem” would result if unfettered app distribution were allowed.607 Thus, plaintiff’s proffer
is really one of the “effectiveness” of Apple’s security procedures, not the need for them.
Whether the precise restrictions Apple has selected could be replicated through less restrictive
means is more properly addressed in the next section. Given the trial record, the Court finds that
Apple’s security rationale is a valid business justification for the app distribution restrictions.608

         As for the intellectual property justification, the specific commission rate is pretextual, as
the Court previously found. As discussed in Facts § V.A.2.b, there is no evidence that Apple set
or maintains its specific commission rate with any consideration of the value or cost of
intellectual property in mind.609 Indeed, the Supreme Court recently rejected a justification
without “any direct connection” to the challenged restraint in NCAA. 141 S. Ct. at 2162. There,
a sport association argued that restrictions on student athlete compensation were necessary to
preserve amateurism and related consumer demand. Id. at 2152. The Court rejected this
justification based on the district court’s findings that the association set those rules without any
reference to considerations of consumer demand. Id. at 2162–63 (quoting In re NCAA Athletic
Grant-in-Aid Antitrust Litig., 375 F. Supp. 3d 1058, 1070, 1075, 1100 (N.D. Cal. 2019)).

       Eastman Kodak is further instructive. There, the photocopier maker argued that
companies providing repair services for its machines were “exploiting the investment Kodak has
made in product development, manufacturing and equipment sales.” Eastman Kodak, 504 U.S.

       607
             Trial Tr. (Mickens) 2709:23–2710:2.
       608
            Relatedly, Apple has a legitimate business justification in maintaining and improving
the quality of its services, here, privacy and security. See Cal. Computs. Prods., Inc. v. Int’l Bus.
Machs. Corp., 613 F.2d 727, 744 (9th Cir. 1979) (“IBM, assuming it was a monopolist, had the
right to redesign its products to make them more attractive to buyers whether by reason of lower
manufacturing cost and price or improved performance.”).
       609
         See, e.g., PX-0880.021; Ex. Depo. 8 (Cue) 137:23–138:14, 140:10–141:7; Trial Tr.
(Malackowski) 3692:18–21, 3693:13–17.

                                                 146
at 485. The Supreme Court declined to accept this argument and find in Kodak’s favor as a
matter of law. Id. at 486. Ultimately, on remand, the Ninth Circuit affirmed a jury finding of
pretext. The evidence showed that “patents ‘did not cross [Kodak’s] mind at the time Kodak
began its parts policy” and that Kodak did not distinguish patented and unpatented parts in its
policy. Image Tech. Servs. II, 125 F.3d at 1219–20.

        Like the defendants in those cases, Apple did not consider intellectual property in setting
its specific commission rate, nor does it list any specific intellectual property in the DPLA.
Thus, the justification with respect to the 30% commission rate is pretextual.

         That said, while the Court has found the rate itself pretextual, the Court cannot conclude
that Apple’s protection of its intellectual property is pretextual. Courts have found similar
justifications based on the protection of intellectual property rights valid, albeit rebuttable,
procompetitive justifications. See, e.g., Tech. Res. Servs., Inc. v. Dornier Med. Sys., Inc., 134
F.3d 1458, 1467 (11th Cir. 1998) (jury could have credited defendant’s “need to protect its trade
secrets and proprietary information”). Indeed, as the Court has found, Apple is entitled to license
its intellectual property for a fee, and to guard its intellectual property from uncompensated use
by others. The restrictions on app distribution on the iOS platform accomplishes that aim,
whereas Epic Games’ proposed alternatives (discussed in more length below) would weaken it.
In short, Epic Games has failed to show that Apple’s proffered intellectual property justification
is pretextual as it relates to the restrictions on app distribution.

        Accordingly, Apple has shown procompetitive justifications based on security and the
corollary interbrand competition, as well as generally with respect to intellectual property rights.

                            iii.   Less Restrictive Alternatives
        Turning to the last step, the parties dispute whether these procompetitive justifications
could be achieved through less restrictive means. Generally, “antitrust law does not require
businesses to use anything like the least restrictive means of achieving legitimate business
purposes.” NCAA, 141 S. Ct. at 2161. “To the contrary, courts should not second-guess degrees
of reasonable necessity so that the lawfulness of conduct turns upon judgments of degrees of
efficiency.” Id. (simplified).610

         Thus, under the third step, an alternative must be “a significantly (not marginally) less
restrictive means for achieving the same procompetitive benefits.” Id. at 2164. It must be

       610
             The Court notes slightly differing language at the third step between Section 1
(“plaintiff [must] demonstrate that the procompetitive efficiencies could be reasonably achieved
through less anticompetitive means”) and Section 2 (“the plaintiff must demonstrate that the
anticompetitive harm of the conduct outweighs the procompetitive benefit”). See Qualcomm,
969 F.3d at 991. Although the Ninth Circuit has recently stated that the rule of reason analysis
under both sections is “essentially the same,” id., prior case law has explicitly recognized that
“there is no least restrictive alternative requirement in the context of a Section 2 claim.” Image
Tech. Servs. I, 903 F.2d at 620; accord Apple iPod iTunes Antitrust Litig., No. 05-CV-0037-
YGR, 2014 WL 12719194, at *1 (N.D. Cal. Nov. 25, 2014); Allied Orthopedic Appliances, Inc.
v. Tyco Health Care Grp. L.P., Nos. 05-CV-6419-MRP-AJW, 2008 WL 7346921, at *16 (C.D.
                                                 147
“virtually as effective in serving the procompetitive purposes” as current rules “without
significantly increased cost.” In re NCAA Athletic Grant-in-Aid Cap Antitrust Litig., 958 F.3d
1239, 1260 (9th Cir. 2020) (simplified), aff’d 141 S. Ct. at 2161. Where a restraint is “patently
and inexplicably stricter than is necessary to accomplish” the proffered procompetitive objective,
“an antitrust court can and should invalidate it and order it replaced with a viable [less restrictive
alternative].” Id. (quoting O’Bannon v. NCAA, 802 F.3d 1049, 1075 (9th Cir. 2015) (emphasis in
original)).

        Here, Epic Games argues that the app distribution restrictions can be replaced with the
enterprise model or the notarization model. As discussed above, see supra Facts § V.A.2.a.iv.,
Apple already implements both of these models on iOS and Mac, respectively. The enterprise
model enables Apple to certify organizations, such as companies, to distribute apps to their own
employees. This model could be extended to certify app stores. The notarization model allows
Apple to sign apps to verify security while allowing them to be distributed as the developer
wishes. Epic Games argues that these models could be implemented on iOS with minimal
technical difficulty.

        However, missing from both the enterprise and notarization models is human app review
which provides most of the protection against privacy violations, human fraud, and social
engineering. These proposed alternatives would require Apple to either add human review to the
notarization model or leave app review to third-party app stores. Apple executives suggested
that the first option would not scale well.611 Under the second option, Apple could in theory set
minimum guidelines for app stores to provide a “floor” for privacy, security, and quality.
However, security could increase or decrease depending on the quality and diligence of the store.
Evidence shows that at least on Android, the experiment shows less security.

       In evaluating remedies, no court should “impose a duty that it cannot explain or
adequately and reasonably supervise.” NCAA, 141 S. Ct. at 2163 (quoting Verizon, 540 U.S. at
883). Here, Epic Games has provided requests for its remedy which principally appear to
eliminate app review.612 The requests also leave unclear whether Apple can collect licensing


Cal. July 9, 2008), aff’d 592 F.3d 991 (9th Cir. 2010). This is, in part, because the Sherman Act
“does not give judges carte blanche to insist that a monopolist alter its way of doing business
whenever some other approach might yield greater competition.” See Verizon Commc’ns Inc. v.
Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 415–16 (2004). Regardless, the Court notes
this distinction as a potential difference between the two analyses especially where, as
recognized, proving a violation of Section 2 is more exacting than proving a violation of Section
1. To the extent appellate courts perceive a practical distinction, clarity is welcomed.
       611
          Trial Tr. (Federighi) 3502:22–3503:15. Professor Mickens even suggested the courts
should micro-manage policy decisions.
       612
            See, e.g., Dkt. No. 276-1 at 4 (requesting an injunction prohibiting Apple from
enforcing its guidelines to “impede” or “disadvantage” app distribution outside of the App store).
Although this request purports not to “prohibit Apple from taking steps to prevent the
distribution of malware,” it is not clear what constitutes “malware” and whether that distinction
includes “broad” security (privacy, fraud, offline safety, etc.) or is limited to Dr. Mickens’
                                                 148
royalties and, if so, how it would do so. At closing argument, Epic Games’ counsel suggested
that “Apple can charge” for its license, so long as it does not discriminate among developers.613
However, it has sought to require Apple to give competing app stores access to the same “iOS
functionality that the App Store has access to,” which is more than the DPLA currently
licenses.614 Thus, the Court need not consider these possibilities because Epic Games has not
sufficiently developed them.

         In short, Epic Games has not met its burden to show that its proposed alternatives are
“virtually as effective” as the current distribution model and can be implemented “without
significantly increased cost.” In re NCAA Athletic Grant-in-Aid Cap Antitrust Litig., 958 F.3d at
1260 (quoting O’Bannon, 802 F.3d at 1074). Nor has it shown that the restraints are “patently
and inexplicably stricter than is necessary.” Id. (quoting O’Bannon, 802 F.3d at 1074).
“[A]ntitrust courts must give wide berth to business judgments before finding liability.” NCAA,
141 S. Ct. at 2163. Here, Apple’s business choice of ensuring security and protecting its
intellectual property rights through centralized app distribution is reasonable, and the Court
declines to second-guess that judgment on an underdeveloped record. See In re Citric Acid
Litig., 191 F.3d 1090, 1101 (9th Cir. 1999) (“Courts have recognized that firms must have broad
discretion to make decisions based on their judgments of what is best for them . . . .”).

       Accordingly, the Court finds that Apple’s app distribution restrictions do not violate
Section 1 of the Sherman Act.

                3. Count 5: iOS In-App Payment Solutions Market Analysis
        In Count 5, Epic Games avers that Apple has unreasonably restrained trade in the “iOS
In-App Payment Processing Market” by requiring developers to “use Apple’s In-App Purchase
for in-app purchases of in-app content to the exclusion of any alternative solution or third-party
payment processor.”615 This claim fails for substantially the same reasons that Count 3 fails.

       At step one, for the reasons stated, supra Facts § V.B.1. and Law § II.C.2.b.i., Epic
Games has presented some direct and indirect evidence showing that Apple’s IAP functionality
has had anticompetitive effects.

        At step two, for the reasons stated in both the Count 3 analysis as well as the Court’s
findings of facts with respect to IAP, supra Facts § V.B.2 and Law § II.C.2.b.ii, Apple has
proffered more than three procompetitive justifications for the terms of the DPLA relating to
IAP. One, IAP is the mechanism by which Apple can easily receive its commission and is
further how Apple collects a royalty for the use of its intellectual property. Two, IAP provides

definition of unauthorized access. Nor is it clear whether Apple can impose standards on other
app stores.
       613
             Trial Tr. (Closing Arguments) 4156:20.
       614
             Dkt. No. 276-1 at 4.
       615
             Compl. ¶ 227.

                                                149
consumers with a unitary safe and secure means to execute transactions on the iOS platform.
Three, IAP offers consumers a centralized purchasing system, whereby consumes have a
convenient way to both execute and track transactions on the iOS platform.

       At step three, Epic Games has identified no suitable less restrictive alternative for
Apple’s use of IAP based on the current record. The only alternative that Epic Games proposes is
that Apple be barred from restricting or deterring in any way “the use of in-app payment
processors other than IAP.”616 This proposed alternative is deficient for several reasons:

       First, and most significant, as discussed in the findings of facts, IAP is the method by
which Apple collects its licensing fee from developers for the use of Apple’s intellectual
property. Even in the absence of IAP, Apple could still charge a commission on developers. It
would simply be more difficult for Apple to collect that commission.617

        Indeed, while the Court finds no basis for the specific rate chosen by Apple (i.e., the 30%
rate) based on the record, the Court still concludes that Apple is entitled to some compensation
for use of its intellectual property. As established in the prior sections, see supra Facts §§ II.C.,
V.A.2.b., V.B.2.c., Apple is entitled to license its intellectual property for a fee, and to further
guard against the uncompensated use of its intellectual property. The requirement of usage of
IAP accomplishes this goal in the easiest and most direct manner, whereas Epic Games’ only
proposed alternative would severely undermine it. Indeed, to the extent Epic Games suggests
that Apple receive nothing from in-app purchases made on its platform,618 such a remedy is
inconsistent with prevailing intellectual property law.

       Second, if Apple could no longer require developers to use IAP for digital transactions,
Apple’s competitive advantage on security issues, in the broad sense, see supra Facts § V.B.2.a.,
would be undermined and ultimately could decrease consumer choice in terms of smartphone
devices and hardware.

       Third, but to a lesser extent, the use of different payment solutions for each app may
reduce the quality of the experience for some consumers by denying users the centralized option
of managing a single account through IAP. This would harm both consumers and developers by
weakening the quality of the App Store to those that value this centralized system.

       Thus, the Court concludes that Apple’s restrictions as to its IAP and separate payment
processors do not violate Section 1 of the Sherman Act.


       616
             Epic Games COL ¶ 642.
       617
            In such a hypothetical world, developers could potentially avoid the commission
while benefitting from Apple’s innovation and intellectual property free of charge. The Court
presumes that in such circumstances that Apple may rely on imposing and utilizing a contractual
right to audit developers annual accounting to ensure compliance with its commissions, among
other methods. Of course, any alternatives to IAP (including the foregoing) would seemingly
impose both increased monetary and time costs to both Apple and the developers.
       618
             Epic Games COL ¶ 643.
                                                150
       D. Section 2 of the Sherman Act: Apple’s Monopoly Maintenance of the iOS App
          Distribution Market (Count 1) and iOS in-App Payment Solutions Market
          (Count 4)

        Epic Games brings two claims under Section 2 arguing monopoly maintenance: Count 1
is based on its theory of the iOS distribution market and Count 4 is based on the iOS in-app
payment solutions market. The legal framework is the same for both.

               1. Legal Framework
        Section 2 of the Sherman Act prohibits persons from “monopoliz[ing], or attempt[ing] to
monopolize, or combin[ing] or conspir[ing] with any other person or persons, to monopolize any
part of the trade or commerce among the several States, or with foreign nations.” 15 U.S.C. § 2.
A claim for unlawful monopolization under Section 2 of the Sherman Act requires that a plaintiff
show: “(a) the possession of monopoly power in the relevant market; (b) the willful acquisition
or maintenance of that power; and (c) causal antitrust injury.” Qualcomm Inc., 969 F.3d at 989–
90.

        To recap: monopoly power is “the power to control prices or exclude competition.”
Grinnell Corp., 384 U.S. at 571 (quotation marks omitted). “[A] firm is a monopolist if it can
profitably raise prices substantially above the competitive level,” Microsoft Corp., 253 F.3d at
51, “without inducing so rapid and great an expansion of output from competing firms as to
make the supracompetitive price untenable,” Harrison Aire, Inc., 423 F.3d at 380 (internal
quotation marks omitted).

        Section 2 monopolization claims “must be judged on a market-by-market basis.” Syufy
Enters., 903 F.2d at 672 n.22; see also Walker Process Equip., Inc. v. Food Mach. & Chem.
Corp., 382 U.S. 172, 177 (1965) (“Without a definition of [the] market there is no way to
measure [the defendant’s] ability to lessen or destroy competition.”).

               2. Count 1: iOS App Distribution Market Analysis
        In Count 1, Epic Games claims that Apple has a monopoly in the “iOS App Distribution
Market” and has unlawfully maintained the monopoly by prohibiting iOS app developers from
distributing their apps through alternative channels.

         In short, this claim fails for two significant reasons: (1) Epic Games fails to prove the
first element, that Apple has monopoly power in the relevant product and geographic market;
and (2) Epic Games alternatively fails to satisfy the rule of reason analysis under Section 1—an
acknowledged less exacting test as compared to Section 2.

        First, the Court has found that the relevant market is the global mobile gaming
transactions. Epic Games did not argue that Apple had monopoly power in this market. Instead,
Epic Games focused on its two-tiered aftermarket theory. The Court will not rehash the failed
analysis here. Suffice it to say, neither parties’ proposed markets ultimately persuaded the Court.
Rather, Epic Games’ proposed market ignored greater market pressures, and Apple’s proposed
market was overbroad in its inclusion of similar products.


                                                151
       As demonstrated with respect to the relevant market, Apple does not have substantial
market power equating to monopoly power. While considerable, Epic Games has failed to show
that Apple’s market power is durable and sustaining given the current state of the relevant
market. For that reason, the Court finds that Epic Games failed to prove the first element of a
Section 2 claim: the possession of monopoly power in the relevant market.

        Second, and alternatively, Epic Games’ Section 2 claims fail to satisfy the substantively
similar rule of reason analysis for similar reasons as Section 1. Epic Games’ Section 1 and
Section 2 claims are based on the same conduct and restrictions: namely, restrictions on both
distribution of apps as well as the use of non-IAP payment processors. As the Court has found
above, Epic Games has failed to persuade on this record that these ultimate restrictions are
anticompetitive. Because “the three-part burden-shifting test under the rule of reason is
essentially the same” under Sections 1 and 2, and “proving an antitrust violation under § 2 of the
Sherman Act is more exacting than proving a § 1 violation,” the analysis here applies to the
monopolization claims if required and fails for the same reasons. Qualcomm, 969 F.3d at 991–
92; see also Williams, 999 F.2d at 448 (“[A] § 1 claim insufficient to withstand summary
judgment cannot be used as the sole basis for a § 2 claim.”).

       In sum, Epic Games’ monopolization claims fail because Epic Games has failed to
demonstrate that (i) Apple possesses monopoly power in the relevant market and that (ii) the
challenged restrictions are anticompetitive under the rule of reason.

               3. Count 4: iOS In-App Payment Solutions Market Analysis
        In Count 4, Epic Games claims that Apple has a monopoly in the “iOS In-App Payment
Processing Market” and has unlawfully maintained the monopoly by requiring “iOS app
developers that sell in-app content to exclusively use Apple’s In-App Purchase.” This claim fails
for the same reasons as Count 2.

       As with its Section 2 monopolization claim for the distribution of apps (Count 2), Epic
Games’ Section 2 claim fails at the outset because Apple does not have monopoly power in the
relevant product market.

III. SECTION 1 OF THE SHERMAN ACT: TYING CLAIM (COUNT 6)

       Epic Games’ Count 6 alleges a violation of Section 1 of the Sherman Act based on the
existence of a tie between app distribution, on the one hand, and IAP on the other.

       A. Legal Standard

         Tying involves the linking of two separate products from two separate product markets.
Jefferson Parish, 466 U.S. at 21. “[T]he essential characteristic of an invalid tying arrangement
lies in the seller’s exploitation of its control over the tying product to force the buyer into the
purchase of a tied product that the buyer either did not want at all, or might have preferred to
purchase elsewhere on different terms.” Id. at 12.

        Tying arrangements may be evaluated under Section 1 of the Sherman Act under either
per se or rule of reason analysis. See id. at 29. The per se rule applies “only after considerable

                                                152
experience with certain business relationships,” Broad. Music, Inc. v. Columbia Broad. Sys., Inc.,
441 U.S. 1, 9 (1979) (citation omitted), shows that a restraint “always or almost always tend to
restrict competition and decrease output,” Amex, 138 S. Ct. at 2283 (citation omitted).

       “For a tying claim to suffer per se condemnation, a plaintiff must prove: (1) that the
defendant tied together the sale of two distinct products or services; (2) that the defendant
possesses enough economic power in the tying product market to coerce its customers into
purchasing the tied product; and (3) that the tying arrangement affects a not insubstantial volume
of commerce in the tied product market.” Cascade Health Sols. v. PeaceHealth, 515 F.3d 883,
913 (9th Cir. 2008); see also Jefferson Parish, 466 U.S. at 12–18; Eastman Kodak, 504 U.S. at
461–62.

        The first element requires that the plaintiff must prove that the alleged tying product and
the alleged tied product are “separate and distinct” products. Rick-Mik Enters., Inc. v. Equilon
Enters. LLC, 532 F.3d 963, 974 (9th Cir. 2008). Further, if tied, the tie, would link “two separate
product markets.” Jefferson Parish, 466 U.S. at 21; see also Microsoft Corp., 253 F.3d at 85
(“[U]nless products are separate, one cannot be ‘tied’ to the other.”).

        “[T]he answer to the question whether one or two products are involved turns not on the
functional relation between them, but rather on the character of the demand for the two items.”
Jefferson Parish, 466 U.S. at 19; see also Rick-Mik, 532 F.3d at 975. There must be “sufficient
demand for the purchase of [the tied product] separate from [the tying product] to identify a
distinct product market in which it is efficient to offer [the tied product] separately from [the
tying product].” Jefferson Parish, 466 U.S. at 21–22; see also Rick-Mik, 532 F.3d at 975.

        “[T]he ‘purchaser demand’ test of Jefferson Parish examine[s] direct and indirect
evidence of consumer demand for the tied product separate from the tying product. Direct
evidence addresses the question whether, when given a choice, consumers purchase the tied good
from the tying good maker, or from other firms. Indirect evidence includes the behavior of firms
without market power in the tying good market, presumably on the notion that (competitive)
supply follows demand.” Rick-Mik, 532 F.3d at 975 (internal quotation marks and citations
omitted); see also id. (“If competitive firms always bundle the tying and tied goods, then they are
a single product.”).

        With respect to the second element, a tie exists where “sale of the desired (‘tying’)
product is conditioned on purchase of another (‘tied’) product.” Aerotec, 836 F.3d at 1178.
“[T]he essential characteristic of an invalid tying arrangement lies in the seller’s exploitation of
its control over the tying product to force the buyer into the purchase of a tied product that the
buyer either did not want at all, or might have preferred to purchase elsewhere on different
terms.” Jefferson Parish, 466 U.S. at 12. “A plaintiff must present evidence that the defendant
went beyond persuasion and coerced or forced its customer to buy the tied product in order to
obtain the tying product.” Paladin Assocs., 328 F.3d at 1159.

       Finally, “the Supreme Court has condemned tying arrangements when the seller has the
market power to force a purchaser to do something that he would not do in a competitive
market.” Cascade Health Sols., 515 F.3d at 915. “[I]n all cases involving a tying arrangement,


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the plaintiff must prove that the defendant has market power in the tying product.” Illinois Tool
Works Inc., 547 U.S. at 46; Rick-Mik, 532 F.3d at 972.

       B. Analysis

        At the outset, the parties dispute whether the per se analysis or the rule of reason analysis
should control the Court’s analysis. The Court need not decide this dispute. Epic Games’ claim
fails under either framework because a tying claim cannot be sustained where the alleged good is
not a “separate and distinct product.” Rick-Mik, 532 F.3d at 974; Microsoft Corp., 253 F.3d at
85 (“[U]nless products are separate, one cannot be ‘tied’ to the other.”). Here, Epic Games
argues that a tying claim exists because Apple is forcing distributors who use the iOS app
distribution platform (the alleged tying product) to also use IAP (the alleged tied product). As
discussed above, supra Facts § II.C., IAP is not a product. Two core factual issues lead to this
conclusion: integration and consumer demand.

        With respect to integration, the Court described in detail how IAP functions and the
Court does not reiterate it here. Suffice it to say, IAP is not merely a payment processing
system, as Epic Games suggests, but a comprehensive system to collect commission and manage
in-app payments. This IAP system is not bought or sold but it is integrated into the iOS devices.
“[I]ntegration [is] common” among technological products and services.” Microsoft Corp., 253
F.3d at 93.

        Rick-Mik supports this conclusion. There, the Ninth Circuit found that Equilon’s (also
known as Shell Oil Co.) requirement that franchisees process all credit and debit card
transactions through Equilon’s own system did not involve two separate products. Rick-Mik, 532
F.3d at 967, 974. Said differently, the purchase of an oil company’s franchise (the tying product)
and the requirement that it use Equilon’s credit-card processing system (the tied product) were
not two distinct products. Id. Rather, the Court found that franchises are “almost by definition”
a bundle of related products and services. Id. at 674. The proper inquiry was whether the
allegedly tied products were “integral components of the business method being franchised.” Id.

        Here, as there, IAP is but one component of the full suite of services offered by iOS and
the App Store. Moreover, and as discussed above, the App Store is a two-sided transaction
platform. See Amex, 138 S. Ct. at 2286 n.8 (noting that “a two-sided platform” is one that
“offers different products or services to two different groups who both depend on the platform to
intermediate between them”). By definition, the platform has two sides: the developer on one
side providing gaming apps and the consumer on the other, purchasing the apps. This is a single
platform which cannot be broken into pieces to create artificially two products.619 See, e.g., Serv.


       619
             This conclusion is further bolstered by comparison to other platforms in the wider
gaming market. See Microsoft Corp., 253 F.3d at 88 (comparing the bundling to competitive
firms); cf. In re: Cox Enters., Inc., 871 F.3d 1093, 1109 (10th Cir. 2017) (bundling in the
premium cable industry found to be “simply more efficient than offering them separately”). As
described above, the wider gaming industry routinely use walled gardens, including the
PlayStation Store, the Nintendo eShop, and the Xbox Games Store. These game stores are
vertically integrated with respect to distribution, content delivery, and payment functionalities.
                                                154
& Training, Inc. v. Data Gen. Corp., 737 F. Supp. 334, 343 (D. Md. 1990) (rejecting tying claim
because alleged tied product was “one feature of [defendant’s] integrated and unified product”);
Areeda & Hovenkamp § 1741a (“a car with tires attached might be deemed a single product
because a vehicle that can be driven is the essence of what the customer buys”).

         Moreover, with respect to consumer demand, Epic Games presented no evidence
showing that demand exists for IAP as a standalone product. As discussed above, supra Facts
§ II.C., Epic Games’ argument mischaracterizes IAP and its functionality. Payment processing
is simply an input into the larger bundle of services provided by the IAP system.620 While there
may be a market for payment processing, that fact is irrelevant as IAP is not just payment
processing.621

       In sum, whether analyzed as an integrated functionality or from the perspective of
consumer demand, IAP is not a separate product from iOS app distribution. Thus, Epic Games’
Count 6 fails to show the existence of an illegal tie under Section 1.

IV. CALIFORNIA’S CARTWRIGHT ACT (COUNTS 7, 8, AND 9)

        Epic Games asserts three claims against Apple under the Cartwright Act: (i) Count 7 for
unreasonable restraint of trade in the iOS app distribution market; (ii) Count 8 for unreasonable
restraint of trade in the iOS in-app payment solutions market; and (iii) Count 9 for tying of app
distribution and payment processing. Epic Games argues that its Cartwright Act claims are
based on the same conduct as the analogous Sherman Act claims. Specifically, Count 7 is based
on the same conduct as Count 3; Count 8 is based on the same conduct as Count 5; and Count 9

See supra Facts § II.D.3.c. The only exception is Epic Games Store. However, as noted,
plaintiff’s move occurred in the context of litigation planning. Id. § I.B.3.a.
       620
            In fact, as noted, IAP does not itself even process payments—that function is
performed by a third-party settlement provider like Chase Bank with which Apple contracts.
And unlike the purported alternatives that Epic Games proposes (e.g., PayPal), Apple has never
tried to market the technology for use on other digital transaction platforms, and Epic Games
does not contend otherwise.
       621
             The Court also notes that in the but-for world where developers could use an
alternative processor, Apple would still be contractually entitled to its commission on any
purchase made within apps distributed on the App Store. Thus, so long as the alternative
processor charged a non-zero commission or fee for its services, no economically rational
developer would choose to use the alternative processor, because on each transaction, they would
still have to pay Apple its commission, and they would have to pay the alternative processor a
commission for its services. For the same reason, the fact that some developers like Facebook
and Spotify have tried to avoid Apple’s commission by bypassing IAP is not evidence that there
is separate demand for IAP, only that developers would prefer not to pay Apple a commission.
Epic Games’ reliance on this evidence thus “conflates competition on the merits with Epic
Games’ goal of avoiding Apple’s 30%.” Epic Games, Inc., 493 F. Supp. 3d at 843.




                                               155
is based on the same conduct as Count 6. The basic legal framework is the same for all three
claims.

       A. Legal Framework

        The Cartwright Act makes “unlawful, against public policy and void” “every trust,”
which is defined as “a combination of capital, skill, or acts by two or more persons . . . [t]o create
or carry out restrictions in trade or commerce.” Cal. Bus. & Prof. Code §§ 16720(a), 16726.
Interpretations of federal antitrust law are at most instructive, not conclusive, when construing
the Cartwright Act, given that the Cartwright Act was modeled not on federal antitrust statutes
but instead on statutes enacted by California’s sister states around the turn of the 20th century.”
Aryeh v. Canon Bus. Sols., Inc., 55 Cal. 4th 1185, 1195 (2013). “The Ninth Circuit has
recognized after Aryeh it ‘is no longer the law in California’ that the Cartwright Act is
‘coextensive with the Sherman Act.’” In re Lithium Ion Batteries Antitrust Litig., No. 13–MD–
2420, 2014 WL 4955377, at *10 (N.D. Cal. Oct. 2, 2014) (quoting Samsung Elecs. Co. v.
Panasonic Corp., 747 F.3d 1199, 1205 n.4 (9th Cir. 2014)).

       B. Analysis

        Epic Games argues that, even if its claims under the Sherman Act fail, it is nevertheless
entitled to relief on its Cartwright Act claims because the Cartwright Act is broader in range and
deeper in reach than the Sherman Act.622 Apple disagrees arguing that where, as here, Epic
Games has not identified any specific and material differences between the Cartwright Act and
the Sherman Act, plaintiff cannot prevail on a Cartwright Act where its claims fail under the
Sherman Act.

        The Court agrees with Apple. Epic Games has not cited any authority for the contrary
position. Plaintiff’s authorities contain conclusory statements about the broader “reach” of the
Cartwright Act relative to the Sherman Act.623 Because the context of these statements is
inapposite, the statements do not support a finding that the Cartwright Act claims here can
survive notwithstanding the failure of Sherman Act claims. See, e.g., Cianci v. Superior Court,
40 Cal. 3d 903, 917–18 (1985) (holding that the “broad” scope of the Cartwright Act covers
entities involved in anticompetitive conduct “in every type of business,” including in the
“medical profession,” and noting, in dicta, that the reach of the Cartwright Act includes “threats
to competition in their incipiency” similarly to Section 7 of the Clayton Act, which prohibits
mergers that may substantially lessen competition); In re Capacitors Antitrust Litig., 106 F.
Supp. 3d 1051, 1072 (N.D. Cal. 2015) (declining to apply standard for federal antitrust standing
in the context of claims brought under the Cartwright Act in light of the absence of a “definitive
decision” by California courts that doing so would be permissible). Because Epic Games has not
met its burden to show that it can prevail on its Cartwright Act claims despite the failure of its
analogous Sherman Act claims, the Court finds and concludes that Epic Games’ Cartwright Act
claims fail for the same reasons as its analogous Sherman Act claims.

       622
             See Epic Games COL ¶ 426.
       623
             See Dkt. No. 276 at 84–85; Epic Games COL ¶ 426.

                                                 156
       This conclusion is confirmed by a review of California authorities applying the
Cartwright Act in the context of claims asserting an unreasonable restraint of trade, as in Counts
7 and 8, and tying, as in Count 9.

        As in the context of claims under Section 1 of the Sherman Act, California courts employ
the rule of reason to determine whether a restraint of trade that is not subject to per se treatment,
such as the DPLA624, is unreasonable and, therefore, unlawful under the Cartwright Act. See In
re Cipro Cases I & II, 61 Cal. 4th 116, 146 (2015) (holding that “antitrust illegality” under the
Cartwright Act where a “challenged agreement involves a restraint of trade” depends on the
“traditional rule of reason” analysis because both “the Cartwright Act and Sherman Act carry
forward the common law understanding that ‘only unreasonable restraints of trade are
prohibited’” (citation omitted)). The rule of reason inquiry in the context of the Cartwright Act,
as in the federal context, looks to “whether the challenged conduct promotes or suppresses
competition,” based on “the facts peculiar to the business in which the restraint is applied, the
nature of the restraint and its effects, and the history of the restraint and the reasons for its
adoption.” Id. (internal quotation marks and citation omitted).

         Here, the Court has carefully considered the evidence in the record and has determined,
based on the rule of reason, that the DPLA provisions at issue in Counts 3 (app distribution) and
5 (IAP) have procompetitive effects that offset their anticompetitive effects, and that Epic Games
has not shown that these procompetitive effects can be achieved with other means that are less
restrictive. These findings, which defeat Counts 3 and 5, also defeat Counts 7 and 8. As noted
above, Epic Games has cited no authority that compels a different conclusion.

        The result is similar with respect to Count 9. As is the case with a tying claim in
violation of the Sherman Act, a tying claim under the Cartwright Act requires the existence of
two separate products. See Freeman v. San Diego Ass’n of Realtors, 77 Cal. App. 4th 171, 184
(1999) (“The threshold element for a tying claim is the existence of separate products or services
in separate markets. Absent separate products in separate markets, the alleged tying and tied
products are in reality a single product.” (internal citation omitted)).

        Here, as discussed above, the Court has found and concluded Epic Games’ tying claim
under the Sherman Act (Count 6) fails because plaintiff has not shown that IAP is a separate
product from iOS App Distribution. Because the tying claim under the Cartwright Act (Count 9)
is based on the same conduct as Count 6, that claim fails for the same reason as Count 6. See

       624
             Apple argues that Epic Games’ Cartwright Act claims fail for lack of concerted action
because the claims challenge “only unilateral conduct,” and the Cartwright Act “does not impose
liability for ‘wrongful conduct on the part of a single entity.’” Apple COL ¶¶ 588–589. The
Court disagrees with this interpretation of Epic Games’ claims. While Counts 7 and 8, as Counts
3 and 5, are predicated on the theory that the DPLA is an agreement between Apple and Epic
Games, it may include particular terms that would constitute unreasonable restraints of trade.
See Kolling v. Dow Jones & Co., 137 Cal. App. 3d 709, 719 (1982) (“If a ‘single trader’
pressures customers or dealers into adhering to” restraints of trade, then “an unlawful
combination [under the Cartwright Act] is established, irrespective of any monopoly or
conspiracy, and despite the recognized right of a producer to determine with whom it will deal”
(citations omitted)).
                                                157
Freeman, 77 Cal. App. 4th at 184 (holding that a tying claim under the Cartwright Act fails in
the absence of two separate products in separate markets). Again, Epic Games has cited no
authority that warrants a different outcome.

V. SECTION 2 OF THE SHERMAN ACT: APPLE’S DENIAL OF AN ESSENTIAL
   FACILITY IN THE IOS APP DISTRIBUTION MARKET (COUNT 2)

        The legal elements of an essential facility claim under governing Ninth Circuit precedent
are undisputed. To establish such a claim, a plaintiff must show that (i) the defendant is “a
monopolist in control of an essential facility”; (ii) the plaintiff “is unable reasonably or
practically to duplicate the facility”; (iii) the defendant “has refused to provide [the plaintiff]
access to the facility”; and (iv) “it is feasible for [the defendant] to provide such access”.
Aerotec, 836 F.3d at 1185; MetroNet Servs. Corp. v. Qwest Corp., 383 F.3d 1124, 1128–29 (9th
Cir. 2004); Alaska Airlines, Inc. v. United Airlines, Inc., 948 F.2d 536, 542–46 (9th Cir. 1991).

         Epic Games has failed to prove this claim for myriad reasons, but most convincingly for
two. First, for the reasons set forth above, Epic Games has failed to prove that Apple is an illegal
monopolist in control of the iOS platform. This alone is sufficient to defeat the claim. Second,
the claim would still fail because Epic Games failed to prove that the iOS platform is an essential
facility. The best evidence of this is Epic Games’ own expert, Dr. Evans, who refused to endorse
the argument that the iOS platform is an essential facility.625 On this issue, he and Professor
Schmalensee agree.626

        The term “essential facility” is a term of art under the antitrust laws. Caselaw describes
essential facilities as those that are not capable of being replicated by competitors and serve as a
conduit for the distribution of another product. For example, sports stadiums facilitate the
display of indoor sports, see Fishman v. Estate of Wirtz, 807 F.2d 520, 532 (7th Cir. 1986), and
railroad bridges permit continuation of rail service and delivery of freight, see United States v.
Terminal R.R. Ass’n, 224 U.S. 383, 392–94 (1912). While prior cases have focused only on
physical infrastructures of a finite availability (such as a bridge or a power network), an
“essential facility” can exist even in the absence of such traditional physical attributes. See MCI
Commc’ns Corp. v. Am. Tel. & Tel. Co., 708 F.2d 1081, 1148 (7th Cir. 1983).


       625
           Not only did Dr. Evans confirm in his live testimony that he would not describe iOS
or Android as utilities, Trial Tr. (Evans) 2381:21–2383:18, Dr. Evans twice declined to express
any opinion related to an essential facilities claim. Trial Tr. (Evans) 1673:4–11, 2390:16–
2391:2; see also generally Ex. Expert 1 (Evans) § II.
       626
            As a corollary, given that the nature of the “facility” is one solely comprised of
intellectual property, as opposed to a physical structure, the question arises whether this claim
could ever be recognized under Section 2 as a matter of law. Citing primarily district court
cases, Apple argues it cannot be forced to license its intellectual property and to hold otherwise
would chill innovation and investment. While the argument appears meritorious, the Court
declines to rule on this issue as it was not fully vetted and is not necessary to the resolution of
this claim.

                                                158
        To constitute an essential facility, “access to the facility or resource must be truly
‘essential’ in the sense that competitors cannot simply duplicate it or find suitable alternatives,
and that absent access, competitors’ ability to compete will be substantially constricted.” 1
William C. Holmes, Intellectual Property and Antitrust Law § 6:10 (2021)627; Paladin Assocs.,
328 F.3d at 1162–63 (no viable claim under the “essential facilities” doctrine where customers
were able to obtain gas from other pipelines and sources and noting that a facility is ‘essential’
only if control of the facility carries with it the power to eliminate competition in a downstream
market”).

        Obviously, under its theory, given the proprietary nature of iOS, plaintiff could not
replicate iOS. However, as defined by the Court, in terms of distribution of mobile apps,
multiple avenues do exist to distribute the content to the consumer. Distribution can occur
through web apps, by web access, and through other games stores. This doctrine does not
require distribution in the manner preferred by the competitor, here native apps. The availability
of these other avenues of distribution, even if they are not the preferred or ideal methods, is
dispositive of Epic Games’ claim. The doctrine does not demand an ideal or preferred standard.

       Based on these reasons, the Section 2 claim based on an essential facilities theory fails.

VI. CALIFORNIA’S UNFAIR COMPETITION LAW (COUNT 10)

        Antitrust law does not end with the Sherman Act. “States have regulated against
monopolies and unfair competition for longer than federal government, and federal law is
intended only ‘to supplement, not to displace, state antitrust remedies.’” In re Cipro Cases I &
II, 61 Cal. 4th at 160 (quoting Cal. v. ARC Am. Corp., 490 U.S. 93, 102 (1989)); see also Areeda
& Hovenkamp §§ 216, 2401 (describing legislative history).

        California’s Unfair Competition Law (“UCL”) prohibits business practices that constitute
“unfair competition,” which is defined, in relevant part, as “any unlawful, unfair or fraudulent

       627
            Citing circuit cases: e.g., Pittsburg County Rural Water Dist. No. 7 v. City of
McAlester, 358 F.3d 694, 721 (10th Cir. 2004) (affirming dismissal of an essential facilities
claim where the competitor admitted that it had a “suitable available alternative water
supply”); Midwest Gas Services, Inc. v. Indiana Gas Co., Inc., 317 F.3d 703, 713–14 (7th Cir.
2003) (dismissing an essential facilities claim where a distributor of natural gas had other routes
available even if more costly); Paddock Publ’ns, Inc. v. Chicago Tribune Co., 103 F.3d 42, 44–
56 (7th Cir. 1996) (“Unlike United States v. Terminal R.R. Ass’n, 224 U.S. 383 (1912), the
granddaddy of these cases, in which the Court held that a bottleneck facility that could not
feasibly be duplicated must be shared among rivals, this case does not involve a single facility
that monopolizes one level of production and creates a potential to extend the monopoly to
others. We have, instead, competition at each level of production; no one can ‘take over’ another
level of production by withholding access from disfavored rivals.”); Twin Lab’ys, Inc. v. Weider
Health & Fitness, 900 F.2d 566, 612–13 (2d Cir. 1990) (defendant’s resource was not “essential”
where alternate resources existed); Directory Sales Mgmt. Corp. v. Ohio Bell Tel. Co., 833 F.2d
606 (6th Cir. 1987) (same).

                                                159
business act or practice.” Cal. Bus. & Prof. Code § 17200. Each of these descriptions provides a
separate “variety” of unfair competition. Thus, “a practice may be deemed unfair even if not
specially proscribed by some other law” and even if not violating an antitrust statute. See Cel-
Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163, 180, 187 (1999).

         The UCL permits claims to be brought by any “person,” which includes “natural persons,
corporations, firms, partnerships, joint stock companies, associations and other organizations of
persons.” Cal. Bus. & Prof. Code §§ 17201, 17204. To bring a claim under the UCL, a plaintiff
must “(1) establish a loss or deprivation of money or property sufficient to quantify as injury in
fact, i.e., economic injury, and (2) show that the economic injury was the result of, i.e., caused
by, the unfair business practice.” Kwikset Corp. v. Superior Court, 51 Cal. 4th 310, 322 (2011)
(emphasis in original); see also Cal. Bus. & Prof. Code § 17204.

       Epic Games challenges Apple’s conduct under the “unlawful” and “unfair” provisions of
the UCL. Apple disputes both claims and further argues that Epic Games lacks “customer”
standing. The Court addresses standing and then each claim.

       A. Standing

        The injury-in-fact requirement of the UCL incorporates standing under Article III of the
United States Constitution. Kwikset, 51 Cal. 4th at 322–23. Accordingly, the injury in fact must
be “concrete and particularized . . . and actual or imminent, not conjectural or hypothetical.”
Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992) (simplified). In addition, the UCL
requires an economic injury. Kwikset, 51 Cal. 4th at 323. For example, “[a] plaintiff may
(1) surrender in a transaction more, or acquire in a transaction less, than he or she otherwise
would have; (2) have a present or future property interest diminished; (3) be deprived of money
or property to which he or she has a cognizable claim; or (4) be required to enter into a
transaction, costing money or property, that would otherwise have been unnecessary.” Id. Last,
a plaintiff must show “a causal connection” between the defendant’s conduct and the alleged
injury. Id. at 326 (internal quotation marks and citation omitted).

         Here, Apple does not dispute Epic Games’ standing as a potential competitor: Epic
Games wanted to open a competing iOS game store and could not. Because Epic Games would
earn revenues from a competing store, it has suffered an economic injury. However, Apple
challenges Epic Games’ standing as a consumer. For that interpretation, Epic Games argues that
it is a business customer of Apple’s App Store and has been economically injured because it
could not distribute games directly to consumers at lower cost.

        The precise meaning of “consumer” under the UCL is undefined. Generally, the UCL
makes a distinction between “consumer” and “competitor” suits. See Cel-Tech, 20 Cal. 4th at
187 & n.12; Barquis v. Merchs. Collection Assn., 7 Cal. 3d 94, 109–10 (1972); Kasky v. Nike,
Inc., 27 Cal. 4th 939, 949 (2002). There is no specific third category for non-competitor
business.628 Here, despite Apple’s position, both parties’ experts agree that developers like Epic

       628
            The Court recognizes Levitt v. Yelp! Inc., and finds it distinguishable. There, in terms
of analyzing the UCL claim, the court found the competitor standard applied even though
plaintiffs and Yelp! did not compete. There, “the crux of the business owners’ complaint [was]
                                                160
Games jointly consume Apple’s game transactions and distribution services together with iOS
users.629 Thus, although the question is close, the Court finds that Epic Games has standing to
bring a UCL claim as a quasi-consumer, not merely as a competitor.

       B. “Unlawful” Practices

        Under the “unlawful” prong of the UCL, Epic Games must show that Apple’s conduct
“can properly be called a business practice and that at the same time is forbidden by law.” Korea
Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1143 (2003) (internal quotation marks
and citation omitted). “Virtually any law . . . can serve as a predicate for an action under
Business and Professions Code section 17200.” Durell v. Sharp Healthcare, 183 Cal. App. 4th
1350, 1361 (2010) (citation omitted).

      Here, for the reasons stated above, Epic Games has not shown a violation of any other
law. Accordingly, the claim under the “unlawful” standard fails.

       C. “Unfair” Practices

        The “unfair” prong of the UCL may differ for consumer and competitor suits. As a
competitor who claims to have suffered injury from Apple’s unfair practices, Epic Games must
show that Apple’s conduct (1) “threatens an incipient violation of an antitrust law,” (2) “violates
the policy or spirit of one of those laws because its effects are comparable to or the same as a
violation of the law,” or (3) “otherwise significantly threatens or harms competition.” Cel-Tech,
20 Cal. 4th at 187. These findings must be “tethered to some legislatively declared policy or
proof of some actual or threatened impact on competition.” Id. at 186–87; see also Hodson v.
Mars, Inc., 891 F.3d 857, 866 (9th Cir. 2018).

        As a quasi-consumer, on the other hand, Epic Games has several tests available for
showing unfairness. Although some courts have continued to apply the “tethering” test stated
above, others have applied a “balancing” test that requires the challenged business practice to be
“immoral, unethical, oppressive, unscrupulous, or substantially injurious to consumers” based on
the court’s weighing of “the utility of the defendant’s conduct against the gravity of the harm to
the alleged victim.”630 Drum v. San Fernando Valley Bar Ass’ndu pon, 182 Cal. App. 4th 247,

that Yelp’s conduct unfairly injures their economic interests [relative] to the benefit of other
businesses who choose to advertise with Yelp.” 765 F.3d 1123, 1136 (9th Cir. 2014). Here,
Epic Games is not claiming that it is injured relative to other developers—developers are all
subject to the same restrictions. This action, unlike Levitt, includes a view that Epic Games is a
consumer of Apple’s two-sided platform.
       629
             Ex. Expert 8 (Schmalensee) ¶¶ 31–34, 42; Ex. Expert 1 (Evans) ¶¶ 14, 22–24.
       630
            Still others have applied the “FTC test,” which requires that “(1) the consumer injury
must be substantial; (2) the injury must not be outweighed by any countervailing benefits to
consumers or competition; and (3) it must be an injury that consumers themselves could not
reasonably have avoided.” Drum, 182 Cal. App. 4th at 257 (internal quotation marks and
citation omitted). The Court notes the Ninth Circuit has declined to apply the FTC test with
respect to anti-consumer conduct “in the absence of a clear holding from the California Supreme
                                                161
257 (2010) (citations omitted). Stated otherwise, the balancing test “involves an examination of
that practice’s impact on its alleged victim, balanced against the reasons, justifications and
motives of the alleged wrongdoer.” Nationwide Biweekly Admin., Inc. v. Superior Court of
Alameda Cty., 9 Cal. 5th 279, 303 n.10 (2020) (internal quotation marks and citation omitted).

        These tests “are not mutually exclusive.” Lozano v. AT&T Wireless Servs., Inc., 504 F.3d
718, 736 (9th Cir. 2007); see also Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1169–70
(9th Cir. 2012) (applying both tests). Accordingly, the Court considers both.

               1. Tethering Test
        Under the “tethering” test, “California courts require a close nexus between the
challenged act and the legislative policy.” Hodson, 891 F.3d at 866 (citation omitted). That is
because “courts may not apply purely subjective notions of fairness” or “determine the wisdom
of any economic policy,” which “rests solely with the legislature.” Cel-Tech, 20 Cal. 4th at 184
(internal quotation marks and citation omitted). However, unfair practices under this test are not
limited to violations of existing laws. Id. at 180. Instead, California courts distinguish between
conduct made lawful (or for which relief is barred) by a statute and conduct not prohibited by
any statute. See id. at 183. The latter may be actionable under the “unfair” prong. Id.

         Here, Epic Games seeks relief for the same conduct that it challenged under the Sherman
and Cartwright Acts. Apple argues that separate consideration under the UCL is
inappropriate.631 The Court disagrees. Cel-Tech expressly recognizes that “incipient” violations
of antitrust laws and violations of the “policy or spirit” of those laws with “comparable” effects
are prohibited. 20 Cal. 4th at 187. Under Apple’s interpretation, that standard would be
rendered meaningless because any conduct that fails under the Sherman Act failed would also
fail the UCL. The UCL, however, has “broad, sweeping language[] precisely to enable judicial
tribunals to deal with the innumerable new schemes which the fertility of [one’s] invention
would contrive.” Id. at 181 (simplified). Thus, it warrants separate consideration apart from
antitrust laws.

       On the present record, however, Epic Games’ claims based on the app distribution and in-
app payment processing restrictions fail for the same reasons as stated for the Sherman Act. As
explained, Epic Games has demonstrated real anticompetitive effects, but Apple has proffered
mostly valid and non-pretextual procompetitive justifications. To a large extent that makes the
conduct more than “not anticompetitive” but potentially beneficial to consumers. However, as
the Court demonstrated, the procompetitive justifications were only tethered as to certain

Court . . . .” Lozano, 504 F.3d at 736. The Court does not apply it directly, only as parallel
guidance for purposes of the anticompetitive conduct which the Ninth Circuit distinguished. Id.
       631
            Apple cites Chavez v. Whirlpool Corp., 93 Cal. App. 4th 363, 375 (2001), but that
case does not counsel otherwise. Chavez expressly rejected the notion that “an ‘unfair’ business
act or practice must violate an antitrust law to be actionable under the unfair competition law,”
but found that conduct cannot be unfair where it is “deemed reasonable and condoned under the
antitrust laws.” Id. As explained here, there is a difference between conduct “deemed
reasonable” and conduct for which a violation has not been shown.

                                               162
restrictions. With respect to those restrictions, under the Cel-Tech framework, Apple’s conduct
is protected. 20 Cal. 4th at 183.

        That does not, however, end the matter. 632 “A UCL action is equitable in nature.” Korea
Supply Co., 29 Cal. 4th at 1144. Courts have “broad discretion” to fashion equitable remedies to
serve the needs of justice. Zhang v. Superior Court, 57 Cal. 4th 364, 371 (2013); see also
Nationwide Biweekly Admin., 9 Cal. 5th at 300. The statute reinforces that discretion by
permitting courts to “make such orders or judgments . . . as may be necessary to prevent the use
or employ by any person of any practice which constitutes unfair competition.” Cal. Bus. &
Prof. Code § 17203.

        Epic Games did challenge and litigate the anti-steering provisions albeit the record was
less fulsome. While its strategy of seeking broad sweeping relief failed, narrow remedies are not
precluded.633 As discussed at length, the evidence presented showed anticompetitive effects and
excessive operating margins under any normative measure. The lack of competition has resulted
in decrease information which also results in decreased innovation relative to the profits being
made. The costs to developer are higher because competition is not driving the commission rate.
As described, the commission rate driving the excessive margins has not been justified. Cross-
reference to a historic gamble made over a decade ago is insufficient. Nor can Apple hide
behind its self-created web of interlocking rules, regulations, and generic intellectual property
claims; or the lack of transparency among various businesses to feign innocence.

        Apple’s own records reveal that two of the top three “most effective marketing activities
to keep existing users coming back” in the United States, and therefore increasing revenues, are
“push notifications” (no. 2) and “email outreach” (no. 3).634 Apple not only controls those
avenues but acts anticompetitively by blocking developers from using them to Apple’s own
unrestrained gain. As explained before, Apple uses anti-steering provisions prohibiting apps
from including “buttons, external links, or other calls to action that direct customers to
purchasing mechanisms other than in-app purchase,” and from “encourag[ing] users to use a
purchasing method other than in-app purchase” either “within the app or through
communications sent to points of contact obtained from account registrations within the app (like
email or text).”635 Thus, developers cannot communicate lower prices on other platforms either


       632
            The Court recognizes a contrary unpublished opinion in LiveUniverse, Inc. v.
MySpace, Inc., 304 F. App’x 554, 557 (9th Cir. 2008) which summarily treated the UCL as
rising and falling with the Sherman Act. The Court respectfully disagrees (on this record) for the
reasons stated.
       633
            The FTC Act, which California courts have used as guidance on the UCL, similarly
permits remedies beyond the “specific violations alleged in the complaint” that were “litigated in
the manner contemplated by the statute.” Sears, Roebuck & Co. v. FTC, 676 F.2d 385, 390–91
(9th Cir. 1982).
       634
             DX-3922.057.
       635
             PX-2790 §§ 3.1.1, 3.1.3.

                                               163
within iOS or to users obtained from the iOS platform. Apple’s general policy also prevents
developers from informing users of its 30% commission.636

        These provisions can be severed without any impact on the integrity of the ecosystem and
is tethered to legislative policy. As an initial matter, courts have long recognized that
commercial speech, which includes price advertising, “performs an indispensable role in the
allocation of resources in a free enterprise system.” Bates v. State Bar of Arizona, 433 U.S. 350,
364 (1977) (citation omitted). Restrictions on price information “serve to increase the difficulty
of discovering the lowest cost seller . . . and [reduce] the incentive to price competitively[.]” Id.
at 377. Thus, “where consumers have the benefit of price advertising, retail prices often are
dramatically lower than they would be without advertising.” Id. Antitrust scholars have
recognized the same: “The less information a consumer has about relative price and quality, the
easier it is for market participants to charge supracompetitive prices or provide inferior quality.”
Areeda & Hovenkamp § 2008c.

         In the context of technology markets, the open flow of information becomes even more
critical. As explained above, information costs may create “lock-in” for platforms as users lack
information about the lifetime costs of an ecosystem. Users may also lack the ability to attribute
costs to the platform versus the developer, which further prevents them from making informed
choices.637 In these circumstances, the ability of developers to provide cross-platform
information is crucial. While Epic Games did not meet its burden to show actual lock-in on this
record, the Supreme Court has recognized that such information costs may create the potential
for anticompetitive exploitation of consumers. Eastman Kodak, 504 U.S. at 473–75.

        Thus, although Epic Games has not proven a present antitrust violation, the anti-steering
provisions “threaten[] an incipient violation of an antitrust law” by preventing informed choice
among users of the iOS platform. Cel-Tech, 20 Cal. 4th at 187; cf. FTC v. Neovi, Inc., 604 F.3d
1150, 1158 (9th Cir. 2010) (requiring that “consumers ha[ve] a free and informed choice” under
the FTC test for unfairness).638 Moreover, the anti-steering provisions violate the “policy [and]
spirit” of these laws because anti-steering has the effect of preventing substitution among
platforms for transactions. Id.

       Accordingly, the Court finds that the anti-steering provisions violate the UCL’s unfair
prong under the tethering test.




       636
             PX-0257; Trial Tr. (Simon) 365:3–367:5; Ex. Depo. (Shoemaker) 144:10–23.
       637
             Ex. Expert 1 (Evans) ¶ 118.
       638
           See Cel-Tech, 20 Cal. 4th at 185 (looking “for guidance to the jurisprudence arising
under the ‘parallel’ section 5 of the [FTC] Act” to determine “what is unfair” under the UCL);
see also People ex rel. Mosk v. Nat’l Res. Co. of Cal., 20 Cal. App. 2d 765, 773 (1962)
(“[D]ecisions of the federal court [as to what constitutes “unfair” under the FTC Act] are more
than ordinarily persuasive.”).

                                                164
                2. Balancing Test
         Under the balancing test, the Court must weigh “the utility of the defendant’s conduct
against the gravity of the harm to the alleged victim.” Drum, 182 Cal. App. 4th at 257. Under
this test the focus is on the injury to consumers. Here, the harm to users and developers who are
also quasi-consumers, is considerable.639 This trial has exposed numerous anticompetitive
effects which need not be recounted in detail. The only justification Apple offers is an analogy:
just like a store such as Nordstrom does not advertise prices at Macy’s on its goods, Apple
should not have to advertise prices on the web or on Android.640 Apple also cites Amex, 138 S.
Ct. at 2280, which also involved anti-steering,to justify its anti-steering provisions.

       Both are distinguishable. In Amex, American Express prohibited merchants from
dissuading customers from using Amex cards as a way of avoiding its merchant fees. Id. at
2283. It did so because merchants would often advertise Amex acceptance to attract users who
used American Express’s rewards program, but then would steer them towards cards with lower
merchant fees, such as Visa or Mastercard. Id. at 2289. The Court found that this was not
anticompetitive because there was strong evidence of procompetitive effects (as discussed
above) and “[p]erhaps most importantly, antisteering provisions do not prevent Visa,
MasterCard, or Discover from competing against Amex by offering lower merchant fees or
promoting their broader merchant acceptance.” Id. at 2289–90 (emphasis supplied).

        Here, the information base is distinctly different. In retail brick-and-mortar stores,
consumers do not lack knowledge of options. Technology platforms differ. Apple created a new
and innovative platform which was also a black box. It enforced silence to control information
and actively impede users from obtaining the knowledge to obtain digital goods on other
platforms. Thus, the closer analogy is not American Express’ prohibiting steering towards Visa
or Mastercard but a prohibition on letting users know that these options exist in the first place.
Apple’s market power and resultant ability to control how pricing works for digital transactions,
and related access to digital products, distinguishes it from the challenged practices in Amex.
The same would extend to the Nordstrom/Macy’s analogy.641 Apple has not offered any

       639
             E.g., Trial Tr. (Simon) 365:3–367:5; Trial Tr. (Evans) 1715:11–16.
       640
            See Trial Tr. (Schiller) 2821:8–20 (explaining that the “key idea” of anti-steering
outside the App Store is to prevent “targeting this individual user who really is being acquired
from the App Store”).
       641
            Best Buy may not be the traditional “brick-and-mortar” analogy as the Court
previously footnoted and Mr. Cook, ironically, referenced. According to news reports, in order
for Best Buy to compete with the likes of Amazon, and not just be a place where consumers
physically test product but buy them more cheaply elsewhere, the company pivoted. It appears
Best Buy actually rents square footage to companies like Apple and Samsung for “branded
space” where they sell their own products and provide Best Buy not only with a revenue stream
but the foot traffic to compete on other products. Compare Trial Tr. (Cook) 3864:24–3865:3
with Justin Bariso, Amazon Almost Killed Best Buy. Then, Best Buy Did Something
Completely Brilliant, Inc., June 24, 2021, https://www.inc.com/justin-bariso/amazon-almost-
killed-best-buy-then-best-buy-did-something-completely-
                                               165
justification for the actions other than to argue entitlement. Where its actions harm competition
and result in supracompetitive pricing and profits, Apple is wrong. Accordingly, the harm from
the anti-steering provisions outweighs its benefits, and the provision violates the UCL under the
balancing test.

       D. Remedies

        “[T]he primary form of relief available under the UCL to protect consumers from unfair
business practices is an injunction.” In re Tobacco II Cases, 46 Cal. 4th 298, 319 (2009). A
private party seeking injunctive relief under the UCL may request “public injunctive relief,”
McGill v. Citibank, N.A., 2 Cal. 5th 945, 954 (2017), which is “relief that by and large benefits
the general public and that benefits the plaintiff, if at all, only incidentally and/or as a member of
the general public,” id. at 955 (simplified). “[F]ederal courts must apply equitable principles
derived from federal common law to claims for equitable [relief] under California's Unfair
Competition Law[.]” Sonner v. Premier Nutrition Corp., 971 F.3d 834, 837 (9th Cir. 2020).
This means that, “even if a state authorizes its courts to provide equitable relief when an
adequate legal remedy exists, such relief may be unavailable in federal court because equitable
remedies are subject to traditional equitable principles unaffected by state law.” Id. at 841
(citation omitted).

        Accordingly, under Sonner, a plaintiff seeking equitable relief under the UCL in federal
court must demonstrate: “(1) that it has suffered an irreparable injury; (2) that remedies available
at law, such as monetary damages, are inadequate to compensate for that injury; (3) that,
considering the balance of hardships between the plaintiff and defendant, a remedy in equity is
warranted; and (4) that the public interest would not be disserved by a permanent injunction.”
eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006).

        Based on the reasoning discussed above, the Court finds the elements for equitable relief
are satisfied. While Apple’s conduct does not fall within the confines of traditional antitrust law,
the conduct falls within the purview of an incipient antitrust violation with particular
anticompetitive practices which have not been justified. Apple contractually enforces silence, in
the form of anti-steering provisions, and gains a competitive advantage. Moreover, it hides
information for consumer choice which is not easily remedied with money damages. The injury
has occurred and continues and can best be remedied by invalidating the offending provisions.
In terms of balancing, Apple’s business justifications focus on other parts of the Apple
ecosystem and will not be significantly impacted by the increase of information to and choice for
consumers. Rather, this limited measure balances the justification for maintaining a cohesive
ecosystem with the public interest in uncloaking the veil hiding pricing information on mobile
devices and bringing transparency to the marketplace.




brilliant.htmlhttps://www.inc.com/justin-bariso/amazon-almost-killed-best-buy-then-best-buy-
did-something-completely-brilliant.html. Thus, there is no need to put a sign inside Best Buy as
Apple’s store is already there.



                                                 166
        While the Court has defined the relevant market for antitrust purposes as the market for
mobile gaming transactions, UCL jurisprudence does not require that the Court import that
market limitation. The Court cannot discern any principled reason for eliminating the anti-
steering provisions to mobile gaming only. The lack of information and transparency extends to
all apps, not just gaming apps.

         Apple argues that any equitable relief issued “under state law,” presumably including
under the UCL, must be “limited to California” to avoid a violation of the Commerce Clause.
The only authority that Apple cites to support this proposition is Healy v. Beer Inst., Inc., 491
U.S. 324, 336 (1989), which holds that “[t]he Commerce Clause precludes the application of a
state statute to commerce that takes place wholly outside of the State’s borders, whether or not
the commerce has effects within the State.”642

        In Healy, an association of brewers and importers of beer sought declaratory judgment
that a Connecticut statute was unconstitutional because it regulated out-of-state conduct in
violation of the Commerce Clause. Healy, 491 U.S. at 326. The statute in question required out-
of-state shippers of beer to affirm that their prices for beer sold to Connecticut wholesalers were
no higher than prices at which those products were sold in bordering states. Id. at 326–27. The
Supreme Court held that the Connecticut statute violated the Commerce Clause because the
interaction of the Connecticut statute with beer-pricing statutes of bordering states had the
“practical effect” of controlling prices “wholly outside” of Connecticut’s borders. Id. at 336–37.

        Healy is inapposite. Here, in contrast to Healy, there is no challenge to the
constitutionality of the UCL. Rather than seeking to invalidate the UCL on the basis that it
violates the Commerce Clause, Apple seeks to restrict the geographic scope of any injunction
issued under the UCL to California based on the Commerce Clause. The proper scope of an
injunction issued under state law is not an issue that was addressed in Healy. Further, even if
Healy had any relevance to that issue, Healy’s holding that a state statute cannot be applied “to
commerce that takes place wholly outside” of that state would nevertheless be inapposite. Here,
neither the conduct at issue, nor its effects, are taking place “wholly outside” of California.
Apple is headquartered in California; the DPLA is governed by California law; and the
commerce affected by the conduct that the Court has found to be unfair takes place at least in
part in California. Accordingly, Apple has not shown that Healy prevents the Court from
enjoining conduct outside of California that undisputedly harms California and its residents. See
RLH Indus., Inc. v. SBC Commc’ns, Inc., 133 Cal. App. 4th 1277, 1291–93 (2005) (holding that
“the commerce clause, even as construed in Healy, does not necessarily prohibit state antitrust
and unfair competition law from reaching out-of-state anticompetitive practices injuring state
residents”).

        By the same token, Epic Games provides the Court with no authority that an injunction
could issue globally based upon a violation of California’s UCL.




       642
             See Apple COL ¶¶ 739–740.

                                                167
       Accordingly, a nationwide injunction shall issue enjoining Apple from prohibiting
developers to include in their:

                Apps and their metadata buttons, external links, or other calls to
                action that direct customers to purchasing mechanisms, in addition
                to IAP.

Nor may Apple prohibit developers from:
                Communicating with customers through points of contact obtained
                voluntarily from customers through account registration within the
                app.

VII.   APPLE’S COUNTERCLAIMS

        Apple asserts counterclaims against Epic Games that arise out of Epic Games’ breach of
the DPLA, including (1) breach of contract; (2) breach of the implied covenant of good faith and
fair dealing; (3) unjust enrichment; (4) indemnification; and (5) declaratory judgment.643 These
counterclaims are based on Epic Games’ covert implementation of the hotfix in Fortnite and its
failure to pay Apple its commission on in-app purchases through Fortnite. Apple alleges that
these acts breached the DPLA provisions requiring developers (i) not to “hide, misrepresent or
obscure any features, content, services or functionality” in their apps644 and not to “provide,
unlock or enable additional features or functionality through distribution mechanisms other than
the App Store”645; and (ii) to pay Apple “a commission equal to thirty percent (30%) of all prices
payable by each end-user” through the App Store.646

       Plaintiff has admitted that it breached the DPLA in the manner that Apple alleges, and
that Apple is entitled to relief on its counterclaim for breach of contract to the extent that the
Court finds that the DPLA is enforceable. Epic Games does not admit liability as to any other
counterclaim.647

       Pointing to its affirmative defenses, Epic Games contends that all of Apple’s
counterclaims are barred notwithstanding its admitted breach of the DPLA because the DPLA




       643
           Apple asserted other counterclaims in its answer, Docket No. 66. Based on its
proposed findings of fact and conclusions of law, the Court finds Apple has abandoned all
counterclaims except those addressed herein. See generally Apple FOF and COL.
       644
             Apple’s Answer and Counterclaims ¶ 50 (citing DPLA § 6.1).
       645
             Id. (citing DPLA §§ 3.2, 3.3.2, 3.3.3, 3.3.25).
       646
             Id. (citing DPLA, Schedule 2, §§ 1.1(a), 3.4(a)).
       647
             See Docket No. 474.

                                                 168
provisions it breached are unenforceable (i) under the doctrine of illegality; (ii) because they are
void as against public policy; and (iii) because they are unconscionable.648

        The Court first considers whether any of the DPLA’s provisions upon which Apple’s
counterclaims depend are unenforceable based on Epic Games’ affirmative defenses, and if they
are not, the Court next considers whether Apple has shown that it is entitled to relief on each of
its counterclaims.

       A. Epic Games’ Affirmative Defenses

                1. Doctrine of Illegality
        “[T]he general rule [is] that the courts will deny relief to either party who has entered into
an illegal contract or bargain which is against public policy.” Tri-Q, Inc. v. Sta-Hi Corp., 63 Cal.
2d 199, 216 (1965). “Where a contract has several distinct objects, of which one at least is
lawful, and one at least is unlawful, in whole or in part, the contract is void as to the latter and
valid as to the rest.” Cal. Civ. Code § 1599. Thus, if the alleged “illegality is collateral to the
main purpose of the contract, and the illegal provision can be extirpated from the contract by
means of severance or restriction, then such severance and restriction are appropriate.”
Marathon Entm’t, Inc. v. Blasi, 42 Cal. 4th 974, 996 (2008) (quotation marks omitted). “The
burden ordinarily rests upon the party asserting the invalidity of the contract to show how and
why it is unlawful.” Rock River Commc’ns, Inc. v. Universal Music Grp., Inc., 745 F.3d 343,
350 (9th Cir. 2014) (citation omitted).

        Epic Games alleges that Apple’s counterclaims are barred because “the contracts on
which Apple’s counterclaims are based” are “illegal and unenforceable” on the basis that they
violate the Sherman Act, the Cartwright Act, and the UCL.649

        As discussed above, the Court has found and concluded that no provision of the DPLA at
issue in this action is unlawful under the Sherman Act or the Cartwright Act and only one
unrelated provision under the UCL.

        While the Court has found that evidence suggests Apple’s 30% rate of commission
appears inflated, and is potentially anticompetitive, Epic Games did not challenge the rate.
Rather, Epic Games challenged the imposition of any commission whatsoever. Nor did plaintiff
show either that the provision of the DPLA which required developers not to “provide, unlock or
enable additional features or functionality through distribution mechanisms other than the App
Store,” was illegal or unenforceable or that it was forced to violate the agreement to bring this



       648
           Epic Games asserted other affirmative defenses in its answer, Docket No. 106. Based
on its proposed findings of fact and conclusions of law, the Court finds Epic Games has
abandoned all affirmative defenses except those addressed herein. See generally Epic Games
FOFs.
       649
             See Epic Games’ Answer to Counterclaims at 17 (affirmative defenses 1 and 2).

                                                 169
lawsuit.650 Accordingly, the Court finds and concludes that Apple’s counterclaims are not barred
on the basis that they arise out of an illegal and unenforceable contract.

                 2. Void as Against Public Policy
        “In general, a contract contrary to public policy will not be enforced.” Kelton v.
Stravinski, 138 Cal. App. 4th 941, 949 (2006). A contract need not be contrary to a statute for it
to be deemed contrary to public policy. Altschul v. Sayble, 83 Cal. App. 3d 153, 162 (1978)
(“There is no requirement that a contract violate an express mandate of a statute before it may be
declared void as contrary to public policy.”); see also Cal. Civ. Code § 1667(2) (“That is not
lawful which is . . . contrary to the policy of express law, though not expressly prohibited.”).

        “The authorities all agree that a contract is not void as against public policy unless it is
injurious to the interests of the public as a whole or contravenes some established interest of
society.” Rosenberg v. Raskin, 80 Cal. App. 2d 335, 338 (1947). “California has a settled public
policy in favor of open competition.” Kelton, 138 Cal. App. 4th at 946. It also has a public
policy of protecting consumers of goods and services. See Margolin v. Shemaria, 85 Cal. App.
4th 891, 901 (2000) (“Both legislative enactments and administrative regulations can be utilized
to further this state’s public policy of protecting consumers in the marketplace of goods and
services.”). “Where a contract has several distinct objects, of which one at least is lawful, and
one at least is unlawful, in whole or in part, the contract is void as to the latter and valid as to the
rest.” Cal. Civ. Code § 1599.

        Plaintiff alleges that Apple’s counterclaims are barred in whole or in part because the
contracts on which they are based “are void as against public policy pursuant to the antitrust laws
and unfair competition laws[.]”651 Epic Games contends that the DPLA violates “the public
policy in favor of competitive markets” because it forecloses all alternative app stores and non-
IAP payment solutions in the iOS app distribution market and iOS in-app payment solutions
market, respectively; they facilitate the imposition of Apple’s supracompetitive 30%
commission; and they were forced upon Epic Games through Apple’s exercise of its market
power.652

        The Court is not persuaded by Epic Games’ broad-brush argument that it should not be
bound by certain portions of the agreement. The DPLA provisions related to the breaching
conduct arising from Project Liberty were not found to be invalid. For the reasons discussed at
length above, the Court has found and concluded that these DPLA provisions are not contrary to
the interests of the public as a whole and do not contravene some established interest of society,
in the context of competition or otherwise. Accordingly, the remaining DPLA provisions are not
unenforceable on the basis that they violate public policy. Rosenberg, 80 Cal. App. 2d at 338



        650
              Id. (citing DPLA §§ 3.2, 3.3.2, 3.3.3, 3.3.25).
        651
              See Epic Games’ Answer to Counterclaims at 17 (affirmative defense 3).
        652
              See Epic Games FOF ¶ 547.

                                                  170
(“The authorities all agree that a contract is not void as against public policy unless it is injurious
to the interests of the public as a whole or contravenes some established interest of society.”).

        Even though the Court has found the anti-steering provisions to be unfair under the UCL,
the result was a measured alternative to plaintiff’s overreach. These provisions can be severed
while maintaining the provisions that require honesty to control the parties’ relations and the
coding of apps. Epic Games never adequately explained its rush to the courthouse or the actual
need for clandestine tactics. The marketing campaign appears to have resulted in indirect
benefits but it does not provide a legal defense.

        In light of the foregoing, the Court finds and concludes that Apple’s counterclaims are
not barred based on Epic Games’ public policy affirmative defense.

               3. Unconscionability
                       a. Legal Framework
        “[A] contract or provision, even if consistent with the reasonable expectations of the
parties, will be denied enforcement if, considered in its context, it is unduly oppressive or
‘unconscionable.’” Graham v. Scissor-Tail, Inc., 28 Cal. 3d 807, 820 (1981).
“Unconscionability has generally been recognized to include an absence of meaningful choice on
the part of one of the parties together with contract terms which are unreasonably favorable to
the other party. Phrased another way, unconscionability has both a ‘procedural’ and a
‘substantive’ element. . . . [B]oth the procedural and substantive elements must be met before a
contract or term will be deemed unconscionable. Both, however, need not be present to the same
degree. A sliding scale is applied so that the more substantively oppressive the contract term, the
less evidence of procedural unconscionability is required to come to the conclusion that the term
is unenforceable, and vice versa.” Lhotka v. Geographic Expeditions, 181 Cal. App. 4th 816,
821 (2010) (internal quotation marks and citations omitted).

        “Unconscionability analysis begins with an inquiry into whether the contract is one of
adhesion. The term contract of adhesion signifies a standardized contract, which, imposed and
drafted by the party of superior bargaining strength, relegates to the subscribing party only the
opportunity to adhere to the contract or reject it.” Armendariz v. Found. Health Psychcare
Servs., Inc., 24 Cal. 4th 83, 113 (2000) (quotation marks and alterations omitted). “The
procedural element of the unconscionability analysis concerns the manner in which the contract
was negotiated and the circumstances of the parties at that time. The element focuses on
oppression or surprise. Oppression arises from an inequality of bargaining power that results in
no real negotiation and an absence of meaningful choice. Surprise is defined as the extent to
which the supposedly agreed-upon terms of the bargain are hidden in the prolix printed form
drafted by the party seeking to enforce the disputed terms.” Gatton v. T-Mobile USA, Inc., 152
Cal. App. 4th 571, 581 (2007) (internal quotation marks and citations omitted)).

        “The substantive element of the unconscionability analysis focuses on overly harsh or
one-sided results,” Gatton, 152 Cal. App. 4th at 586, or “whether a contractual provision
reallocates risks in an objectively unreasonable or unexpected manner,” Lhotka, 181 Cal. App.
4th at 821. Substantive unconscionability “traditionally involves contract terms that are so one-


                                                 171
sided as to ‘shock the conscience,’ or that impose harsh or oppressive terms.” Wherry v. Award,
Inc., 192 Cal. App. 4th 1242, 1248 (2011).

        In California, “where a single contract provision is invalid, but the balance of the contract
is lawful, the invalid provision is severed, and the balance of the contract is enforced.” Kec v.
Superior Court of Orange Cnty., 51 Cal. App. 5th 972, 974–75 (2020). For example, when a
contract is held to be unconscionable, “the strong legislative and judicial preference is to sever
the offending term and enforce the balance of the agreement.” Lange v. Monster Energy Co., 46
Cal. App. 5th 436, 453 (2020) (quotation marks omitted); see also Cal. Civ. Code § 1670.5 (“If
the court as a matter of law finds the contract or any clause of the contract to have been
unconscionable at the time it was made the court may refuse to enforce the contract, or it may
enforce the remainder of the contract without the unconscionable clause, or it may so limit the
application of any unconscionable clause as to avoid any unconscionable result.”).

                       b. Analysis
        Again, Epic Games alleges that Apple’s counterclaims are barred because “the contracts
on which Apple’s counterclaims are based are unconscionable” on the basis that they are “are
contrary to the antitrust laws and unfair competition laws[.]”653 Epic Games contends that the
DPLA provisions upon which Apple’s counterclaims depend are (i) procedurally unconscionable
because they are non-negotiable terms in contracts of adhesion, and (ii) are substantively
unconscionable because “they foreclose all alternative app stores and non-IAP payment solutions
in the iOS app distribution market and iOS in-app payment solutions market, respectively, and
they facilitate the imposition of Apple’s supra-competitive 30% commission.”654

       The Court finds and concludes that Epic Games has not shown that the DPLA is
unconscionable. A contractual term is not unconscionable unless it is found to be both
procedurally and substantively unconscionable. Here, the absence of substantive
unconscionability is dispositive. A contractual term is not substantively unconscionable unless it
so “one-sided so as to ‘shock the conscience,’” Wherry, 192 Cal. App. 4th at 1248. Based on the
record before it, the Court cannot conclude that the DPLA meets that standard. Plaintiff’s
response that the unconscionability stems from the violations of antitrust and unfair competition
laws fails.655 Because the Court has found only one unrelated provision to violate the UCL, the
Court cannot conclude that the remaining provisions are substantively unconscionable.

        Epic Games points to no other evidence or authority based upon which the Court could
find that the provisions at issue “shock the conscience.” These are billion and trillion dollar
companies with a business dispute. Epic Games itself uses adhesion contracts. Plaintiff points to
no authority in which a court has held that contractual provisions similar to the ones at issue,
despite their longevity and relative ubiquity, are unenforceable on the ground that they are


       653
             See Epic Games’ Answer to Counterclaims at 17–18.
       654
             Epic Games FOF ¶ 192.
       655
             See Epic Games FOF ¶¶ 191–192.

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unconscionable. The Court finds and concludes, therefore, that Apple’s counterclaims are not
barred on the basis that they arise out of contractual terms that are unconscionable.

       The Court now turns to the question of whether Apple is entitled to relief with respect to
any counterclaim that is based on breaches to DPLA provisions other than the one stricken.

       B. Breach of Contract

        Under California law656, “the elements of a cause of action for breach of contract are (1)
the existence of the contract, (2) plaintiff’s performance or excuse for nonperformance, (3)
defendant’s breach, and (4) the resulting damages to the plaintiff.” Oasis W. Realty, LLC v.
Goldman, 51 Cal. 4th 811, 821 (2011). To prove causation, a plaintiff must show “the breach
was a substantial factor in causing the damages.” US Ecology, Inc. v. California, 129 Cal. App.
4th 887, 909 (2005).

         Apple asserts a counterclaim against Epic Games for breach of contract arising out
Project Liberty. In particular, Epic Games’ actions violated the DPLA provisions (1) requiring
developers not to “hide, misrepresent or obscure any features, content, services or functionality”
in their apps657 and not to “provide, unlock or enable additional features or functionality through
distribution mechanisms other than the App Store,”658; and (2) requiring Epic Games to pay
Apple “a commission equal to thirty percent (30%) of all prices payable by each end-user”
through the App Store.659

        As noted, plaintiff has admitted that it breached the DPLA as Apple alleges and has
conceded that, if the Court finds that the breached provisions of the DPLA are enforceable
against Epic Games, then Apple would be entitled to relief as a result of the breach.660

        Because Apple’s breach of contract claim is also premised on violations of DPLA
provisions independent of the anti-steering provisions, the Court finds and concludes, in light of
plaintiff’s admissions and concessions, that Epic Games has breached these provisions of the
DPLA and that Apple is entitled to relief for these violation.




       656
            The parties agree that the DPLA is governed by California law. See Dkt. No. 276 at
99; see also PX-2619 (DPLA) § 14.10 (providing that the DPLA is “governed by and construed
in accordance with the laws of the United States and the State of California”).
       657
             Dkt. No. 66 ¶ 50 (citing DPLA § 6.1).
       658
             Id. (citing DPLA §§ 3.2, 3.3.2, 3.3.3, 3.3.25).
       659
             Id. (citing DPLA, Schedule 2, §§ 1.1(a), 3.4(a)).
       660
             See Stipulation, Dkt. No. 474.



                                                 173
        C. Breach of the Implied Covenant of Good Faith and Fair Dealing

        “The covenant of good faith and fair dealing, implied by law in every contract, exists
merely to prevent one contracting party from unfairly frustrating the other party’s right to receive
the benefits of the agreement actually made.” Durell, 183 Cal. App. 4th at 1369 (emphasis and
citation omitted). While “[a] breach of the implied covenant of good faith is a breach of the
contract,” “breach of a specific provision of the contract is not . . . necessary to a claim for
breach of the implied covenant of good faith and fair dealing.” Thrifty Payless, Inc. v. The
Americana at Brand, LLC, 218 Cal. App. 4th 1230, 1244 (2013) (internal quotation marks and
citation omitted).

        “In California, the factual elements necessary to establish a breach of the covenant of
good faith and fair dealing are: (1) the parties entered into a contract; (2) the plaintiff fulfilled his
obligations under the contract; (3) any conditions precedent to the defendant’s performance
occurred; (4) the defendant unfairly interfered with the plaintiff’s rights to receive the benefits of
the contract; and (5) the plaintiff was harmed by the defendant’s conduct.” Rosenfeld v.
JPMorgan Chase Bank, N.A., 732 F. Supp. 2d 952, 968 (N.D. Cal. 2010) (citation omitted).

        “In essence, the covenant is implied as a supplement to the express contractual covenants,
to prevent a contracting party from engaging in conduct which (while not technically
transgressing the express covenants) frustrates the other party’s rights to the benefits of the
contract.” Love v. Fire Ins. Exch., 221 Cal. App. 3d 1136, 1153 (1990) (emphasis in original). It
exists to “prevent one contracting party from unfairly frustrating the other party’s right to receive
the benefits of the agreement actually made. The covenant thus cannot be endowed with an
existence independent of its contractual underpinnings. It cannot impose substantive duties or
limits on the contracting parties beyond those incorporated in the specific terms of their
agreement.” Durell, 183 Cal. App. 4th at 1369 (citations omitted) (emphasis in original). “If
there exists a contractual relationship between the parties, . . . the implied covenant is limited to
assuring compliance with the express terms of the contract, and cannot be extended to create
obligations not contemplated in the contract.” Racine & Laramie, Ltd. v. Dep’t of Parks &
Recreation, 11 Cal. App. 4th 1026, 1032 (1992).

        Apple asserts a counterclaim against Epic Games for breach of the implied covenant of
good faith and fair dealing. Apple contends that “[t]o the extent that any of Epic’s bad faith
actions did not breach the express terms of the [DPLA], Epic Games frustrated Apple’s right to
receive the benefits of the agreement actually made, including by publishing an update to
Fortnite that circumvented payment of commissions to which Apple was contractually entitled,
by violating the Guidelines, and by otherwise undermining Apple’s operation and maintenance
of the App Store.”661 Accordingly, Apple asserts this counterclaim in the alternative to its breach
of contract claim.




        661
              Dkt. No. 66 ¶ 60 (emphasis supplied).

                                                  174
       Because the Court has found and concluded that Apple is entitled to relief on its breach-
of-contract claim, the Court denies relief to Apple as to its alternative claim for breach of the
implied covenant of good faith and fair dealing.

       D. Unjust Enrichment

        “[T]he elements for a claim of unjust enrichment” are “[1] receipt of a benefit and [2]
unjust retention of the benefit at the expense of another.” Lectrodryer v. SeoulBank, 77 Cal.
App. 4th 723, 726 (2000). “Under California law, unjust enrichment is an action in quasi-
contract, and is not cognizable when there is a valid and enforceable contract between the
parties.” Cont’l Cas. Co. v. Enodis Corp., 417 F. App’x 668, 670 (9th Cir. 2011) (citation
omitted). “The doctrine applies where plaintiffs, while having no enforceable contract,
nonetheless have conferred a benefit on defendant which defendant has knowingly accepted
under circumstances that make it inequitable for the defendant to retain the benefit without
paying for its value.” Hernandez v. Lopez, 180 Cal. App. 4th 932, 938 (2009).

        Apple asserts a counterclaim for unjust enrichment against plaintiff based on its alleged
failure to pay Apple the agreed-upon 30% commission under the DPLA, but it asserts this
counterclaim only “[i]n the alternative” to its claim for breach of contract. See Docket No. 66 ¶
63.

        Because the Court has found and concluded that Apple is entitled to relief on its claim for
breach of contract, as discussed above, the Court denies relief to Apple as to its alternative claim
for unjust enrichment.

       E. Indemnification

        Under California law, “[a]n indemnity agreement is to be interpreted according to the
language and contents of the contract as well as the intention of the parties as indicated by the
contract.” Myers Bldg. Indus., Ltd. v. Interface Tech., Inc., 13 Cal. App. 4th 949, 968 (1993); see
also Herman Christensen & Sons, Inc. v. Paris Plastering Co., 61 Cal. App. 3d 237, 245 (1976)
(where the parties “have expressly contracted with respect to the duty to indemnify, the extent of
that duty must be determined from the contract and not by reliance on the independent doctrine
of equitable indemnity” (quotation marks omitted)). Such agreements “are construed under the
same rules that govern the interpretation of other contracts.” Alki Partners, LP v. DB Fund
Servs., LLC, 4 Cal. App. 5th 574, 600 (2016).

       Apple asserts a counterclaim against Epic Games for indemnification in the form of the
recovery of its attorneys’ fees and costs of defending this litigation and pursuing its
counterclaims. This counterclaim is based on Section 10 of the DPLA, which provides:


               To the extent permitted by applicable law, You agree to indemnify
               and hold harmless, and upon Apple’s request, defend, Apple, its
               directors, officers, employees, independent contractors and agents
               (each an “Apple Indemnified Party”) from any and all claims, losses,
               liabilities, damages, taxes, expenses and costs, including without

                                                175
                limitation, attorneys’ fees and court costs . . . incurred by an Apple
                Indemnified Party and arising from or related to any of the following
                . . . : (i) Your breach of any certification, covenant, obligation,
                representation or warranty in this Agreement, including Schedule 2;
                . . . or (vi) Your use (including Your Authorized Developers’ use)
                of the Apple Software or services, Your Licensed Application
                Information, Pass Information, metadata, Your Authorized Test
                Units, Your Registered Devices, Your Covered Products, or Your
                development and distribution of any of the foregoing.662

Apple contends that it is entitled to indemnification from Epic Games under this indemnification
provision because plaintiff’s lawsuit involves claims arising from or related to its breaches of its
certifications, covenants, obligations, representations, or warranties under the DPLA, and its use
of the Apple Software or services, its licensed application information, its covered products, and
its development and distribution of the foregoing.

        Epic Games counters that Apple is not entitled to indemnification under Section 10
because that section applies only to claims brought by third parties against Apple and not “claims
between Epic and Apple,” and because the indemnification clause would be unconscionable to
the extent that it is interpreted as covering intra-party disputes.663

        The Court’s interpretation of the indemnification provision is guided by the following
principles:

                Generally, an indemnification provision allows one party to recover
                costs incurred defending actions by third parties, not attorney fees
                incurred in an action between the parties to the contract. Courts look
                to several indicators to distinguish third party indemnification
                provisions from provisions for the award of attorney fees incurred
                in litigation between the parties to the contract. The key indicator is
                an express reference to indemnification. A clause that contains the
                words ‘indemnify’ and ‘hold harmless’ generally obligates the
                indemnitor to reimburse the indemnitee for any damages the
                indemnitee becomes obligated to pay third persons—that is, it
                relates to third party claims, not attorney fees incurred in a breach
                of contract action between the parties to the indemnity agreement
                itself. Courts also examine the context in which the language
                appears. Generally, if the surrounding provisions describe third
                party liability, the clause will be construed as a standard third party
                indemnification provision. The court will not infer that the parties
                intended an indemnification provision to cover attorney fees


       662
             PX-2619 ¶ 10.
       663
             Epic Games FOF ¶¶ 573, 578.

                                                 176
                 between the parties if the provision “‘does not specifically provide
                 for attorney's fees in an action on the contract[.]”

Alki Partners, 4 Cal. App. 5th at 600–01 (internal citations omitted) (emphasis supplied).

        Here, the indemnification provision at issue contains the words “indemnify” and “hold
harmless,” and the surrounding provisions describe third-party liability, which, under Alki
Partners, suggests that any obligation by Epic Games to reimburse Apple would arise only in the
context of third-party claims, and not claims between the two. Additionally, the provision does
not specifically provide for attorneys’ fees and costs in an action on the contract between the
parties to the contract, which also weighs against interpreting the provision at issue as covering
Apple’s attorneys’ fees and costs in this action.

        Apple argues that the indemnification provision does contain language specifically
providing “for attorneys’ fees in an action on the contract” because the indemnification provision
is “triggered” by Epic Games’ breach of the DPLA.664 The Court is not persuaded. For an
indemnification provision to be interpreted as covering attorneys’ fees and costs in an action on a
contract between the parties, there must be language in the contract that “reasonably can be
interpreted as addressing the issue of an action between the parties on the contract.” Alki, 4 Cal.
App. 5th at 601 (citation and internal quotation marks omitted) (emphasis supplied). For
example, attorneys’ fees and costs are recoverable in an action between the parties where the
indemnity provision includes “express language for attorney’s fees incurred in enforcing [the]
indemnity agreement.” Id. at 602 (citations omitted) (emphasis supplied); see also Baldwin
Builders v. Coast Plastering Corp., 125 Cal. App. 4th 1339, 1342 (2005) (holding that an
indemnity provision authorized the recovery of attorneys’ fees on an action on the contract
between the parties because it included express language that “[s]ubcontractor shall pay all costs,
including attorney’s fees, incurred in enforcing this indemnity agreement’” (emphasis supplied)).
No such express language is included in the indemnification provision at issue. In light of the
absence of such express language, and in light of the terms used in the indemnification provision
that suggest that it covers only third-party claims, as discussed in more detail above, the Court
finds and concludes that Apple has not shown that it is entitled to recover attorneys’ fees and
costs from Epic Games pursuant to Section 10 of the DPLA.

        F. Declaratory Judgment

                 1. Legal Framework
        “In a case of actual controversy within its jurisdiction . . . , any court of the United States,
upon the filing of an appropriate pleading, may declare the rights and other legal relations of any
interested party seeking such declaration, whether or not further relief is or could be sought. Any
such declaration shall have the force and effect of a final judgment or decree and shall be
reviewable as such.” 28 U.S.C. § 2201(a).




        664
              Apple FOF ¶ 841.

                                                  177
         Courts have “substantial discretion in deciding whether to declare the rights of litigants”
under the Declaratory Judgment Act. MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 136
(2007). This “substantial” discretion permits the Court to consider “equitable, prudential, and
policy arguments” for or against the declaratory relief sought. Id. A “district court should avoid
needless determination of state law issues,” “should discourage litigants from filing declaratory
actions as a means of forum shopping,” and “should avoid duplicative litigation.” Principal Life
Ins. Co. v. Robinson, 394 F.3d 665, 672 (9th Cir. 2005) (quotation marks omitted). Courts also
consider “whether the declaratory action will settle all aspects of the controversy; whether the
declaratory action will serve a useful purpose in clarifying the legal relations at issue; whether
the declaratory action is being sought merely for the purposes of procedural fencing or to obtain
a ‘res judicata’ advantage; or whether the use of a declaratory action will result in entanglement
between the federal and state court systems.” Gov’t Emps. Ins. Co. v. Dizol, 133 F.3d 1220,
1225 n.5 (9th Cir. 1998). Essentially, the district court must “balance concerns of judicial
administration, comity, and fairness to the litigants.” Principal Life Ins. Co., 394 F.3d at 672
(quotation marks omitted).
                2. Analysis
       Apple seeks a declaratory judgment that: (a) the DPLA is valid, lawful, and enforceable
contracts; (b) Apple’s termination of the DPLA with Epic Games was valid, lawful, and
enforceable; (c) Apple has the contractual right to terminate the DPLA with any or all of Epic
Games’ wholly owned subsidiaries, affiliates, and/or other entities under its control; and (d)
Apple has the contractual right to terminate the DPLA with any or all of the Epic Affiliates for
any reason or no reason upon 30 days written notice, or effective immediately for any
“misleading fraudulent, improper, unlawful or dishonest act relating to” the DPLA. Docket No.
66 ¶ 88.

        Epic Games contends that Apple is not entitled to the declaratory judgment it seeks on
the basis that the challenged provisions of the DPLA are “unlawful” and that Apple’s termination
of the DPLA as to Epic Games was “unlawful” retaliation.665 The parties have not litigated
every aspect of the DPLA, and the Court has raised concerns about issues lacking a full
evidentiary record. Thus, it is not inclined to make a broad pronouncement that the DPLA in its
entirety is valid, lawful, and enforceable.

       That said, with respect to the sections of the DPLA requiring developers not to “provide,
unlock or enable additional features or functionality through distribution mechanisms other than
the App Store,” DPLA §§ 3.2, 3.3.2, 3.3.3, 3.3.25, those have not been found to be unlawful
under federal and state antitrust law or the UCL.

       This case does not involve retaliation. Epic Games never showed why it had to breach its
agreements to challenge the conduct litigated. Two parallel antitrust actions prove the contrary.
Apple had contractual rights to act as it did. It merely enforced those rights as plaintiff’s own



       665
             Epic Games FOF ¶¶ 566–567.

                                                178
internal documents show Epic Games expected. Accordingly, plaintiff’s challenges to Apple’s
claim for declaratory relief fail as to the remaining requests.

       G. Remedies

        The relief to which Apple is entitled is that to which Epic Games stipulated in the event
that the Court found it liable for breach of contract, namely:

        (1) damages in an amount equal to (i) 30% of the $12,167,719 in revenue Epic Games
collected from users in the Fortnite app on iOS through Epic Direct Payment between August
and October 2020, plus (ii) 30% of any such revenue Epic Games collected from November 1,
2020 through the date of judgment; and

       (2) a declaration that (i) Apple’s termination of the DPLA and the related agreements
between Epic Games and Apple was valid, lawful, and enforceable, and (ii) Apple has the
contractual right to terminate its DPLA with any or all of Epic Games’ wholly owned
subsidiaries, affiliates, and/or other entities under Epic Games’ control at any time and at
Apple’s sole discretion.666

                                          CONCLUSION
        This trial highlighted that “big tech” encompasses many markets, including as relevant
here, the submarket for mobile gaming transactions. This lucrative, $100 billion, market has not
been fully tapped and is ripe for economic exploitation. As a major player in the wider video
gaming industry, Epic Games brought this lawsuit to challenge Apple’s control over access to a
considerable portion of this submarket for mobile gaming transactions. Ultimately, Epic Games
overreached. As a consequence, the trial record was not as fulsome with respect to antitrust
conduct in the relevant market as it could have been.

       Thus, and in summary, the Court does not find that Apple is an antitrust monopolist in the
submarket for mobile gaming transactions. However, it does find that Apple’s conduct in
enforcing anti-steering restrictions is anticompetitive. A remedy to eliminate those provisions is
appropriate. This measured remedy will increase competition, increase transparency, increase
consumer choice and information while preserving Apple’s iOS ecosystem which has
procompetitive justifications. Moreover, it does not require the Court to micromanage business
operations which courts are not well-suited to do as the Supreme Court has appropriately
recognized.

        A separate judgment shall issue based on the findings of fact and conclusions of law set
forth above, the Court will enter a separate permanent injunction barring the noted restraints.

       For the reasons set forth herein, the Court finds in favor of Apple on all counts except
with respect to violation of California’s Unfair Competition law (Count Ten) and only partially



       666
             See Dkt. No. 474 ¶ 3.

                                               179
with respect to its claim for Declaratory Relief. The preliminary injunction previously ordered is
terminated.

       Each party shall bear its own costs. No party shall file any post-trial motions based on
previously-made arguments.

       IT IS SO ORDERED.


Date: September 10, 2021                             ____________________________________
                                                          YVONNE GONZALEZ ROGERS
                                                      UNITED STATES DISTRICT COURT JUDGE




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                          APPENDIX: ORDER OUTLINE
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                  2. Role of App Developers Generally and Epic Games
                  3. Apple’s Contractual Agreements with Developers
                        a. Key Terms of the DPLA and App Guidelines
                        b. Apple’s App Store as an App Transaction Platform
                        c. Apple’s Commissions Rates: 30 percent; 15 percent; recent
                            changes
                  4. Apple’s Management of Apps – App Guidelines
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          A. Epic Games: Facts Relevant to Foremarket for Apple’s Own iOS
          B. Epic Games: iOS App Distribution Aftermarket
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                         c. Mobile Devices (Tablets and the Switch)
                         d. Non-Mobile Devices (Consoles and PCs)
                   3. Gaming v. Non-Gaming and Apple’s App Store

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          C. Epic Games: Facts Relevant to iOS In-App Payment Processing Aftermarket
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                                PART II
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